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                                        EXHIBIT 1: GOVERNMENT JAMES LOG


NOTES
  •   Unless otherwise explicitly stated, references to “Jon,” “Jonathan,” “J.Y.” and “Yioulos” are references to indicted co-
      conspirator Jonathan Yioulos

  •   Consistent with concern for the privacy and safety of victims, witnesses, and third-parties who are mentioned during the
      course of the conspiracy but who have not been charged with any crimes the government has redacted identifying
      information and, instead, uses initials. For sham companies and their purported owners, the government has followed
      the convention in Paragraph 13 of the Indictment. It has used that same convention when an email address associated
      with that company would otherwise identify it. Sometimes, where an individual is mentioned but is only relevant for
      purposes of showing that the Tews owed that person a debt or debts and were looking to get money from NAC to repay it,
      the word [redacted] has simply been inserted.

  •   Bank account information and addresses that are described in full in the underlying communication have also been
      redacted. Bank accounts are described using the last four digits of the account number. Addresses have been removed.

  •   The “Source” column uses the internal discovery numbers used in the government’s productions to defense counsel so that
      they can be conveniently referenced. “SW_FIL” means that the item was released to the government only after going
      through the filter process but was produced to defense counsel by the filter team at the beginning of their representation.
      Defendants have had access to all of the unfiltered materials since 2021. Filtered Cellebrite reports and filtered
      spreadsheets from the apple return were produced to defense counsel on November 13, 2023. They were then place dinto
      a new database and re-produced with news Bates numbers on November 30, 2023.
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August 2018

 Entry    Date     Statement(s)                                                                                Additional Context           801            Source
                                                                                                                                            Rationale(s)
 1        8/7/18   Michael Tew responded to the email below “THANK YOU”                                        On August 8, 2018            A, B, D, F,    NAC_E_0012971
                                                                                                               $15,000 is deposited         G, K, L        6
                   [. . . .]                                                                                   into Guaranty Bank and
                                                                                                               Trust Account x7867                         NAC_E_0014615
                   J.Y. responded to the email below “Ok will do. I’ll get the payment out today because I     for services purportedly                    4
                   know the due diligence is really picking up. Just send the agreement at some point so we    rendered to [HS CPAs
                   have for our records. No rush.:”                                                            as fraudulently invoiced                    NAC_E_0012971
                                                                                                               HSC August 2018 2                           6
                   [. . . .]                                                                                   (NAC_00000906) as
                                                                                                               alleged in Count 2 of
                   From: Michael Tew                                                                           Indictment.
                   To: Jonathan Yioulos
                   Subject: ACH INVOICE                                                                        H.S. is expected to
                   Date: Tuesday, August 7, 2018 11:41:30 AM                                                   testify that s/he is not a
                   Attachments: [H.S. CPAs] Consulting Invoice 8 7 18.pdf                                      licensed accountant,
                   JY                                                                                          never performed any
                                                                                                               work for NAC, and was
                   Expense invoice for the financial consultant attached.                                      not associated with HS
                                                                                                               CPAs. H.S. was,
                   I can send you the agreement with the consultant if need be. Easier just to send the $ to   however, a college
                   me and I’ll                                                                                 friend of Kimberley
                   pay them.                                                                                   Tew’s.

                   Wire information:                                                                           Michael is the sole
                   ACH: $15,000                                                                                signatory on the
                   Michael Tew                                                                                 Guaranty account
                   Guaranty Bank & Trust Company
                   Routing: [x]0966
                   Account: [x]7867
                   ___________________
                   Michael A Tew
                   Chief Financial Officer
                   National Air Cargo Holdings, Inc.
                   mtew@ctr.nationalairlines.com
                   +1 917.685.1312

                                                                                    1
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Entry   Date     Statement(s)                                                                               Additional Context         801            Source
                                                                                                                                       Rationale(s)
2       8/7/18   MT1312:        Let me know when have 5 mins to speak                                       “[K.]” is a reference to   A, B, D, F,    SW_FIL_003423
                 JY1709:        Now is fine                                                                 a NAC employee             G, K, L.       24, Rows 6366,
                 MT1312:        Received?                                                                                                             6367, 6369 –
                 JY1709:        Yeah call me                                                                The reference to                          6383
                 JY1709:        As soon as you can. Leaving in a minute                                     “received” is a
                 MT1312:        Will resend ASAP. Thank you                                                 reference to emails
                 MT1312:        Should I email [K.] to pull it?                                             regarding fraudulent
                 JY1709:        Working from my computer now.                                               invoices for HS CPAs
                 JY1709:        Send your invoice (with just feign consulting invoice attached for fees).
                                I’ll be working for 1.5 hours                                               The “Guaranty
                 MT7473:        WILL DO                                                                     account” is a reference
                 MT7473:        You’re a good man - not sure why you are doing this for me?                 to an account ending
                 MT7473:        Just need to get out of the sam                                             x7867 on which
                 JY1709:        All good. You work your ass off. Let’s just keep rolling.                   Michael Tew was the
                 JY1709:        Guaranty account?                                                           sole signatory.
                 JY1709:        $15K ach today right?                                                       [GUAR_00000034]
                 JY1709:        ACH is our
                 JY1709:        Out*                                                                        “ACH” is automated
                 MT7473:        Thank you !! Sent you invoice to load into system                           clearinghouse. See
                                                                                                            Indictment ¶12.

3       8/8/18   Michael Tew, using his NAC business email address responded to one the email sent          On August 8, 2018          A, B, D, F,    NAC_E_0012637
                 from J.Y. on August 7, 2018:                                                               $15,000 is deposited       G, K, L        4
                                                                                                            into Guaranty Bank and
                 Jon —                                                                                      Trust Account x7867
                                                                                                            for services purportedly
                 This is invoice 2/2. Important as we are signing our engagement with HK investor group     rendered to [HS CPAs
                 today.                                                                                     as fraudulently invoiced
                                                                                                            at HSC August 2018 2
                 Pls send ACH                                                                               (NAC_00000906) as
                                                                                                            alleged in Count 2 of
                 Same as yesterday.                                                                         Indictment

                 Thank you                                                                                  See above, entry #1, for
                                                                                                            information about H.S.
                 Michael Tew                                                                                and H.S.CPAs



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Entry   Date      Statement(s)                                                                              Additional Context          801            Source
                                                                                                                                        Rationale(s)
4       8/8/18    JY1709:        I thought the new inv for the consulting was going to be $10K?             On August 8, 2018,          A, B, D, F,    SW_FIL_003423
                  JY1709:        $25K total                                                                 $15,000 is deposited        G, K, L        24, Rows 6402 -
                  MT7473:        Sorry - $30K. This one is $15K. I’m sorry - in a meeting with [redacted[   into Guaranty Bank and                     6411
                                 doing all of our fuel stuff he flew here to meet me.                       Trust Account [x]7867
                  MT7473:        Call you after.                                                            for services purportedly
                  MT7473:        Thank you!!!!!!!!!!!!!!!!!!!!                                              rendered to [H.S.
                  MT7473:        SORRY to be short. Getting crushed today.                                  CPAs] as fraudulently
                  MT7473:        How was the show?                                                          invoiced at HSC
                  JY1709:        It was great ????                                                          August 2018 2
                  JY1709:        Your ACH is out                                                            (NAC_00000906) as
                  JY1709:        For the consulting                                                         alleged in Count 2 of
                                                                                                            Indictment

                                                                                                            See above, entry #1, for
                                                                                                            information about H.S.
                                                                                                            and H.S.CPAs

5       8/9/18    JY1709:        Hey, no rush, but when do you think you’ll send the BTC back? Just so I    “BTC” is short for          A, B, C, D,    SW_FIL_003423
                                 have a timeframe                                                           bitcoin.                    F, G, H, K,    24, Rows 6246 -
                  MT7473:        hecking brb - been phone glued to ear since like 6:30                                                  L, N           6249
                  JY1709:        All good. No worries                                                       See Indictment ¶ 25
                  MT7473:        You’ll get it I promise                                                    (alleging that Tews
                                 Haven’t gotten off phone                                                   gave Yioulos bitcoin as
                                                                                                            part of the fraud)

6       8/13/18   JY1709:        Yeah call me. [A.S] on me a bit about AMEX charges FYI o                   The references to           E              SW_FIL_003423
                  MT7473:        Yes RE [A.S]. Call you later we’ll discuss how to handle                   “Amex” and “King                           24, Rows 6464,
                                                                                                            Soopers” are references                    6467
                                                                                                            to efforts by others at
                                                                                                            NAC to investigate the
                                                                                                            use of Michael Tew’s
                                                                                                            corporate card to buy
                                                                                                            gift cards at Denver-
                                                                                                            area grocery stores.
                                                                                                            See Complaint, ECF
                                                                                                            No. 1 at ¶¶ 7, 11. [A.S.]
                                                                                                            was NAC’s Director of


                                                                                  3
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Entry   Date      Statement(s)                                                                                  Additional Context         801            Source
                                                                                                                                           Rationale(s)
                                                                                                                Accounting, who was
                                                                                                                looking into the
                                                                                                                legitimacy of the
                                                                                                                $45,000 of improper
                                                                                                                charges on Michael
                                                                                                                Tew’s corporate credit
                                                                                                                card.
7       8/14/18   On August 14, 2018 Michael Tew, using his business email address,                             See Indictment ¶ ¶11,      A, B, D, F,    NAC_E_0016609
                  mtew@ctr.nationalairlines.com sent an email to J.Y.’s business email address with teh         13, 19, 20                 G, H, K, L     2-
                  subject line “INVOICES: MICHAEL TEW ACH AUGUST 15”, writing                                   See above, entry #1, for                  NAC_E_0016609
                                                                                                                information about H.S.                    4
                  JY                                                                                            and H.S.CPAs
                                                                                                                                                          NAC_E_0006044
                  Please see attached invoices:                                                                                                           2-
                                                                                                                                                          NAC_E_0006044
                       1.   MT August 15 invoices. See new payment plan included. Just a slight                                                           4
                            modification.
                       2.   Final expense invoice for CPA for financial modeling and due diligence

                  Please send ACH today for arrival tomorrow.
                  Thank you
8       8/14/18   JY1709:      Brutal. Any update on crypto?                                                    Message sent to            A, B, C, F,    SW_FIL_003423
                                                                                                                Michael Tew                N              24, Rows 6450

                                                                                                                See Indictment ¶ 25
                                                                                                                (alleging that Tews
                                                                                                                gave Yioulos bitcoin as
                                                                                                                part of the fraud)

9       8/18/18   JY1709:        Sent the confirm. Will be in a non profit board of directors retreat until 2   See Indictment ¶ 25        A, B, C, D,
                                 today (shoot me haha). Please send BTC back this weekend if possible!          (alleging that Tews        F, G, H, K,
                                 Thanks!!!                                                                      gave Yioulos bitcoin as    I, N
                  MT7473:        You’re the man. It’s coming. I promise. She’s working on it today.             part of the fraud)

10      8/21/18   JY1709:        Hey, any update on this BTC? It’s been 2 weeks.                                Message sent to            A, B, C, D,    SW_FIL_003423
                                                                                                                Michael Tew                I, N           24, Rows 6673



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Entry   Date      Statement(s)                                                                               Additional Context         801            Source
                                                                                                                                        Rationale(s)


                                                                                                             See Indictment ¶ 25
                                                                                                             (alleging that Tews
                                                                                                             gave Yioulos bitcoin as
                                                                                                             part of the fraud)

11      8/22/18   On August 22, 2018 [C.R.]@gmail.com sent the communication below to J.Y.’s business        The [C.R.]@gmail.com       A, B, D, F,    NAC_E_0005871
                  account:                                                                                   email account is the one   G, H, K, L     5-
                                                                                                             associated with 5580,                     NAC_E_0005871
                  Sorry. There was a formatting error on the invoice previously submitted. Please use this   as described in the                       6
                  one here and if you could also send me a confirmation that the wire has been submitted     proffer on page 9. C.R.
                  today your assistance would be greatly appreciated.                                        was represented to be
                                                                                                             the owner of 5580 JD,
                  J.Y. responded, cc’ing Michael Tew’s business account: with an attached payment            which was one of the
                  confirmation, writing “Hello, please see attached for payment confirmation.”               shame companies used
                                                                                                             to conceal payments to
                                                                                                             Michael and Kimberley
                                                                                                             under false and
                                                                                                             fraudulent pretenses.
                                                                                                             See Indictment ¶¶ 11,
                                                                                                             13, 15, 19, 20, 22

                                                                                                             On August 23, 2018,
                                                                                                             $15,000 is wired from
                                                                                                             National Air Cargo into
                                                                                                             JP Morgan Chase
                                                                                                             [x]2171 for purported
                                                                                                             payment to [5530 JD]
                                                                                                             LLC as fraudulently
                                                                                                             documented in 5JDL
                                                                                                             2018.08.22 73211116
                                                                                                             (NAC_00000539;
                                                                                                             NAC_E_00094026)




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Entry   Date      Statement(s)                                                                             Additional Context         801            Source
                                                                                                                                      Rationale(s)
12      8/22/18   On August 22, 2018 [C.R.]@gmail.com sent the communication below to J.Y.’s business      See above, entry 11, for   A, B, D, F,    SW_FIL_000000
                  account:                                                                                 information about C.R.,    G, H, K, L     87
                                                                                                           CR@gmail.com, and
                      Could you please send confirmation that the wire was submitted and/or a fed funds    5530JD and the                            SW_FIL_000000
                      reference number?                                                                    relevant paragraphs of                    57
                                                                                                           the indictment.
                  J.Y. sent a separate email with this business email account:                                                                       NAC_E_0016989
                                                                                                           On August 23, 2018,                       8
                      Please see attached for payment confirmation.                                        $15,000 is wired from
                                                                                                           National Air Cargo into                   NAC_E_0006399
                      Thank you!                                                                           JP Morgan Chase                           9-
                                                                                                           [x]2171 for purported                     NAC_E_0006400
                      Jonathan Yioulos, CPA | Manager of Financial Reporting                               payment to [5530 JD]                      0
                      National Air Cargo Holdings, Inc.                                                    LLC as fraudulently
                                                                                                           documented in 5JDL
                                                                                                           2018.08.22 73211116
                                                                                                           (NAC_00000539;
                                                                                                           NAC_E_00094026)

13      8/22/18   MT1312:        Wire StTus?                                                               On August 23, 2018,        A, B, C, D,    SW_FIL_003423
                  JY1709:        It’s out. Just sent you the confirm                                       $15,000 is wired from      F, G, H, I,    24, Rows 6674-
                  MT1312:        Thank you!!                                                               National Air Cargo into    K, N           6676; 6685
                                 [Omitted]                                                                 JP Morgan Chase
                                                                                                           [x]2171 for purported
                  MT1312: What us your btc address                                                         payment to [5530 JD]
                  JY1709:      114dguVH1TBufs5SEBgTkyfGbx43sKr8Q8                                          LLC as fraudulently
                  MT1312:                                                                                  documented in 5JDL
                      https://www.blockchain.com/btc/tx/53d5789dcd318914cc805b1125fd97a445105a99           2018.08.22 73211116
                  b3db909e56fef2f31d6cea9b                                                                 (NAC_00000539)
                  JY1709:      Thank you!
                  JY1709:      Got it!                                                                     See Indictment ¶ 25
                  MT1312: Happy?

14      8/23/18   JY1709:        Hell yes! Thank you!!! And thank Kimberley for me too!                    See above, entry 11, for   A, B, D, F,    SW_FIL_003423
                  MT7473:        That account number for [5530 JD] was wrong. Guy gave US            the   information about C.R.,    G, H, K        24, Rows 6686-
                                 wrong Acct number. There’s only ONE 5 in the account number.              CR@gmail.com, and                         6696
                                 [x]2171                                                                   5530JD and the


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Entry   Date      Statement(s)                                                                               Additional Context         801            Source
                                                                                                                                        Rationale(s)
                  JY1709:        Yes                                                                         relevant paragraphs of
                  MT7473:        Can you resumit                                                             the indictment.
                  JY1709:        Yes
                  MT7473:        Not your fault
                  MT7473:        thans                                                                       On August 23, 2018,
                  MT7473:        Guy gave bad wire instructions                                              $15,000 is wired from
                  MT7473:        Thanks                                                                      National Air Cargo into
                  MT7473:        That wire is out / funds hit, thank you. Finally                            JP Morgan Chase
                  JY1709:        No problem                                                                  [x]2171 for purported
                                                                                                             payment to [5530 JD]
                                                                                                             LLC as fraudulently
                                                                                                             documented in 5JDL
                                                                                                             2018.08.22 73211116
                                                                                                             (NAC_00000539)

15      8/23/18   From jyioulos to [C.R.]@gmail.com                                                          See above, entry 11, for   A, B, D, F,    SW_FIL_000000
                  Hello,                                                                                     information about C.R.,    G, H, K, L     90
                                                                                                             CR@gmail.com, and
                  Please see attached for updated payment confirmation.                                      5530JD and the
                                                                                                             relevant paragraphs of
                  Since this is a new account, the bank will call use in approx. 15-30 min to confirm this   the indictment.
                  wire as well. A fed reference number will be generated at that time and you should see
                  the funds weithin the hour.
                                                                                                             On August 23, 2018,
                  Thank you,                                                                                 $15,000 is wired from
                                                                                                             National Air Cargo into
                  Jon Yioulos                                                                                JP Morgan Chase
                  716-580-6943                                                                               [x]2171 for purported
                                                                                                             payment to [5530 JD]
                                                                                                             LLC as fraudulently
                                                                                                             documented in 5JDL
                                                                                                             2018.08.22 73211116
                                                                                                             (NAC_00000539)

16      8/24/18   On August 24, 2018 J.Y. used his business email address to respond to a question from a    See Indictment ¶¶11, 12    A, B, D, F,    NAC_E_0010982
                  NAC employee about the August 23, 2018 wire, writing “see attached for invoice!                                       G, H, K, L     3;
                  Thanks,”


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Entry   Date      Statement(s)                                                                                Additional Context        801            Source
                                                                                                                                        Rationale(s)
                                                                                                                                                       NAC_E_0006960
                                                                                                                                                       8-
                                                                                                                                                       NAC_E_0006960
                                                                                                                                                       9
17 8    8/27/18   JY1709:        Hey, sorry missed these yesterday. Passed out early last night for some      “BUF” is a reference to   A, B, D, F,    SW_FIL_003423
                                 reason. Yeah, just let me know how much she needs, I can send you like       Buffalo, New York,        G, H, K, N     24, Rows 6737-
                                 $5K worth if you want                                                        where NAC had offices.                   6757
                  MT7473:        Thanks! Let me check with her this am appreciate buddy
                                                                                                              Substratum is a
                                 [. . . .]                                                                    cryptocurrency

                  MT1312:        Pls send 5k to 3KD5RYYteA4Cer34J3S1iyFYsM1skAo16h                            See Indictment ¶ 25
                  MT1312:        Thank you
                  JY1709:        Ok. Right now I’ve got some trades going as well, will send shortly
                  MT1312:        Thx
                  MT1312:        Let me know timing?
                  MT1312:        Thx
                  MT1312:        THANK YOU
                  JY1709:        Any timing on when I’ll get it back? I know you guys take care of me, just
                                 wondering
                  JY1709:        All set
                  JY1709:        Sent her just over .75 BTC
                  MT7473:        Thank you !!
                  JY1709:        Any idea when I’ll get it back? Just wondering
                  MT1312:        She said end of week. But let me confirm.
                  JY1709:        Ok sounds good
                  JY1709:        FYI, BUF payroll is tomorrow if you want an ACH that hits tomorrow too
                  MT7473:        Would it be ok to send ACH thurs as well?
                  JY1709:        For?
                  MT7473:        me
                  MT7473:        Instead of today I’m saying
                  JY1709:        We can do either
                  JY1709:        Hope she bought substratum ?? up 12% in the last 2 hours!!!

18      8/30/18   On August 30, 2018 J.Y. used his business email account to send an email to Michael         The records reflected     A, B, D, F,    NAC_E_0005574
                  Tew, at his business email account, attaching two payment confirmations from NAC’s          payments to 5530JD        G, H, K        1-



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Entry   Date      Statement(s)                                                                                 Additional Context         801            Source
                                                                                                                                          Rationale(s)
                  bank and writing “Michael, See attached for payment confirmations. I have yours and the      and Michael Tew’s                         NAC_E_0005574
                  due diligence. Thank you!”                                                                   paycheck from NAC                         3

                                                                                                               On August 31, 2018,
                                                                                                               $15,000 s wired from
                                                                                                               National Air Cargo into
                                                                                                               JP Morgan Chase
                                                                                                               [x]2171 for purported
                                                                                                               payment to [5530 JD]
                                                                                                               LLC as fraudulently
                                                                                                               documented in 5JDL
                                                                                                               2018.08.31 7321117
                                                                                                               NAC_00000540

19      8/30/18   JY1709:        You and Michael decide what you want to do                                    Messages sent to           A, B, D, F,    SW_FIL_003381
                  JY1709:        I can't make that decision for you!                                           Kimberley Tew              G, H, K, L     77
                  JY1709:        I'm not worried about that. I'm just paying you guys to pay the consultants
                                 for Hong Kong and other investors. That's all                                 “Consultants for Hong
                                                                                                               Kong” was the cover
                                                                                                               story being used to
                                                                                                               justify payments to the
                                                                                                               sham vendors. See entry
                                                                                                               3, above.
20      8/30/18   MT7473:        Sending you invoice for ACH later today before 4 pls. Great work this         On August 31, 2018,        A, B, D, F,    SW_FIL_003423
                                 week btw, thanks. On with the HK guys for the next hour or so                 $15,000 s wired from       G, H, K        24, Rows 6768,
                  JY1709:        No problem. Any update with discussion with [C.A.]. Just don’t want this      National Air Cargo into                   6779-6786
                                 to linger. I can call him too                                                 JP Morgan Chase
                                                                                                               [x]2171 for purported
                                 [. . . .]                                                                     payment to [5530 JD]
                                                                                                               LLC as fraudulently
                  MT7473:        Make sure you have that Acct right for [5530 JD]                              documented in 5JDL
                  MT7473:        All good?                                                                     2018.08.31 7321117
                  JY1709:        Yes sending confirms                                                          NAC_00000540
                  MT7473:        Thank you
                  JY1709:        Send a [5530JD] inv                                                           See above, entry 11, for
                  MT7473:        Right yes will do                                                             information about C.R.,
                                                                                                               CR@gmail.com, and


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 Entry    Date      Statement(s)                                                                                    Additional Context         801            Source
                                                                                                                                               Rationale(s)
                    MT7473:        You sent it before deadline just need the invoice right?                         5530JD and the
                    JY1709:        Just sent you the confirms                                                       relevant paragraphs of
                                                                                                                    the indictment.

 21       8/31/18   MT7473:        Confirming you weee able to get [C.R.] wire out?                                 On August 31, 2018,        A, B, D, F,    SW_FIL_003423
                    JY1709:        Yeah it’s already out to him                                                     $15,000 was wired          G, H, K        24, Rows 6794,
                                                                                                                    from National Air                         6795
                                                                                                                    Cargo into JP Morgan
                                                                                                                    Chase [x]2171 for
                                                                                                                    purported payment to
                                                                                                                    [5530 JD] LLC as
                                                                                                                    fraudulently
                                                                                                                    documented in 5JDL
                                                                                                                    2018.08.31 7321117
                                                                                                                    NAC_00000540

                                                                                                                    See above, entry 11, for
                                                                                                                    information about C.R.,
                                                                                                                    CR@gmail.com, and
                                                                                                                    5530JD and the
                                                                                                                    relevant paragraphs of
                                                                                                                    the indictment.


September 2018

 Entry    Date      Statement(s)                                                                                    Additional Context         801            Source
                                                                                                                                               Rationale(s)
 22       9/1/18    MT7473:        Text me your BTC address pls                                                     See above, entry 11, for   A, B, D, F,    SW_FIL_003423
                    MT7473:        Always double / triple check its the correct address                             information about C.R.,    G, H, K, N     24, Rows 6801-
                    JY1709:        114dguVH1TBufs5SEBgTkyfGbx43sKr8Q8                                               CR@gmail.com, and                         6805
                    JY1709:        Did you guys send it?                                                            5530JD and the
                    MT7473:        Not yet - she’s working on it na di want it handy ready so she can fire off to   relevant paragraphs of
                                   you                                                                              the indictment.




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Entry   Date     Statement(s)                                                                              Additional Context         801             Source
                                                                                                                                      Rationale(s)
                                                                                                           See Indictment ¶ 25.
                                                                                                           “She” is a reference to
                                                                                                           Kimberley Tew
23      9/7/18   JY1709:        Hey, I need another [5530JD] invoice…                                      See above, entry 11, for   A, B, D, E,     SW_FIL_003423
                 JY1709:        For the last amount you had me pay the other day                           information about C.R.,    F, G, H, I, K   24, Rows 6845 -
                 MT7473:        Will do                                                                    CR@gmail.com, and                          6851
                 JY1709:        We also have to talk payables and what not. Give me a call when you have   5530JD and the
                                some time                                                                  relevant paragraphs of
                 MT7473:        Yes will do – brb. Been working around the clock Hong Kong and             the indictment.
                                London hours
                 JY1709:        By the way, not to stress you out, but I’m gonna start getting shit from   See above, entry 6, for
                                [A.S]. Since August 2nd, we’ve sent you $77,500. That’s one month. I       information related to
                                know [5530 JD] was its own thing, but that’s another $45K. Plus we’re      “[A.S]” and the use of a
                                eating the Amex cost of $45K. That’s $167K in one month essentially.       NAC-issued corporate
                 JY1709:        And another $30K to schaife. That’s $200K                                  card for personal use by
                                                                                                           Michael and Kimberley
                                                                                                           Tew.

                                                                                                           See above 1 for
                                                                                                           information related to
                                                                                                           HS CPAs.
24      9/7/18   On September 7, 2018 J.Y. received an email into his business email account with the      See above, entry 11, for   A, B, D, F,     NAC_E_0006183
                 subject line “Is there an invoice?” from a NAC employee about a payment on August 31,     information about C.R.,    G, H, K, L.     8
                 2018 to [5530 JD]. He responded “Yes. Will send it over soon.”                            CR@gmail.com, and
                                                                                                           5530JD and the
                                                                                                           relevant paragraphs of
                                                                                                           the indictment.

25      9/7/18   JY1709:        Hey, I need another [5530 JD] invoice...                                   See above, entry 11, for   A, B, D, E,     SW_FIL_003423
                 JY1709:        For the last amount you had me pay the other day                           information about C.R.,    F, G, H, K,     24
                 MT7473:        Will do                                                                    CR@gmail.com, and          L
                 JY1709:        We also have to talk payables and what not. Give me a call when you have   5530JD and the
                                some time                                                                  relevant paragraphs of
                 MT7473:        Yes will do - brb. Been working around the clock Hong Kong and London      the indictment.
                                hours
                 JY1709:        By the way, not to stress you out, but I’m gonna start getting shit from
                                [A.S]. Since August 2nd, we’ve sent you $77,500. That’s one month.


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                                 I know [5530 JD] was its own thing, but that’s another $45K. Plus we’re      See above, entry 1, for
                                 eating the Amex cost of $45K.                                                information about H.S.
                                 That’s $167K in one month essentially.                                       and HS CPAs
                  JY1709:        And another $30K to [HS CPAs]. That’s $200K
                  MT7473:        Ok getting caught up                                                         See above 6 for
                                                                                                              information related to
                                                                                                              the use of a NAC-
                                                                                                              issued corporate card
                                                                                                              for personal use by
                                                                                                              Michael and Kimberley
                                                                                                              Tew.

26      9/7/18    On September 7, 2018 J.Y. used his business email account to forward to a NAC               See Indictment ¶ 11, 12,   A, B, D, F,    NAC_E_0007112
                  employee that been sent to him on August 7, 2018 from Michael Tew’s business email          13                         G, H, K, L     5-
                  account. That email included an invoice for HS CPAs.                                                                                  NAC_E_0007112
                                                                                                                                                        6
27      9/7/18    On September 7, 2018 J.Y. used his business email account t forward to a NAC                See Indictment ¶ 11, 12,   A, B, D, F,    NAC_E_0007112
                  employee that been sent to him on August 7, 2018 from Michael Tew’s business email          13; see above, entry 3     G, H, K, L     8-
                  account. That email included an invoice for HS CPAs                                                                                   NAC_E_0007112
                                                                                                                                                        9
28      9/10/18   JY1709:        Yeah I need Michael to send me 2 invoices for [5530 JD]. (One for last       Messages to Kimberley      A, B, D, F,    SW_FIL_003381
                                 time)                                                                        Tew                        G, H, K        42-
                  JY1709:        Sure. I just need Michael to send me an email asking me to pay? It’ll help                                             SW_FIL_003381
                                 with [A.S] asking questions                                                  See above, entry 11, for                  44
                  JY1709:        Yeah that would be great. If I have an invoice, a W-9, Michael copied on     information about C.R.,
                                 the email...it’d be easy                                                     CR@gmail.com, and
                                                                                                              5530JD and the
                                 [. . . .]                                                                    relevant paragraphs of
                                                                                                              the indictment.
                  JY1709:        Just sent Michael an email. It’s super important I get those things
                  JY1709:        [HS CPAs] need an W9                                                         See entry 32 below,
                                                                                                              reflecting Jonathan
                                 [. . . .]                                                                    Yioulos’s confirmation
                                                                                                              of decision to send
                  JY1709:        Just give me some kind of info for [HS CPAs]. Need address, phone etc.       funds by wire rather
                                                                                                              than through automated
                                                                                                              clearinghouse (ACH) as


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                  JY1709:        10 min . . . . this literally has to be the last one for this consultant. Cause the   directed by Kimberley
                                 other ones were supposed to be the last as well. Can’t do anymore for this            Tew.
                                 one.
                  JY1709:        hey, all set
                  JY1709:        It’s an ACH. Funds hit tomorrow.
                  JY1709:        It was the only thing I could do. You have to trust me on that.
                  JY1709:        Too many questions otherwise. I’m sorry.

                                 [. . . .]

                  JY1709:        Maybe. It just draws a lot more attention. Especially because I’ll have to
                                 recall the ACH
                  JY1709:        Ok. I’ll try to get it out around 1:30 my time.

                                 [. . . .]

                  JY1709:        Wire it ready to go but waiting on [A.S.] approval.
                  JY1709:        Wire is out!

29      9/10/18   From [C.R.]@gmail.com                                                                                The attachment             A, B, D, F,    SW_FIL_000000
                  Hello.                                                                                               contained fraudulent       G, H, K, L     60
                                                                                                                       invoices for [5530 JD]
                  Here is the final invoice and per your request a copy of the second invoice and W-9. If                                                        NAC_E_0014668
                  you could confirm that this last payment has been submitted I would appreciate it.                   See above, entry 11, for                  9-
                                                                                                                       information about C.R.,                   NAC_E_0014669
                  Please let me know if you have any questions                                                         CR@gmail.com, and                         2
                                                                                                                       5530JD and the
                  Best Regards,                                                                                        relevant paragraphs of                    NAC_E_0006191
                                                                                                                       the indictment.                           0-
                  CR                                                                                                                                             NAC_E_0006191
                                                                                                                                                                 1
                  J.Y. responded, cc’ing Michael Tew’s business email account, with an attached payment
                  confirmation, writing “Hello, please see attached for payment confirmation. Thank you!

30      9/10/18   In an email to NAC employees on September 10, 2018 related to invoices from H.S.                     See above, entry 11, for   A, B, D, F,    NAC_E_0006190
                  CPAs J.Y. wrote “Getting these things from Michael today. Will have by end of day!”                  information about C.R.,    G, H, K, L     6;
                                                                                                                       CR@gmail.com, and                         NAC_E_0014811


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                  J.Y. then forwarded the above email to Michael Tew, who was using his business email       5530JD and the                            7-
                  address, writing “Hi Michael, Do you have the items highlighted in yellow for[HS           relevant paragraphs of                    NAC_E_0014812
                  CPAs]? Thanks,”                                                                            the indictment.                           1

                                                                                                             See above, entry 1, for                   NAC_E_0006193
                                                                                                             information about H.S.                    2
                                                                                                             and HS CPAs
31      9/10/18   On September 10, 2018 J.Y. forwarded the email from [C.R.]@gmail.com to a NAC              See above, entry 11, for   A, B, D, F,    NAC_E_0007188
                  employee, writing “see attached fro [5530 JD] invoices and W9!” In a later email           information about C.R.,    G, H, K, L     9;
                  responding to a question from that employee J.Y. wrote “Hmm. I didn’t even look to tell    CR@gmail.com, and                         NAC_E_0014599
                  you the truth. Just leave it as [5530 JD] for now, but I’ll see if we need to change it.   5530JD and the                            4-
                  We’re probably good to leave it honestly.”                                                 relevant paragraphs of                    NAC_E_0014599
                                                                                                             the indictment.                           7

32      9/10/18   On September 10, 2018, J.Y. emailed a Signature Bank employee cc’ing other Signature       See above, entry 11, for   A, B, D, F,    NAC_E_0007189
                  Bank employees attaching a PDF related to cancelling the previously requested $15,000      information about C.R.,    G, H, K, L     2-
                  ACH payment to[5530 JD], writing “hi everyone, Any chance we can cancel this ACH           CR@gmail.com, and                         NAC_E_0007189
                  transaction? They requested we send the funds via wire transfer instead . . .”             5530JD and the                            3
                                                                                                             relevant paragraphs of
                                                                                                             the indictment.

                                                                                                             NAC used Signature
                                                                                                             Bank to conduct its
                                                                                                             business
33      9/12/18   JY1709:        So why is this [C.F.] guy calling here now??                                [L.A.] will testify that   A, B, D, F,    SW_FIL_003423
                  MT7473:        No idea - on a call ring you shortly                                        in 2018 she began          G, H, I, K     24
                  MT7473:        Did he talk to anyone?                                                      receiving telephone
                  JY1709:        He talked to [B.].                                                          calls from someone
                  MT7473:        [S.]?                                                                       identifying themselves
                  JY1709:        Yes                                                                         as [C.F.] [C.F.] claimed
                  MT7473:        What did he say do you know?                                                that Michael Tew owed
                  JY1709:        He said that you scammed him out of $7500                                   him money. When
                  MT7473:        Ok yeah...that will hold a lot of water                                     confronted, Michael
                  MT7473:        Total bullshit                                                              blamed his wife and
                  MT7473:        But thats insane                                                            said she had used the
                  JY1709:        And bob was just like he’s not an employee here just a consultant           corporate credit without
                  MT7473:        I don’t even know the guy                                                   authority to pay off a


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                  MT7473:        Did bob make a big deal out of it?                                             debt. Michael Tew
                  MT7473:        On a call ring you after                                                       described this event in
                  JY1709:        FYI. [A.S] now asking question s about this [C.F.] guy.                        the consensually
                                                                                                                recorded telephone call
                                 She’s ready to tell [C.A.] he called                                           on July 7, 2020
                  JY1709:        Getting bad                                                                    described below. [B]
                  MT7473:        Ok one sec                                                                     and [S] are references
                  MT7473:        Can you take care of It with [A.S]? You need to pull her aside and say look    to a NAC employee
                                 whatever it is I’m sure there is a perfectly good explanation but right now    named, B.S., who
                                 we have our AUDITORS here and we need to stay focused                          received a call from
                  MT7473:        That’s how to handle it                                                        C.F.
                  MT7473:        Just say you will discuss with me directly but keep her head in the game’
                  MT7473:        And that I’ll be sure to handle it and talk to her by end of day               See above 6 for
                  MT7473:        But for now - we need to all stay focused on our jobs                          information related to
                  MT7473:        Thoughts?                                                                      “[A.S]” and the use of a
                  JY1709:        She’s on a fucking mission. Between that, the AMEX, etc. she’s relentless.     NAC-issued corporate
                                 Listen, let her tell [C.A.]. Get an explanation ready. [C.A.] won’t respond    card for personal use by
                                 anyway.                                                                        Michael and Kimberley
                                 Basically say it’s a disgruntled person you or Kimberley works with in a       Tew.
                                 different business. I’m not going to lie to you, he already thinks Kimberley
                                 is the one who had the Amex controversy.

34      9/12/18   JY1709:        Ok. Thank you. Honestly I really like you and Michael, so I’ll help you out    Message to Kimberley       A, B, D, E,    SW_FIL_003381
                                 however I can. I just can’t risk my job here ya know? I’ve already risked a    Tew                        F, G, H, I,    22
                                 lot, but it’s only cause I know how much work he does and he’s always                                     K
                                 vouched for me.

35      9/13/18   JY1709:        Relax. Nobody is turning on you                                                Message sent to            A, B, D, E,    SW_FIL_003381
                                                                                                                Kimberley Tew              F, G, H, I,    13-
                  JY1709:        You’re really not! Just deep breath. I talked to Michael, we have to delete                               K, L           SW_FIL_003381
                                 all text records...we’ll figure this all out                                                                             14

                  JY1709:        I know.

                  JY1709:        Ok, I’m deleting everything...we need to. Worst case scenario they take our
                                 phones. I have to delete these records. For now.



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                  JY1709:        I suggest you do the same

36      9/13/18   JY1709:        [C.F.] CALLED AGAIN                                                                See above 6 for            A, B, D, F,     SW_FIL_003423
                  MT7473:        Handling                                                                           information related to     G, H, I, K, L   24
                  MT7473:        Just stay focused                                                                  “[A.S]” and the use of a
                  JY1709:        He talked to [K.E.], told her you represented yourself as a National Air           NAC-issued corporate
                                 Cargo employee and he wants his money. He wants his $7500. He                      card for personal use by
                                 threatened to drag National through the mud. He was asking for [K.E.]’s            Michael and Kimberley
                                 name and shit. She came into [A.S]’s office nearly in tears kind of freaked        Tew.
                                 out. I was in [A.S]’s office. [A.S] immediately called [C.A.] and left him a
                                 message telling him she had something urgent to talk about                         See above, entry 33, for
                  MT7473:        Important you and I handle the airline payables asap. He’s down There              information about C.F.
                                 today.
                  MT7473:        I’ll take care of it. He’s still sleeping                                          “[K.E.]” is a reference
                  MT7473:        He has his money. I’m going to get him his last bit here and make him go           to a NAC human
                                 away                                                                               resources employee
                  JY1709:        Well I’ve heard it’s taken care of numerous times. I’m sorry if I’m
                                 skeptical here                                                                     [C.A.] is a reference to
                  JY1709:        Anddd he called again. This time talked to bob cause [K.E.] was in with            one of NAC’s owners
                                 myself and [A.S].
                  MT7473:        What?
                  JY1709:        [C.F.] called again. He talked to bob this time. Now [A.S] has left a
                                 voicemail for [C.A.] and a text
                  JY1709:        This guy has been calling [C.A.] and [L.A.] too
                  MT7473:        On with [L.A.] now
                  JY1709:        Ok
                  JY1709:        Don’t forget delete texts from both phones. I’m doing that now. It needs to
                                 happen
                  JY1709:        What’s going on

37      9/18/18   JY1709:        Yeah I’m not staying for long. Without Michael this job is going to be             Messages to Kimberley      A, B, D, E,     SW_FIL_003120
                                 impossible                                                                         Tew                        F, G, H, I, K   80
                  JY1709:        I just tried calling him...yeah but at what point is salary and the bullshit not
                                 worth it?                                                                          See above, entry 33, for                   SW_FIL_003120
                  JY1709:        You say exactly why you didn’t pay it. You were being blackmailed and              information about C.F.                     82-
                                 why would you pay something when you can’t afford it.


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                  JY1709:        Well why would you pay something when being blackmailed. ThT doesn’t             $15,000 is wired from                     SW_FIL_003120
                                 make sense                                                                       National Air Cargo into                   92
                  JY1709:        Just hear me out...it makes no sense to pay money back when Being                JP Morgan Chase
                                 blackmailed                                                                      [x]2171 for purported                     SW_FIL_003380
                  JY1709:        Can we talk tomorrow?                                                            payment to [5530 JD]                      99-
                  JY1709:        Be easier for me anyway...                                                       LLC as fraudulently                       SW_FIL_003381
                  JY1709:        I don’t know what to do or to tell you. I really don’t. I feel so fucking bad.   documented in 5JDL                        09
                                 You guys are getting fucked over by this scumbag [C.F.]                          2019.09.10 7321120
                  JY1709:        You guys were being blackmailed and you’d do anything to keep                    (NAC_00000542)
                                 yourselves safe. That’s all there is to it                                       Messages to Kimberley
                  JY1709:        Super Fucked                                                                     Tew
                  JY1709:        Let’s talk tomorrow...
                  JY1709:        It is 1000% fraud                                                                $15,000 is wired from
                  JY1709:        No no no. You have legit proof this [C.F.] guy blackmailed you tho               National Air Cargo into
                  JY1709:        I’ll talk to Michael in AM                                                       JP Morgan Chase
                  JY1709:        We will!!! I promise                                                             [x]2171 for purported
                  JY1709:        You won't                                                                        payment to [5530 JD]
                  JY1709:        Hi                                                                               LLC as fraudulently
                  JY1709:        you're joking right                                                              documented in 5JDL
                  JY1709:        I can't text                                                                     2019.09.10 7321120
                  JY1709:        By Who?!                                                                         (NAC_00000542)
                  JY1709:        I already told Michael I’m calling at noon. I just can’t text right now cause
                                 I’m swamped

38      9/18/18   On September 18, 2020 the following series of emails were exchanged between                     See above, entry 11, for   A, B, D, F,    SW_FIL_000000
                  [C.R.]@gmail.com and J.Y., who was using his business email address:                            information about C.R.,    G, H, K, L     31
                                                                                                                  CR@gmail.com, and
                  [C.R.]@gmail.com to J.Y.                                                                        5530JD and the                            SW_FIL_000000
                                                                                                                  relevant paragraphs of                    38
                      Please the see the attached invoice. I would really appreciate it if you could              the indictment.
                      please confirm when this is processed.                                                                                                SW_FIL_000000
                                                                                                                  $15,000 is wired from                     70
                  From J.Y. to [C.R.]@gmail.com:                                                                  National Air Cargo into
                                                                                                                  JP Morgan Chase                           NAC_E_0011789
                      Hi [C.R.],                                                                                  [x]2171 for purported                     3-
                                                                                                                  payment to [5530 JD]                      NAC_E_0011789
                      I just wanted to inform you that Michael is no longer with National as you may or           LLC as fraudulently                       4


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                      may not know. It’s very unfortunate, but I will make sure this invoice gets taken care   documented in 5JDL
                      of.                                                                                      2019.09.10 7321120                          NAC_E_0007181
                                                                                                               (NAC_00000542)                              7-
                      Also, do you happen to have a copy of the consulting agreement? It would just be                                                     NAC_E_0007181
                      helpful to have that on record. As I recall, Michael did say that you did work                                                       8
                      through September, so this would be the last invoice.

                      Thank you!

                      Jonathan Yioulos, CPA | Manager of Financial Reporting
                      National Air Cargo Holdings, Inc.
                      350 Windward Drive | Orchard Park, NY 14127

                  From J.Y. to [C.R.]@gmail.com

                      Hello,

                      Please see attached for confirmation.

                      Thank you,

                     Jon Yioulos
                     716-580-6943
39      9/18/18   MT1312: Any news?                                                                            See above, entry 11, for   A, B, D, F,      SW_FIL_003423
                  JY1709:    I don’t know what I can possibly do.                                              information about C.R.,    G, H, I, J, K,   24
                             It’s way too risky                                                                CR@gmail.com, and          L
                  MT1312: Even to [5530 JD]?                                                                   5530JD and the
                  JY1709:    Yes. I can’t pay invoices from HK investing without them coming from              relevant paragraphs of
                             either you or from [C.R.]. I literally don’t know what to do                      the indictment.
                  MT1312: Ok. So they’re watching the invoices
                  MT1312: I’m screwed bro.                                                                     “Hong Kong
                  MT1312: If this is the last one (obv) you think they will notice?                            Consultants” was the
                  JY1709:    Hey, got an email from [C.R.] (HK consulting). Going to email tell                cover story being used
                             him/her you’re no longer employed with national, but it looks like we have        to justify the payments
                             one more invoice to pay. Is that fine?. Assuming you have a personal              to the places Michael
                             relationship, can you get the consulting agreement too just Incase I need it.     Tew directed. See entry
                             Really appreciate it                                                              3, above.


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                  JY1709:        Don’t forget to get the consulting agreement                                     [C.A.] is a reference to
                  MT7473:        Won’t                                                                            an owner of NAC
                  MT7473:        Working on it
                  MT7473:        Finding it
                  JY1709:        Thanks!                                                                          $15,000 is wired from
                                                                                                                  National Air Cargo into
                                                                                                                  JP Morgan Chase
                                                                                                                  [x]2171 for purported
                                                                                                                  payment to [5530 JD]
                                                                                                                  LLC as fraudulently
                                                                                                                  documented in 5JDL
                                                                                                                  2019.09.10 7321120
                                                                                                                  (NAC_00000542)

40      9/28/18   MT1312:        Can you send anything before wire cutoff?                                        “Coinbase” is a             A, B, C, D,     SW_FIL_003423
                  JY1709:        If I can do it, it’ll have to be an ACH. Which won’t hit til Monday              reference to a publicly     E, F, G, H, I   24
                  MT1312:        Separately do you have a coinbase account                                        traded cryptocurrency       K, L, N
                  MT1312:        The goal is to get you btc as well                                               exchange platform
                  JY1709:        Yes I do. But I’ve been using binance as well to trade.
                  MT1312:        Do you have an instant buy limit on coinbase                                     Binance is a reference
                  JY1709:        I think like $25K with a bank                                                    to a publicly traded
                  MT1312:        If you have a debit or credit card added you will see a instant buy limit        cryptocurrency
                  MT1312:        Trust me. We are going to get you btc.                                           exchange platform
                  MT1312:        Sorry. Last time no issues with a wire. Is it possible to try? We are running
                                 out of solutions here and Kimberley is flipping out.                             “[A.S]” is a reference to
                  JY1709:        I don’t think I can get a wire out. Just not possible                            NAC’s Director of
                  JY1709:        I told [A.S] on the last one that it was the last time for [5530 JD] cause she   Accounting.
                                 was asking about it
                  MT1312:        Kimberley asked if you have a way to purchase btc today.                         “[E.G.]” and “[R.H.]”
                  JY1709:        Yes through coinbase                                                             are references to
                  MT1312:        I don’t know the mechanics. She’s asking what the max instant purchase is.       lawyers who performed
                  MT1312:        We can send you the btc on Monday                                                work for NAC
                  JY1709:        With a card $11,250 it looks like
                  MT1312:        Instantly?                                                                       See above, entry 11, for
                  JY1709:                                                                                         information about C.R.,
                  MT1312:        If you purchase any of the top 3 would you receive btc right away                CR@gmail.com, and


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               JY1709:        This is with a CC                                                             5530JD and the
               JY1709:        sorry that’s with a bank account                                              relevant paragraphs of
               [. . . .]                                                                                    the indictment.
               JY1709:
               JY1709:        Idk don’t worry about it right now                                            See Indictment ¶ 25
               MT1312:        Can you buy that and we’ll pay you back Monday with btc
               JY1709:        No. I can’t. My wife is a psycho. You have no idea
               MT1312:        What about debit card ? Same?
               JY1709:        Same. She has access to essentially all my funds. If she knew I sent BTC to
                              you guys, she’d probably cut my balls off
               MT1312:        Could you tell [A.S] that [5530 JD] is helping [E.G.] and now there’s no
                              work?
               MT1312:        Or how much btc do you have right now?
               MT1312:        Just need yo get to Monday
               JY1709:        I sent you all the BTC I had!
               MT1312:        Understood
                              Would it work if [5530 JD] was helping [E.G.]? She doesn’t talk to [E.G.].
               MT1312:        [5530 JD] will send the consulting agmt to you from his email if we can
                              make this all work
               JY1709:        Look I need a consulting agreement.
                              So far [5530 JD] has been paid $60K.
                              What kind of fucking consultants charge that much. We pay [R.H.] $10K
                              a month and he’s an attorney. Siena lending we ended up paying $60K for
                              getting receivables financing going. We can’t really take [5530 JD] further
                              than this honestly
               MT1312:        You’ll have an agmt today can you get the wire out. If this is last one for
                              [5530 JD] we will figure out something else later. Agmt coming today.
               MT1312:        You’ll have agmt today
               JY1709:        That’s fine. Just get me the agreement today. Need it. Signed by you and
                              [5530 JD] at some point earlier in the year.
                              Thanks.
               MT1312:        You will have agmt today I promise you have my word word word word
                              word
                              Can you get wire out sooner than later or else it’s stuck in [5530 JD] Over
                              weekend Know what I mean
               JY1709:        I’m putting all of our wire payments in Now. Will have out by 2:30ish. Our
                              wire cutoff is 5:30 here anyway. It’s instant since we’ve used [5530 JD]


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                                 before
                  MT1312:        Understood
                  MT1312:        Can you kindly let me know when it is posted
                  M.Tew:         Getting agmt for you now
                  JY1709:        Putting in like 15 wires right now. Will go SOON
                  JY1709:        Done
                  MT1312:        Calling you after hours
                  JY1709:        Ok

41      9/28/18   Email from Kimberley Tew, using [MCG]@gmail.com, to J.Y. business email with           MCG. was a company          A, K, L        NAC_E_0005459
                  attached FW9 and Invoice                                                               incorporated by MM                         9
                                                                                                         that did not perform any
                                                                                                         work for NAC.
                                                                                                         Instead, it was used by
                                                                                                         Michael Tew,
                                                                                                         Kimberley Tew, and
                                                                                                         Jonathan Yioulos as a
                                                                                                         vehicle to take money
                                                                                                         from NAC under false
                                                                                                         and fraudulent
                                                                                                         pretenses. See
                                                                                                         Indictment ¶¶11, 12,
                                                                                                         13, 15, 19, 20, 22.

                                                                                                         The email address
                                                                                                         “[MCG]@gmail.com”
                                                                                                         was created on October
                                                                                                         12, 2018 and, as set
                                                                                                         forth in the proffer, was
                                                                                                         used by Michael Tew.
42      9/28/19   From [C.R.]@gmail.com to Jyiolous: Attached is the latest consulting invoice. Please   See above, entry 11, for    A, F, K, L     SW_FIL_003120
                  send me confirmation when funds are released. Thank you                                information about C.R.,                    60
                                                                                                         CR@gmail.com, and
                                                                                                         5530JD and the                             NAC_E_0015077
                                                                                                         relevant paragraphs of                     0-
                                                                                                         the indictment.                            NAC_E_0015077
                                                                                                                                                    1


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 Entry    Date       Statement(s)                                                                                     Additional Context         801             Source
                                                                                                                                                 Rationale(s)
 43       9/28/19    On September 28, 2019 J.Y. used his business email account to send to a NAC employee             See above, entry 11, for   A,F, K, L       NAC_E_0006069
                     an invoice for [5530 JD]                                                                         information about C.R.,                    6-
                                                                                                                      CR@gmail.com, and                          NAC_E_0006069
                                                                                                                      5530JD and the                             8
                                                                                                                      relevant paragraphs of
                                                                                                                      the indictment.


October 2018

 Entry    Date       Statement(s)                                                                                     Additional Context         801             Source
                                                                                                                                                 Rationale(s)
 44       10/1/18    J.Y. sent an email to a NAC employee with the subject line “[5530 JD]” and an attached           See above, entry 11, for   A, F, K, L      NAC_E_0007113
                     fraudulent invoice for [5530 JD] Consulting                                                      information about C.R.,                    4-
                                                                                                                      CR@gmail.com, and                          NAC_E_0007113
                                                                                                                      5530JD and the                             5
                                                                                                                      relevant paragraphs of
                                                                                                                      the indictment.

 45       10/9/18    JY1709:        Still need agreement                                                              Message sent to            A, B, C, F,     SW_FIL_003423
                                                                                                                      Michael Tew                G, K, L         24

                                                                                                                      “Agreement” here is a
                                                                                                                      reference to a
                                                                                                                      fraudulently produced
                                                                                                                      agreement supporting
                                                                                                                      the pretense that [5530
                                                                                                                      JD] had actually
                                                                                                                      performed work for
                                                                                                                      NAC
 46       10/25/18   JY1709:        I get it, but that’s a lot of cash just to send out for “consulting.” You guys    Messages to Kimberley      A, B, E, F,     SW_FIL_003380
                                    don’t understand that [A.S] reviews every single invoice that goes out            Tew                        G, H, I, K, L   70-
                     JY1709:        We’ve started printing all invoices and she’s reviewing each one. I may                                                      SW_FIL_003380
                                    have an alternative solution, but you’ll have to bear with me                     On October 26, 2018,                       76
                     JY1709:        Listen, if he can wait until tomorrow to get the funds, we can do it, but it’ll   $30,000 is sent via
                                    have to be tomorrow. Plus I’ll need a legit consulting agreement of some          ACH into Regions


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Entry   Date       Statement(s)                                                                                    Additional Context         801            Source
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                                  sort just for the file. I’m trying to help you but calling me today and saying   Bank Account [x]4514
                                  we need $30K get it out today doesn’t work                                       for services purportedly
                   JY1709:        No I really can’t.                                                               rendered to MCG for
                   JY1709:        First thing like super early                                                     sham invoice MCG
                   JY1709:        You just have to trust me                                                        2018.10.12
                   JY1709:        Like the funds will be there at 8:30                                             (NAC_00000545), as
                   JY1709:        It has to be ACH. It won’t take 2 days                                           alleged in Count 3 of
                   JY1709:        I have to send it ach today so it’ll hit tomorrow morning                        the Indictment
                   JY1709:        It won’t be delayed
                   JY1709:        It used to. I talked to our rep at the bank and he said as long as I confirm     See above, entry 41, for
                                  new beneficiaries, it’s like a regular ACH.                                      information about
                   JY1709:        Kimberley, I’m trying to help you guys out. You know this. I’m doing the         MCG, MM,
                                  best I can here                                                                  MCG@gmail.com and
                   JY1709:        You guys will be fine. It’ll go. Just please please please get me the            the relevant paragraphs
                                  agreement for [5530 JD] and an abridged agreement for [MM/MCG].                  of the Indictment.
                                  Anything I can just throw in my file Incase
                   JY1709:        It will don’t worry
                   JY1709:        Yes, I’ll send out before 4PM Eastern time. I’ll send out with the rest of my
                                  payments today. Please don’t worry. It’ll go
                   JY1709:        As long as it’s done prior to 4 it’s fine

47      10/25/18   Email from Kimberley Tew, using [MCG]@gmail.com, to J.Y. business email with an                 On October 26, 2018,       A, K, L        SW_FIL_000021
                   attached invoice and a W9.                                                                      $30,000 is sent via                       97
                                                                                                                   ACH into Regions
                   J.Y. responded:                                                                                 Bank Account X4514                        SW_FIL_000024
                                                                                                                   for services purportedly                  62
                   Hello,                                                                                          rendered to [MCG]. for
                   See attached for payment confirmation.                                                          sham invoice MCG                          SW_FIL_000026
                                                                                                                   2018.10.12                                13
                   Thank you for your assistance.                                                                  (NAC_00000545), as
                                                                                                                   alleged in Count 3 of                     NAC_00000545;
                   Jon Yioulos                                                                                     the Indictment
                   716-580-6943                                                                                                                              NAC_E_0005477
                                                                                                                   See above, entry 41, for                  7-
                                                                                                                   information about                         NAC_E_0005477
                                                                                                                   MCG, MM,                                  8
                                                                                                                   MCG@gmail.com and


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                                                                                                                 the relevant paragraphs
                                                                                                                 of the Indictment.

48      10/25/18   MT7473:        You’re in the heat of the financing. As long as tied to that nobody will       On October 26, 2018,       A, B, C, D,     SW_FIL_003423
                                  notice                                                                         $30,000 is sent via        E, F, G, H, I   24
                   MT7473:        By dec the financing will either be done (or not)                              ACH into Regions           K, L
                   MT7473:        If you want or I can I can help you with anything                              Bank Account X4514
                   MT7473:        I don’t have A job yet man                                                     for services purportedly
                   MT7473:        I never did anything wrong I only did my job                                   rendered to [MCG]. for
                   MT7473:        20 hours a day                                                                 sham invoice MCG
                   MT7473:        We both know that                                                              2018.10.12
                   JY1709:        I know that. That’s never been an issue with me                                (NAC_00000545), as
                   MT7473:        I need you as my friend right now                                              alleged in Count 3 of
                   MT7473:        After today you’l never hear from me about any of this ever again. We’re       the Indictment
                                  all just going to move on. You have my word.
                   JY1709:        On with Hong Kong. Been buried since I walked in. We’ll talk                   See above, entry 11, for
                   MT7473:        Got it - well that’s a good thing! I remember those days…say hi for me. :)     information about C.R.,
                   JY1709:        Haha will do                                                                   CR@gmail.com, and
                   MT7473:        Wasn’t a joke ?? ... say hi for me                                             5530JD and the
                   MT7473:        Any way to send funds within the hour?                                         relevant paragraphs of
                   JY1709:        I have to figure out how first. [5530 JD] isn’t gonna work                     the Indictment.
                   MT1312:        No - see the invoice. [MM/MCG]
                   MT1312:        There’s HK plus there’s the couple other deals in play...                      The reference to
                   JY1709:        I don’t have an invoice                                                        MM/MCG here was
                   JY1709:        Honestly tho. I need the consulting agreement for [5530 JD] and the btc        misspelled.
                   too. I’m             trying to help you out here but you gotta help me as well!
                   MT1312:        Make sure you use the ach routing not the wire                                 See above, entry 41, for
                                  [x]4668                                                                        information about
                   JY1709:        Yup                                                                            MCG, MM,
                   MT1312:        Thank you Jon                                                                  MCG@gmail.com and
                   MT1312:        Catch up later after 5...I do have some of those freight drivers if you want   the relevant paragraphs
                                  me to help                                                                     of the Indictment.
                   JY1709:        FYI doing payments now
                   MT1312:        Ok thank you
                   MT1312:        You sure it’s one day right
                   JY1709:        Yes
                   JY1709:        Done


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                   MT1312:         THANK YOU!!!!!!!!
                   JY1709:         Please please please get me an agreement and then whatever BTC you can.
                                   Once that’s out of the way we’re in the clear.
                   MT1312:         Yes I owe it to you

49      10/30/18   Email from Kimberley Tew, using [MCG]@gmail.com, to J.Y. business email:                          See above, entry 41, for   A, K, L         SW_FIL_000971
                                                                                                                     information about                          3
                   Jon,                                                                                              MCG, MM,
                                                                                                                     MCG@gmail.com and                          NAC_E_0012866
                   I’ve attached the invoice as requested.                                                           the relevant paragraphs                    4
                                                                                                                     of the Indictment.
                   Best regards,
                   [M.M.]                                                                                            $10,000 is wired from
                                                                                                                     National Air Cargo to
                                                                                                                     Regions Bank Account
                                                                                                                     [x]4514 for services
                                                                                                                     purportedly rendered by
                                                                                                                     [MCG]. as documented
                                                                                                                     in fraudulent invoice
                                                                                                                     MCG 2018.10.30
                                                                                                                     (NAC_00000546), as
                                                                                                                     alleged in Count 4 of
                                                                                                                     the Indictment

50      10/30/18   JY1709:         This is a joke right?                                                             “[P.]” is a reference to   A, B, C, D,     SW_FIL_003423
                   MT7473:         This is not a joke                                                                an employee at             E, F, G, H, I   24
                                   My life is not a joke                                                             Signature Bank, which      K, L
                                   But I have become a joke and things are out of my control because other           was NAC’s business
                                   people make choices that fuck me                                                  bank
                   MT7473:         Did you block Kimberley ?
                   JY1709:         No                                                                                $10,000 is wired from
                   MT7473:         You don’t get it 10k saves my life right now - none of this should have ever      National Air Cargo to
                                   happened                                                                          Regions Bank Account
                   JY1709:         I can’t do it. Literally you guys just keep asking me for fucking money. It’s     [x]4514 for services
                                   become absolutely ridiculous                                                      purportedly rendered by
                   JY1709:         Like it’s just wire after wire after wire. I know you didn’t get a severance      [MCG]. as documented
                                   and yes it’s bullshit. But it becomes too fucking risky for me to do this shit.   in fraudulent invoice

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                              I literally can’t do it. I have to say no at some point. I’m sorry.            MCG 2018.10.30
               MT7473:        Saying no is what started this. You’re in charge. Don’t put this on us.        (NAC_00000546), as
               MT7473:        I’m not doing this                                                             alleged in Count 4 of
               MT7473:        I’m not lying another minute.                                                  the Indictment
               MT7473:        This was never my idea and I can’t look at these texts and not think it
                              makes me look guilty as shit                                                   See above, entry 33, for
               JY1709:        Haha ok. Look, I’ve never done anything but try to help you guys out of a      more information about
                              jam. I’ve tried to help you at every corner. Because of that, I’m guilty of    C.F.
                              this shit too, which is fucking ridiculous because I’m the one taking all of
                              the risk and for what!??                                                       See above, entry 49, for
               MT7473:        Sorry I lost you?                                                              contextual request for
               JY1709:        Don’t you ever threaten me or my wife again.                                   money from MCG
               JY1709:        Like it’s $10k. Figure it the fuck out                                         email account
               MT7473:        Hey I never threatened you or your wife. Never.
               MT7473:        We already gave them 10k
               MT7473:        To make sure they don’t
               MT7473:        Not joking
               MT7473:        To be clear. I never ever threatened you. I’m just communicating.
               JY1709:        This is fucking unreal
               MT7473:        When Kimberley told me [C.F.] would call [L.A.] I didn’t believe it and I
               felt           the same way
               MT7473:        I need to know can you make that wire happen today.
               MT7473:        If I go back to them about a story about an ach it could just make it worse
               MT7473:        If you don’t think you can send a wire today. Don’t send anything.
                              There’s nothing I can do at that point.
               MT7473:        Just send it pls pls pls
               JY1709:        I am
               JY1709:        On with [P.]. Wire has been confirmed
               JY1709:        Getting reference number
               MT1312:        Ok thx

               MT1312:        Sorry just getting done once and for all
               MT1312:        Going to have them pull it on other end
               JY1709:        ￼
               JY1709:        Bottom number
               MT1312:        Thank you



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                                  Call me tonight dog walk
                   JY1709:        Ok.

51      10/30/18   JY1709:        Get the fuck out of here                                                     Messages sent to           A, B, D, F,    SW_FIL_003380
                   JY1709:        No                                                                           Kimberley Tew              G, H, I K      51-
                   JY1709:        I can’t keep sending money. That was supposed to be the last one. So was                                               SW_FIL_003380
                                  the one before that                                                          $10,000 is wired from                     66
                   JY1709:        And the one before that                                                      National Air Cargo to
                   JY1709:        Ok                                                                           Regions Bank Account
                   JY1709:        I can’t send anything else. I can’t. I’m sorry                               [x]4514 for services
                   JY1709:        I'm done                                                                     purportedly rendered by
                   JY1709:        Hahahahaha convenient????                                                    [MCG]. as documented
                   JY1709:        Omg                                                                          in fraudulent invoice
                   JY1709:        Stop                                                                         MCG 2018.10.30
                   JY1709:        ?                                                                            (NAC_00000546), as
                   JY1709:        I'm not doing anything                                                       alleged in Count 4 of
                   JY1709:        You know I dind't mean it like that                                          the Indictment
                   JY1709:        What am I going to Tell the lawyers???
                   JY1709:        Talk to Michael. I literally just talked to him                              See above, entry 41, for
                   JY1709:        And what happens when they want more?                                        information about
                   JY1709:        So you’re saying they’re going to want more                                  MCG, MM,
                   JY1709:        am I really getting the blame here?                                          MCG@gmail.com and
                   JY1709:        Stop it. Like what am i supposed to do right now?????                        the relevant paragraphs
                   JY1709:        OMG                                                                          of the Indictment.
                   JY1709:        PLEASE                                                                       See entry 49 above,
                   JY1709:        I NEVER DID                                                                  referencing email from
                   JY1709:        ARE YOU KIDDING ME                                                           MCG.
                   JY1709:        Of what?
                   JY1709:        Look I’m sorry. Obviously I don’t know what you’re doing on the backend
                                  to help me and my wife
                   JY1709:        I don’t know the whole story
                   JY1709:        And I thank you for that. I’m still trying to help you. I’m so confused by
                                  this right now
                   JY1709:        Yes I’m trying to HELP
                   JY1709:        Yes, cause I was told it was the last one before!
                   JY1709:        I’m sorry that was rude.
                   JY1709:        I don’t think you realize I’m doing the best I can here without raising


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                                   suspicion.
                    JY1709:        Omg don’t blame me now please

 52      10/31/18   JY1709:        Agreements...                                                               The reference to           A, B, F, G,    SW_FIL_003423
                                   [. . . ]                                                                    agreements was a           H, K,          24
                    JY1709:        Call me back                                                                reference to Jonathan
                    MT1312:        I had to travel for a job interview                                         Yiolous’s requests to
                                   Just getting back                                                           Michael for sham
                                   Everything ok?                                                              agreements that would
                    JY1709:        All good. Call me tomorrow morning or later tonight                         help falsely legitimize
                    MT1312:        Is tomorrow am ok? Today was crazy                                          the payments to MCG.
                    JY1709:        Yes. Just really need the agreements man. They’ll cover both of our asses
                                   just in case

 53      10/31/18   On October 31, 2018 J.Y. received an email from a NAC employee with the subject line       See above, entry 41, for   A, K, L        NAC_E_0017109
                    “is there an invoice for this payment out of holdings?” referencing the October 30, 2018   information about                         6
                    payment to [MCG] Inc. J.Y. responded with an attached invoice.                             MCG, MM,
                                                                                                               MCG@gmail.com and                         NAC_E_0005459
                                                                                                               the relevant paragraphs                   9-
                                                                                                               of the Indictment.                        NAC_E_0005460
                                                                                                                                                         1

November 2018

 Entry   Date       Statement(s)                                                                               Additional Context         801            Source
                                                                                                                                          Rationale(s)
 54      11/3/18    On November 3, 2018, Michael Tew, using the mtew@sandhillrp.com email address,             Sand Hill, LLC was an      A, K           VCORP_0000004
                    wrote to a VCorp employee:                                                                 entity incorporated in                    9
                                                                                                               New York by Michael
                    I do need to get Sand Hill LLC in good standing with NY State asap                         Tew. The entity was
                                                                                                               used as a vehicle to
                    Can you assist I think you were saying its 58 and would take 1 2 weeks if expedited        collect payments issued
                                                                                                               to him by NAC while
                    Pls let me know and I can give you CC asap                                                 he was NAC’s contract
                                                                                                               CFO. Later, Michael
                    I need to also file a foreign LLC in Colorado                                              Tew filed documents


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                                                                                                          with the Colorado
                  Thanks!                                                                                 Secretary of State’s
                                                                                                          office to authorize Sand
                  Michael Tew                                                                             Hill to operate in
                                                                                                          Colorado. He then
                  Michael Tew                                                                             opened a bank account
                  mtew@sandhillrp com                                                                     for Sand Hill at Wells
                  1 917.685.1312                                                                          Fargo on which he was
                                                                                                          the sole signatory. The
                                                                                                          last four digits of Sand
                                                                                                          Hill’s account at Wells
                                                                                                          Fargo were x6934.
                                                                                                          Bank records show
                                                                                                          numerous payments
                                                                                                          from NAC accounts to
                                                                                                          the Sand Hill account
                                                                                                          after Michael Tew’s
                                                                                                          termination. .See
                                                                                                          Indictment ¶¶4, 6, 16.
55      11/3/18   On November 3, 2018, Michael Tew, using the mtew@sandhillrp.com email address,          See above, entry 54, for   A, K           VCORP_0000005
                  wrote to a VCorp employee with his home address in Denver Colorado and the question     information about Sand                    0
                  “Can you use that address for all?”                                                     Hill LLC and its use by
                                                                                                          Michael Tew as a
                                                                                                          vehicle to collect
                                                                                                          scheme proceeds.

56      11/6/18   Kley(MT): [M.M.] – I have $30K coming in this week. Are you going to help my wife       These messages were        A, D, F, G,    SW_FIL_000170
                            or not?                                                                       sent to MM.                H, K           01, p. 988
                  Kley(MT): Stop delegating to your wife - she doesn’t know what she’s talking about.
                            You need to take your wife out of this because she’s screwing everything
                            gup. This is my money, nobody else’s money, I work my fucking ass off         See above, entry 41, for
                            and I’m not obligated to give anything or lend anything to anyone. period.    information about
                  Kley(MT): Are you sending $ to my wife or not - if not, we’re not going to send         MCG, MM,
                            anything this week. Need you to deliver so we can get to next steps           MCG@gmail.com and
                  Kley(MT): Every time you send her $ she sends you - to you - back more                  the relevant paragraphs
                  Kley(MT): If you aren’t even going to dialogue with her - and help - and simply reply   of the Indictment.
                            because your wife won’t let you - then it’s over. She’s out.


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                  Kley(MT): i told kimberley we could send you 75 this week...nice business decision
                            not helping her out. Not sending anything, so not a great business decision
                            it turns out

57      11/6/18   On November 6, 2018 J.Y. received an email from a NAC employee with the subject                 See above, entry 41, for    A, K, L        NAC_E_0013065
                  line “[MCG] LLC?” asking about the invoice. J.Y. responded with an attached invoice.            information about                          4
                  J.Y. also sent an email with an invoice and a W9 form.                                          MCG, MM,
                                                                                                                  MCG@gmail.com and                          NAC_E_0006796
                                                                                                                  the relevant paragraphs                    8-
                                                                                                                  of the Indictment.                         NAC_E_0006797
                                                                                                                                                             0
58      11/9/18   From: [C.R.] <[C.R.]@gmail.com>                                                                 S See above, entry 11,      A, K, L        NAC_E_0005463
                  Sent: Friday, November 9, 2018 4:48 PM                                                          for information about                      4
                  To: Jonathan Yioulos <jyioulos@nationalaircargo.com>                                            C.R., CR@gmail.com,
                  Subject: Re: Invoice                                                                            and 5530JD and the
                                                                                                                  relevant paragraphs of
                  Hi Jon,                                                                                         the Indictment.

                  I was wondering if you could put me in touch with your CFO or legal team as I have              This email was an
                  some questions regarding the taxes around the consulting payments received. Please              implicit threat to notify
                  direct me accordingly as the issue is quite urgent.                                             Yioulos’ employers if
                                                                                                                  he refused to send the
                  CR                                                                                              money as directed by
                                                                                                                  the Tews.


59      11/9/18   JY1709:        Answer. Urgent                                                                   During this exchange,       A, B, D, F,    SW_FIL_003423
                  MT7473:        Kimberley tried to text you last night                                           Kimberley Tew               G, H, I (the   24
                  MT7473:        I was traveling but this [C.R.] guy thinks there was an ethics violation.        identified herself as       comment
                                 He’s not a straight out loser like [C.F.] but we just said no money.             using Michael Tew’s         about
                  MT7473:        We suggested 1099 a Llc and he wanted like 1K in btc go pay his                  telephone.                  calming
                                 accountant which we also said no to                                                                          Kimberley
                  JY1709:        Ethics violation? What the hell?...just tell him not to worry about it and not   See above, entry 41, for    down), K
                                 file it as income on his taxes                                                   information about
                  MT7473:        Isn’t NA[C] going to 1099 him?                                                   MCG, MM,
                  JY1709:        Lets just talk tomorrow. I’m swamped the rest of the night brother. Please       MCG@gmail.com and
                                 answer tomorrow

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               MT7473:  I hear ya                                                                     the relevant paragraphs
                        I’m on this call brb                                                          of the Indictment.
                        Kimberley can text
               MT7473: This guy isn’t stupid and we don’t have any btc tossnd him                     See above, entry 11, for
               JY1709:  I don’t have any BTC, I don’t. I told [A.S] consulting payments were done     information about C.R.,
                        cause she was asking fucking a billion questions about [M.M.].                CR@gmail.com, and
               MT7473: Ok good that’s exactly what we said!                                           5530JD and the
               JY1709:  Awesome. Glad we’re both on the same page brother!                            relevant paragraphs of
               MT7473: Kimberley knows more about this shit and of course she’s freaking out          the Indictment.
               JY1709:  Ok. Lets talk when you can
               MT7473: Ok - not sure what to say, just exhausted                                      See above, entry 33 for
               JY1709:  Same. Just call me when you’re done                                           information about
               MT7473(KT): It’s K. Michael can’t send any agreements. This is a really bad            [C.F.]
                             situation. We haven’t received any of this money and Michael doesn’t
                             have a job. You should take this seriously because you could lose your   See entry 58 above, for
                             license if he reports you.                                               email from
               MT7473(KT): We are just out of this.                                                   C.R.@gmail.com,
               MT7473(KT): We can’t have anything to do with this especially if you think you’re      which was an account
                             untouchable.                                                             controlled by the Tews.
               MT7473: You have capabiiity to buy btc. I’m in a jam here. Can you help at all. 400
                        bucks. It’s Tew
               JY1709:  Call you in 5
               JY1709:  Needs to make 2 small deposit then confirms
               MT7473: Ok
               MT7473: It takes a minute for the deposits to hit
               JY1709:  Can I text you guys in an hour. It’s ducking pouring and I’m with my father
                        in law
               MT7473: Yes
               MT7473: What is the email that account is linked to - going to send you a request to
                        see if it goes through
               JY1709:  [Jonathan Yioulos name variant]@gmail.com
               JY1709:  Got it. Bank is still not verified yet. Should be soon
               MT7473: All good just testing it out
               MT7473: Did it verify?
               JY1709:  Not yet. Says daily transactions processimg. Check back later
               MT7473: Ok - no prob. It took mine an hour or two and then you just go in and
                        manually enter the two transactions and its instant


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                   JY1709:        No worries. Watching the 2nd half of this HS football game with my father
                                  in law but I’ll check again when I’m back in my car. We’ll get it done
                   MT7473:        Copy that
                   MT7473:        I’ve calmed Kimberley down, thanks
                   MT7473:        this is a real question: if you offered to ACH me Monday, would that even
                                  be possible? Wouldn’t it be flagged?
                   MT7473:        Tried you back - had to wrestle phone from the kids! unbelievable!
                   JY1709:        Can you keep waiting or should I ask a buddy?
                   MT7473:        Wait is fine
                   MT7473:        Under control thank you
                   MT7473:        It probably will hit after midnight when things reset
                   MT7473:        Sorry I know its late - can you check if it went through
                   JY1709:        Literally just checked, same message. If it not done by tomorrow AM, I’ll
                                  have my buddy send me it
                   JY1709:        Then I’ll just reimburse him when it does
                   MT7473:        Any way you can do an instant buy on Coinbase or you can’t use that
                                  account?

60      11/9/18    On Fri, Nov 9, 2018 J.Y. responded to the email from [C.R.]@gmail.com described            See above, entry 11, for   A, K, L.       NAC_E_0005463
                   above:                                                                                     information about C.R.,                   4
                                                                                                              CR@gmail.com, and
                   Hello,                                                                                     5530JD and the
                                                                                                              relevant paragraphs of
                   Please give me a call at the number below and I’ll be able to assist you.                  the Indictment.

                   Jon

                   716-245-1876

61      11/11/18   On November 3, 2018, Michael Tew, using the mtew@sandhillrp.com email address,             See above, entry 54, for   A, K           VCORP_0000004
                   wrote to a VCorp employee:                                                                 information about Sand                    5
                                                                                                              Hill LLC and its use by
                                                                                                              Michael Tew as a
                   I was just getting caught up here Sorry to keep bothering you Just want to make sure I’m   vehicle to collect
                   doing this right Never had an issue with my entities like this in the past                 scheme proceeds




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                   Attached is what you sent me not to be a pain but it shows that you filed the Biennial    On November 12, 2018,
                   statement but I don’t have a copy of the following:                                       A statement of Foreign
                                                                                                             Entity Authority for
                   1 Biennial                                                                                Sand Hill LLC was
                   2 Cert of good standing                                                                   filed with the Colorado
                   3 Any other updates documents I need to show proof of good standing                       Secretary of State
                   4 CO foreign filing                                                                       listing the home address
                                                                                                             of Michael and
                   Thank you!                                                                                Kimberley Tew.
                                                                                                             [VCorp_00000062]
                   Just need to get a bank account open here
                                                                                                             A bank account for
                   I can pay via CC I have coming in by tues wed so if you can help me organize this I can   Sand Hill LLC was
                   pay mid week                                                                              opened at a Wells Fargo
                                                                                                             Branch in Denver on
                   Thank you                                                                                 May 2, 2019 with
                                                                                                             Michael Tew as the sole
                   Michael Tew                                                                               signatory[WFB_00000
                                                                                                             536]. See Indictment ¶¶
                   Michael Tew                                                                               23-24 (alleging opening
                   mtew sandhillrp com                                                                       of multiple bank
                   1 917.685.1312                                                                            accounts)


62      11/13/18   MT7473:        Can an ACH go to [5530 JD] for the tax advisory or new entity only         See above, entry 11, for   A, B, F, G,    SW_FIL_003423
                   JY1709:        How much                                                                   information about C.R.,    H, K           24
                   MT7473:        Working on it. Reasonable                                                  CR@gmail.com, and
                   JY1709:        I mean it, it’s gotta be the end too. Had to be.                           5530JD and the
                   JY1709:        And I need a contact from [5530 JD] or you or something so that I can      relevant paragraphs of
                                  justify it so this fucker can’t do this shit again.                        the Indictment.
                   JY1709:        I need your word man.
                   MT7473:        Hang in there - working on final solution
                   JY1709:        Lets talk tomorrow. I have a legitimate solution

63      11/15/18   MT7473:        What is start date of agmt                                                 By that point in time,     A, B, F, G,    SW_FIL_003423
                   JY1709:        February? Idk whenever the things started cooling with HNA                 Yioulos had directed 5     H, K           24
                   JY1709:        Or you can throw them in there too? Your choice                            payments of $15,000 to


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                   MT7473:        How do we do the fees, is it as invoiced, a monthly thing? How does it          5530 JD on August 23,
                                  come through in the system?                                                     August 31, September
                   JY1709:        As invoiced would be best probably.                                             10, September 18 and
                   JY1709:        $75K total. That’s 5 months at $15K                                             September 28, 2018.
                   JY1709:        It can be literally however you want it to be.
                                                                                                                  See above, entry 11, for
                                                                                                                  information about C.R.,
                                                                                                                  CR@gmail.com, and
                                                                                                                  5530JD and the
                                                                                                                  relevant paragraphs of
                                                                                                                  the Indictment.
64      11/16/18   MT1312:        Should we do the thing where I mail it to you?                                  See entry above,           A, B, F, G,      SW_FIL_003423
                   JY1709:        I need the agreement before I can send anything brother                         reflecting discussion of   H, K             24
                   MT1312:        Copy                                                                            providing sham
                   JY1709:        Honestly, might be easiest to do it Monday/Tuesday to hit before                agreements to falsely
                                  thanksgiving. Nobody is around AT ALL next week...                              legitimate the payments
                   MT1312:        That’s what I was thinking                                                      to 5530JD
                   JY1709:        Let’s do that. Less stressful.
                   JY1709:        You good with that?                                                             See above, entry 11, for
                   MT1312:        So shall it be- what time are you leaving today? Back monday?                   information about C.R.,
                   JY1709:        Leaving at noon. Be back Monday on my computer around 2:30-3                    CR@gmail.com, and
                                                                                                                  5530JD and the
                                                                                                                  relevant paragraphs of
                                                                                                                  the Indictment.

65      11/19/18   MT7473:        When do you have 5 mins to speak                                                See above, entry 11, for   A, B, C, D,      SW_FIL_003423
                   JY1709:        I’m working from home, so not really time to actually talk. Is there an issue   information about C.R.,    E, F, G, H, I,   24
                                  with the agreement or what’s going on?                                          CR@gmail.com, and          K
                   MT7473:        Been working on resolving this with finality. What’s the diff between           5530JD and the
                                  having agmt now vs later this week                                              relevant paragraphs of
                   MT7473:        Theres a reason why I’m asking and better over phone                            the Indictment.
                   JY1709:        I need before I send that’s why
                   MT7473:        You don’t though                                                                See above, entry 41, for
                   MT7473:        I’m not trying to be a dick                                                     information about
                   JY1709:        I do tho                                                                        MCG, MM,
                   JY1709:        And I’m not trying to be a dick either                                          MCG@gmail.com and
                   JY1709:        I’ve been asking for this for fucking 3 months.


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               JY1709:        Like why can’t it be sent today or tomorrow? Seriously tho?                      the relevant paragraphs
               MT7473:        Its logistics - it is going to be sent from an air gap computer which is being   of the Indictment.
                              arranged
               MT7473:        You’re going to get what you want / need                                         Michael Tew’s
               MT7473:        Has to be done right                                                             Statement that “[M.M.]
               MT7473:        For everyone                                                                     and [C.R.]” are the
               JY1709:        It doesn’t matter where it’s sent from tho as long it’s coming from [5530        same is a reference to
                              JD]                                                                              the fact that both
               JY1709:        Look, to be honest I’d rather just do this shit tomorrow when I’m in the         entities are being used
                              office anyway. Then it hits Wednesday which is the day before break and          to collect money.
                              nobody is back til Monday anyway. Just makes life easier and gets you            Michael Tew and
                              another day to get the agreement sent from [5530 JD], yet still be before the    Kimberley Tew were
                              long weekend                                                                     also the ones
               MT7473:        No go - he just messaged us that he’s pissed                                     controlling the email
               JY1709:        Well I need him to send the agreement then                                       accounts being used to
               JY1709:        That literally the only way. I’m not doing it any other way. You can just tell   send false invoices to
                              him that it’s impossible without the agreement. He doesn’t know me or            Yioulos to provide the
                              anything at all.                                                                 false pretense for the
               MT7473:        I have to take the girls to an appt in boulder, do what you want. I’m not        payments.
                              telling you what to do. I don’t care, none of this is for me
               MT7473:        If you an Step out walk teh dog great call me , I can talk
               MT7473:        I relayed the message
               JY1709:        I got another email from him, saying the fucking final balance is $30K.
               JY1709:        Dude I’m tired of this shit
               JY1709:        I really am
               JY1709:        You there?
               MT7473:        I am too. Whatever you want to do I’m fine. I just want it go away.
               JY1709:        I need the agreement and I can send instantly
               JY1709:        I can’t do it without our
               JY1709:        It*
               JY1709:        You gotta understand why
               MT7473:        Tell him that. I’m driving to Boulder.
               JY1709:        Does he have it?
               MT7473:        Does it have to go to his bank account
               MT7473:        Fuck him
               JY1709:        I’m confused. How would we settle this without it going to his account?
               MT7473:        If you’re sending 30 send to [M.M.]’s account and we can take your btc


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               out.
               MT7473:        He doesn’t even have that chase account
               JY1709:        How does this solve our problem with [5530 JD]?
               MT7473:        [C.R.] and [M.M.] are the same
               MT7473:        Just trust me
               MT7473:        Do you have the ach info for MM?
               MT7473:        He’s including your btc in that number
               MT7473:        I want to make sure you get it
               JY1709:        Ok hold on. Can we talk?
               JY1709:        Quick? You’re driving rifhtV
               MT7473:        I’ll hold the phone
               JY1709:        Found ACH info
               JY1709:        [x]4668
               JY1709:        How do I know that this guy still isn’t going to ask for more now that I’m
                              paying [M.M.]? Like that fucks me if he’s like nope you never sent
                              payment
               MT7473:        [M.M.] said he’d send you info
               MT7473:        I don’t know. I’m with you whatever you want to do. We will get you your
                              btc.
               MT7473:        Told them it’s coming tomorrow.
               JY1709:        He sent the wire routing
               MT7473:        I don’t know
               JY1709:        I’m sending via ACH
               MT7473:        Use the ach
               JY1709:        OK ????
               MT7473:        He said it’s in bold
               JY1709:        got it. Is it cool to send the confirmation to [C.R.] afterwards
               JY1709:        ??
               JY1709:        Let me know
               MT7473:        Do whatever you need to do
               JY1709:        No I’m asking. Are they working together? Is it the same person???
               JY1709         ?????
               JY1709         Sent.
               MT7473:        Sorry been driving
                              Thank you
                              In boulder and then hour drive back
                              Touch base tonight when back and at computer


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66      11/19/18   On Mon, Nov 19, 2018 J.Y. wrote to the chrisrcnc@gmail.com email account::                  See above, entry 11, for   A, K, L.       NAC_E_0005610
                                                                                                               information about C.R.,                   0
                   [C.R.],                                                                                     CR@gmail.com, and
                                                                                                               5530JD and the                            NAC_E_0006022
                   Remaining balance of $30K has just been sent. You will see the funds tomorrow. Please       relevant paragraphs of                    1
                   forward agreement as soon as possible.”:                                                    the Indictment.

                   [. . . .]

                   [C.R.],

                   I apologize for the delay. I can send payment that will hit your account tomorrow, but
                   can you confirm your bank has changed:

                   Regions Bank - x4514
                   Thank you,

                   Jon Yioulos

                   716-245-1876



67      11/19/18   From: [C.R.] <[C.R.]@gmail.com>                                                             See above, entry 11, for   A, K, L        NAC_E_0006022
                   Sent: Monday, November 19, 2018 2:58 PM                                                     information about C.R.,                   1
                   To: Jonathan Yioulos <jyioulos@nationalaircargo.com>                                        CR@gmail.com, and
                   Subject: Re: Invoice                                                                        5530JD and the
                                                                                                               relevant paragraphs of
                   Hi Jon,                                                                                     the Indictment.

                   I am really not interested in speaking with you directly regarding this issue as it is my
                   understanding that you're the hold up as to why I have not received my final payment. I
                   will personally forward you a copy of the agreement upon receipt of final payment.
                   According to my records, there is a 30K balance remaining including the termination
                   fee. If you could kindly point me to the right person to whom I should speak with to
                   resolve this matter, I believe that would be best.


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                   CR

                   From jyioulos to [C.R.]@gmail.com (SW_FIL_00000045)

                   [C.R.],

                   Remaining balance of $30K has just been sent. You will see the funds tomorrow. Please
                   forward agreement as soon as possible.

                   Thank you,

                   Jon Yioulos
                   716-580-6943
68      11/19/18   MT7473: Dude I got fucked                                                                  On November 20, 2018       A, B, E, F,    SW_FIL_003423
                               101 fever                                                                      a $30,000 payment is       G, H, K,       24
                               Can’t hear a thing                                                             sent from National Air
                               Was sluggish this am but got really sick                                       Cargo to Regions Bank
                               Must be from boulder yesterday                                                 Account [x]4514 for
                               Canaceled everything can’t move                                                services purportedly
                               Let me just get better and touch base later                                    rendered by [MCG]. as
                               All ok Kimberley handling                                                      documented in
                               I’m a bad sick person                                                          fraudulent invoice
                   JY1709:     Ok please touch base later. Really need a few things                           MCG 2018.11.30
                   MT7473: Yes                                                                                (NAC_00000547), as
                               Sick                                                                           alleged in Count 5 of
                   JY1709      Sorry to hear you’re sick. Look, I know you’re not here, but you gotta         the Indictment
                               understand we’re over $100K sent out. I really need to talk to you about the
                               agreement I cannot possibly send out anymore without raising red flags.        See above, entry 41, for
                               Need to go over logistics...                                                   information about
                                                                                                              MCG, MM,
                                                                                                              MCG@gmail.com and
                                                                                                              the relevant paragraphs
                                                                                                              of the Indictment.
                                                                                                              See Indictment ¶ 18
                                                                                                              (alleging that Yioulos
                                                                                                              and Tew worked on


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Entry   Date       Statement(s)                                                                                 Additional Context         801            Source
                                                                                                                                           Rationale(s)
                                                                                                                providing more detailed
                                                                                                                fake invoices to more
                                                                                                                convincingly paper
                                                                                                                their fraud)
69      11/20/18   Kley (MT): Mike hi Can you pls be in touch with Kimberley tonight soon With all the          On November 20, 2018       A, F, G, K     SW_FIL_000170
                              drama with [redacted] I don't want to take any chances and I don't want to        a $30,000 payment is                      01, p. 989
                              get you wrapped in a mess                                                         sent from National Air
                   MM:        Okay i will.                                                                      Cargo to Regions Bank
                   Kley (MT): Thanks man                                                                        Account [x]4514 for
                   MM:        Haven't been able yet on zelle, and it will be 2 banks for that amount so i       services purportedly
                              am sure 10-10:15 is ideal                                                         rendered by [MCG]. as
                              I will do feom laptop on the zelle and aetup a buy for.morning.                   documented in
                                                                                                                fraudulent invoice
                                                                                                                MCG 2018.11.30
                                                                                                                (NAC_00000547), as
                                                                                                                alleged in Count 5 of
                                                                                                                the Indictment

                                                                                                                See above, entry 41, for
                                                                                                                information about
                                                                                                                MCG, MM,
                                                                                                                MCG@gmail.com and
                                                                                                                the relevant paragraphs
                                                                                                                of the Indictment.

70      11/21/18   JY1709:        I know you’re sick, but call me. I need to talk to you. It’s fucked up that   See above, entry 11, for   A, B, E, F,    SW_FIL_003423
                                  you just fall off the map after you needed me to send that                    information about C.R.,    G, H, K        24
                   JY1709:        Also, for what it’s worth. Between [5530 JD], [M.M.] and [HS CPAs],           CR@gmail.com, and
                                  there’s been $150K sent. I need an agreement and I need it soon. Put in the   5530JD and the
                                  work to finish it please. It’s almost year end and then [A.S] sends out       relevant paragraphs of
                                  1099’s and we get audited. Not only do I need an agreement, but I need a      the Indictment.
                                  final invoice for that last $30K to [M.M.]. Since [5530 JD] has gotten $75K
                                  and [M.M.] has gotten $60K, The agreement should read that [5530 JD], in      See above, entry 41, for
                                  conjunction with [MCG]...something like that.                                 information about
                                  Please just help me to put a bow on this. You gave me your word that I’d      MCG, MM,
                                  have an agreement soon. I need it man. I really do. I can’t send another      MCG@gmail.com and
                                  dime out of this place for consulting and shit. Help me to wrap this up


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Entry   Date       Statement(s)                                                                                     Additional Context         801             Source
                                                                                                                                               Rationale(s)
                   MT1312:        Hi good am                                                                        the relevant paragraphs
                                  Just getting going                                                                of the Indictment.
                                  I wa sick take it easy
                                  Call you when things get moving here                                              See above 1 for
                                  Still a bit out of it                                                             information about H.S.
                   MT1312:        I’m not disappearing I’m right here I’m sick. Give me a minute                    and [H.S. CPAs] and
                   JY1709:        Ok thank you . Really appreciate it. Feel better                                  the relevant paragraphs
                                                                                                                    of the Indictment

71      11/23/18   MT7473:        Do you want your alts or btc and what’s your btc address                          “btc” is short for         A, B, C, F,     SW_FIL_003423
                   JY1709:        3Qemt9JfRBHasMBadwSjMRHzGG6BzJALsy                                                “bitcoin”                  G, H, I, N      24
                   JY1709:        All BTC is preferable
                   JY1709:        You got 2 min to talk?                                                            See Indictment ¶ 25
                                                                                                                    (alleging that Tews
                                                                                                                    gave Yioulos bitcoin as
                                                                                                                    part of the fraud)

72      11/25/18   JY1709:        You have a few min tonight?                                                       Sent to Michael Tew        A, G, K         SW_FIL_003423
                   JY1709:        Need a few things                                                                 x7473. See above,                          24
                   JY1709:        It’s been an full week since I sent that and I still don’t have an agreement or   entry 68 regarding
                                  final invoice...                                                                  payment to MCG.
                   JY1709:        I know you’ve been sick and shit, but come on

73      11/26/18   JY1709:        Come on...                                                                        See above, entry 41, for   A, B, C, E,     SW_FIL_003423
                   JY1709:        It’s now Monday. A full week since I sent to [M.M.] and still don’t have an       information about          F, G, H, I K,   24
                                  agreement or a final invoice for what I sent last week. Or my BTC back...         MCG, MM,                   L
                   MT1312:        Just getting going                                                                MCG@gmail.com and
                                  Kimberley tells me [M.M.] never paid [5530 JD] so she’s been trying to            the relevant paragraphs
                                  work it out                                                                       of the Indictment.
                                  I have a ton of shit to catch up on I’ve been so sick
                                  Let’s talk later re logistics                                                     See above, entry 11, for
                                  It’s fine just stay calm stay focused                                             information about C.R.,
                                  I’m finally back to normal today                                                  CR@gmail.com, and
                                  Can’t talk now but can talk later or                                              5530JD and the
                   JY1709:        Omg. This is ridiculous. That’s why I wanted to send to [5530 JD] to begin        relevant paragraphs of
                                  with                                                                              the Indictment.
                   JY1709:        When are you guys going stop fucking with me? Seriously? I knew that


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                              was a bad idea to send to [M.M.]. You’re really screwing me here                  The x0987 account was
               JY1709:        You keep telling me to stay calm and stay focused, yet you’re not helping         held in the name of
                              me out at all. You won’t answer calls, you won’t respond, and now youre           [5530 JD].
                              going to get to a point where you’re going to need ANOTHER 30K sent. I
                              know it. You guys won’t stop fucking with me. I’m not sending another
                              dime.
               JY1709:        I need an invoice and an agreement. That’s what I need. That’s the bottom
                              line. That’s it. Is it really that difficult? You’re a consultant. You know how
                              these agreements work. Just put it together and end this.
               JY1709:        Please Michael, stop this. Like we have to move on. I need an agreement so
                              I can button this down and get the fuck out of here. I can’t stand it here
                              anymore, but I need things buttoned up before I eventually leave. Just
                              please be a man of your word and get this done finally. I’ve been waiting
                              on this for months.
               MT7473:        Calm down I will call you. [5530 JD] has the agmt but has not
                              signed. This is not about $. I know what you need. Calm down! This
                              isn’t about money.
               JY1709:        Look, I’m sorry. But I hope you can understand why this frustrating for
                              me...
               MT7473:        You are going to get your BTC back. You think I’m some kind of
                              scammer or something, it makes me uncomfortable. I was sick for like four
                              days. I was at hte Dr when we texted last. It was a long holiday
                              weekend. Kimberley is working on it.
               JY1709:        I don’t think it’s you at all. I just am frustrated with the process. I’m sorry
                              you were sick. It’s getting closer to year end and I’m sorry I’m getting
                              nervous.
               JY1709:        I fucking knew this would happen
               JY1709:        Why would you tell me to send to [M.M.]??!?? Why?
               JY1709:        Pick up the phone. Like this is out of fucking control.
               JY1709:
               JY1709:        This is a joke right?
               JY1709:        By the way, has to be ACH anyway cause we only have like $15K in the
                              accounts until tomorrow morning anyway with craf receivables
               JY1709:        Leaving the gym in about 2 Min...I really need the agreement from [5530
                              JD], commenting on working in conjunction with [M.M.]. As soon as I
                              have that from [5530 JD], I can send ACH confirmation to him and we put
                              this to bed. It should be pretty simple. I don’t think it’s too much to ask for


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                              an agreement to be sent over before sending final payment
               MT7473:        On a call - copy. I think the more of an issue you make of the agmt the
                              more of an issue it will become. But my understanding is you are going to
                              get it, but he needs the ACH confirmation asap. Did he send an invoice
                              that said “final” on it?
               JY1709:        He said in an email that it’s the final one. Michael, I need the agreement.
                              Let’s be honest, as soon as I send this, I’ll never hear from him again
               MT7473:        i think if you go into it with a cordial attitude you’ll get what you want but
                              if you don’t show him the ACH confirmation this agreement thing could
                              become an issue whereas as of now I don’t think it is
               JY1709:        Look, you’re worried about it all coming back to you. I get it. But this is the
                              only way. There’s several emails from you telling me to pay [5530 JD]
                              with the invoices and the only way I can justify this and protect us both in
                              an audit is with an agreement. Auditors won’t ask why, they’ll just want a
                              copy. That’s it. [C.A.] (national [C.A.]) will be none the wiser
               MT7473:        But he will help with audits etc whatever you need
               MT7473:        It doesn’t matter when you get the agreement
               MT7473:        Stop trying to control the situation it’s not worth it
               JY1709:        Is it actually done? Seriously tho.
               JY1709:        I need 5 minutes. Please call me.
               JY1709:        It’s about the Routing number
               MT7473:        What’s the issue
                              On a call
                              Brb
               JY1709:        It seems like the routing number may be incorrect when looking at a bbva
                              account for an ACH. I just want to get it right
               MT7473:        Ok 2 secs
               MT7473:        Confirming
               MT7473:        Routing # tel:[x]0547
                              Account # []0987
               JY1709:        Ok thanks
               JY1709:        We’re all set
               MT7473:        Copy
                              Let’s put this to bed finally
                              I have to run to an appt be back shortly




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Entry   Date       Statement(s)                                                                                  Additional Context         801            Source
                                                                                                                                            Rationale(s)
74      11/26/18   Subject: Re: Invoice                                                                          See above, entry 11, for   A, K, L        SW_FIL_000000
                   From: [C.R.] <[C.R.]@gmail.com>                                                               information about C.R.,                   54
                   Date: Mon, 26 Nov 2018 09:22:01 -0700                                                         CR@gmail.com, and
                   To: jyioulos@nationalaircargo.com                                                             5530JD and the                            SW_FIL_000000
                                                                                                                 relevant paragraphs of                    76
                   I sent you an invoice with instructions to my account at Front Bank. I do not bank with       the Indictment.
                   Regions.                                                                                                                                NAC_E_0006016
                                                                                                                                                           4-
                   Please confirm the wire will be processed today and I will forward you the agreement          On October 27, 2018 a                     NAC_E_0006016
                                                                                                                 $30,000 payment is                        5;
                   [. . . .]                                                                                     made into BBVA                            NAC_E_0016249
                                                                                                                 Compass Bank Account                      6-
                   Subject: Re: Invoice                                                                          [x]0987 for services                      NAC_E_0016249
                   From: [C.R.] <[C.R.]@gmail.com>                                                               purportedly rendered to                   7
                   Date: Mon, 26 Nov 2018 09:22:01 -0700                                                         [5530 JD] LLC as
                   To: jyioulos@nationalaircargo.com                                                             fraudulently
                                                                                                                 documented at 5JDL
                   Jon,                                                                                          2019.11.01 7321122
                                                                                                                 (NAC_00000544), as
                   Please delete my prior invoice as I have updated my banking instructions for BBVA             alleged in Count 6 of
                   Compass (new invoice attached here).                                                          the Indictment

                   I also wanted to let you know that this is indeed the final invoice and I will send you the
                   agreement with the changed you requested upon receipt.

                   Thanks.

                   CR

                   [. . . .]

                   Subject: Re: Invoice
                   From: jyioulos@nationalaircargo.com
                   Date: Mon, 26 Nov 2018 09:22:01 -0700
                   To: [C.R.] <[C.R.]@gmail.com>

                   [C.R.],


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                                                                                                                                         Rationale(s)


                   Appreciate the updated invoice. Please see attached for payment confirmation.

                   Also, as promised, please send the agreement.

                   Thank you,

                   Jon Yioulos

75      11/26/18   Subject: Re: Invoice                                                                       See above, entry 11, for   A, K, L        NAC_E_0017283
                   From: [C.R.] <[C.R.]@gmail.com>                                                            information about C.R.,                   3-
                   Date: Mon, 26 Nov 2018 09:22:01 -0700                                                      CR@gmail.com, and                         NAC_E_0017283
                   To: jyioulos@nationalaircargo.com                                                          5530JD and the                            4
                                                                                                              relevant paragraphs of
                   Jon,                                                                                       the Indictment.

                   I just got back from Argentina. I honestly thought you must be kidding. I have attached
                   a copy of the final invoice including the termination fee with the correct banking
                   instructions. In the future please do not send payment to a new account until I have
                   confirmed the information.

                   I understand you've been screaming at Michael Tew who has nothing to do with this and
                   is no longer at National Air Cargo.

                   I am expecting to receive the funds today without any issues. I will email you a copy of
                   the agreement you've requested upon receipt of the wire.

                   CR

76      11/27/18   JY1709:        When can we talk? I still need agreement.                                   On October 27, 2018 a      A, B, C, G,    SW_FIL_003423
                   MT7473:        On it - following up on agmt right now                                      $30,000 payment is         I, K, N        24
                   JY1709:        Thanks man. Really appreciate it                                            made into BBVA
                                  [. . . .]                                                                   Compass Bank Account
                   MT7473:        3Qemt9JfRBHasMBadwSjMRHzGG6BzJALsy                                          [x]0987 for services
                   MT7473:        Is this your BTC address?                                                   purportedly rendered to
                   JY1709:        Yes                                                                         [5530 JD] LLC as


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Entry   Date       Statement(s)                                                                                Additional Context         801             Source
                                                                                                                                          Rationale(s)
                   MT7473: ⁠Bitcoin Transaction                                                                fraudulently
                   92d8c1efa5942b770bca4b670e0413aae124959a12a715383066769c7c3f989c⁠⁦blockchai                 documented at 5JDL
                   n.com⁩                                                                                      2019.11.01 7321122
                   JY1709:    Thank you!                                                                       (NAC_00000544), as
                                                                                                               alleged in Count 6 of
                                                                                                               the indictment

                                                                                                               See Indictment ¶ 25
                                                                                                               (alleging that Tews
                                                                                                               gave Yioulos bitcoin as
                                                                                                               part of the fraud)


77      11/28/18   On November 28, 2018 J.Y. received a question from a NAC employee about a payment           See above, entry 11, for   A, K, L         NAC_E_0005995
                   to [5530 JD] and responded by using his business email account to forward to the            information about C.R.,                    0-
                   employee the invoices he had received from chrisrcnc@gmail.com on November 26,              CR@gmail.com, and                          NAC_E_0005995
                   2018, writing “See attached. [5530 JD]”                                                     5530JD and the                             1
                                                                                                               relevant paragraphs of
                                                                                                               the Indictment.

78      11/30/18   JY1709:        Hey, thanks for the btc. Any update on the agreement? I don’t mean to keep   Message to Michael         A, C, G, I, K   SW_FIL_003423
                                  harping on it, but I really just want to button this whole thing up.         Tew                                        24

                                                                                                               See above, entry 76,
                                                                                                               and other entries above
                                                                                                               related to Jonathan
                                                                                                               Yioulos’s requests for
                                                                                                               sham agreements that
                                                                                                               would fraudulently lend
                                                                                                               an appear of legitimacy
                                                                                                               to the payments to
                                                                                                               MCG, 5530JD and HS
                                                                                                               CPAs




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 Entry   Date      Statement(s)                                                                                 Additional Context         801            Source
                                                                                                                                           Rationale(s)
 79      12/1/18   JY1709:        How’s it looking for today?                                                   Messages to Kimberley      A, B, E, F,    SW_FIL_003379
                   JY1709:        Look, make what you can, keep the excess and just send whatever you can       Tew                        G, H, I, K     55-
                                  back. Even if it’s just what I sent. No worries                                                                         SW_FIL_003379
                                  [. . . .]                                                                     See above, entry 41, for                  59
                   JY1709:        100% get it. Look keep it as long you need to, make whatever you can for      information about
                                  yourself as well. No. It was that psychopath [C.F.] and then [L.A.]           MCG, MM,
                                  [. . . .]                                                                     MCG@gmail.com and
                   JY1709:        [M.M.] got fucking $30K! Out of nowhere! And now he wants to get paid         the relevant paragraphs
                                  more? Fuck. We have like no money in the company and I’ve sent a total of     of the Indictment.
                                  $165K to them!
                   JY1709:        Maybe. Idk tho. Lots of risk there. My wife wouldn’t approve                  “[L.A.]” is a reference
                   JY1709:        Not cause of you                                                              to one of the owners of
                   JY1709:        Or Michael                                                                    NAC.
                   JY1709:        I get it. What do these guys have over you tho for real?
                   JY1709:        I’ll think about it for sure. Listen, worst case scenario, send my BTC to     See above, entry 33 for
                                  [M.M.] and end this thing if he wants to get “paid” I really just need an     information about
                                  agreement sent to me by end of the year or else it’s gonna get bad. I’m       [C.F.]
                                  exhausted, but I’m gonna be on the road for the next few hours driving with
                                  the wife so I’ll talk to you later that ok?
                   JY1709:        What kind of changes? Really quick cause I gotta run

 80      12/3/18   Email from Kimberley Tew, using [MCG]@gmail.com, to J.Y. business email:                     See above, entry 41, for   A, K, L        SW_FIL_000580
                                                                                                                information about                         5
                   As per my agreement I have attached a copy of the final invoice. Please send payment         MCG, MM,
                   confirmation.                                                                                MCG@gmail.com and                         SW_FIL_000058
                                                                                                                the relevant paragraphs                   11
                   [M.M.]                                                                                       of the Indictment.
                                                                                                                                                          NAC_00000548

                   -----                                                                                                                                  NAC_E_0005959
                                                                                                                                                          3-
                                                                                                                                                          NAC_E_0005959
                                                                                                                                                          4




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Entry   Date      Statement(s)                                                                                   Additional Context         801            Source
                                                                                                                                            Rationale(s)
                  J.Y. responded:


                  [M.M.],

                  I just sent ACH tonight, but the funds will not hit your account until Wednesday
                  morning. I have attached to you the confirmation.

                  Thank you,

                  Jon Yioulos
                  716-580-6943

81      12/4/18   MT7473:        ABA: [x]3716. ACCOUNT: [x] 8385. ACCOUNT NAME:                                  See above, entry 54, for   A, B, E, F,    SW_FIL_003423
                                 SAND HILL LLC                                                                   information about Sand     G, H, I, K     24
                  JY1709:        Got it.                                                                         Hill LLC and its use by
                  JY1709:        For the record. We’ve given [5530 JD] $105K. after this it’s $100K to           Michael Tew as a
                                 [M.M.] too...                                                                   vehicle to collect
                                                                                                                 scheme proceeds and
                                 So try to work that into the agreement                                          the relevant paragraphs
                  JY1709:        Fuck that’s so much money                                                       of the Indictment.
                  MT7473:        Of course
                  MT7473:        Copy                                                                            See above, entry 11, for
                  MT7473:        Ok FINAL DECISION - SEND TO SAND HILL                                           information about C.R.,
                  MT7473:        WERE GOING TO HANDLE IT                                                         CR@gmail.com, and
                  MT7473:        DO NOT SEND TO [5530 JD]                                                        5530JD and the
                  MT7473:        BOF A ACCOUNT                                                                   relevant paragraphs of
                  JY1709:        Are you sure. Positive!                                                         the Indictment.
                  MT7473:        YES 100%
                  MT7473:        Better for both
                  JY1709:        Ok. How is this going to get handled so [M.M.] doesn’t ask for more? Just       See above, entry 41, for
                                 wondering. Can’t blame me here for asking that question                         information about
                  JY1709:        Cause we got fucked before                                                      MCG, MM,
                  MT7473:        Kimberley taking care of it which is why better goes to SAND HILL. no           MCG@gmail.com and
                                 more people in middle                                                           the relevant paragraphs
                  MT7473:        No more wasting time                                                            of the Indictment.
                  JY1709:        That’s fine that she says that and i trust you guys, but what’s from stopping


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Entry   Date      Statement(s)                                                                                    Additional Context         801            Source
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                                 him from sending an email tomorrow saying he never got paid. That’s my
                                 worry. I get she’s “handling it” but what does that mean                         On December 5, 2018 a
                  JY1709:        Apologize for all the questions, I just can’t keep doing this shit               $30,000 payment is
                  MT7473:        He can’t because he knows its coming from us...you’r bout of it. That’s          sent from National Air
                                 why it works                                                                     Cargo for purported
                  MT7473:        Obviously we are more reliable!                                                  payment to [MCG]. as
                  MT7473:        ??                                                                               fraudulently
                  JY1709:        Getting it out now. No changing minds after this                                 documented in MCG
                  JY1709:        Done ✅                                                                           2018.11.30
                  JY1709:        Please let this be the last one                                                  (NAC_00000548)
                  MT7473:        YES
                  JY1709:        Please please please work on agreement. It’s the only thing left.
                  MT7473:        We have to now
                  MT7473:        Not that we didn’t before but yo know what I mean
                  JY1709:        Yeah I get it
                  JY1709:        Ahh god I’m so nervous. We have like no fucking money here. Everything
                                 will work out, but it’s so damn stressful


82      12/4/18   JY1709:        No email yet from [M.M.] saying his account is frozen/closed. Should I still     Messages to Kimberley      A, B, F, G,    SW_FIL_003379
                                 cancel it? Is it actually frozen? What’s the gameplan here                       Tew                        H, K           39-
                  JY1709:        So send to the [5530 JD] account I just sent to?                                                                           SW_FIL_003379
                                 [. . . .]                                                                        See above, entry 41, for                  43
                  JY1709:        Ok thanks. If they both confirm then it’s easy                                   information about
                  JY1709:        I just need [M.M.] to tell me to send to [5530 JD] instead and for [5530 JD]     MCG, MM,
                                 to confirm. If I get both then we’re good                                        MCG@gmail.com and
                  JY1709:        That’s fine. I’ll cancel the ACH from last night first then I’ll wait for them   the relevant paragraphs
                                 to be up. It’ll still be before the window closes so we’ll be fine               of the Indictment.
                  JY1709:        Ahh this better be the last one
                  JY1709:        When I say we’re cash poor...this is why this has to be the last one. It’s way   “SH” is a reference to
                                 too noticeablewhen we have no cash                                               Sand Hill. See above,
                  JY1709:        Are these guys waking up anytime soon?                                           entry 54, for
                  JY1709:        Just stepping out for lunch. Call you in 30 seconds                              information about Sand
                  JY1709:        Easier to explain                                                                Hill LLC and its use by
                  JY1709:        Ok we’re good. Funds going to SH                                                 Michael Tew as a
                                                                                                                  vehicle to collect
                                                                                                                  scheme proceeds and

                                                                                    48
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Entry   Date      Statement(s)                                                                                   Additional Context         801            Source
                                                                                                                                            Rationale(s)
                                                                                                                 the relevant paragraphs
                                                                                                                 of the Indictment.

                                                                                                                 On December 5, 2018 a
                                                                                                                 $30,000 payment is
                                                                                                                 sent from National Air
                                                                                                                 Cargo for purported
                                                                                                                 payment to [MCG]. as
                                                                                                                 fraudulently
                                                                                                                 documented in MCG
                                                                                                                 2018.11.30
                                                                                                                 (NAC_00000548)

83      12/4/18   On December 3, 2018 J.Y. sent and email to an employee within NAC, attaching two               On December 5, 2018 a      A, K, L        NAC_E_0005960
                  invoices, writing “Hey, these are two invoices that were missing from the account!             $30,000 payment is                        0-
                  Please apply the one payment sitting open to inv 79488. I paid 79489 today. Thanks!.”          sent from National Air                    NAC_E_0005960
                                                                                                                 Cargo for purported                       2
                                                                                                                 payment to [MCG]. as
                                                                                                                 fraudulently
                                                                                                                 documented in MCG
                                                                                                                 2018.11.30
                                                                                                                 (NAC_00000548).

                                                                                                                 See above, entry 41, for
                                                                                                                 information about
                                                                                                                 MCG, MM,
                                                                                                                 MCG@gmail.com and
                                                                                                                 the relevant paragraphs
                                                                                                                 of the Indictment.

84      12/6/18   JY1709:        Please call me when you can.                                                    See above, entry 11, for   A, B, F, G,    SW_FIL_003423
                  MT7473:        Just take a breath get through the day                                          information about C.R.,    H, K           24
                  JY1709:        I’m trying. Not only is work the absolute worst right now. But we have no       CR@gmail.com, and
                                 money to pay vendors at all. Like everything is getting threatened to get cut   5530JD and the
                                 off.                                                                            relevant paragraphs of
                  MT7473:        OMG...oh because the plane was in check so long?                                the Indictment.
                  MT7473:        So just no cash flow?

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Entry   Date      Statement(s)                                                                                 Additional Context         801            Source
                                                                                                                                          Rationale(s)
                  JY1709:        Michael, it’s not getting out until Saturday... And I’ve sent out 90K in      See above, entry 41, for
                                 payments to consultants in the past 2 weeks                                   information about
                  MT7473:        OMG                                                                           MCG, MM,
                  JY1709:        That’s why this is getting so stressful. It starts to look obvious            MCG@gmail.com and
                  JY1709:        Think about it. We sent $30K to [M.M.] instead of [5530 JD]. [5530 JD]        the relevant paragraphs
                                 said they never got so we sent $30K to [M.M.] too. Then we just sent          of the Indictment.
                                 another $30K yesterday.
                                 This is why I’m freaking out. This is why I need an agreement.
                  JY1709:        I’m sorry. I hope you understand
                  MT7473:        We’ll just do something small Friday fr Monday just to buy time and that’s
                                 it
                  JY1709:        Ok. That’s literally the best I can do. I’m really sorry. I wish I could do
                     more
                  JY1709:        But for real, I need an agreement ASAP. With limited funds, if there’s a
                                 question about why we sent money somewhere, I need that handy. I can
                                 talk my way out of it if I have the agreement. I know you’re swamped with
                                 trying to get new work, but please
                  MT7473:        Copy that. I’m sorry about this. Dude banks hate me!!!!!

85      12/6/18   JY1709:        No. It was sent to Sandhill                                                   Messages to Kimberley      A, B, E, F,    SW_FIL_003378
                  JY1709:        I’m gonna lose it                                                             Tew                        G, H, I, K,    83-
                  JY1709:        I know you’re not, but I literally want to throw up right now                                            M, L           SW_FIL_003379
                  JY1709:        Why would they close it                                                       See above, entry 54, for                  27
                  JY1709:        Michael said yesterday the funds were there!                                  information about Sand
                  JY1709:        Ok. Cause it makes zero sense that they would do that. I appreciate the       Hill LLC and its use by
                                 heads up                                                                      Michael Tew as a
                  JY1709:        This is absurd.                                                               vehicle to collect
                  JY1709:        Hahaha what the hell                                                          scheme proceeds and
                  JY1709:        Ok. I thought you guys were just going to transfer it to an account you had   the relevant paragraphs
                                 already purchased crypto with                                                 of the Indictment.
                  JY1709:        Ok good
                  JY1709:        I'm sorry this is happening                                                   See above, entry 41, for
                  JY1709:        Ok. Look, if the funds get returned, we come up with a different solution,    information about
                                 but canceling that [M.M.] ACH already made the account look weird cause       MCG, MM,
                                 it went out then came back in. Now getting it returned from a sandhill        MCG@gmail.com and
                                 account will make waves as well, but I thinkI can handle. Hopefully they      the relevant paragraphs
                                 just froze the account briefly and you can gain access.                       of the Indictment.


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Entry   Date   Statement(s)                                                                                   Additional Context        801            Source
                                                                                                                                        Rationale(s)
               JY1709:        If the bank needs to call me, to verify the transfer or anything let me know
               JY1709:        So what did they say is goign to happen with the funds?????                     See above, entry 33 for
               JY1709:        Well they should have given him a reason right?                                 information about
               JY1709:        So the funds will come back to you, not national though                         [C.F.]
               JY1709:        I’m not doing anything. Haven’t even tried to call or text him
               JY1709:        I just don’t know what the next step is. I can’t send anything else. I really
                              can’t. We have no cash at the company and another $30K gone will raise          See entries 28 and 32,
                              suspicions this time when other vendors are cutting off service and shit        describing prior
               JY1709:        I know!!!                                                                       directions by Kimberley
               JY1709:        I’m just saying! Please don’t think I’m yelling st you!                         Tew for funds to be
               JY1709:        Haha sorry. I'm just stating fact regardless how obvious. I just don't kow      sent by wire instead of
                              what the next step is                                                           ACH and resulting
               JY1709:        Look, tell him he can keep my BTC at the end of it all too. Pay him more        complication.
                              afterwards. What the fuck does this guy have on you??
               JY1709:        Well I don’t know what to do. He’s gotten $70K from National already.
                              $70K! $30K of which he was never supposed to get. You’ve also sent him
                              BTC and other shit. Look, at the end of the day, the only way he gets his
                              money, is through national and the funds we just sent
               JY1709:        What did I do?
               JY1709:        Because if he blows this whole thing up, he doesn’t get anything more at
                              all. Am I right? Like he gets fucked by this whole thing too.
               JY1709:        Why would he want to blow this thing up?
               JY1709:        What's the point?
               JY1709:        Not to mention the fact that his account closed too
               JY1709:        I don't know what to do. I'm freaking out
               JY1709:        We are so fucked
               JY1709:        I'm goign to jail. I really think I am. I'm sorry. I don't mean to freak. But
                              it's the truth.
               JY1709:        Cause this is goign to blow up. I can't send money and you don't have
                              money to send him either
               JY1709:        No, but if [M.M.] blow this up what can I really do?
               JY1709:        Yeah but he'll call national and it'll be [C.F.] 2.0
               JY1709:        Exactly. That's fucked up. I'd rather turn myself in then have that happen
               JY1709:        What do you want me to say? I have no options. This was supposed to
                              work. Now the funds are held up for 2-4 weeks. I can’t send anything out of
                              National and he’s gonna get my wife and family involved. I can’t have that.
                              I can’t allow that.


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Entry   Date   Statement(s)                                                                                      Additional Context   801            Source
                                                                                                                                      Rationale(s)
               JY1709:        I get it. I do. Look at me tho too. I’m the one hitting send on all these wires.
                              I’m the bad guy here if we get caught. And you can get mad at me if you
                              want, but I’m not gonna get my wife involved. I’m not. Please respect that.
               JY1709:        I know you've helped me! But you said it's funny I can't allow and what
                              now
               JY1709:        What other options do I have? Lets be honest, I know you’re not fucking
                              around with me, but do you really think you’ll be able to get money to send
                              to [M.M.]? Probably not right? So then you’re going to need me to send
                              something.
               JY1709:        Exactly. I’m not asking you to pay my loans. You guys need money too!
               JY1709:        I know you're not!!! Ive never said that!
               JY1709:        Well I don’t know what to do. I don’t . I don’t have a solution anymore
               JY1709:        Nothing! I have no solution. What can I do????
               JY1709:        I'm not yelling. I promise.
               JY1709:        When have I blamed you guys?
               JY1709:        But see I knew it would come down to me sending MORE. It’s never
                              ending. That’s my point. And the longer it goes, the worse it gets
               JY1709:        Not to mention I have nothing to send! Literally nothing. The accounts are
                              empty.
               JY1709:        I'm not blocking you
               JY1709:        Neither can I cause there's no other cash coming in. Monday is the earliest
               JY1709:        No. All my cards are joint cards
               JY1709:        No.
               JY1709:        Listen. Tell him since his account closed it fucked with our bank here too.
                              The earliest he gets paid is Monday. I can’t do it before then.
               JY1709:        Plus, it's adding more "consulting fees"
               JY1709:        Well what’s from stopping him to asking for more next week. And where
                              would I even send it since his account is closed.
               JY1709:        I know he didn’t. But what happens when that gets “close so
               JY1709:        If I send him multiple small payments it’s even more noticeable. This is out
                              of control.
               JY1709:        It’s more stressful cause I sent this shit to sandhill! Fuck
               JY1709:        I’m not yelling. I’m just nervous
               JY1709:        No. I don’t have a corporate card. I’ve never had an Amex here
               JY1709:        She's a god damn hawk
               JY1709:        She gets alerts every-time it's used
               JY1709:        What are you talking about


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Entry   Date   Statement(s)                                                                                   Additional Context   801            Source
                                                                                                                                   Rationale(s)
               JY1709:        Peter called me about cancelling [M.M.]. Yours went through
               JY1709:        I'm not fucking around or messing with anyone
               JY1709:        Cause now the money is gone. It never bounced back. Sending out more
                              will raise suspicions on the cash sheet. It’s like why are we sending $100K
                              to consultants in the last month but can’t buy fuel
               JY1709:        That's my point. The fact the money never bounced back is an issue
               JY1709:        It’s not that easy. We had to send back payments for PNC and Another loan
                              that auto drew. That’s $280K total that we had to say no we don’t have the
                              funds for
               JY1709:        That’s how bad things are
               JY1709:        What do you mean the money showed up?
               JY1709:        Do what???
               JY1709:        Have Michael call me from his phone
               JY1709:        Ok
               JY1709:        Not until Monday
               JY1709:        That's what I've been saying
               JY1709:        I don't think you realize how that works. It's not that simple
               JY1709:        And withotu funds backing it, it would never work
               JY1709:        I have no reason to lie to you or to Michael. Look I’m doing the best I can
                              right now. We have a plane getting out of maintenance Saturday. We’re
                              getting more funds from Dubai by then as well. [A.S] is also out of the
                              office on Monday too.
               JY1709:        I blocked off $30K to sand hill cause I thought this was over. But now that
                              money never came back.
               JY1709:        No that’s my point. If it did there woudnt be a problem cause I could easily
                              just send it back out.
               JY1709:        Look, I’m freaking out. I can’t think I can’t do anything. I’d love to send
                              $5K to stop this headache but we don’t have it. We just don’t.
               JY1709:        Thank god
               JY1709:        What do you mean
               JY1709:        I’m really not trying to fuck this up. For real though. I’m trying my best on
                              my side and I hope you know that.
               JY1709:        Can you talk to me please? What’s going on? I need to know how fucked
                              we are right now
               JY1709:        I'm sorry Im' just freaking out
               JY1709:        They receive Monday
               JY1709:        I don't know what you're saying. I'm sorry. I'm not understanding


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Entry   Date      Statement(s)                                                                                    Additional Context          801            Source
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                  JY1709:        I don't know
                  JY1709:        I’m sorry. I really am...What’s going on with [M.M.] tho. That’s my
                                 question. You said you could get money. What’s going on with that? That’s
                                 what I’m asking. I’m so confu+B77sed right now
                  JY1709:        $10k can hit Monday
                  JY1709:        We don't have money and i only have 7 minute for the window
                  JY1709:        I might be able to make $15k work to hit Monday
                  JY1709:        I only have 5 minutes. I don't know what you want from me
                  JY1709:        You know that doesn't work
                  JY1709:        How???!?????
                  JY1709:        That's what the additional wires were for!
                  JY1709:        We're fucked. I cant' get anythign out today. That means we're fucked
                  JY1709:        I'm out of time
                  JY1709:        It's 4Pm
                  JY1709:        It's not possible. [A.S] has to approve. It'll never work
                  JY1709:        I'm just telling you the situation
                  JY1709:        What do you mean a loan?
                  JY1709:        Look, can I talk to one of you so I understand this a bit more...where are
                                 you taking the loan out from? And if you’re taking out a loan, then why do
                                 you need money from me still? Especially if you’re getting the funds I sent
                                 yesterday in a month
                  JY1709:        I need to actually talk to one of you. It's so much easier than texting
                  JY1709:        If I could have I would have sent an ACH
                  JY1709:        It’s life or death but you or Michael can’t take 5 minutes to actually talk to
                                 me
                  JY1709:        Talk to me please

86      12/7/18   On December 7, 2018, Michael Tew, using the [PM]@gmail.com address sent an email                The [PM]@gmail.com          A, K, L
                  to J.Y.’s business address with the content below and a link to pay a Quickbooks invoice        email account is the one
                  directing payments to an account at Access Bank on which [L.W.] was the sole                    associated with PM, as
                  signatory:                                                                                      described in the proffer.
                                                                                                                  L.W. was represented
                  Dear National Air Cargo Group, Inc.,                                                            to be the owner of PM,
                                                                                                                  which was one of the
                  Your invoice is attached. Please remit payment at your earliest convenience.                    shame companies used
                                                                                                                  to conceal payments to
                  Thank you for your business - we appreciate it very much.                                       Michael and Kimberley


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Entry   Date      Statement(s)                                                                            Additional Context          801            Source
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                                                                                                          under false and
                                                                                                          fraudulent pretenses.
                                                                                                          See Indictment ¶¶11,
                                                                                                          12, 13, 15, 19, 20, 22,
                                                                                                          PM’s emails contained
                                                                                                          links to quickbooks
                                                                                                          invoices directing the
                                                                                                          payments to specific
                                                                                                          accounts. Early
                                                                                                          invoices directed that
                                                                                                          payments be sent to an
                                                                                                          account controlled by
                                                                                                          [L.W.] at Access bank,
                                                                                                          with later transfer by
                                                                                                          Ward to Tew. Later
                                                                                                          invoices from teh
                                                                                                          [PM]@gmail.com
                                                                                                          account directed that
                                                                                                          payments be made
                                                                                                          directly to an account at
                                                                                                          Navy Federal Credit
                                                                                                          Union ending in
                                                                                                          number x8486 on
                                                                                                          which Michael and
                                                                                                          Kimberley Tew were
                                                                                                          joint signatories and
                                                                                                          later still to an account
                                                                                                          at Wells Fargo for Sand
                                                                                                          Hill.

87      12/7/18   JY1709:        So what’s going on. Haven’t heard from you guys at all today.            The references to an        A, B, F, G,    SW_FIL_003423
                  MT7473:        Hae a plan call you shortly                                              email are the references    H, K,          24
                  JY1709:        Ok                                                                       to the email sent on
                  MT7473:        If invoice comes from quickbooks can you just click the link to pay?     December 7, 2018 from
                  MT7473:        Or is it all manual                                                      the [PM]@gmail.com
                  MT7473:        You will have in 5 minutes                                               account. See entry 86,
                  MT7473:        Al set                                                                   above.


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Entry   Date      Statement(s)                                                                         Additional Context        801            Source
                                                                                                                                 Rationale(s)
                  JY1709:        Sent? I don’t have anything yet
                  MT7473:        2 mins
                  JY1709:        Ok no worries sorry
                  JY1709:        Got it
                  JY1709:        DONE
                  MT7473:        Pls send the confirmation thank you
                  MT7473:        thakn you
                  MT7473:        Thank youi
                  JY1709:        I can send confirm back to that email?
                  MT7473:        YES
                  JY1709:        Ok thanks
                  JY1709:        Done.
                  JY1709:        This HAS to be it
                  MT7473:        What email did you send to
                  MT7473:        Yes obiously
                  MT7473:        Did you just reply to the invoice
                  MT7473:        Got it
                  JY1709:        Ok good
                  MT7473:        Go home have a drink
                  MT7473:        Or 7

88      12/7/18   On December 7, 2018 J.Y. replied to the email from [PM]@gmail.com, writing “Hello,   On December 10, 2018      A, K, L.       SW_FIL_000114
                  please see attached for payment confirmation. Again, my apologies on the WAY past    $21,250 is sent via                      56
                  due nature of the invoice. Appreciate your patience.”                                ACH to Access Bank
                                                                                                       Account for services                     NAC_E_60064-
                                                                                                       purportedly rendered to                  NAC_E_60065
                                                                                                       [PM] as fraudulently
                                                                                                       documented in [PM]
                                                                                                       6516 2018.12.07
                                                                                                       (NAC_00000550)

                                                                                                       Bank records show that
                                                                                                       the money from NAC
                                                                                                       was deposited into an
                                                                                                       account controlled by a
                                                                                                       signatory named
                                                                                                       [L.W.]. On December


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                                                                                                                  7, 2018.
                                                                                                                  [ACNB_00000440]
                                                                                                                  Those records also
                                                                                                                  show that on December
                                                                                                                  10, 2018 $15,500 of the
                                                                                                                  $21,250 payment was
                                                                                                                  transferred to Michael
                                                                                                                  Tew
89      12/8/18    JY1709:        I’m trying. Not only is work the absolute worst right now. But we have no       See above, entry 41, for   A, B, E, F,    SW_FIL_003423
                                  money to pay vendors at all. Like everything is getting threatened to get cut   information about          G, H, I, K     24
                                  off.                                                                            MCG, MM,
                   MT1312:        OMG…oh because the plan was in check so long                                    MCG@gmail.com and
                                  So just no cash flow?                                                           the relevant paragraphs
                   JY1709:        Michael, it’s not getting out until Saturday... And I’ve sent out 90K in        of the Indictment.
                                  payments to consultants in the past 2 weeks
                   MT1312:        OMG
                   JY1709:        That’s why this is getting so stressful. It starts to look obvious              On December 10, 2018
                   JY1709:        Think about it. We sent $30K to [M.M.] instead of [5530 JD]. [5530 JD]          $21,250 is sent via
                                  said they never got so we sent $30K to [M.M.] too. Then we just sent            ACH to Access Bank
                                  another $30K yesterday. This is why I’m freaking out. This is why I need        Account for services
                                  an agreement.                                                                   purportedly rendered to
                   JY1709:        I’m sorry. I hope you understand                                                [PM] as fraudulently
                   JY1709:        Ok. That’s literally the best I can do. I’m really sorry. I wish I could do     documented in [PM]
                                  more                                                                            6516 2018.12.07
                   JY1709:        But for real, I need an agreement ASAP. With limited funds, if there’s a        (NAC_00000550)
                                  question about why we sent money somewhere, I need that handy. I can
                                  talk my way out of it if I have the agreement. I know you’re swamped with
                                  trying to get new work, but please

90      12/10/18   MT7473:        [NAC vendor] called me today, bounced the last payment. Is everthing ok?        See above [X] for          A, B, E, F,    SW_FIL_003423
                   JY1709:        Yeah we intentionally bounced it. They drew it today. How’s everything??        information on [M.M.]      G, H, I, K     24
                   MT7473:        Ok - things are MUCH BETTER...working through it. Of course they still          and [MCG].
                                  want their $30
                   JY1709:        Yeah, they can wait for the rest ha                                             See above [X] for
                   MT7473:        They have legit issues I guess. I’m working through it. I wish I never          information on [C.R.]
                                  knew them                                                                       and [5530 JD]
                   JY1709:        Ok thanks. Yeah, but even for legit issues, that’s what the additional $30K


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                                  to [5530 JD] was for and [M.M.] got an additional $30K out of nowhere
                                  too after they acted like they stopped working together. Plus we just sent
                                  another $21K.                                                                  On December 10, 2018
                                  So essentially [5530 JD] got $75K and then $30K for tax (more than             $21,250 is sent via
                                  enough) and [M.M.] was essentially the same. But whatever                      ACH to Access Bank
                   MT7473:        I don’t know what to say.they’re the worst                                     Account for services
                                                                                                                 purportedly rendered to
                                                                                                                 [PM] as fraudulently
                                                                                                                 documented in [PM]
                                                                                                                 6516 2018.12.07
                                                                                                                 (NAC_00000550)

91      12/10/18   On December 10, 2018 J.Y. forwarded the email below to an employee at NAC with an             See above, entry 86, for   A, K, L        NAC_E_0005947
                   attached fraudulent PM invoice, writing in the subject line “New Vendor – Paid on             information about                         5-
                   Friday”                                                                                       L.W., PM,                                 NAC_E_0005947
                                                                                                                 PM@gmail.com and                          6
                   [. . . .]                                                                                     the relevant paragraphs
                                                                                                                 of the Indictment.
                   Dear National Air Cargo Group, Inc.,
                                                                                                                 On December 10, 2018
                   Your invoice is attached. Please remit payment at your earliest convenience.                  $21,250 is sent via
                                                                                                                 ACH to Access Bank
                   Thank you for your business - we appreciate it very much.                                     Account for services
                                                                                                                 purportedly rendered to
                                                                                                                 [PM] as fraudulently
                                                                                                                 documented in [PM]
                                                                                                                 6516 2018.12.07
                                                                                                                 (NAC_00000550)

92      12/11/18   Email from Kimberley Tew, using [MCG]@gmail.com, to J.Y. business email:                      See above, entry 41, for   A, K, L        SW_FIL_000027
                                                                                                                 information about                         35
                   Jon,                                                                                          MCG, MM,
                                                                                                                 MCG@gmail.com and                         NAC_E_0017326
                   As you are aware, I did not receive this ACH. I have attached my final invoice with my        the relevant paragraphs                   7
                   bank instructions. I would like this to be paid via wire for Tuesday, the 11th. I sincerely   of the Indictment.
                   hope there are no further issues and that funds are sent without delay. If I do not receive   On December 12, 2018
                   payment in full I will be contacting someone else at your company to discuss. I will          a $25,000 payment is


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                   confirm receipt for this final invoice when the funds hit my own account. Please do not         made to ANB Bank
                   send payment for this final invoice to any account but the one on the actual invoice.           Account x3099 for
                                                                                                                   services purportedly
                   Thank you for your understanding.                                                               rendered to [MCG]. as
                                                                                                                   fraudulently
                   [M.M.]                                                                                          documented in MCG
                                                                                                                   2018.12.11
                                                                                                                   (NAC_00000549), as
                                                                                                                   alleged in Count 7 of
                                                                                                                   the Indictment

93      12/11/18   JY1709:        Just got an email from [M.M.] saying he didn’t receive anything. Fuck this.      See above, entry 33 for    A, B, E, F,     SW_FIL_003423
                                  Are you fucking kidding me???????                                                information about          G, H, I, J, K   24
                   JY1709:        This is a sick joke. Says he wants $25K by wire today. FIX THIS                  [C.F.]
                   JY1709:        WHAT THE FUCK
                   JY1709:        He was supposed to send me an email saying he got paid before you guys           See above, entry 41, for
                                  even sent him anything. You guys are really fucking me                           information about
                   JY1709:        Hello                                                                            MCG, MM,
                   MT7473:        Just waking up                                                                   MCG@gmail.com and
                                  Wtf is going on with this guy                                                    the relevant paragraphs
                                  I’m not doing anything to you                                                    of the Indictment.
                                  Call you shortly
                   JY1709:        I know you’re not. I’m just really upset man                                     See above, entry 11, for
                   MT7473:        Let me look into this brb                                                        information about C.R.,
                   JY1709:        Please. Thanks                                                                   CR@gmail.com, and
                   MT7473:        [L.W.] sent [C.R.]. All good there. [C.R.] account got flagged at                5530JD and the
                                  bbva— new account apparently. And the fraud dept was asking for all              relevant paragraphs of
                                  kinds of invoices. I helped with all of that yesterday to clear up the issues.   the Indictment.
                   MT7473:        That’s what I know
                   MT7473:        Looking further                                                                  See entry 76 above,
                   JY1709:        I’m going to FBI. Fuck this.                                                     showing that C.R. used
                   MT7473:        I can’t tell you what to do or what not to do...I can’t be involved with you     an account tat BBVA
                                  in that. What I can say is I personally have filed three separate reports with
                                  the FBI about [C.F.] and they have done absolutely nothing, and probably         On December 12, 2018
                                  never will. So I’m not sure how that all works.                                  a $25,000 payment is
                   MT7473:        Call you shortly - I’m on a call                                                 made to ANB Bank
                   MT7473:        Doing my best - I honestly am                                                    Account x3099 for


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                   MT7473:        I was at the library for two hours with my kids in sweats yesterday. Trying     services purportedly
                                  to secure a job for teh new year                                                rendered to [MCG]. as
                   MT7473:        Job market sucks here for guys like me                                          fraudulently
                   JY1709:        I know you are. But Michael I really need an agreement. Like badly. It’s        documented in MCG
                                  getting closer and closer to end of year. If we don’t have something, it’ll     2018.12.11
                                  end up fucking us. You, me, [M.M.] and [C.R.] honestly. But if we have an       (NAC_00000549), as
                                  agreement, there’s something there that unless all parties want to fuck it up   alleged in Count 7 of
                                  for one another, we have to agree to                                            the Indictment
                   JY1709:        Cleared this [M.M.] issue up with kimberley, but please work on getting me
                                  an agreement. It’s essential

94      12/14/18   On December 14, 2018 J.Y. used his business email account to send an attached invoice          See above, entry 41, for   A, K, L        NAC_E_0005983
                   for payment to [MCG]@gmail.com with the subject line “[M.M.] Inv”                              information about                         5-
                                                                                                                  MCG, MM,                                  NAC_E_0005983
                                                                                                                  MCG@gmail.com and                         6
                                                                                                                  the relevant paragraphs
                                                                                                                  of the Indictment.

95      12/18/18   JY1709:        I think you should keep some and then if possible, it’d be the best to get      See Indictment ¶ 25        A, B, C F,     SW_FIL_003423
                                  back in BTC as funny as that sounds haha                                        (alleging that Tews        G, H, I, K,    24
                   MT7473:        Struggling here until we get to California next year                            gave Yioulos bitcoin as    N
                   JY1709:        Keep $15-20K. Send me $10-15K and that’s should keep you moving a bit.          part of the fraud)
                                  Figure that’s fair

96      12/18/18   Kley(MT):      What's going on - are you making a deposit                                      Messages between           A, F, G, H,    SW_FIL_017001,
                   Kley(MT):      Didn’t get back to you the other day because I new she was                      Michael Tew and MM.        I, K           p. 989-990
                   Kley(MT):      Sorry bout that                                                                 See above, entry 93
                   Kley(MT):      Can you let me know whats up                                                    reflecting payment to
                   Kley(MT):      Calling you to check inm                                                        MM by NAC as
                   MM:            You're good I understand, I fucked off my wife and am just about to a point     directed by the Tews
                                  where I can apologize now without the bs, so it shouldn't be much longer.       and Yioulos
                   Kley(MT):      Ok thanks. sorry to hear. We all have wives:)
                   Kley(MT):      Can you get done within 45 mins?
                   Kley(MT):      Kind of on the clock
                   Kley(MT):      Its been all day - can you deposit $1500 y/n. We can line up a BofA deposit




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97      12/19/18   MT7473:        I the air. Can you ach $15K to [M.M.]                                             See above, entry 41, for   A, B, E, F,    SW_FIL_003423
                   JY1709:        No! Why do you insist on this? I don’t want to hear that name ever again.         information about          G, H, K, N,    24
                                  Honestly                                                                          MCG, MM,                   M
                   JY1709:        Like I’m trying to help I really am. But I get physically ill every time I hear   MCG@gmail.com and
                                  that name                                                                         the relevant paragraphs
                   JY1709:        You know I can’t send out more for consulting. It’s ridiculous. If I send out     of the Indictment.
                                  anymore I’ll get caught. We’ve sent over $225K to [M.M.] and [5530 JD].
                                  What else can I really do?                                                        See above, entry 11, for
                   JY1709:        And I even sent money out to [PM]                                                 information about C.R.,
                   MT7473:        right                                                                             CR@gmail.com, and
                   JY1709:        Do you really understand tho? That’s a lot of money out of NAC. Like              5530JD and the
                                  that’s straight jail time. And I mean that. I wake up at night constantly         relevant paragraphs of
                                  worried                                                                           the Indictment.
                   JY1709:        Look I know it’s not you, but sometimes I don’t think you know the gravity
                                  of the situation sometimes. Cash is super tight and here I am sending off         See above, entry 86, for
                                  payments to consultants and shit. Plus I have to tiptoe around this shit cause    information about
                                  [A.S] does all the 1099’s at end of year and I’m praying to god she doesn’t       L.W., PM,
                                  ask too many questions.                                                           PM@gmail.com and
                   MT7473:        Q: does she do them at end of this year or beginning of next?                     the relevant paragraphs
                   MT7473:        Just in terms of actually getting them done and out                               of the Indictment.
                   JY1709:        I still don’t have an agreement from you regarding [M.M.]/[5530 JD].
                                  Nothing. I’ve asked for months and still have nothing. I’m sorry it’s just        [A.S.] was NAC’s
                                  frustrating. Im trying to help. I really am, but I’ve got nothing back.           Director of Accounting.
                   JY1709:        Beginning of next I’m assuming

98      12/20/18   JY1709:        Ok. Text me the account number to confirm                                         [x]232 is the routing      A, C, F, K     SW_FIL_003423
                   MT7473:        2 secxs                                                                           number for ANB bank.                      24
                   MT7473:        Account: [x]3099 ROUTING: [x]01232                                                The account ending
                   MT7473:        We can meet in orlando                                                            x3099 was at account
                   MT7473:        Say when                                                                          there on which [M.M.]
                   JY1709:        Well it’s all about when you actually get the cash in too right? I mean           was the sole signatory.
                                  ideally I’d love it in crypto as well, but you really just want to give cash?
                                                                                                                    See above, entry 41, for
                                                                                                                    information about
                                                                                                                    MCG, MM,
                                                                                                                    MCG@gmail.com and



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                                                                                                                                        Rationale(s)
                                                                                                             the relevant paragraphs
                                                                                                             of the Indictment.

99      12/20/18   On December 20, 2018 J.Y. used his business email account to forward the email that       See above 1 for            A, K, L        NAC_E_0006044
                   had previously been sent to from Michael Tew’s business account on August 14, 2018 to     information about H.S.                    2-
                   an employee at NAC, referencing HS CPAs                                                   and [H.S. CPAs] and                       NAC_E_0006044
                                                                                                             the relevant paragraphs                   4
                                                                                                             of the Indictment

100     12/20/18   On December 20, 2018 J.Y. forwarded the statement below to an employee at NAC in an       See above, entry 86, for   A, K, L        NAC_E_0006044
                   email with an attached fraudulent invoice from PM@gmail.com.                              information about                         5-
                                                                                                             L.W., PM,                                 NAC_E_0006044
                   Dear National Air Cargo Group, Inc.,                                                      PM@gmail.com and                          6
                                                                                                             the relevant paragraphs
                   Your invoice is attached. Please remit payment at your earliest convenience.              of the Indictment.

                   Thank you for your business - we appreciate it very much.                                 Records show that this
                                                                                                             invoice was not paid, as
                                                                                                             reflected in tehe
                                                                                                             conversation below.

101     12/21/18   MT7473:        Nothing hit yet                                                            See Indictment ¶ 20.       A, B, F, G,    SW_FIL_003423
                   MT7473:        Ca you check                                                                                          H, I, K        24
                   JY1709:        It 1000% went out and cleared our bank
                   MT7473:        Thank you
                   JY1709:        ￼
                   JY1709:        That’s it going out.
                   JY1709:        ￼The bottom amount is it clearing the bank
                   MT7473:        Copy
                   MT7473:        ￼Keep you posted
                   MT7473:        If his bank kicks it back on an ach how long until you know
                   JY1709:        Probably a day or so. There’s no reason for his bank to kick it back
                   JY1709:        It’s the same account that worked before
                   JY1709:        Why would it be any different now? If I fucked up the ACH info, it would
                                  have already bounced back




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                                                                                                                                         Rationale(s)
 102      1/7/19   MT7473:        Welcome back buddy. Sending you an email. I have a plan. need you to        See above, entry 41, for   A, B, F, G,    SW_FIL_003423
                                  trust me.                                                                   information about          H, K           24
                   JY1709:        I don’t though. You gave me your word that the last one to [M.M.] was the   MCG, MM,
                                  last one and here we are again...                                           MCG@gmail.com and
                   JY1709:        I’ve gotten no agreement, no btc back, nothing. I told you I couldn’t       the relevant paragraphs
                                  continue to do this into 2019 and here we are.                              of the Indictment.
                   JY1709:        Do you need confirmation?
                   MT7473:        yes thank you
                   JY1709:        Just sent it

 103      1/7/19   From PM@gmail.com                                                                          See above, entry 86, for   A, K, L        SW_FIL_000114
                                                                                                              information about                         34
                   Dear National Air Cargo Group, Inc.,                                                       L.W., PM,
                                                                                                              PM@gmail.com and                          (SW_FIL_000114
                   Your invoice is attached. Please remit payment at your earliest convenience.               the relevant paragraphs                   38)
                                                                                                              of the Indictment.
                   Thank you for your business - we appreciate it very much.
                                                                                                              On January 8, 2019
                                                                                                              $15,312.50 is sent via
                   From jyioulos to PM@gmail.com                                                              ACH to Navy Federal
                                                                                                              Credit Union Account
                   All,                                                                                       x8486 for services
                                                                                                              purportedly rendered to
                   Please see attached for confirmation.                                                      [PM] as fraudulently
                                                                                                              documented in [PM]
                   Thank you,                                                                                 6540 2019.01.03
                                                                                                              (NAC_E_00060954)
                   Jon Yioulos
                                                                                                              Bank record show that
                                                                                                              Michael and Kimberley
                                                                                                              Tew received this
                                                                                                              payment directly into
                                                                                                              their joint account at
                                                                                                              NFCU x8486.



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104     1/9/19    MT7473:        Text me your btc adddresa                                                    See Indictment ¶ 25        A, C, G, H,     SW_FIL_003423
                  JY1709:        39673cJQ9Z33QoBtPjytzwoZhMsUZroFbB                                           (alleging that Tews        I, K, N         24
                                                                                                              gave Yioulos bitcoin as
                                                                                                              part of the fraud)

105     1/10/19   MT7473:        Sending                                                                      On January 11, 2019        A, B, D, F,     SW_FIL_003423
                                 On a call                                                                    $23,350 is sent via        G, J, K, L, N   24
                  JY1709:        Ok                                                                           ACH to Navy Federal
                  JY1709:        Need invoice before 4 if money is to be received tomorrow. If not, funds     Credit Union Account
                                 will hit Monday                                                              x8486 for services
                  MT7473:        All set                                                                      purportedly rendered to
                  JY1709:        Jesus. It was supposed to be $23,500. You always increase it                 [PM] as fraudulently
                  MT7473:        Shit I flipped It! That was an accident I swear                              documented in [PM]
                  MT7473:        Now what                                                                     6670 2019.01.11
                  JY1709:        It’s whatever. And no it didn’t flip, cause the two totals add up to over    (NAC_00000969)
                                 $25K. And also the hours don’t match. 30.9 times 350 is 10,815, not 10,825
                  MT7473:        Rounding                                                                     Bank record show that
                  JY1709:        Ok                                                                           Michael and Kimberley
                  MT7473:        Something must have happened in excel                                        Tew received this
                  JY1709:        Ok                                                                           payment directly into
                  JY1709:        Also, when should I expect my BTC? For real tho. I know you’ve been          their joint account at
                                 struggling, but you gotta understand where I’m coming from too               NFCU x8486.
                  MT7473:        If you can do cash tomorrow
                                 If not I’ll brb and give you for real                                        See above, entry 86, for
                  JY1709:        What do you mean if I can do cash? Like bank to bank transaction? Or         information about
                                 actual cash ha                                                               L.W., PM,
                  JY1709:        Also, done.                                                                  PM@gmail.com and
                                                                                                              the relevant paragraphs
                                                                                                              of the Indictment.

                                                                                                              See Indictment ¶ 25
                                                                                                              (alleging that Tews
                                                                                                              gave Yioulos bitcoin as
                                                                                                              part of the fraud)
                                                                                                              See Indictment ¶ 18
                                                                                                              (alleging coordination
                                                                                                              to make sure fraudulent


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                                                                                                         invoices were closely
                                                                                                         aligned with NAC)
106     1/10/19   On January 10, 2019 J.Y. sent the response below to [PM]@gmail.com, which was being    See above, entry 86, for   A, K, L.       SW_FIL_000114
                  used by Michael and Kimberley tew                                                      information about                         47
                                                                                                         L.W., PM,
                  Hello,                                                                                 PM@gmail.com and                          SW_FIL_000114
                                                                                                         the relevant paragraphs                   43
                  See attached for final payment for fuel and gov consulting payments.                   of the Indictment.
                                                                                                                                                   NAC_E_82607-
                  Thank you,                                                                             $23,350 is sent via                       NAC_E_82608
                                                                                                         ACH to Navy Federal
                  Jon Yioulos                                                                            Credit Union Account                      NAC_E_52373;
                  716-580-6943                                                                           x8486 for services                        NAC_E_60953-
                                                                                                         purportedly rendered to                   NAC_E_60954
                  Michael Tew and Kimberley Tew, using the [PM]@gmail.com account had sent the           [PM] as fraudulently
                  below email to J.Y.’s business account with an attached invoice directing payment to   documented in [PM]
                  their joint bank account at NFCU x8486                                                 6670 2019.01.11
                                                                                                         (NAC_00000969)
                  Dear National Air Cargo Group, Inc.,
                                                                                                         Bank record show that
                  Your invoice is attached. Please remit payment at your earliest convenience.           Michael and Kimberley
                                                                                                         Tew received this
                  Thank you for your business - we appreciate it very much.                              payment directly into
                                                                                                         their joint account at
                                                                                                         NFCU x8486.
107     1/17/19   MT7473:        Call when can just tried you                                            See above, entry 41, for   A, B, E, F,    SW_FIL_003423
                  MT7473:        Let me know when you have a few mins                                    information about          G, H, J, K     24
                  MT7473:        Talked to Amex                                                          MCG, MM,
                  JY1709:        Ok call soon                                                            MCG@gmail.com and
                  MT7473:        We’re all going to blow up                                              the relevant paragraphs
                  MT7473:        I can’t pay that bill                                                   of the Indictment.
                  MT7473:        I won’t have a choice it’s 45k
                  JY1709:        I JUST SENT YOU $40K                                                    See above, entry 11, for
                  JY1709:        PLUS YOU HAVE ANOTHER $30K in crypto                                    information about C.R.,
                  JY1709:        That’s $70K you got in fucking 2 weeks                                  CR@gmail.com, and
                  JY1709:        And you said It’s to pay the AMEX                                       5530JD and the
                  JY1709:        That’s a ton of money


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               JY1709:        And you act like you’re starving. I don’t even make $70K cash in a year    relevant paragraphs of
                              after taxes are taken out and you’ve gotten that in 2 weeks                the Indictment.
               MT7473:        I had a shit ton of bills
               JY1709:        Ok? And I can’t physically send you anymore                                See above, entry 86, for
               MT7473:        What’s the process for ach at hsbc                                         information about
               JY1709:        Whatever. Keep the $30K                                                    L.W., PM,
               JY1709:        Blow it up then                                                            PM@gmail.com and
               JY1709:        Fuck it                                                                    the relevant paragraphs
               JY1709:        You guys have given me nothing and IM THE ONE TAKING ALL THE               of the Indictment.
               RISK
               JY1709:        I’ve sent over $200K to [M.M.] and [5530 JD] and over $70K to [PM]         [C.A.] and [L.A.] are
                              and now you’re Askign for more???                                          the owners of NAC
               JY1709:        This is a sick joke
               MT7473:        look - I don’t want any money. is there any way you can pay the amex off   FBI is a reference to the
                              directly? It’s a question. My credit has been ruined.                      Federal Bureau of
               JY1709:        How can I pay Amex? Makes no sense                                         Investigation
               MT7473:        why did you tell Kimberley you were talking to teh fBI today for us? I
                              asked you if anything was going on and you said nothing?                   The reference to
               MT7473:        Pls respond or she’s going to start emailing you                           s[]@s[]buffalo.com is a
               MT7473:        Its important for all of us                                                reference to the email
               MT7473:        Now she thinks I’m working with you against her!!!!!                       address used by J.Y.
               MT7473:        my own wife!!!                                                             This is an effort to
               MT7473:        What appended today I asked you twice and. You said nothing                extort J.Y. by
               JY1709:        I’m eating dinner                                                          threatening to reveal
               JY1709:        I’ll call at 9:30                                                          compromising
               MT7473:        She’s sending an email and copying [L.A.] ad [C.A.] right now              information about J.Y.
               MT7473:        That’s what happens when you say that shit                                 to his wife.
               JY1709:        I’m calling you at 9:30
               JY1709:        And I’ll explain
               MT7473:        No. She’s sending an email right now. What the fuck were you dealing
                              with today
               JY1709:        ILL CALL YOU
               JY1709:        FUCK
               MT7473:        My daughters are screaming
               MT7473:        They think I’m going to jail
               JY1709:        JESUS CHRIST CALM DOWN
               MT7473:        She’s sending an email to s[x]@s[x]buffalo.con


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                  MT7473:        I’m not ducking around
                  JY1709:        Jesus Christ wait fuckin 10 min
                  MT7473:        ok

108     1/17/19   JY1709:        We are. I just thought it would be easier to go through one person. It’s         Messages sent to           A, B, D, F,    SW_FIL_003378
                                 nothing personal. Seriously                                                      Kimberley Tew              G, J, K, L     29-
                                 [. . . .]                                                                        See above, entry 41, for                  SW_FIL_003378
                  JY1709:        How so? There’s literally no way I can do that                                   information about                         34
                  JY1709:        Jesus.                                                                           MCG, MM,
                  JY1709:        I’m not trying to screw you guys ever                                            MCG@gmail.com and
                  JY1709:        If any of this gets out, we’re all fucked. That’s why I’m still here honestly.   the relevant paragraphs
                                 I have to button this up and stay here until we get our ducks in a row and       of the Indictment.
                                 my wife can find me another job here in Buffalo cause our family’s are
                                 here                                                                             See above, entry 33 for
                  JY1709:        Don’t be. I have this under control                                              information about
                  JY1709:        You have to trust me a bit.                                                      [C.F.]
                  JY1709:        I’m pissed. I’ve sent over $77,037.50 to [PM] and another $200K
                                 plus to [5530 JD] and [M.M.]                                                     See above, entry 11, for
                  JY1709:        And I tried. But then Michael got fired cause of [C.F.]. The Amex thing          information about C.R.,
                                 would have been handled but then [L.A.] went on a rampage                        CR@gmail.com, and
                  JY1709:        Don’t put this shit on me                                                        5530JD and the
                  JY1709:        Ok? Again, you’re putting this on me like it’s my fault                          relevant paragraphs of
                                                                                                                  the Indictment.

                                                                                                                  See above, entry 86, for
                                                                                                                  information about
                                                                                                                  L.W., PM,
                                                                                                                  PM@gmail.com and
                                                                                                                  the relevant paragraphs
                                                                                                                  of the Indictment.

                                                                                                                  On January 22, 2019
                                                                                                                  $28,000 is sent via
                                                                                                                  ACH to Navy Federal
                                                                                                                  Credit Union Account
                                                                                                                  x8486 for services
                                                                                                                  purportedly rendered to

                                                                                     67
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Entry   Date      Statement(s)                                                                              Additional Context          801            Source
                                                                                                                                        Rationale(s)
                                                                                                            [PM] as fraudulently
                                                                                                            documented in [PM]
                                                                                                            6712 2019.01.18
                                                                                                            (NAC_00000970)

                                                                                                            Bank record show that
                                                                                                            Michael and Kimberley
                                                                                                            Tew received this
                                                                                                            payment directly into
                                                                                                            their joint account at
                                                                                                            NFCU x8486.

109     1/17/19   J.Y. forwarded the email from [PM]@gmail.com described above to an employee at            See above, entry 41, for    A, K, L        NAC_E_0005231
                  NAC with an attachment fraudulent invoice.                                                information about                          2-
                                                                                                            MCG, MM,                                   NAC_E_0005231
                                                                                                            MCG@gmail.com and                          3
                                                                                                            the relevant paragraphs
                                                                                                            of the Indictment.

110     1/18/19   MT7473:        Have a call at 1pm EST, we will handle everything immediately after. All   The long alphanumeric       A, B, F, G,    SW_FIL_003423
                                 good. Thanks for realy taking the time yesterday.                          string is consistent with   H, K, N        24
                  JY1709:        Ok                                                                         a cryptocurrency wallet
                  MT7473:        Call when can
                  JY1709:        ?                                                                          See Indictment ¶ 25
                  MT7473:        You have invoice                                                           (alleging that Tews
                  MT7473:        have plan in place let’s talk later when can                               gave Yioulos bitcoin as
                  JY1709:        Answer                                                                     part of the fraud)
                  JY1709:        You can’t just send me another invoice for January consulting. How many
                                 hours do you think are in January. We need to talk now
                  MT7473:        2 secs
                  MT7473:        Ok
                  JY1709:        39673cJQ9Z33QoBtPjytzwoZhMsUZroFbB
                  MT7473:        Thx Jon
                  JY1709:        Thank you
                  JY1709:        All set
                  MT7473:        Thank you
                                 Everything in motion now


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Entry   Date      Statement(s)                                                                            Additional Context         801            Source
                                                                                                                                     Rationale(s)
                  MT7473:        Any discussions today following up from yesterday re; AMEX? Internally
                  JY1709:        Nope. None at all
                  MT7473:        Hard to believe huh?
                  JY1709:        They’re all idiots
                  MT7473:        Copy that!

111     1/18/19   On January 18, 2019 J.Y. sent the following message to [PM]@gmail..com:                 On January 22, 2019        A, K, L.       SW_FIL_000114
                                                                                                          $28,000 is sent via                       52
                                                                                                          ACH to Navy Federal
                  Confirmation attached.                                                                  Credit Union Account                      SW_FIL_000114
                                                                                                          x8486 for services                        60
                  Thank you!                                                                              purportedly rendered to
                                                                                                          [PM] as fraudulently                      NAC_E_112728-
                  Jon Yioulos                                                                             documented in [PM]                        NAC_E_112729
                  716-580-6943                                                                            6712 2019.01.18
                                                                                                          (NAC_00000970)                            NAC_E_54045-
                  Michael Tew and Kimberley Tew, using the [PM]@gmail.com account had sent the                                                      NAC_E_54046;
                  below email to J.Y.’s business account with an attached invoice directing payment to    Bank record show that                     NAC_E_112726-
                  their joint bank account at NFCU x8486:                                                 Michael and Kimberley                     NAC_E_112727
                                                                                                          Tew received this
                  Dear National Air Cargo Group, Inc.,                                                    payment directly into
                                                                                                          their joint account at
                  Your invoice is attached. Please remit payment at your earliest convenience.            NFCU x8486.

                  Thank you for your business - we appreciate it very much.                               See above, entry 86, for
                                                                                                          information about
                                                                                                          L.W., PM,
                                                                                                          PM@gmail.com and
                                                                                                          the relevant paragraphs
                                                                                                          of the Indictment.



112     1/23/19   MT7473:        Hi - all is in motion as discussed. [PM] sending you their final         See above, entry 86, for   A, B, F, G,    SW_FIL_003423
                                 invoice so we can close this out. Not going anywhere on you, just been   information about          H, I, K        24
                                 busy getting organized.                                                  L.W., PM,
                  JY1709:        Ok got it                                                                PM@gmail.com and


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 Entry    Date      Statement(s)                                                                               Additional Context        801             Source
                                                                                                                                         Rationale(s)
                    JY1709:        It’s out                                                                    the relevant paragraphs
                    MT7473:        Thank you                                                                   of the Indictment

 113      1/23/19   On January 23, 2019 J.Y. forwarded the email below to an employee at NAC with an           On January 24, 2019       A, K, L         SW_FIL_000114
                    attached fraudulent invoice from [PM]                                                      $21,000 is sent via                       68
                                                                                                               ACH to Navy Federal
                    [. . . .]                                                                                  Credit Union Account                      NAC_E_77284-
                                                                                                               x8486 for services                        NAC_E_77285
                    Dear National Air Cargo Group, Inc.,                                                       purportedly rendered to
                                                                                                               [PM] as fraudulently                      NAC_E_53104-
                    Your invoice is attached. Please remit payment at your earliest convenience.               documented in [PM]                        NAC_E_53105
                                                                                                               6714 2019.01.23
                    Thank you for your business - we appreciate it very much.                                  (NAC_00000971)

                                                                                                               Bank record show that
                                                                                                               Michael and Kimberley
                                                                                                               Tew received this
                                                                                                               payment directly into
                                                                                                               their joint account at
                                                                                                               NFCU x8486.

 114      1/25/19   On January 25, 2019 J.Y. again forwarded the email above to an employee at NAC with        See Indictment ¶¶11,      A, K, L         NAC_E_54104-
                    an attached fraudulent invoice.                                                            12, 13                                    NAC_E_54105


February 2019

 Entry    Date      Statement(s)                                                                               Additional Context        801             Source
                                                                                                                                         Rationale(s)
 115      2/7/19    JY1709:        Hey, sorry I had you blocked from that one night a while ago and never      Messages to Kimberley     A, B, F, G,     SW_FIL_000056
                                   undid it                                                                    Tew                       H, I, J, K, M   763
                    JY1709:        My fault                                                                                                              SW_FIL_000337
                    JY1709:        I swear to you I tell you everything I know                                 See above, entry 1, for                   790-
                    JY1709:        If anything went down, I’d be getting fucked too                            information about H.S.                    SW_FIL_003378
                    JY1709:        It shouldn’t. I know the FBI thing scares you, but I don’t know what they   and [H.S. CPAs] and                       08
                                   could possibly do or even care about once it’s paid                         the relevant paragraphs
                    JY1709:        You really shouldn’t be                                                     of the Indictment

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Entry   Date   Statement(s)                                                                                 Additional Context         801            Source
                                                                                                                                       Rationale(s)
               JY1709:        No shit!
               JY1709:        We’ve had some intense moments for sure                                       See above, entry 11, for
               JY1709:        And I’ve had more intense freak out moments and for that I’m sorry            information about C.R.,
               JY1709:        I really don’t think that. I’m really trying to stay out of it all            CR@gmail.com, and
               JY1709:        And I figured you have and I appreciate that                                  5530JD and the
               JY1709:        Ok thank you                                                                  relevant paragraphs of
               JY1709:        I promise you he’s not. I’m the one who pushed the button. There’s no way     the Indictment.
                              for that.
               JY1709:        This is all so close to going away.                                           See above, entry 41, for
               JY1709:        Well if that’s the case, then just give me a warning                          information about
               JY1709:        I really don’t blame you                                                      MCG, MM,
               JY1709:        My god. That would be so stupid of me                                         MCG@gmail.com and
               JY1709:        Cause there’s no chance I don’t go down for something                         the relevant paragraphs
               JY1709:        I don’t know. I don’t know these guys. I’ve asked for an agreement of some    of the Indictment.
                              sort and I need it. We can put anyone’s fucking name on it! As long as we
                              have that, we’re buttoned up on that end. The charges have fallen off the     See above, entry 86, for
                              company account so she doesn’t care anymore                                   information about
               JY1709:        I’m just frustrated with this whole thing. We’ve sent them over $100K         L.W., PM,
                              each. And I’m sure you’ve sent them the Btc you had                           PM@gmail.com and
               JY1709:        Ok what do you got?                                                           the relevant paragraphs
               JY1709:        Wait what??                                                                   of the Indictment.
               JY1709:        I’m not following
               JY1709:        You really think they’d stop?
               JY1709:        I don’t know. Maybe we do go to the authorities then. That’s your call
                              cause these guys areclearly harassing you nonstop
               JY1709:        I mean they’re never going to stop
               JY1709:        I think you have to
               JY1709:        That seems like the only option. I know it’ll fuck us all over, but you
                              shouldn’t live in fear
               JY1709:        Between [C.R.], [M.M.], [H.S. CPAs], and [PM]. $406K
               JY1709:        I don’t know what else to do
               JY1709:        I don’t know yet. I mean I’m going to have to make up agreements when
                              we get down that road if the auditors ask
               JY1709:        then they call. They got paid didn’t they? I have their invoices and emails
                              and everything.
               JY1709:        That’s what those additional wires were supposed to be for. For tax issues
               JY1709:        [M.M.] essentially got $30k that was supposed to go to [C.R.] and then got


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Entry   Date     Statement(s)                                                                                 Additional Context        801            Source
                                                                                                                                        Rationale(s)
                                $25K as tax money
                 JY1709:        [C.R.] got an additional 30k of tax money too
                 JY1709:        Those were their final invoices
                 JY1709:        Well then we have no choice.
                 JY1709:        We made our beds
                 JY1709:        Exactly. And I’ve sent out $406K and have received ZERO benefit. Not
                                saying you have, but I’m essentially pressing the button for nothing!
                 JY1709:        You’re right
                 JY1709:        At this point I just want it to all go away. I don’t care what it takes. I
                                honestly don’t need anything anymore
                 JY1709:        I don’t know that. I honestly didn’t know how much you still talked to
                                those guys. Now I’m obviously worried
                 JY1709:        You’re right, I don’t. I don’t know their world. And guys in their world
                                don’t seem to ever stop
                 JY1709:        So you truly don’t think they’ll stop? If you say no, then we have to go to
                                somebody
                 JY1709:        It does. It really does. I know what I’m doing here. You gotta believe me
                 JY1709:        I can tell you this, we can make it work. We need to have the agreement
                                signed by both [C.R.] and [M.M.], I have both of their signatures. They
                                both have emailed me saying they’d send the agreement once they were
                                paid in full. If we have the agreement with their signatures and show the
                                payments to them in full, there’s literally not a thing they can say. They
                                have been paid and said there was an agreement via email. We go to the
                                authorities if we have to and there’s a signed agreement with payments in
                                full.
                 JY1709:        What are they going to do? Prove they didn’t do the work? That’s not
                                possible. And do they really want the IRS and others up their ass???

116     2/7/19   On February 7, 2019 J.Y. forwarded the email below to a NAC employee, writing                On February 8, 2019       A, K, L        SW_FIL_000114
                 “Please book as Advertising expense for this one.”                                           $15,125 is sent via                      72
                                                                                                              ACH to Navy Federal
                 Michael Tew and Kimberley Tew, using the [PM]@gmail.com account had sent the                 Credit Union Account                     NAC_E_0005314
                 below email to J.Y.’s business account with an attached invoice directing payment to         x8486 for services                       4-
                 their joint bank account at NFCU x8486                                                       purportedly rendered by                  NAC_E_0005314
                                                                                                              [PM] as fraudulently                     5
                 Dear National Air Cargo Group, Inc.,                                                         documented in [PM]
                                                                                                              6775 2019.02.07


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Entry   Date      Statement(s)                                                                              Additional Context         801            Source
                                                                                                                                       Rationale(s)
                  Your invoice is attached. Please remit payment at your earliest convenience.              (NAC_E_00053145),
                                                                                                            as alleged in Count 8 of
                  The invoice is for your advertisement in National Defense Magazine and related            the Indictment
                  materials and services.
                                                                                                            Bank record show that
                  Thank you for your business - we appreciate it very much.                                 Michael and Kimberley
                                                                                                            Tew received this
                                                                                                            payment directly into
                                                                                                            their joint account at
                                                                                                            NFCU x8486.

                                                                                                            See above, entry 86, for
                                                                                                            information about
                                                                                                            L.W., PM,
                                                                                                            PM@gmail.com and
                                                                                                            the relevant paragraphs
                                                                                                            of the Indictment.


117     2/19/19   JY1709:        And now Kimberley is texting me. This is awesome. It’s like clockwork      On February 20, 2019       A, B, F, G,    SW_FIL_003423
                  MT7473:        I told her not to                                                          $15,250 is sent via        H, K           24
                  MT7473:        I’m on a conference call I’ll ring you after                               ACH to Navy Federal
                  JY1709:        Ok                                                                         Credit Union Account
                  JY1709:        Done helping you. Your wife is now sending me emojis calling me a “rat.”   x8486 for services
                                 Fucking brilliant.                                                         purportedly rendered by
                  JY1709:        Send a revised one. Need it to say March not February                      [PM] as fraudulently
                  JY1709:        Actually it’s fine.                                                        documented in [PM]
                  MT7473:        Ok - for now, its a mistake                                                6670 2019.01.11
                  MT7473:        Ok - yes?                                                                  (NAC_00000969), as
                  JY1709:        It’s done.                                                                 alleged in Count 9 of
                                                                                                            the Indictment

                                                                                                            Bank record show that
                                                                                                            Michael and Kimberley
                                                                                                            Tew received this
                                                                                                            payment directly into



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Entry   Date      Statement(s)                                                                                    Additional Context        801              Source
                                                                                                                                            Rationale(s)
                                                                                                                  their joint account at
                                                                                                                  NFCU x8486.


118     2/19/19   JY1709:        If you keep texting me, yes I'm done helping                                     Messages to Kimberley     A, B, C F,       SW_FIL_003377
                  JY1709:        Because you're extremely rude and confrontational and think I'm some sort        Tew                       G, H, I, J, K,   72-
                                 of rat trying to fuck you guys over                                                                        N                SW_FIL_003377
                  JY1709:        Just let me deal with Michael                                                    On February 20, 2019                       87
                  JY1709:        Scream at him? Right                                                             $15,250 is sent via
                  JY1709:        Criminal? Never said that                                                        ACH to Navy Federal
                  JY1709:        Like what the fuck. I've done nothing but try to help. You know how much         Credit Union Account
                                 has been sent                                                                    x8486 for services
                  JY1709:        I don't need to rehash that                                                      purportedly rendered by
                  JY1709:        OK? He knew that was coming. That's why he got so much fucking money             [PM] as fraudulently
                                 and that last wire                                                               documented in [PM]
                  JY1709:        Wait wait what? why are you sending me BTC right now?                            6670 2019.01.11
                  JY1709:        And that address isn't right                                                     (NAC_00000969), as
                  JY1709:        39673cJQ9Z33QoBtPjytzwoZhMsUZroFbB                                               alleged in Count 9 of
                  JY1709:        I’m trying to help. I really am. But how much do your really think I can         the Indictment
                                 send out of this place???
                  JY1709:        Honestly tho                                                                     Bank record show that
                  JY1709:        That was 8 days ago...                                                           Michael and Kimberley
                  JY1709:        Hold on                                                                          Tew received this
                  JY1709:        How much hav eyou sent totalV                                                    payment directly into
                  JY1709:        Im freaking out                                                                  their joint account at
                  JY1709:        What happened                                                                    NFCU x8486.
                  JY1709:        Cause where would this crypto be?!
                  JY1709:        I can’t fucking log into my binance right now and haven’t been able to for a     Binance is a
                                 while cause I lost my Authenticator. Why wouldn’t you confirm the                cryptocurrency
                                 address with me???                                                               exchange
                  JY1709:        I’ve sent Michael the new address a bunch of times
                  JY1709:        And these addresses are different. The 2.5 and the .5                            See Indictment ¶ 25
                  JY1709:        You're joking                                                                    (alleging that Tews
                  JY1709:        I would have gotten emails that I received money in my account                   gave Yioulos bitcoin as
                  JY1709:        I have those enabled                                                             part of the fraud)
                  JY1709:        I don’t hate you, I just don’t believe i received these funds and I can’t even
                                 check


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Entry   Date      Statement(s)                                                                                     Additional Context        801            Source
                                                                                                                                             Rationale(s)
                  JY1709:        Why wouldn’t you have said something? Why wouldn’t Michael have?
                                 Why didn’t I get emails? I’m not saying you’re lying but I’m just asking
                                 these questions
                  JY1709:        Wonderful
                  JY1709:        OK what happened?
                  JY1709:        No never
                  JY1709:        I would never give anyone else these addresses
                  JY1709:        No
                  JY1709:        Obviously
                  JY1709:        I guess I’m not getting it. Sorry. I’m confused. Will i ever get it? Is it just
                                 gone?
                  JY1709:        Send a revised one. Need it to say March not February
                  JY1709:        Actually it’s fine.
                  JY1709:        It’s done.

119     2/19/19   Michael Tew and Kimberley Tew, using the [PM]@gmail.com account had sent the                     On February 20, 2019      A, K, L        SW_FIL_000114
                  below email to J.Y.’s business account with an attached invoice directing payment to             $15,250 is sent via                      76
                  their joint bank account at NFCU x8486                                                           ACH to Navy Federal
                                                                                                                   Credit Union Account
                                                                                                                   x8486 for services
                  Dear National Air Cargo Group, Inc.,                                                             purportedly rendered by
                                                                                                                   [PM] as fraudulently
                  Your invoice is attached. Please remit payment at your earliest convenience.                     documented in [PM]
                                                                                                                   6670 2019.01.11
                  This invoice is for your advertisement in National Defense Magazine and related                  (NAC_00000969), as
                  materials and services.                                                                          alleged in Count 9 of
                                                                                                                   the Indictment
                  Thank you for your business - we appreciate it very much.
                                                                                                                   Bank record show that
                                                                                                                   Michael and Kimberley
                                                                                                                   Tew received this
                                                                                                                   payment directly into
                                                                                                                   their joint account at
                                                                                                                   NFCU x8486.




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 Entry   Date      Statement(s)                                                                              Additional Context        801              Source
                                                                                                                                       Rationale(s)
 120     2/21/19   On February 21, 2019 J.Y. forwarded the email sent from [PM]@gmail.com to a NAC           See Indictment ¶¶11,      A, K, L.         NAC_E_0006347
                   employee, writing “This is what was paid the other day. For the 2nd half of February.     12, 13                                     0-
                   Again, goes to advertising.”                                                                                                         NAC_E_0006347
                                                                                                                                                        1
 121     2/24/19   MT7473:        Can you sign up for an anonymous BTC wallet that is not linked to your     See Indictment ¶ 25       A, B, C F,       SW_FIL_003423
                                  name.                                                                      (alleging that Tews       G, H, I, J, K,   24
                                  [….]                                                                       gave Yioulos bitcoin as   N
                   JY1709:        Will do. Yeah I’ll do it tomorrow                                          part of the fraud)
                   MT7473:        Send the btc to this address
                                  1FBC2WuW59UaFoyCQfKBJo25TdLr2JKYkv
                                  Will explain tomorrow
                                  Will send it back to anonymous set up ASAP
                   JY1709:        Ok
                   MT7473:        [. . . .] - let me know when thank you!!!!!!!
                   MT7473:        I’ll have her send you 2 to the new address
                   JY1709:        Just sent


March 2019

 Entry   Date      Statement(s)                                                                              Additional Context        801              Source
                                                                                                                                       Rationale(s)
 122     3/1/19    MT7473:        I have a 130 call eastern let me know when you are free thx                “wallet” is a reference   A, B, C , F,     SW_FIL_003423
                                  How’s your acl                                                             to a digital currency     H, I, K, N       24
                                  Send me wallet                                                             wallet
                   JY1709:        15BxxFRqsqCqeBtRYJQNY4oU9xJFNHVo7i                                         See Indictment ¶ 25
                   MT7473:        Got it thanks!                                                             (alleging that Tews
                                                                                                             gave Yioulos bitcoin as
                                                                                                             part of the fraud)

 123     3/4/19    Michael Tew and Kimberley Tew, using the [PM]@gmail.com account had sent the              On March 5, 2019,         A, K, L          SW_FIL_000114
                   below email to J.Y.’s business account with an attached invoice directing payment to      $37,800 is sent via                        80
                   their joint bank account at NFCU x8486                                                    ACH to Navy Federal
                                                                                                             Credit Union Account                       NAC_E_0008461
                                                                                                             x8486 for services                         5-
                   Dear National Air Cargo Group, Inc.,                                                      purportedly rendered by                    NAC_E_0008461
                                                                                                             [PM] as fraudulently                       6

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Entry   Date     Statement(s)                                                                           Additional Context         801            Source
                                                                                                                                   Rationale(s)
                 Your invoice is attached. Please remit payment at your earliest convenience.           documented in [PM]
                                                                                                        6804 2019.03.04
                 This invoice is for your advertisement in National Defense Magazine and related        (NAC_00000972)
                 materials and services.
                                                                                                        Bank record show that
                 Thank you for your business - we appreciate it very much.                              Michael and Kimberley
                                                                                                        Tew received this
                                                                                                        payment directly into
                                                                                                        their joint account at
                                                                                                        NFCU x8486.
                                                                                                        [NFCU_00000033]

                                                                                                        See above, entry 86, for
                                                                                                        information about
                                                                                                        L.W., PM,
                                                                                                        PM@gmail.com and
                                                                                                        the relevant paragraphs
                                                                                                        of the Indictment.

124     3/6/19   MT1312:        KRAKEN 3CArKEDR1KBSMQQZKab6by33cg8ev6hSpi                               Bank records show a        A, D, F, G,    SW_FIL_003263
                 Kley(MT):      17xSSmDwuLFJg3rEyk6fgDFxPzis7H3XZY                                      cash withdrawal from       K, N           50-
                 Kley(MT):      BITTREX is the second oen                                               the NFCUx8486                             SW_FIL_003263
                 KT2046:        3BmC8krVKih7WNU7mq37ApioCpYdEHE7Sn                                      account of $5,000 on                      51,
                 Kley(MT):      See if he can do chase it’s like next door                              March 5 and use of an                     SW_FIL_003263
                 Kley(MT):      Here st banjo                                                           ATM at a Bank of                          61,
                 Kley(MT):      Bank                                                                    America.                                  SW_FIL_003263
                 KT2046:        I think it’s ok to go to Walmart quickly                                                                          64-
                 KT2046:        Deposit at boa                                                          The photograph of the                     SW_FIL_003263
                 MT1312:        Ok                                                                      deposit slip shows a                      67
                 KT2046:        Can you deposit in 45 min?                                              deposit made into an
                 Kley(MT):      Yes for sure                                                            account ending x3245.
                 Kley(MT):      Bank of America 15 mins away
                 Kley(MT):      Going to wal mart in a few                                              See Indictment ¶¶ 32,
                 KT2046:        Has to be before 5pm                                                    33
                 KT2046:        We can go to target or something all together later?
                 MT1312:        Yeah I think we skip
                 KT2046:        : Exact language must be on receipt


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Entry   Date      Statement(s)                                                                           Additional Context         801            Source
                                                                                                                                    Rationale(s)
                                 CASH DEPOSIT ONLY. NO TRANSFERS
                                 $5000 cash = BANK OF AMERICA
                                 Business:[redacted business name]
                                 Account # [x]3245
                                 Address: [redacted]
                                 MIAMI, FLA 33130
                                 PLEASE WRITE "no refunds for bitcoins purchased on localbitcoins.com"
                                 Got it?
                  MT1312:        On way
                  MT1312:        Photo of deposit slip
                                 (57360875173__C4588466-1A21-4ECE-AE3B-DC068765BC33.jpeg)

125     3/7/19    On March 7, 2019 J.Y. forwarded the email sent from [PM]@gmail.com on March 4,         See above, entry 86, for   A, K, L        NAC_E_0005419
                  2019,to a NAC employee, writing “Record as Professional fees — consulting. This gets   information about                         0-
                  us paid through June for the consulting part.”                                         L.W., PM,                                 NAC_E_0005419
                                                                                                         PM@gmail.com and                          1
                                                                                                         the relevant paragraphs
                                                                                                         of the Indictment.

126     3/14/19   KT2046:   Msg [C.R.]we need until 4 and that you are going to try to send $1,500       See above, entry 11, for   A, F, K, N     SW_FIL_003263
                            via Google Pay                                                               information about C.R.,                   71-
                            and who should you send to                                                   CR@gmail.com, and                         SW_FIL_003263
                  KT2046:   Can you do that                                                              5530JD and the                            72
                  Kley(MT): Messaged him                                                                 relevant paragraphs of
                                                                                                         the Indictment.


127     3/14/19   Michael Tew and Kimberley Tew, using the [PM]@gmail.com account had sent the           On March 15, 2019          A, K, L        SW_FIL_000114
                  below email to J.Y.’s business account with an attached invoice directing payment to   $31,500 is sent via                       84
                  their joint bank account at NFCU x8486                                                 ACH to Navy Federal
                                                                                                         Credit Union Account                      NAC_E_0008390
                  Dear National Air Cargo Group, Inc.,                                                   x8486 for services                        2-
                                                                                                         purportedly rendered by                   NAC_E_0008390
                  Your invoice is attached. Please remit payment at your earliest convenience.           [PM] as fraudulently                      3
                                                                                                         documented in [PM]
                  This invoice is for your advertisement in National Defense Magazine and related        6881 2019.03.14
                  materials and services.                                                                (NAC_00000973)


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Entry   Date      Statement(s)                                                                                 Additional Context         801            Source
                                                                                                                                          Rationale(s)

                  Thank you for your business - we appreciate it very much.                                    Bank record show that
                                                                                                               Michael and Kimberley
                                                                                                               Tew received this
                                                                                                               payment directly into
                                                                                                               their joint account at
                                                                                                               NFCU x8486.

                                                                                                               See above, entry 86, for
                                                                                                               information about
                                                                                                               L.W., PM,
                                                                                                               PM@gmail.com and
                                                                                                               the relevant paragraphs
                                                                                                               of the Indictment.


128     3/15/19   On March 15, 2019 J.Y. used his business email account to forward the email he               See Indictment ¶¶11,       A, K, L        NAC_E_0006277
                  received from [PM]@gmail.com to a NAC employee, writing “Went out yesterday.                 12, 13                                    7-
                  Advertising.”                                                                                                                          NAC_E_0006277
                                                                                                                                                         8
129     3/17/19   KT2046:        I am sick of telling you what needs to happen and your pushback               Messages between           A, D, F, G,    SW_FIL_003264
                  KT2046:        I am sick of coming up with solutions                                         Kimberley and Michael      K              47-
                  KT2046:        you figure out how to cash out everyone and pay our bills and most            Tew                                       SW_FIL_000032
                                 importantly pay our taxes making $10k a month with cannabis jobs you                                                    6454;
                                 told me would pay you double to 15k.                                          See Indictment ¶ 20                       SW_FIL_000032
                  KT2046:        When I get a call from Jon or Ed or whomever and we can’t go to Jon                                                     6457-
                                 remember this                                                                 The list of redacted                      SW_FIL_000032
                  KT2046:        I wish you could just solve it and handle things without placing the stress   names here is people to                   6461
                                 on me                                                                         whom Kimberley Tew
                  MT1312:        Who is [redacted]                                                             owes money
                  KT2046:        Exactly
                  KT2046:        Just think
                  MT1312:        Ok I’ll solve it with [C.R.]
                  MT1312:        [C.R.]
                  KT2046:        I don’t give a shit about [C.R.]
                  MT1312:        Who is [redacted]
                  MT1312:        Yes you do


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                                                                                                                                Rationale(s)
               MT1312:        That’s all you o is [C.R.]
               KT2046:        [Redacted]
               KT2046:        [Redacted]
               KT2046:        [Redacted]
               MT1312:        Ok
               MT1312:        I thought you were building a portfolio from the last two wires                                                  SW_FIL_003123
               KT2046:        Nope                                                                                                             8-
               KT2046:        American Express the other two lawsuits                                                                          SW_FIL_003128
               KT2046:        I can’t breathe                                                                                                  43
               MT1312:        So I'll see how much I can get fro Jon
               KT2046:        No
               KT2046:        That’s what you do
               MT1312:        That's my only choice
               KT2046:        And you don’t listen
               KT2046:        Something needs to happen tomorrow
               MT1312:        You don't want yo be around me
               KT2046:        and we need to be done
               MT1312:        What do you mean tomorrow
               KT2046:        What do you think I mean
               MT1312:        Jon can send an ach
               MT1312:        Not wire
               KT2046:        You’re already shooting down 30
               KT2046:        We are so fucked
               MT1312:        Yep
               MT1312:        We are fucjed
               MT1312:        Been that way for a while
               KT2046:        We need two more same amounts
               MT1312:        We have to make realistict deals to get out of the crest card debt md move
                              on
               KT2046:        First one tomorrow
               MT1312:        How the fuck are We going to get that
               MT1312:        We can't send a wire or
               MT1312:        [A.S] will never approve
               KT2046:        An ACH you idiot
                              [. . . .]
               MT1312:        It's too obvious



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                                                                                                                                  Rationale(s)
                                 [. . . .
                  MT1312:        How the fuck am I going to get more money from Jon another 70k
                  KT2046:        Please put this all in text
                  KT2046:        This was all his idea
                  MT1312:        Ok so threaten him
                  MT1312:        That's my only choice
                  MT1312:        Maybe promise him more
                  KT2046:        You’re so dumb
                  MT1312:        He's going to say what is it for
                  KT2046:        Keep texting
                  MT1312:        You need to build a portfolio then and get out of it
                  MT1312:        I'll get it from him
                  KT2046:        Sure then 3 payments of 30-40
                  KT2046:        No problem
                  MT1312:        You need to help then
                  KT2046:        How are we going to pay taxes
                  MT1312:        I can't get it from him on my own
                  KT2046:        I have a migraine !!!!!!
                  KT2046:        It’s common sense not to threaten someone

130     3/18/19   KT2046:   Really?                                                                   See above, entry 41, for    A, D, F, G,    SW_FIL_003264
                  Kley(MT): Passcode                                                                  information about           K, N           61-
                  KT2046:   [redacted]                                                                MCG, MM,                                   SW_FIL_000032
                  KT2046:   So what does that mean                                                    MCG@gmail.com and                          6463
                  KT2046:   Bank: Bank Of America                                                     the relevant paragraphs
                            Name: [M.M.]                                                              of the Indictment.
                            Account Number: [x]3120
                            Wire Routing Number: [x]9593                                              See above [X] for
                  KT2046:   [redacted address]                                                        information on [C.R.]
                            Laramie Wy 82072                                                          and [5530 JD]
                  Kley(MT): Wire submitted
                  KT2046:   Play info greed                                                           See below, entry 131,
                  KT2046:   Ask how much is student loans for both and mortgage                       for follow up regarding
                  KT2046:   I cannot keep [C.R.] calm for another week and we need to deal with our   offer to pay J.Y.’s loans
                            shit                                                                      for participation in
                  KT2046:   Fuck him ask him how much he can send out today                           fraud.
                  KT2046:   It’s more than you think


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                  KT2046:        And what                                                                See Indictment ¶¶
                  KT2046:        It’s not enough                                                         20,32, 33
                  KT2046:        And you’re falling for it


131     3/18/19   MT7473:            Call you in 5                                                       The reference to an       A, B, C, F, I,   SW_FIL_003423
                  MT7473:            One sec - I’m so sorry                                              email is a reference to   N                24
                  MT7473:            How much is owed on your student loans right now                    the email from PM in
                  MT7473:            100% od it                                                          entry 132 below.
                  MT7473:            And mortgage
                  MT7473:            ?
                  JY1709:            Just call me!
                  MT7473:            See email
                  JY1709:            Got it
                  JY1709:            Out

132     3/18/19   Michael Tew and Kimberley Tew, using the [PM]@gmail.com account had sent the           Email with attached       A, K, L.         SW_FIL_000114
                  below email to J.Y.’s business account with an attached invoice directing payment to   invoice for $20,250.00                     88
                  their joint bank account at NFCU x8486
                                                                                                         On March 19, 2019,                         NAC_E_0009071
                                                                                                         $20,250.00 is sent via                     7-
                  Dear National Air Cargo Group, Inc.,                                                   ACH to Navy Federal                        NAC_E_0009071
                                                                                                         Credit Union Account                       8
                  Your invoice is attached. Please remit payment at your earliest convenience.           x8486 for services
                                                                                                         purportedly rendered by
                  Thank you for your business - we appreciate it very much.                              [PM] as fraudulently
                                                                                                         documented in [PM]
                                                                                                         6910 2019.03.18
                                                                                                         (NAC_00000554)

                                                                                                         Bank record show that
                                                                                                         Michael and Kimberley
                                                                                                         Tew received this
                                                                                                         payment directly into
                                                                                                         their joint account at
                                                                                                         NFCU x8486 on March



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Entry   Date      Statement(s)                                                                             Additional Context        801            Source
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                                                                                                           18,2019[NAVY_00000
                                                                                                           041]

133     3/19/19   On March 19, 2019 J.Y. forwarded the email from [PM]@gmail.com received on March         On March 19, 2019,        A, K, L        NAC_E_0006489
                  18, 2019 to an employee at NAC.                                                          $20,250.00 is sent via                   8-
                                                                                                           ACH to Navy Federal                      NAC_E_0006489
                                                                                                           Credit Union Account                     9
                                                                                                           x8486 for services
                                                                                                           purportedly rendered by
                                                                                                           [PM] as fraudulently
                                                                                                           documented in [PM]
                                                                                                           6910 2019.03.18
                                                                                                           (NAC_00000554)

                                                                                                           See Indictment ¶¶11,
                                                                                                           12, 13


134     3/19/19   MT7473:        Good am                                                                   Bank record show that     A, F, G, H,    SW_FIL_003423
                                 Funds didn’t hit                                                          Michael and Kimberley     I, K           24
                                 All ok?                                                                   Tew received this
                  JY1709:        Dude I’m so sorry.                                                        payment directly into
                  MT7473:        It’s cool                                                                 their joint account at
                                 Can you tell ap person to resend to other account? Tell them it will be   NFCU x8486 on March
                                 returned ...                                                              18,2019
                                 May be easier                                                             [NAVY_00000041].
                                 Will take extra day but solves a problem
                  JY1709:        Yeah. But the funds won’t hit until tomorrow...
                  JY1709:        Cause I can’t fuckin wire anything, especially not being in the office    On March 19, 2019,
                  MT7473:        I know you can’t wire it’s ok                                             $20,250.00 is sent via
                                 If they resend to right account is that ok?                               ACH to Navy Federal
                  MT7473:        Is that something will be major flag                                      Credit Union Account
                  JY1709:        Na it’s fine                                                              x8486 for services
                  JY1709:        It’s just something I need to talk through with my ap girl                purportedly rendered by
                  MT7473:        Ok - do they pull the funds back or just figure out later                 [PM] as fraudulently
                  JY1709:        I can message the bank and let them know I sent to the wrong account,     documented in [PM]
                                 or [PM] can just send them back. Probably better if they just


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                                                                                                                                                Rationale(s)
                                 send back                                                                           6910 2019.03.18
                  MT7473:        Ok. What if he doesn’t send back? Just answering all the questions                  (NAC_00000554)
                                 before i call him
                  JY1709:        Well if he doesn’t send to you, that would be problematic                           On March 20, 2019,
                  MT7473:        Worst case                                                                          $20, 250 was sent via
                  MT7473:        Ok let’s do this. Can you explain to AP girl to resend to other account.            ACH to an account at
                                 I’ll handle [PM]. Ok to resend via ach to hit tomorrow.                             Access Bank controlled
                  MT7473:        Pls confirm                                                                         by L.W. for services
                  JY1709:        Yes. Confirmed sorry.                                                               purportedly rendered to
                  JY1709:        Handling with ap girl now                                                           PM. NAC_E_00102097
                  MT7473:        Thank you
                  MT7473:        I’ll take care of the other issue                                                   See above, entry 86, for
                  JY1709:        All set. Sorry again. Please make sure the funds come back. Or go directly          information about
                                 to yoU. If they go directly to you, we’ll just take it off of the next invoice...   L.W., PM,
                  MT7473:        It’s ok                                                                             PM@gmail.com and
                                 Confirmed it’s already re-sent?                                                     the relevant paragraphs
                  MT7473:        Good luck today!                                                                    of the Indictment.
                  JY1709:        Yes it’s out!
                  MT7473:        Ok cool                                                                             The reference to “AP
                                 Good luck today.                                                                    girl” is a reference to
                  JY1709:        Thanks man appreciate it                                                            “accounts payable”
                  JY1709:        Didn’t mean to call. We’ll talk tomorrow.

135     3/19/19   KT2046:        Attachment showing $49,000 balance in Bank of America account at x5107              See Indictment ¶¶ 32,      A, E, F, G,    SW_FIL_003264
                                 for [MCG] LLP                                                                       33                         K, N           72-
                  KT2046:        How does he get it out without closing                                                                                        SW_FIL_003264
                  Kley(MT):      Bill pay                                                                                                                      73
                  Kley(MT):      In BOFA set up a vendor in bill pay and use it to pay bills its a business
                                 account
                  KT2046:        To whom
                  Kley(MT):      anyone
                  Kley(MT):      He can pay to any of our accounts, he can pay to [PM] if we want

136     3/28/19   MT1312:        They said this am that they just released the hold                                  On March 29, 2019          A, F, G, H,    SW_FIL_003265
                  KT2046:        Who said that                                                                       $38,000 ACH payment        N              14-
                  KT2046:        Where are you                                                                       is made to Navy                           SW_FIL_003265
                  MT1312:        The banker                                                                          Federal Credit Union                      81


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                                                                                                                                     Rationale(s)
                  MT1312:        In with [redacted] on with Jon                                             Account x8486 for
                  KT2046:        Working on one of your pointless jobs                                      services purportedly
                  MT1312:        No doing invoice with jon                                                  rendered by [PM] as
                  KT2046:        You spoke to a banker this am                                              fraudulently
                  KT2046:        For how much                                                               documented in [PM]
                  KT2046:        Better not be less than 37.5                                               6976 2019.03.28
                  MT1312:        37.5                                                                       (NAC_00000555), as
                  KT2046:        Is he giving you shit                                                      alleged in Count 10 of
                  KT2046:        What if he sends to wrong account                                          the Indictment
                  MT1312:        All set I have to do the invoice now he will make sure it goes to right
                                 account                                                                    Indictment ¶ 20
                  MT1312:        He was nice about it - we agreed this is the last one                      (alleging coordination
                  KT2046:        So not 50                                                                  by the Tews to decide
                  KT2046:        Whatever                                                                   how much to ask
                  MT1312:        Ok I’ll try for 50                                                         Yioulos to send them)
                  KT2046:        No
                  KT2046:        What do you think?

137     3/28/19   Michael Tew and Kimberley Tew, using the [PM]@gmail.com account had sent the              On March 29, 2019        A, K, L        SW_FIL_000114
                  below email to J.Y.’s business account with an attached invoice directing payment to      $38,000 ACH payment                     92
                  their joint bank account at NFCU x8486:                                                   is made to Navy
                                                                                                            Federal Credit Union
                  Dear National Air Cargo Group, Inc.,                                                      Account x8486 for
                                                                                                            services purportedly
                  Your invoice is attached. Please remit payment at your earliest convenience.              rendered by [PM] as
                                                                                                            fraudulently
                  Thank you for your business - we appreciate it very much.                                 documented in [PM]
                                                                                                            6976 2019.03.28
                                                                                                            (NAC_00000555), as
                                                                                                            alleged in Count 10 of
                                                                                                            the Indictment

                                                                                                            Bank record show that
                                                                                                            Michael and Kimberley
                                                                                                            Tew received this
                                                                                                            payment directly into



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                                                                                                         their joint account at
                                                                                                         NFCU x8486.

                                                                                                         See above, entry 86, for
                                                                                                         information about
                                                                                                         L.W., PM,
                                                                                                         PM@gmail.com and
                                                                                                         the relevant paragraphs
                                                                                                         of the Indictment.

138     3/29/19   KT2046:   I need you to wire $20K to Kraken and $5K to [redacted]                      See above, entry 41, for   A, B, F, G,    SW_FIL_003265
                  KT2046:   Bank: BBVAC                                                                  information about          H, K           21-
                            Name: [M.M.]                                                                 MCG, MM,                                  SW_FIL_003265
                            Account Number: [x]991                                                       MCG@gmail.com and                         22;
                            Wire Routing Number: [x]1601                                                 the relevant paragraphs                   SW_FIL_003265
                  KT2046:   Bank is Simple. Partner Bank is BBVA Compass.                                of the Indictment.                        23-
                  Kley(MT): Need his addresss                                                                                                      SW_FIL_003265
                  Kley(MT): I found it                                                                   On March 29, 2019                         27
                                                                                                         $38,000 ACH payment
                  [. . . .]                                                                              is made to Navy
                                                                                                         Federal Credit Union
                  KT2046:        Text me screenshot where they are saying you’re over your limit         Account x8486 for
                  KT2046:        Need to show to [M.M.]                                                  services purportedly
                  KT2046:        Screenshot of a QR Code (IMG_9636.jpeg)                                 rendered by [PM] as
                  KT2046:        12RzMBsUwvgd1cm388pNRMWHRJv3jgAQKG                                      fraudulently
                  MT1312:        Just got to bank                                                        documented in [PM]
                  MT1312:        Have cash on way there now                                              6976 2019.03.28
                  MT1312:        Here                                                                    (NAC_00000555), as
                  MT1312:        Got him to do it at 4.5 percent                                         alleged in Count 10 of
                                 Every bit counts                                                        the Indictment
                  KT2046:        Great
                  KT2046:        Drive safely                                                            Kraken is a
                  MT1312:        Sending you 4.212 btc                                                   cryptocurrency
                  MT1312:        Confirm when received                                                   exchange on which
                  MT1312:        Not gone out yet                                                        both Kimberley and
                  KT2046:        Nothing yet                                                             Michael Tew had
                  MT1312:        Ok says pending                                                         accounts.

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                  MT1312:        Takes forever                                                              KRKN_00000008;
                  KT2046:        Got it                                                                     KRKN_00000020.
                  MT1312:        Ok
                                 On way                                                                     See Indictment ¶¶ 32,
                  MT1312:        I’m like pals with this guy now                                            33

139     3/30/19   KT2046:   Image of Sand Hill Form 1099-MISC for tax year 2017 from NAC (Scan              See above, entry 54, for                  SW_FIL_003265
                            Mar 24, 2018 at 16.13.pdf)                                                      information about Sand                    28-
                  Kley(MT): Ingot 2400                                                                      Hill LLC and its use by                   SW_FIL_003265
                  KT2046:   BofA- $2,400 cash                                                               Michael Tew as a                          29;
                            Name: BITVALUE INC                                                              vehicle to collect                        SW_FIL_003265
                            Account No: [x]1805                                                             scheme proceeds and                       31;
                            California                                                                      the relevant paragraphs                   SW_FIL_003265
                            Please write:                                                                   of the Indictment.                        32-
                            “No refunds for bitcoins purchased on localbitcoin.com”                                                                   SW_FIL_003265
                            Got it?                                                                         Kraken is a                               34
                  KT2046:   What does that mean                                                             cryptocurrency
                  KT2046:   You said there are two people in line                                           exchange on which
                                                                                                            both Kimberley and
                                 [. . . .]                                                                  Michael Tew had
                                                                                                            accounts.
                  Kley(MT): Do we need job to send more money                                               KRKN_00000008;
                  Kley(MT): How much more                                                                   KRKN_00000020.
                  Kley(MT): I don’t know if he will but I have to start this weekend on it

                                 [. . . .]                                                                  See Indictment ¶¶ 32,
                                                                                                            33
                  KT2046:        The problem is we need that btc that’s jammed on Kraken
                  KT2046:        I don’t want to talk                                                       See Indictment ¶ 20
                  Kley(MT):      I won’t get it until Monday                                                (alleging coordination
                  KT2046:        It sounds like you’re totally not in control of the process                by the Tews to decide
                  KT2046:        Your chats with them are crazy                                             how much to ask
                  KT2046:        It’s critical I get the money back!                                        Yioulos to send them)
                  Kley(MT):      What do you mean
                  KT2046:        You sound crazy
                  Kley(MT):      Even after that we need more money
                  Kley(MT):      We need jon to send more


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 Entry       Date     Statement(s)                                                                                   Additional Context        801            Source
                                                                                                                                               Rationale(s)
                      KT2046:        What are you talking about
                      KT2046:        You’ve already planned that I’m going to lose 20K
                      KT2046:        Thanks

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 Entry       Date     Statement(s)                                                                                   Additional Context        801            Source
                                                                                                                                               Rationale(s)
 140         4/3/19   KT2046:        Pls let me know what’s going on                                                 On April 4, 2019          A, G, H, K,    SW_FIL_003265
                      KT2046:        I’m just trying to hope for good news                                           $11,250 is sent via       N              52-
                      KT2046:        Pls don’t tell me bad news                                                      ACH to Navy Federal                      SW_FIL_003265
                      Kley(MT):      He’s sending 9900. Its complicated I have to add it to an old invoice that’s    Credit Union Account                     57;
                                     already in teh system, has to be less than 10K, prepayment for a                x8486 for services                       SW_FIL_003265
                                     subscription etc.                                                               purportedly rendered by                  60
                      Kley(MT):      But he’s sending                                                                [PM] as fraudulently
                      Kley(MT):      It was tough                                                                    documented in [PM]
                      Kley(MT):      So we’ll have another 9900 tomorrow                                             7004 2019.04.03
                      KT2046:        From what account                                                               (NAC_00000556), as
                      Kley(MT):      I know its not perfect but its something                                        charged in Count 11 of
                      Kley(MT):      I don’t know                                                                    the Indictment
                      KT2046:        From where
                      KT2046:        To whom                                                                         Bank record show that
                      KT2046:        From what account                                                               Michael and Kimberley
                      Kley(MT):      To [PM] not sure from what account                                              Tew received this
                      KT2046:        What???                                                                         payment directly into
                      KT2046:        Find out                                                                        their joint account at
                      Kley(MT):      Prepaid subscription                                                            NFCU x8486.
                      KT2046:        Is it actually going to [PM]                                                    [NAVY_00000046]
                      KT2046:        Confirm what bank he’s sending from
                      KT2046:        If signature is closed                                                          At the time there was
                      Kley(MT):      He said the mandate is to use HSBC exclusively but they have not yet            talk about NAC
                                     closed signature but the mandate is to not really use it so he said he has it   switching banks to
                                     handled internally but this is it because it will become obvious                HSBC from Signature
                      Kley(MT):      Or just impossible                                                              Bank
                      KT2046:        What does that mean!!!!
                      KT2046:        Then we need to get more


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Entry   Date     Statement(s)                                                                           Additional Context         801            Source
                                                                                                                                   Rationale(s)
                 KT2046:        Like pay the 37.5                                                       See Indictment ¶ 20
                 KT2046:        And we are free                                                         (alleging coordination
                 KT2046:        Just pay an invoice twice                                               by the Tews to decide
                 KT2046:        Don’t create a new one                                                  how much to ask
                 Kley(MT):      He won’t do it                                                          Yioulos to send them)
                 Kley(MT):      I can’t fight all day together about this
                                                                                                        See above, entry 86, for
                                [ . . . .]                                                              information about
                                                                                                        L.W., PM,
                 KT2046:        Don’t send new invoice                                                  PM@gmail.com and
                 KT2046:        They still obviously have a lot of money in that account                the relevant paragraphs
                 KT2046:        You should text him then                                                of the Indictment.

141     4/3/19   MT7473:        Let me know when free                                                   On April 4, 2019           A, G, K        SW_FIL_003423
                 JY1709:        Can you change this invoice at all?                                     $11,250 is sent via                       24
                 MT7473:        Yes what do you neeed                                                   ACH to Navy Federal
                 MT7473:        Check you remail                                                        Credit Union Account
                 JY1709:        Perfect.                                                                x8486 for services
                 JY1709:        Done                                                                    purportedly rendered by
                 MT7473:        tHANK YOU                                                               [PM] as fraudulently
                                                                                                        documented in [PM]
                                                                                                        7004 2019.04.03
                                                                                                        (NAC_00000556), as
                                                                                                        charged in Count 11 of
                                                                                                        the Indictment

                                                                                                        See Indictment ¶ 18
                                                                                                        (alleging coordination
                                                                                                        between Michael and
                                                                                                        Yioulos on how to
                                                                                                        provide more specific
                                                                                                        descriptions of falsely
                                                                                                        claimed services on
                                                                                                        fraudulent invoices)

                                                                                                        The two email the two
                                                                                                        invoices are at

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Entry   Date     Statement(s)                                                                           Additional Context         801            Source
                                                                                                                                   Rationale(s)
                                                                                                        NAC_E_00105163-4
                                                                                                        and NAC_00000310
142     4/3/19   Michael Tew and Kimberley Tew, using the [PM]@gmail.com account had sent the           On April 4, 2019           A, K, L        SW_FIL_000114
                 below email to J.Y.’s business account with an attached invoice directing payment to   $11,250 is sent via                       96
                 their joint bank account at NFCU x8486                                                 ACH to Navy Federal
                                                                                                        Credit Union Account                      NAC_E_105163-
                 Dear National Air Cargo Group, Inc.,                                                   x8486 for services                        NAC_E_105164
                                                                                                        purportedly rendered by
                 Your invoice is attached. Please remit payment at your earliest convenience.           [PM] as fraudulently
                                                                                                        documented in [PM]
                 Thank you for your business - we appreciate it very much.                              7004 2019.04.03
                                                                                                        (NAC_00000556), as
                                                                                                        charged in Count 11 of
                                                                                                        the Indictment

                                                                                                        Bank record show that
                                                                                                        Michael and Kimberley
                                                                                                        Tew received this
                                                                                                        payment directly into
                                                                                                        their joint account at
                                                                                                        NFCU x8486.
                                                                                                        [NAVY_00000046]

                                                                                                        See above, entry 86, for
                                                                                                        information about
                                                                                                        L.W., PM,
                                                                                                        PM@gmail.com and
                                                                                                        the relevant paragraphs
                                                                                                        of the Indictment.


143     4/4/19   On April 4, 2019 J.Y. uses his business email account to forward the email he had      A, K, L                                   NAC_E_65792-
                 received from [PM]@gmail.com to a NAC employee.                                                                                  NAC_E_65793
144     4/6/19   KT2046:      I need to get more btc                                                    Bank record show ta        A, F, G, K,    SW_FIL_003265
                 Kley(MT): I can deposit the rest of the cash                                           $600 withdrawal from       N              67-
                 MT1312: I can come back                                                                the Tews joint account                    SW_FIL_003265
                 KT2046:      BofA- $2000 cash                                                          NFCU x848 on April 6,                     68;


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Entry   Date   Statement(s)                                                                     Additional Context       801            Source
                                                                                                                         Rationale(s)
                         Name: [redacted business name]                                         2019 using a Wells                      SW_FIL_003265
                         Account # [x]3710                                                      Fargo ATM and                           71-
                         Florida                                                                transfers from other                    SW_FIL_003265
                         "No refunds for bitcoins"                                              checking accounts.                      74
                         Got it?                                                                They also show a $200
                         How long?                                                              transfer from an
               Kley(MT): Teller assist closed                                                   account in the name of
               MT1312: We can try for another that has it                                       Kimberley Tew’s
               KT2046:   It’s the only branch that has it right                                 father.
                                                                                                [NAVY_00000046]
                              [. . . .]
                                                                                                See Indictment ¶¶ 32,
               KT2046:   Can you withdraw $600 from both of our joint account debit cards and   33
                         deposit $1,200 at Wells Fargo rn?
               KT2046:   I transferred money in
               KT2046:   From my parents account
               KT2046:   Total: $2000
                         (1) Wells Fargo- $1100 cash
                         name:[redacted business name[
                         Account [x]9634
                         Business Address: [redacted[. MIAMI, FL 33165
                         (2) Wells Fargo - $900 cash
                         Account: [x]2392
                         Account Name: [redacted business name]
                         Acct opened in Kings Mountain, NC
                         Please write on receipt
                         "No refunds for bitcoin purchase"
                         Thank you
               KT2046:   Hello?
               Kley(MT): Bank is not open for 20 more minutes
               KT2046:   Are all the banks closed rn
               KT2046:   Sorry
               KT2046:   I didn’t know
               KT2046:   Want to try teller assist?
               KT2046:   Ok let me know if teller assist is open
               KT2046:   Ok sorry
               KT2046:   Can you deposit at Wells when they open


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Entry   Date     Statement(s)                                                                                     Additional Context       801            Source
                                                                                                                                           Rationale(s)

                                [ . . . .]

                 KT2046:        Chase- $920 cash
                                number: [x]7907
                                Name: [redacted business name]
                                Florida
                                "No refunds for bitcoins"

145     4/7/19   MT7473         Can you talk later today                                                          See Indictment ¶ 20      A, J, K        SW_FIL_003423
                 JY1709:        Please let this not be about needing more money                                   (alleging coordination                  24
                 MT7473         No                                                                                by the Tews to decide
                 JY1709:        Ok. I can talk in like 30 if that works                                           how much to ask
                 MT7473         [. . .] can you talk in a bit ?                                                   Yioulos to send them
                 JY1709:        I’ve got like 20 min then I’m pretty tied up for the day                          and the Tews’ role in
                 MT7473         Can you talk later like dog walk time ?                                           making those requests)
                 JY1709:        No
                 JY1709:        I’m with my parents for the rest of the day/night so I’ve got a small
                                window now
                 MT7473         Ok got it I literally have a screaming child
                                Let’s talk later we’ll both try and carve out 10 minutes
                 JY1709:        I’ve literally got 5-10 min now. I know you have a screaming kid, but I
                                literally can’t talk later. I’ll be with the wife and parents with no free time
                                for the rest of the day.
                 MT7473         Don’t ever call me a criminal or extortionist.
                 MT7473         I understand your frustration and level of work. We didn’t have the time to
                                get into it so I didn’t have the opportunity to explain because you blew up
                                at me.
                 MT7473         Can you kindly make a few mins to speak with me in the am. You’re the
                                only person I can talk to

146     4/7/19   KT2046:        I don’t know why you leave right when I get btc                                   See Indictment ¶ 20      A, G, K, N     SW_FIL_003265
                 KT2046:        It sounds like there’s no plan with Jon                                           (alleging coordination                  76-
                 Kley(MT):      He’s not responding                                                               by the Tews to decide                   SW_FIL_003265
                 KT2046:        What do you want me to do                                                         how much to ask                         77
                 KT2046:        You know what                                                                     Yioulos to send them
                 KT2046:        Why don’t we just send an invoice


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Entry   Date     Statement(s)                                                                                  Additional Context         801            Source
                                                                                                                                          Rationale(s)
                 KT2046:        What can he do                                                                 and the Tews’ role in
                 KT2046:        What do you think                                                              making those requests)

                                                                                                               The reference to just
                                                                                                               “sending an invoice” is
                                                                                                               a reference to using the
                                                                                                               PM@gmail.com
                                                                                                               account to send a
                                                                                                               quickbooks invoice for
                                                                                                               payment. Previously,
                                                                                                               the Tews had done the
                                                                                                               same with an invoice
                                                                                                               from MCG. See entries
                                                                                                               49 and t0 above.
147     4/8/19   MT7473:        Can we send to an existing vendor in the system just add a bank account        See above, entry 86, for   A, E, F, G,    SW_FIL_003423
                 JY1709:        No. We’re using [PM]. I’m not gonna bring another vendor into                  information about          H, I, K, L     24
                                this                                                                           L.W., PM,
                 JY1709:        Raises too many red flags if it’s an existing vendor. 1099 issues or if they   PM@gmail.com and
                                have questions regarding their account and there are issues or discrepancies   the relevant paragraphs
                                in the accounts matching, we’d be screwed                                      of the Indictment.
                 MT7473:        i know you are nervous I know you can’t breathe. I’m the same. I’m
                                totally fucked if we can’t do something for tomorrow. When I say fucked I      See Indictment ¶¶ 18,
                                mean fucked. No exaggeration. If we do something for tomorrow then we          19, 20 21, 22 (alleging
                                take a break and make the final invoice plan. I know you have gotten           various instances of
                                nothing - I gave you my word and I will keep it. That’s part of what we are    coordination to make
                                doing here.                                                                    the fraudulent invoices
                 JY1709:        Yeah but when you say something how much do you mean                           more convincing and to
                 MT7473:        $29,975. Just keep the invoice simple - fuel procurement. As long as it        more efficiently get
                                says fuel it shouldn’t matter. Should keep the questions to a                  money from NAC
                                minimum. The airline sucks fuel every week. Multiple vendors handle            without getting caught)
                                it. I think simple is better in this case.
                 JY1709:        That’s so fucking much
                 JY1709:        Fuel gets run through FMS. You know this
                 MT7473:        I know - but they still won’t ask questions
                 MT7473:        Fuel procurement consulting - even if it says fuel on it
                 JY1709:        So you’re saying you want $30K now, then you want another final invoice
                                for $75K. Is that real life?


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Entry   Date     Statement(s)                                                                                  Additional Context         801            Source
                                                                                                                                          Rationale(s)
                 MT7473:        I’m not breathing right now
                 MT7473:        I know
                 MT7473:        No - this is towards htis
                 MT7473:        thjat
                 MT7473:        when you submit it you say the airline needs a lot of help managing its fuel
                                offsets right now to actually lower its average cost.
                 MT7473:        That’s why were terminating the other guy he wasn’t doing anything
                 JY1709:        I have a better plan
                 MT1312:        Fuel modification inspection and research 75k \ Related to new aircraft \
                                Amount due today 40 percent due on invoice
                 MT7473:        Can you do 50% down? I just realized. Have an overdraft
                 JY1709:        you’re joking...
                 JY1709:        Whatever
                 JY1709:        Sure
                 JY1709:        $37,500...honestly, this 100% has to be the last. Like no bullshit
                 MT7473:        Invoicing for the $75K though and we address rest later right? That was
                                our discussion.
                 MT7473:        confirming. That’s what invoice says. It’s good.
                 JY1709:        Yes. Invoice for the 75
                 JY1709:        50% down
                 MT7473:        All ok?
                 JY1709:        Yup. Good to go
                 MT7473:        Thank god
                 MT7473:        Or...thank you
                 MT7473:        You’re a good man.

148     4/8/19   Michael Tew and Kimberley Tew, using the [PM]@gmail.com account had sent the                  See above, entry 86, for   A, K, L.       SW_FIL_000115
                 below email to J.Y.’s business account with an attached invoice for $75,000, as reflected     information about                         08
                 in call above directing payment to their joint bank account at NFCU x8486                     L.W., PM,
                                                                                                               PM@gmail.com and                          NAC_E_108463-
                 Dear National Air Cargo Group, Inc.,                                                          the relevant paragraphs                   NAC_E_108464
                                                                                                               of the Indictment.
                 Your invoice is attached. Please remit payment at your earliest convenience.

                 Thank you for your business - we appreciate it very much.




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Entry   Date     Statement(s)                                                                              Additional Context         801            Source
                                                                                                                                      Rationale(s)
149     4/8/19   On April 8, 2019 J.Y. used his business email account to forward the email he received    See above, entry 86, for   A, K, L.       NAC_E_91205;
                 from [PM]@gmail.com on April 8, 2019 to a NAC employee, writing                           information about                         NAC_E_66884-
                                                                                                           L.W., PM,                                 NAC_E_66885
                 I know, I know. [C.A.] told me to pay today, but hopefully, HOPEFULLY, this is the last   PM@gmail.com and
                 ...                                                                                       the relevant paragraphs
                                                                                                           of the Indictment.
                 Full invoice is for $75,000. We just paid $37,500 today…going to try to draft the final
                 payment out…we can book this to 50605—outside services—Contractors since it’s for         The invoice referenced
                 inspection other due diligence for new aircafts.                                          “Fuel modification
                                                                                                           Inspection and
                                                                                                           Research” “*Related to
                                                                                                           New Aircraft
                                                                                                           Acquisition” as
                                                                                                           discussed in the call
                                                                                                           above, entry 147. See
                                                                                                           Indictment ¶¶ 18, 19,
                                                                                                           20 21, 22 (alleging
                                                                                                           various instances of
                                                                                                           coordination to make
                                                                                                           the fraudulent invoices
                                                                                                           more convincing and to
                                                                                                           more efficiently get
                                                                                                           money from NAC
                                                                                                           without getting caught)
150     4/9/19   Kley(MT): 30 mins to bank                                                                 On April 9, 2019           A, F, G, H,    SW_FIL_003265
                 KT2046:   I’m wondering should you just withdraw cash and buy from that guy or is         $37,500 is sent via        K, N           80-
                           he going to give you a hard time.                                               ACH to Navy Federal                       SW_FIL_003265
                 KT2046:   Don’t crash                                                                     Credit Union Account                      84
                 KT2046:   Map to banks (IMG_9956.jpeg)                                                    x8486 for services
                 Kley(MT): The one in lone tree but I can go to centennial                                 purportedly rendered by
                                                                                                           [PM] as fraudulently
                 [. . . .]                                                                                 documented in [PM]
                                                                                                           7101 2019.04.08
                 KT2046:        Bank: Bank Of America                                                      (NAC_00000557)
                                Business Name: [MCG], LLC
                                Name: [M.M.]                                                               Bank record show that
                                Account Number: [x]5107                                                    Michael and Kimberley


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Entry   Date      Statement(s)                                                                              Additional Context         801            Source
                                                                                                                                       Rationale(s)
                                 Wire Routing Number: [x]9593                                               Tew received this
                  KT2046:        [redacted address] Ridge TN 37013                                          payment directly into
                                                                                                            their joint account at
                                                                                                            NFCU x8486.

                                                                                                            See above [X] for
                                                                                                            information on [M.M.]
                                                                                                            and [MCG].

                                                                                                            See Indictment ¶¶ 32,
                                                                                                            33

151     4/11/19   MT7473:        I have to call [MM] too                                                    On April 12, 2019          A, F, G, K,    SW_FIL_003265
                  MT7473:        Supposed to call him right now                                             $18,750 is sent via        N              84-
                  KT2046:        You’re doing your best?                                                    ACH to Navy Federal                       SW_FIL_003265
                  MT7473:        And then I’ll have to call [redacted]                                      Credit Union Account                      87;
                  KT2046:        You haven’t done anything g                                                x8486 for services                        SW_FIL_003265
                  MT7473:        I’m going to get yelled at by you                                          purportedly rendered by                   92-
                                 By [MM]                                                                    [PM] as fraudulently                      SW_FIL_003265
                                 By Jon                                                                     documented in [PM]                        94
                                 All day                                                                    7101 2019.04.08
                  KT2046:        That’s all you care about                                                  (NAC_00000557)

                                 [. . . .]                                                                  See above, entry 41, for
                                                                                                            information about
                  KT2046:        What is up with mike and wire                                              MCG, MM,
                  KT2046:        Today                                                                      MCG@gmail.com and
                  MT7473:        Working on it                                                              the relevant paragraphs
                                 They are on a call                                                         of the Indictment.
                                 They weren’t even awake when I called originally                           See Indictment ¶ 20
                                 I have a call in 15 mins with them                                         (alleging coordination
                  KT2046:        Did you ask                                                                by the Tews to decide
                  KT2046:        Have you been texting Jon                                                  how much to ask
                  MT7473:        Yes. Jon said he would send something he’s super pissed trying to figure   Yioulos to send them
                                 out how to make him feel good about it how to respond                      and the Tews’ role in
                  KT2046:        What is something                                                          making those requests)
                  KT2046:        Has to be min of 15


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Entry   Date      Statement(s)                                                                             Additional Context         801            Source
                                                                                                                                      Rationale(s)
                  MT7473:        I thought we said 10 yesterday
                  KT2046:        Omg!!!!
                  KT2046:        15 and 27
                  MT7473:        The last one is 37500
                  MT7473:        If we do 15 now then the next one is 22500
                  KT2046:        Great
                  MT7473:        Should I say we have a project we want to bring you on board? He’s just
                                 pissed off.

152     4/12/19   Kley(MT): You need to calm down and stop threatening to cut off communication.           These messages were        A, F, G, H,    SW_FIL_000170
                            She is not stringing you along. We need to work together. This will all be     sent to MM, who is not     K., N          01, p. 993
                            resolved soon                                                                  an indicted conspirator.
                  Kley(MT): Mike - a substantial amount that was supposed to be here Tuesday and then      But they show Michael
                            gain today is arriving next week. I am going to do everything I can to make    Tew executing the part
                            sure it is sent Monday.                                                        of the conspiracy
                  Kley(MT): If you don’t respond I assume you are going hostile We wanted to help you      related to engaging in
                            with your tax situation. If I don’t hear from you I assume we are not          financial transactions
                            working together.                                                              with proceeds of the
                  Kley(MT): She made promises to you because she was also promised things. She was         fraud.
                            not stringing you along. This is the way these things go sometimes.
                            Sometimes it's awesome and sometimes it's bad. But it's never as bad as        On April 12, 2019
                            you think.                                                                     $18,750 is sent via
                                                                                                           ACH to Navy Federal
                                                                                                           Credit Union Account
                                                                                                           x8486 for services
                                                                                                           purportedly rendered by
                                                                                                           [PM] as fraudulently
                                                                                                           documented in [PM]
153     4/12/19   KT2046:        Bank: Bank Of America                                                     On April 12, 2019          A, G, H, K,    SW_FIL_003266
                                 Business Name: [MCG], LLC                                                 $18,750 is sent via        N              03-
                                 Name: [M.M.]                                                              ACH to Navy Federal                       SW_FIL_003266
                                 Account Number: [x]5107                                                   Credit Union Account                      04;
                                 Wire Routing Number: [x]9593                                              x8486 for services                        SW_FIL_003266
                                 Address:                                                                  purportedly rendered by                   10
                                 [redacted]                                                                [PM] as fraudulently
                                 Cane Ridge TN 37013                                                       documented in [PM]
                  KT2046:        Can you send a wire of $5,000


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Entry   Date      Statement(s)                                                                                 Additional Context        801             Source
                                                                                                                                         Rationale(s)
                  MT7473:         Send $5 now?                                                                 7101 2019.04.08
                  MT7473:        Yes                                                                           (NAC_00000557)
                  MT7473:        From which account                                                            Bank record show that
                  KT2046:        Yes                                                                           Michael and Kimberley
                  KT2046:        8486                                                                          Tew received this
                  KT2046:        Will they also let you send a 5K wire to my Simple because it’s to me from    payment directly into
                                 our Joint                                                                     their joint account at
                  KT2046:        I                                                                             NFCU x8486. Bank
                  MT7473:         Both wires out                                                               records also show a
                                                                                                               wire transfer of $5,000
                                 [. . . .]                                                                     from that account on
                                                                                                               April 12, 2019.
                  KT2046:        I need you to withdraw $2,400 and do a cash deposit                           [NAVY_00000047]
                  KT2046:        I’ll put it back in
                  KT2046:        At WF                                                                         Simple was an all-
                  MT7473:         Ok                                                                           online bank. Records
                  KT2046:        Wells Fargo $2400 cash                                                        show an account in her
                                 Name: [redacted business name] CHECKING ACCOUNT                               name, associated with
                                 ACCOUNT #: [x]2643                                                            her address, her x2046
                                 Florida                                                                       telephone number and
                                 "No refunds for bitcoins"                                                     the kley@me.com
                                                                                                               email address.
                                                                                                               SFT_00000173.

                                                                                                               See Indictment ¶¶ 23,
                                                                                                               32, 33

154     4/13/19   JY1709:        You’ll have it no later than Wednesday. Please send me some btc by then       See Indictment ¶ 20       A, C, G, H, I   SW_FIL_003423
                                 too                                                                           (alleging coordination    K, N            24
                  MT1312:         [. . . .]. Please send Monday, let’s get this done with, you will get what   by the Tews to decide
                                 was promised. Apologies - didn’t see you called earlier. Didn’t have my       how much to ask
                                 phone on me.                                                                  Yioulos to send them
                                                                                                               and the Tews’ role in
                                                                                                               making those requests)

                                                                                                               See Indictment ¶ 25
                                                                                                               (alleging that Tews


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                                                                                                                                           Rationale(s)
                                                                                                                 gave Yioulos bitcoin as
                                                                                                                 part of the fraud)
155     4/16/19   KT2046:        Did you not send $5,000 to my Simple?                                           See above, entry 153,     A, G, K, N     SW_FIL_003266
                  MT7473:        Wasn’t sure if you wanted both, I’ll send it now. Teh woman on the phone        for background on                        21-
                                 was a pain in teh ass anyway. Calling now                                       Kimberley Tew’s                          SW_FIL_003266
                  KT2046:        Don’t worry                                                                     Simple account                           25
                  KT2046:        Don’t do it
                  MT7473:         ok                                                                             On April 16, 2019,
                  KT2046:        Their wire system blows                                                         $18,750 is sent via
                  KT2046:        Did chase get kicked back                                                       ACH to Navy Federal
                  MT7473:        The woman was like I’m not even sure if you can send a $5,000 wire over         Credit Union Account
                                 the phone                                                                       x8486 for services
                  KT2046:        Omg                                                                             purportedly rendered by
                  KT2046:        Idiot that                                                                      [PM] as fraudulently
                  MT7473:        I’m like I can I do that all the teim                                           documented in [PM]
                  MT7473:        She’s like let me check teh ryles                                               7101 2019.04.08
                  KT2046:        Shit                                                                            (NAC_00000557)
                  KT2046:        That’s how we get shut down
                  KT2046:        And what did the rules say                                                      Bank records show a
                  KT2046:        Can you grab the mail                                                           $5,000 wire transfers
                  MT7473:        The external wire was fine                                                      from the Tews joint
                  KT2046:        I couldn’t get into it yesterday                                                NFCU account x8486
                  KT2046:        Did chase pull again                                                            on April 16, 2019
                  MT7473:        I didn’t even ask her about yours because she was a mess this woman
                  MT7473:        Tere are no more insufficient funds charges in the account, it looks like       Indictment ¶¶23, 32, 33
                                 they didn’t try again. I got an email reminder that a payment is due not sure
                                 if that’s automated. I’ll go get the mail

156     4/17/19   KT2046:        Did you talk to jon                                                             See Indictment ¶ 20       A, D, E, F,    SW_FIL_003266
                  MT7473:        Upstairs                                                                        (alleging coordination    G, H, K, N     31-
                                 Phone tag                                                                       by the Tews to decide                    SW_FIL_003266
                                 We spoke for a minute and he was walking in                                     how much to ask                          33;
                                 Calling him when I come back down                                               Yioulos to send them                     SW_FIL_003266
                                                                                                                 and the Tews’ role in                    36-
                                 [ . . . .]                                                                      making those requests)                   SW_FIL_003266
                                                                                                                                                          41
                  KT2046:        Did you talk to Jon


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Entry   Date   Statement(s)                                                                               Additional Context        801            Source
                                                                                                                                    Rationale(s)
               KT2046:        Hello?!?                                                                    See above, entry 33 for
               MT7473:        Yes - there’s no money today its airline payroll and they don’t; have the   information about
                              money [C.A.] / [L.A.] has to put money in                                   [C.F.]
               MT7473:        Thinking tomorrow
               KT2046:        How much
               MT7473:        I told him I would call him at lunch with an update on the police
               KT2046:        And to what entity
               MT7473:        He said [C.A.] is asking questions how come we don’t have any money etc
               KT2046:        Is he freaked out
               KT2046:        So maybe not good
               MT7473:        He’s half freaked out
               KT2046:        Does he have a way

                              [. . . .]

               KT2046:        I am done
               KT2046:        Done with your stupid jobs that you told me would pay 15K each.
               KT2046:        Done having to beg for money
               KT2046:        I’m done
               KT2046:        How come no one ever just posts about me online
               KT2046:        I told you to take this shit with [C.F.] seriously and you didn’t
               KT2046:        Look where we are now
               KT2046:        You’re on a stupid call
               KT2046:        Don’t yell at me
               KT2046:        Don’t talk to me
               KT2046:        I am threatened daily
               KT2046:        I am done
               KT2046:        I wake up to threads
               KT2046:        I go to bed with threats
               KT2046:        I can make what you make in a month in 30 min
               KT2046:        I’m done
               KT2046:        Your stupid jobs screwed us
               KT2046:        You lied
               KT2046:        Said they’d pay you 15K
               KT2046:        You lied
               KT2046:        You abuse me
               KT2046:        You yell at all of us


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Entry   Date      Statement(s)                                                                   Additional Context        801            Source
                                                                                                                           Rationale(s)
                  KT2046:        I originally said I needed 15K
                  KT2046:        Now it’s 10
                  KT2046:        This happens and people get angry
                  KT2046:        I actually need close to 100 in the next week
                  KT2046:        We are screwed

157     4/18/19   KT2046:        Do you have cash                                                On April 18, 2019         A, F, G, H,    SW_FIL_003266
                  KT2046:        We have no money in the accounts                                $18,750 is sent via       K, N           43;
                  KT2046:        I have $54 avail in Simple                                      ACH to Navy Federal                      SW_FIL_003266
                  MT7473:        I have 80 dollars                                               Credit Union Account                     49-
                  MT7473:        You gave me this am                                             x8486 for services                       SW_FIL_003266
                  KT2046:        I just transferred $240 into our joint account                  purportedly rendered by                  51;
                                 [ . . . .[                                                      [PM] as fraudulently                     SW_FIL_003266
                  KT2046:        From my parents                                                 documented in [PM]                       54-
                                                                                                 7156 2019.04.29                          SW_FIL_003266
                                 [. . . .]                                                       (NAC_00000974) and                       56
                                                                                                 [PM] 7158 2019.04.29
                  KT2046:   JPMorgan Chase                                                       (NAC_00000975)
                            [redacted business]
                            Wire Routing Number: [x]0021                                         Bank Records show a
                            Account Number: [x]8260                                              $240 transfer from
                  KT2046:   [redacted address]                                                   Kimberley’s father into
                            Ladera Ranch CA, 92694                                               the Tews’ joint bank
                  KT2046:   Can you withdraw $600 from each of your 3 debit cards and make an    account at NFCU
                            $1,800 cash deposit for me?                                          x8486.
                  KT2046:   It’s for $1,893 so you have to get cash from one of my cards         NAVY_00000056.
                  KT2046:   Chase- $1893 cash
                            Name: A[redacted business], LLC                                      See Indictment ¶¶ 23m
                            Account # [x]3680                                                    32, 33
                            New York
                            "No refunds for bitcoins"                                            See above, entry 153,
                            [. . . .]                                                            for background on
                  MT7473: Photo of deposit slip (57731424640__C8F311E2-618D-4333-B61B-           Kimberley Tew’s
                            00B39478994C.jpeg)                                                   Simple account
                            [. . . .]
                  KT2046:   If someone sends 5K can you withdraw it at bank
                  Kley(MT): Yes of course


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Entry   Date      Statement(s)                                                                               Additional Context         801            Source
                                                                                                                                        Rationale(s)
                  KT2046:        1. Withdraw $600 from 5296 and other two cards NOT ending in 2863.
                                 2. Withdraw $200 from card ending in 2863.
                  KT2046:        Chase Bank - $2000
                                 [redacted business]
                                 [x]5925
                                 State FL
                                 "No refunds for bitcoins"
                  MT7473:        Have the cash
                  MT7473:        Making deposit
                  MT7473:        Photo of deposit slip (57732489405__095EC057-F3CF-4C33-90B3-
                                 6F3EB44592AE.jpeg)

158     4/21/19   MT7473:            So the plan is to take jons money and use it to leave ?                                            A D, I, J, K   SW_FIL_003334
                  Kley(KT):          Here we go                                                                                                        74



159     4/22/19   KT2046:        What’s the update with [L.W.]                                               See above, entry 86, for   A, D, F, G,    SW_FIL_003266
                  MT7473:        He said he didn’t see our message until this morning                        information about          H, K, N        76-
                  MT7473:        What am i asking him                                                        L.W., PM,                                 SW_FIL_003266
                  KT2046:        2500                                                                        PM@gmail.com and                          85
                  MT7473:        With 10k back?                                                              the relevant paragraphs
                  MT7473:        Asked                                                                       of the Indictment.
                  KT2046:        What did he say
                  KT2046:        It would be easier to do 5K this week and 5K next week but see what he      M.V. is Kimberley
                                 says                                                                        Tew’s mother
                  KT2046:        Maybe explain after
                  KT2046:        He did say he could send $2.5 today                                         Bank records show a
                  MT7473:        He didn’t get back to me I called he didn’t answer                          $600 withdrawal Tews’
                  MT7473:        He said he would do it                                                      joint bank account at
                  KT2046:        When                                                                        NFCU x8486.
                  MT7473:        Saturday                                                                    NAVY_00000056;
                  KT2046:        Ok. I sent him a reminder for the request I sent on Saturday.               They also show a $600
                  MT7473:        Ok                                                                          withdrawal from
                  MT7473:        I made the transfer request - likely hit tomorrow. — ACH - Can you send a   Michael Tew’s
                                 paypal request?                                                             checking account at
                  KT2046:        What


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Entry   Date      Statement(s)                                                                             Additional Context        801            Source
                                                                                                                                     Rationale(s)
                  KT2046:        What                                                                      NFCU ending x3494.
                  MT7473:        That’s what he just wrote me                                              [NAVY_00000480]
                  MT7473:        I don’t get it
                  KT2046:        He can send money via PayPal                                              See Indictment ¶¶ 32,
                  MT7473:        Should I say hey I need today                                             33
                  MT7473:        Yes
                  MT7473:        Do you want to text him directly
                  MT7473:        He’s willing to help
                  KT2046:        Attachment (IMG_0428) showing request to ebay@[PM].com for
                                 $2500 via paypal
                  KT2046:        Sent request from mom’s account
                  MT7473:        Ok
                  MT7473:        I sent him the image
                  KT2046:        Do you think he’s sending rn
                  KT2046:        It will say from M.V.
                  KT2046:        Got it
                  MT7473:        He sent the money?
                  KT2046:        Yes
                  KT2046:        Can you withdraw $600 from our joint account using your debit and $600
                                 from your checking account ending in 3464. Total $1,200

160     4/23/19   KT2046:   image of Google Voice account details (IMG_0441.jpeg). The screenshot          On April 23, 2019         A, E, F, G,    SW_FIL_003266
                            shows a google voice number ending x3383 and forwarded email address           $18,750 is sent via       K, N           88-
                            kley@me.com                                                                    ACH to Navy Federal                      SW_FIL_003266
                  Kley(MT): She said your discover payment will post at midnight tonight                   Credit Union Account                     89;
                  KT2046:   Did it not go through                                                          x8486 for services                       SW_FIL_003266
                  Kley(MT): No it did, this was all unprompted, she just said here is the balance in the   purportedly rendered by                  91-
                            account and $2,000 to discover will be debiting tonight at midnight            [PM] as fraudulently                     SW_FIL_003266
                  Kley(MT): So there’s like 8500 - 2000                                                    documented in [PM]                       93
                  KT2046:   Can you go to bellco and withdraw $600 from our 7 debit cards and $500         7156 2019.04.29
                            from my Simple                                                                 (NAC_00000974) and
                  KT2046:   I transferred everything                                                       [PM] 7158 2019.04.29
                                                                                                           (NAC_00000975)

                                                                                                           Bank records show
                                                                                                           $600 withdrawals from
                                                                                                           accounts controlled by


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Entry   Date      Statement(s)                                                                  Additional Context         801              Source
                                                                                                                           Rationale(s)
                                                                                                Michael or Kimberley
                                                                                                Tew on April 23, 219
                                                                                                from an ATM at
                                                                                                Belloco. [e.g.,
                                                                                                NAVY_000000059;
                                                                                                00000481]

                                                                                                See above, entry 153,
                                                                                                for background on
                                                                                                Kimberley Tew’s
                                                                                                Simple account

                                                                                                See Indictment ¶¶ 23,
                                                                                                32, 33


161     4/24/19   JY1709:        yeah we're good it's out                                       Message to Michael         A, G             SW_FIL_003423
                                                                                                Tew                                         24

                                                                                                See Indictment ¶ 20
                                                                                                (alleging coordination
                                                                                                by the Tews to decide
                                                                                                how much to ask
                                                                                                Yioulos to send them
                                                                                                and the Tews’ role in
                                                                                                making those requests)

162     4/24/19   MT7473:        I’m going to jail if I don’t get you money                     See Indictment ¶ 20        A, B, C, E,      SW_FIL_003267
                  MT7473:        That’s what you say                                            (alleging coordination     F, G, I, J, K,   03-
                                                                                                by the Tews to decide      N                SW_FIL_003267
                  [. . . .]                                                                     how much to ask                             33
                  KT2046:        You dropped the ball on my credit card thing                   Yioulos to send them
                  KT2046:        How many cards have I lost                                     and the Tews’ role in
                  KT2046:        How many times did you not get paid on time                    making those requests)

                  [. . . .]                                                                     See above, entry 86, for
                                                                                                information about


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Entry   Date   Statement(s)                                                                Additional Context        801            Source
                                                                                                                     Rationale(s)
                                                                                           L.W., PM,
               KT2046:        I’m taking you off the bank account                          PM@gmail.com and
               KT2046:        Thanks for fixing my accounts                                the relevant paragraphs
               KT2046:        Thanks for doing nothing                                     of the Indictment.
               KT2046:        I just lost all my btc
               MT7473:        Do you want me to call all of your accounts?                 “GP” is short for
               KT2046:        Because of you                                               Google Pay.
                                                                                           “vtleycap@gmail.com”
               [. . . .]                                                                   was an email address
                                                                                           used by Kimberley
               MT7473:        We can use whatever cash we have left                        Tew. Its recovery
               MT7473:        I’ll buy more                                                email was
               KT2046:        Yeah. Go get me 2K                                           kley@me.com and its
               KT2046:        Have [L.W.] send a PayPal                                    recover telephone
               KT2046:        Or someone send me a google pay                              number was 917-446-
               KT2046:        PayPal is teathymelady@yahoo.com                             2046.
               MT7473:        I can go to mikes and get cash                               [ORD_00019129]
               KT2046:        GP is vtleycap@gmail.com
               KT2046:        Bullshit                                                     Records from paypal
               KT2046:        [L.W.] could PayPal it                                       show that
               MT7473:        If I ask and he says ok will you let me                      “teathymelady@yahoo.
               KT2046:        You ducked up                                                com” was registered in
               MT7473:        [L.W.] won’t do it                                           the name of Kimberley
               KT2046:        You ducked us                                                Tew’s mother
               KT2046:        Yeah 5K                                                      [PAY_00000092]
               KT2046:        Cash
               MT7473:        He wouldn’t even respond to the other 500 we asked for
               MT7473:        Ok
               MT7473:        I’ll ask
               KT2046:        He’ll make it 25
               KT2046:        Like you offered
               KT2046:        That’s not true
               MT7473:        That’s a different conversation. Not a one night thing
               KT2046:        He did reply
               KT2046:        I see
               MT7473:        He didn’t reply to me
               MT7473:        I didn’t see a reply fro Him


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Entry   Date      Statement(s)                                                                            Additional Context    801            Source
                                                                                                                                Rationale(s)
                  MT7473:        Ok I’ll call [L.W.]
                  MT7473:        When can we pay him back
                  MT7473:        We told him all 10k tomorrow
                  MT7473:        I have to ask [MM]
                  KT2046:        You are a dead man
                  MT7473:        What do you mean
                  MT7473:        What do you mean
                  MT7473:        What do you mean
                  MT7473:        I can get cash from mike and make a btc atm deposit
                  MT7473:        You know he sucks st google pay
                  MT7473:        Calling you
                  KT2046:        Stop
                  KT2046:        You can’t get cash
                  KT2046:        I told you what to do
                  MT7473:        I’m calling and asking now
                  KT2046:        For what
                  KT2046:        10K
                  MT7473:        For cash
                  KT2046:        25K
                  KT2046:        How much
                  MT7473:        He won’t give it to me in a pinch
                  KT2046:        I had it all planned
                  MT7473:        I need a plan to pay it all back
                  KT2046:        How much
                  KT2046:        How much
                  KT2046:        How much
                  MT7473:        No more than 5 and I have to pay it all back when I get the next thing
                  KT2046:        How much
                  KT2046:        Doubt it
                  MT7473:        Or bits at a time
                  KT2046:        I don’t want bits
                  MT7473:        I have to pay him back at least bits at a time
                  KT2046:        You saying you can’t even get 5K

163     4/25/19   KT2046:        Screenshot of text message conversation with host at casino              On April 25, 2019     A, G, K, N     SW_FIL_003267
                                 (IMG_0562.jpeg)                                                          $18,750 is sent via                  36-
                  KT2046:        Screenshot of text message conversation with host at casino (IMG_0565,   ACH to Navy Federal


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Entry   Date   Statement(s)                                                                                   Additional Context        801            Source
                                                                                                                                        Rationale(s)
                              IMG_0566.jpeg, IMG_0567.jpeg)                                                   Credit Union Account                     SW_FIL_003267
               KT2046:        Screenshot of casino account summary (Screenshot_20190228-                      x8486 for services                       41
                              193211_Chrome.jpg)                                                              purportedly rendered by
               KT2046:        Bank: Chase                                                                     [PM] as fraudulently
                              Account Name: [redacted[                                                        documented in [PM]
                              Wire Routing Number: [x]0021                                                    7156 2019.04.29
                              Account Number: [x]5415                                                         (NAC_00000974) and
                              Address:                                                                        [PM] 7158 2019.04.29
                              [redacted address]                                                              (NAC_00000975)
                              Ladera Ranch, CA 92694
               KT2046:        And can you send $5K to my Simple                                               Bank account record
               MT7473:        From joint account both?                                                        show wires of $5,000
               MT7473:        I should go to [redacted] at like 8:15                                          and $5,500 from the
               KT2046:        $5500 to Simple                                                                 Tews’ joint bank
               KT2046:        No                                                                              account x8486.
               KT2046:        That’s the worst time                                                           [NAVY_00000060]
               MT7473:        Ok what time do you think
               MT7473:        You tell me                                                                     See above, entry 153,
                                                                                                              for background on
                              [. . . .]                                                                       Kimberley Tew’s
                                                                                                              Simple account
               MT7473:        Wires out
                                                                                                              See Indictment ¶¶ 23,
               [. . . .]                                                                                      32, 33

               KT2046:        1 each of these $20. If they don’t have the exact game font buy a substitute.
                              (photo of lottery tickets (IMG_0595.jpeg)
               KT2046:        3 each of these 2 dollar games.(photo of lottery tickets (IMG_0596.jpeg)
               KT2046:        1 of this $10 game. No substitute.(photo of lottery tickets
                              (FullSizeRender.jpeg)
               KT2046:        From: +19174462046 Kimberley Tew
                              Substitutes for $2/$3 games are fine.
               KT2046:        Can you buy 2 each of:
                              Powerball
                              Mega Millions
                              CO State Lotto



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Entry   Date      Statement(s)                                                                           Additional Context         801            Source
                                                                                                                                    Rationale(s)
164     4/29/19   Michael Tew and Kimberley Tew, using the [PM]@gmail.com account had sent the           See above, entry 86, for   A, K, L        SW_FIL_000115
                  below email to J.Y.’s business account with an attached invoice directing payment to   information about                         12
                  their joint bank account at NFCU x8486                                                 L.W., PM,
                                                                                                         PM@gmail.com and                          SW_FIL_000115
                  Dear National Air Cargo Group, Inc.,                                                   the relevant paragraphs                   16
                                                                                                         of the Indictment.
                  Your invoice is attached. Please remit payment at your earliest convenience.                                                     NAC_E_102459-
                                                                                                         There were two                            NAC_E_102460
                  Thank you for your business - we appreciate it very much.                              separate emails on this
                                                                                                         date with substantially                   NAC_E_105452-
                                                                                                         similar content. Only                     NAC_E_105453
                  [. . . .]                                                                              invoices were different.

                  Michael Tew and Kimberley Tew, using the [PM]@gmail.com account had sent the
                  below email to J.Y.’s business account with an attached invoice directing payment to
                  their joint bank account at NFCU x8486

                  Dear National Air Cargo Group, Inc.,

                  Your invoice is attached. Please remit payment at your earliest convenience.

                  Thank you for your business - we appreciate it very much.



165     4/29/19   On April 29, 2019 J.Y. used his business email account to forward the emails he had    See above, entry 86, for   A, K, L        NAC_E_64830-
                  received from [PM]@gmail.com to a NAC employee, writing “Book both to 506505           information about                         NAC_E_64832
                  please ! As you can see, invoice 7158 finally says FINAL.”                             L.W., PM,
                                                                                                         PM@gmail.com and
                                                                                                         the relevant paragraphs
                                                                                                         of the Indictment.

                                                                                                         See Indictment ¶¶11,
                                                                                                         12, 13

166     4/30/19   KT2046:        KT 4769 $400                                                            On April 30, 2019          A, G, H, K,    SW_FIL_003267
                                 MT 4974 $600                                                            $38,640 is sent via        N              65-


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Entry   Date   Statement(s)                                                                  Additional Context        801            Source
                                                                                                                       Rationale(s)
               KT2046:   196tq77oNrLRTdPjqScjqaeRJi9JdUeEWq (QR Code (IMG_0863.jpeg)         ACH to Navy Federal                      SW_FIL_003267
               Kley(MT): Can’t get 600 from your 4769 card                                   Credit Union Account                     69
               KT2046:   Marquette Federal Credit Union                                      x8486 for services
                         Account: [x]0774                                                    purportedly rendered by
                         Routing: [x]2860                                                    [PM] as fraudulently
                         [M.V.]                                                              documented in [PM]
                         Savings Account                                                     7156 2019.04.29
                         [redacted address]                                                  (NAC_00000974) and
                         Marquette, MI 49855                                                 [PM] 7158 2019.04.29
                         $4,500                                                              (NAC_00000975)
               KT2046:   Kimberley Tew
                         $5,500                                                              Bank record show that
                         (image of routing and bank account number (FillSizeRender.jpeg))    Michael and Kimberley
               KT2046:   $5,000                                                              Tew received this
                         JPMorgan Chase Bank                                                 payment directly into
                         Business Checking                                                   their joint account at
                         Account Name: [redacted busienss name]                              NFCU x8486. They
                         Wire Routing Number: [x]0021                                        also show a $4,500 wire
                         Account Number:                                                     and a $5,000 wire.
                         [x]8260                                                             [NAVY_00000061].
                         Address:
                         [redacted addressp                                                  M.V. is Kimberley
                         Ladero Ranch, CA 92694                                              Tew’s mother, who
               KT2046:   Sorry it’s Ladera Ranch (not Ladero)                                lives in Wisconsin.
               KT2046:   For my mom’s wire make sure the note on the wire says SAVINGS
                         ACCOUNT                                                             See Indictment ¶¶ 23,
               KT2046:   Marquette Community Federal Credit Union                            32, 33
               MT7473: Need the account info for Marquette credit Union
               KT2046:   I sent it
               KT2046:   It’s the top one
               MT7473: Ok there it is
               MT7473: She’s saying the system won’t let her send without the intermediary
               KT2046:   So look it up
               MT7473: Routing number
               KT2046:   Image of wire routing instructions (IMG_0875)
               KT2046:   Can you ask when it will hit her account
               KT2046:   I don’t understand


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 Entry     Date     Statement(s)                                                                            Additional Context        801            Source
                                                                                                                                      Rationale(s)
                    MT7473:        Getting the fed numbers
                    MT7473:        Three things got kicked back yesterday
                    MT7473:        I think both our navient and the car
                    KT2046:        Awesome
                    KT2046:        Sent two PayPal payments ($1,500 + $1,000 = $2,500) (Screenshots of
                                   payment requests (IMG_0914.jprg and IMG_0915.jpeg)
                                   [redacted] is paid in full plus $500 of interest
                    KT2046:        Attachment
                    KT2046:        PayPal: Transaction Details.pdf


May 2019

 Entry     Date     Statement(s)                                                                            Additional Context        801            Source
                                                                                                                                      Rationale(s)
 167       5/1/19   KT2046:   Did you send it                                                               n April 30, 2019          A, G, H, K,    SW_FIL_003267
                    MT7473:   Yes about 45 mins ago                                                         $38,640 is sent via       N              73-
                    KT2046:   $2500 chase                                                                   ACH to Navy Federal                      SW_FIL_003267
                              Bank Name: CHASE Assest                                                       Credit Union Account                     80
                              Account Name: [redacted business name]                                        x8486 for services
                              Account Number: [x]9727                                                       purportedly rendered by
                              Account Type: Business Checking                                               [PM] as fraudulently
                              Account Location:[redacted address] Miami FL 33172                            documented in [PM]
                              "No refunds for bitcoins"                                                     7156 2019.04.29
                    KT2046:   $1700 BOA                                                                     (NAC_00000974) and
                              [redacted business name]                                                      [PM] 7158 2019.04.29
                              [x]8121                                                                       (NAC_00000975)
                              Florida
                              "No refunds for bitcoins"                                                     Bank record show that
                    Kley(MT): Both chase                                                                    Michael and Kimberley
                    KT2046:   $1,700 is Bank of America                                                     Tew received this
                    KT2046:   [redacted] asked how long for receipts I said 10 min for Chase and 5-10       payment directly into
                              after that for Bank of America                                                their joint account at
                    KT2046:   I need you to log in to my Navy Federal to see how much is in each account    NFCU x8486.
                    KT2046:   Did you check my account
                    KT2046:   I need your help!!!                                                           See Indictment ¶¶ 23,
                    KT2046:   How hard is it to google what time will chase try to pull a check and print   32, 33

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Entry   Date     Statement(s)                                                                               Additional Context        801            Source
                                                                                                                                      Rationale(s)
                                out a list of btc options for selling
                 MT7473:        Chase will make funds available from non chase checks in two business
                                days from deposit
                 MT7473:        Directly from the customer agreement
                 MT7473:        I have all the btc atm information
                 KT2046:        When will they pull though
                 MT7473:        We have until 8pm to cash out up to 5k and 2k plus 3k two diff locations
                                and the other one up to 4500 24 hours
                 KT2046:        Sam is supposed to help me sell 8K tonight via Zelle
                 KT2046:        I’m worried the check is going to bounce
                 KT2046:        But when you make credit card payments to chase it takes forever to clear
                                vs my discover card
                 MT7473:        Chase is two -3 business days to clear funds on an ach which is same like
                                check
                 MT7473:        But I wouldn’t risk it
                 MT7473:        Up to you
                 KT2046:        Ok but how am I supposed to deposit now?
                 KT2046:        Your advice to not risk it
                 MT7473:        What do you want to do
                 MT7473:        I don’t understand

168     5/2/19   KT2046:        I’m transferring like $300 to our joint let’s get north                     Bank records $300         A, G, H, K,    SW_FIL_003267
                 KT2046:        Transferred $450 to our joint                                               transfer into the joint   N              83-
                 MT7473:        Give you more time                                                          account at NFCU                          SW_FIL_003267
                 KT2046:        Sure last time it took forever                                              x8486. At one point in                   89
                 KT2046:        Whatever you’re doing is not important                                      the day the balance had
                 KT2046:        I need your help with this shit                                             gone down to
                 MT7473:        I’m on with your mom                                                        approximately $500.
                 MT7473:        She’s at he bank                                                            [NAVY_00000063].
                 KT2046:        She needs to call PayPal to cancel this $1,500
                 KT2046:        Echeck
                 KT2046:        Where are they wiring
                 KT2046:        Into what account
                 KT2046:        KT *4769 $400
                                KT *9396 $600
                                $1,000 total
                                Cash deposit at Bank of America


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Entry   Date     Statement(s)                                                                                     Additional Context        801            Source
                                                                                                                                            Rationale(s)
                 KT2046:   BofA- $1000 cash only
                           name: [redacted business name]
                           Acct# [x]6873
                           Minnesota
                           "No refunds for bitcoins purchased on localbitcoins.com"
                           Got it?
                 KT2046:   You’re not going to like this idea but what do we have to lose. We need to
                           get an ACH sent out today (also on Monday). The one today for as much as
                           possible. If you can make that happen I’ll fix all our issues this weekend. I
                           promise.
                 MT7473: Photo of deposit slip (57851141279__B2391E24-A54D-4AE7-916A-
                           F2C061449BEB.jpeg) ($1,000 deposit of 10 $1000 bills into Bank of
                           America Account)
                 KT2046:   Can you check our joint account to make sure there is $800 in there?
                 Kley(MT): 828.90 and i pushed my att to Monday thats the latest I can push it
                 KT2046:   [redacted name] 4_10_2019 copy.xlsx


169     5/6/19   MT7473:        Jon just said the plan is to pay all of it at once tomorrow and he will call me   See Indictment ¶ 20       A, D, F, G,    SW_FIL_003268
                                later                                                                             (alleging coordination    H, K, N        05-
                 MT7473:        I know you don’t want to wait, I’ll talk to him at luch                           by the Tews to decide                    SW_FIL_003268
                 MT7473:        I still have $43 of stellar we can convert to BTC                                 how much to ask                          10
                 KT2046:        Ok you can do that on the blockchain wallet app where the stroller is by          Yioulos to send them
                                going to exchange.                                                                and the Tews’ role in
                 MT7473:        Yes I can do I ton my phone convert to BTC and send to you through my             making those requests)
                                blockchain wallet. Work?
                 KT2046:        Yes                                                                               See Indictment ¶ 25
                 MT7473:        I have the btc                                                                    (alleging that Tews
                                                                                                                  gave Yioulos bitcoin as
                                [. . . .]                                                                         part of the fraud)

                 KT2046:        3Q4BLjZG85Y2fnodvZsSTd5LSeV476HkyQ
                 KT2046:        Did you text Jon
                 MT7473:        yes
                 MT7473:        He said all tomorrow but is calling me at lunch
                 KT2046:        What does that mean
                 KT2046:        He won’t send anything today


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Entry   Date     Statement(s)                                                              Additional Context        801            Source
                                                                                                                     Rationale(s)
                 MT7473:        I’ll know in the next 30 minutes
                 KT2046:        How are we going to manage the next 2 days
                 KT2046:        He said all tomorrow
                 KT2046:        Did you send the BTC
                 KT2046:        Wake up
                 KT2046:        3Q4BLjZG85Y2fnodvZsSTd5LSeV476HkyQ


170     5/7/19   MT1312:        How are you in 40 mins                                     On May 8, 2019,           A, F, G, H,    SW_FIL_003423
                                Just getting going                                         $49,750 is sent via       K              24
                 JY1709:        Works                                                      ACH to Navy Federal
                 MT1312:        Ok wait - confirming the amounts. $19890 + $49750          Credit Union Account
                 MT1312:        ?                                                          x8486 for services
                 JY1709:        Yes                                                        purportedly rendered by
                 MT1312:        done. Thank god.                                           [PM] as fraudulently
                 JY1709:        Both ACHs are out. WE ARE DONEEEEEEE                       documented in [PM]
                 MT1312:        THANK YOU                                                  7156 2019.04.29
                                                                                           (NAC_00000974) and
                                                                                           [PM] 7158 2019.04.29
                                                                                           (NAC_00000975)

                                                                                           Bank record show that
                                                                                           Michael and Kimberley
                                                                                           Tew received this
                                                                                           payment directly into
                                                                                           their joint account at
                                                                                           NFCU x8486.

                                                                                           See Indictment ¶ 20
                                                                                           (alleging coordination
                                                                                           by the Tews to decide
                                                                                           how much to ask
                                                                                           Yioulos to send them
                                                                                           and the Tews’ role in
                                                                                           making those requests)




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Entry   Date     Statement(s)                                                                                   Additional Context         801            Source
                                                                                                                                           Rationale(s)
171     5/8/19   KT2046:        [redacted name]e 4_10_2019 copy.xlsx                                            x3494 is an account at     A, F, G, H,    SW_FIL_003268
                 KT2046:        I need you to call to do a 5K wire to [redacted business] and 5.5K to my        NFCU on which              K, N           15-
                                Simple                                                                          Michael Tew was sole                      SW_FIL_003268
                 KT2046:        Nm. I am doing both now.                                                        signatory.                                16
                 KT2046:        What is [redacted] Zelle
                 MT7473:        [redacted telephone number]                                                     x5336 is an account at
                 KT2046:        Are you doing the wire for my mom                                               NFCU on which
                 KT2046:        For 5K?                                                                         Michael Tew was sole
                 MT7473:        If you want yes                                                                 signatory. Bank records
                 MT7473:        What are we doing about [L.W.]. You tell me                                     show a $9,000 wire
                 KT2046:        I will know later today                                                         from that account on
                 KT2046:        I need to get the wire out to my mom savings                                    May 8, 2019.
                 KT2046:        5K                                                                              [NAVY_0000483]
                 MT7473:        Ok. If he asks - he hasn’t yet but I’m sure he will - i’ll let him know
                 MT7473:        I know you’re under a lot of pressure but I dd tell him we would send him $     Bank record show a
                                today                                                                           $5,000 withdrawal by
                 KT2046:        I’m locked out of Navy Federal                                                  wire from the Tews’
                 MT7473:        me too but I’m getting the wire out to kraken now                               joint account at NFCU
                 MT7473:        9K                                                                              x8486.
                 MT7473:        after that I see only 16750 in the shared, 6K in my 3494, and 6K in my          [NAVY_0000064-65]
                                5336 left
                 KT2046:        I’m locked out!!                                                                Kraken is a
                 KT2046:        Can you log in                                                                  cryptocurrency
                 MT7473:        I can log in to see the high level but after that it says we need to call       exchange on which
                                because of the high level fo transactions. Getting this wire out before I ask   both Kimberley and
                                them                                                                            Michael Tew had
                 MT7473:        I cannot log into individual accounts                                           accounts.
                 KT2046:        You can’t see anything                                                          KRKN_00000008;
                 KT2046:        Nothing                                                                         KRKN_00000020.
                 KT2046:        High level
                 KT2046:        Dude                                                                            See above, entry 86, for
                 KT2046:        Did they close us                                                               information about
                 MT7473:        kraken is out                                                                   L.W., PM,
                 KT2046:        Still need to get 6K out to my mom so maybe we have to go to branch             PM@gmail.com and
                 KT2046:        Can you look at historically what time we sent fiat and when it was             the relevant paragraphs
                                available on Kraken                                                             of the Indictment.
                 MT7473:        Screenshot of wire times (Messgages Image(3094148752).jpeg)


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               KT2046:   Screenshots of emails of wire confirmations (IMG_1245.jpeg,             See Indictment ¶¶ 23,
                         IMG_1244.jpeg, IMG_1243.jpeg) (a receipt for $5,000 on x3494 account    32, 33
                         related to [M.M.]]
               KT2046:   Screenshots of emails of wire confirmations (IMG_1248.jpeg) (a $1,000
                         receipt for a wire from x3494)
               KT2046:   Screenshots of emails of wire confirmations (IMG_1243.jpeg)
               KT2046:   Screenshots of emails of wire confirmations (IMG_1244.jpeg)
               KT2046:   Screenshots of emails of wire confirmations (IMG_1245.jpeg)
               KT2046:   Screenshots of emails of wire confirmations (IMG_1246.jpeg) (a $1,000
                         receipt for a wire from x3494)
               KT2046:   Screenshots of emails of wire confirmations (IMG_1250.jpeg)
               MT7473: Screenshot of wire times (Messages Image(3284434332).jpeg0
               KT2046:   Attachment – PDF (record of $35,000 wire transfer from NFCU)
               MT7473: I cannot find your mom’s wire instructions anywhere do you mind
                         resending
               MT7473: Got it never mind
               KT2046:   Pls come back soon
               MT7473: Coming now
               KT2046:   I need you to send 5K out to [redacted business name] from our joint
               KT2046:   Business Checking:
                         Bank: JPMorgan Chase
                         Account Name: [redacted business name]
                         Wire Routing Number: [x]0021
                         Account Number:
                         [x]8260
                         Address:
                         [redacted address]
                         Ladera Ranch, CA 92694
               KT2046:   Run
               Kley(MT): To his Persobalbor business
               KT2046:   It says BUSINESS
               Kley(MT): Out
               KT2046:   [redacted]’s Zelle receipt
               MT7473: Kraken hit
               KT2046:   149c4qZoRMKQBBa3tSfiMkQ7y7VBhfKfjK




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Entry   Date     Statement(s)                                                                        Additional Context         801            Source
                                                                                                                                Rationale(s)
172     5/9/19   KT2046:   Chase                                                                     See above, entry 86, for   A, F, G, H,    SW_FIL_003268
                           $4700 cash chase                                                          information about          K, N           27-
                           Name: [redacted business name]                                            L.W., PM,                                 SW_FIL_003268
                           ACCOUNT # [x]1356                                                         PM@gmail.com and                          36
                           Florida                                                                   the relevant paragraphs
                           "No refunds for bitcoins"                                                 of the Indictment.
                           Got it?
                 Kley(MT): Attachment                                                                See Indictment ¶¶ 23,
                 MT7473: At bank what am I getting                                                   32, 33
                 KT2046:   $15K
                 KT2046:   Or $20?
                 KT2046:   Going to deposit $12K
                 MT7473: It’s up to you how much you want you have left for Vegas or whatever plus
                           whatever we’re doing with [L.W.]
                 MT7473: Have cash
                 KT2046:   Ok head to chase
                 KT2046:   Please deposit the correct amount to the correct account (you are a
                           customer making business payments so this is 100% normal):
                           2 CHASE business accounts:
                           Total: $9000.00
                           (1) $3,733.00 chase
                           number: [x]7907
                           Name: [redacted business name]
                           Florida
                           (2) $5,267 cash
                           Name: [redacted business name]
                           Account # [x]5257
                           Address: [redacted address], Miami Florida
                           (1) GET A SEPARATE RECEIPT FOR EACH DEPOSIT
                           (2) WRITE "NO REFUNDS FOR BITCOINS" on each receipt
                           Got it?
                 KT2046:   Going to deposit $9K now and he has a $3K one we can do at Bank of
                           America later if
                 MT7473: Ok so 14k right
                 MT7473: Photo of deposit slip (57911483661__BC99071E-C18B-43CD-8C2D-
                           0FE26B65C288.jpeg) ($5,267 deposit into Chase)
                 MT7473: Photo of deposit slip (57911484245__AA152E06-2796-470D-AD6F-


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                                 0944C48C8FCD.jpeg) ($3,733 deposit into Chase)
                  KT2046:        (1) BOFA BUSINESS - $1000
                                 NAME: [redacted business]
                                 ACC: [x]6551
                                 FL 33166
                                 (2) BOFA BUSINESS- $5000
                                 [redacted business name]
                                 ACC: [x]1173
                                 FL 33166
                                 On each:
                                 "No refunds for bitcoins"
                                 Got it?

                  [. . . .]

                  Kley(MT): Photo of deposit slip (57912263319__5CB36C40-44B5-42D6-854D-
                            643DE3936EF9.JPG) ($5,000 deposit into Bank of America)
                  Kley(MT): Attachment
                  KT2046:   Did they ask for bank statements
                  Kley(MT): Wells and I see Zelle, but never used it.
                  Kley(MT): From [L.W.]
                  KT2046:   Don’t tell him money hit ask for Wells info
                  KT2046:   You sent the same receipt twice
                  KT2046:   From: +19174462046 Kimberley Tew
                            Need 1K receipt
                  KT2046:   Photo of deposit slip (IMG_1299.jpeg)
                            Status: Read
                            Need 1K receipt
                  KT2046:   Photo of deposit slip (IMG_0280.jpeg)
                  KT2046:   Photo of deposit slip (IMG_1293.jpg)
                  KT2046:   Photo of deposit slip (IMG_1297.jpeg)

173     5/10/19   KT2046:        Don’t freak out on me. Jon used to do the ACH himself. I don’t know why       See Indictment ¶ 20      A, D, F, G,     SW_FIL_003268
                                 he’s handing them to a AP other than to set us up. Tell him I got screwed     (alleging coordination   H, I, J, K, N   37-
                                 on a btc deal. He needs to pay that invoice himself today again. I can’t do   by the Tews to decide                    SW_FIL_003268
                                 this anymore. We have to pay [L.W.] and my people                             how much to ask                          49
                                 are cashing out soon.                                                         Yioulos to send them


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Entry   Date   Statement(s)                                                                                     Additional Context         801            Source
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               KT2046:        Don’t tell him a story. Tell him to just pay the invoice again himself and we     and the Tews’ role in
                              will buy bitcoin split in 1/2. Ask if he can hold ours until it hits 10K.         making those requests)
               KT2046:        He can pay the invoice himself
               KT2046:        By the way I see you doing WAY MORE than $5K of work for [redacted].              Michael Tew was
               You                 convinced me it was a good opportunity because he would pay you              performing work for
               $15k a              month. Don’t come out here and yell at me.                                   cannabis companies at
               KT2046:        Who is [redacted[                                                                 this time.
               Kley(MT):      Yeah I am recutting my deal with them. Its totally a shitty deal. I have
                              discussed with Mike already. he just got back yesterday and he has the flu        See above, entry 86, for
                              for 9 days. I need to talk to him in person - this is not what I signed up for.   information about
                              And he knows it                                                                   L.W., PM,
               Kley(MT):      She’s the head accounting / sales / person at [cannabis company]                  PM@gmail.com and
               KT2046:        Heard that more than once. You’ll come back with some equity bs.                  the relevant paragraphs
               KT2046:        You will never take responsibility                                                of the Indictment.
               Kley(MT):      I need to find MORE jobs or more work somewhere
               Kley(MT):      asap                                                                              Bank records show a
               Kley(MT):      I’m working on that                                                               $600 transfer into the
               Kley(MT):      It takes tie                                                                      NFCU joint bank
               KT2046:        You’ve said that since June. Almost a year.                                       account x8486.
               KT2046:        Leave me alone. I’m working. stop texting.                                        [NAVY_0000065]
               Kley(MT):      Ummmm we had national at that time I had no time
               KT2046:        Stop
               KT2046:        You are costing me money
               KT2046:        I don’t need 70
               KT2046:        Get 1/2
               KT2046:        I need you to pull out $600 from my 4 debit cards and $600 from your 0816
                              card. And $500 from Simple. That’s $3,500.
               KT2046:        Deposit is at Bank of America
               KT2046:        When can you go
               KT2046:        Hello
               KT2046:        You are crazy. Our neighbors can hear you.
               MT7473:        2863 not working
               MT7473:        Have the rest of the money
               KT2046:        BofA- $3500 cash only
                              Business name: [redacted name]
                              Acct# [x]6873
                              Minnesota


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Entry   Date   Statement(s)                                                                                 Additional Context   801            Source
                                                                                                                                 Rationale(s)
                              "No refunds for bitcoins"
               KT2046:        Try your debit
               MT7473:        I might be able to get the 19k
               KT2046:        For the joint
               MT7473:        It’s under 20k
               MT7473:        Just if i say don’t ask any questions I need it and you’ll get your bitcoin
               MT7473:        It’s under 20k just send it and we’ll finalize al invoices Monday
               MT7473:        What do you think
               KT2046:        Did you get the $3,500
               MT7473:        Yes
               KT2046:        Is there a line?
               MT7473:        Moved 600 from 3494 into joint
               MT7473:        At the teller
               MT7473:        Photo of deposit slip (57919783239__B6089896-6A1C-42CC-BF05-
                              ADCFCB9C2219.jpeg)

                              [. . . .]

               KT2046:        Where are you
               KT2046:        I can’t reach you
               KT2046:        Tried you 100x
               KT2046:        Total: $2400
                              (1) Wells Fargo $1698 cash
                              Name: [redacted business name]
                              Account # [x]8158
                              Florida
                              (2) $702 cash
                              Name: [redacted business name]
                              Account # [x]3114
                              Florida
                              On each write:
                              "No refunds for bitcoins"
                              Got it?
               MT7473:        Just got here getting the cash
               MT7473:        Photo of Deposit slip (57921958813__14E31911-C945-461C-8893-
                              C003D3FB484C.jpeg)
               MT7473:        Photo of deposit slip (57921959376__36A74FC0-9AB6-4B4F-B68A-


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Entry   Date      Statement(s)                                                                                   Additional Context         801             Source
                                                                                                                                            Rationale(s)
                                 1AB7A878C76C.jpeg)
                  MT7473:        In car on way back

174     5/10/19   MT1312:        I need you to resend the original $39,780 Asap for Monday. This is for the      See above, entry 86, for   A, F, G, H, I   SW_FIL_003423
                                 ACTUAL [PM]. I know you are going to be pissed and angry, but no                information about          K               24
                                 fucking around. Too much risk associated with [PM] and he started asking        L.W., PM,
                                 a lot of questions because of that one $20K that hit his account directly. If   PM@gmail.com and
                                 you can resend that $39K today for Monday, we’ll finalize all of hte            the relevant paragraphs
                                 invoices on Monday and be done with this all. No loose ends. Just trust         of the Indictment.
                                 me - not worth discussing.
                  MT1312:        Ok - I can’t get him on the phone this very second, but I know that $40K        See entry 134 above,
                                 will do it, that was what we discussed. Here is what we will do - send to       reflecting discussions
                                 the SAME account, when he knows I have the funds I ‘ll get him to sign the      regarding $20,250
                                 NDA / non disparagement / release document and he will get his Money on         payment from PM that
                                 Monday once it hits my account.                                                 was directed to L.W.’s
                  MT1312:        Its the safest play.                                                            bank account at Access
                  MT1312:        I WILL talk to him today and resolve this. You have my word.                    Bank. NAC_00000308.
                  MT1312:        Teh rest of that other stuff is already done.
                  JY1709:        Send $40K to your account???
                  MT1312:        I promise you . I’m not going to touch it. Its to resolve this matter. I will
                                 send it directly to him. once ih ave hte docs signed. He’s not a shakedown
                                 artist, he just needs t one quieted.
                  MT1312:        I wouldn’t say unless I KNEW
                  JY1709:        40 fuckin thousand. Unreal
                  MT1312:        Everyone gets $ except us
                  MT1312:        Time to move on
                  MT1312:        Ha. And what about the BTC???
                  MT1312:        Like I was supposed to have that too but I see that’s not happening either
                  MT1312:        Whatever
                  MT1312:        Yes we’re sending that. As agreed. All of our agreements stand.
                  J.Y:           $40K is out.
                  JY1709:        $40K even
                  MT1312:        ok. I’ll take care of it with him, you have my WORD. Then we never have
                                 to deal with it AGAIN. guaranteed.
                  MT1312:        Enjoy the weekend ad have like 20 beers for me JY1709::          All good.
                  Have a               good weekend



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175     5/15/19   MT1312:        Can you send $19K - the last 19K - to close out [PM]                              See Indictment ¶ 20        A,C, E, F,       SW_FIL_003423
                                 situation. urgent or I wouldn’t ask.                                              (alleging coordination     G, H, I, K, J,   24
                  MT1312:        He’s holding me up and its not a good person to be on wrong side                  by the Tews to decide      N
                                 with. AND I can get you 2BTC asap. I know you don’t care, but you                 how much to ask
                                 will. Look where it’s headed.                                                     Yioulos to send them
                  JY1709:        Jesus Christ                                                                      and the Tews’ role in
                  MT1312:        Trust me I know. Just try not to think too much about it...I’m not. I’m           making those requests)
                                 just trying to protect the situation.
                  JY1709:        WERE ALMOST AT $1MM                                                               See above, entry 86, for
                  MT1312:        let’s talk about auditors and accounting tonight.                                 information about
                  MT1312:        After work                                                                        L.W., PM,
                  JY1709:        this is the 8th payment to PM in the past 30 days. Over $200K                     PM@gmail.com and
                  JY1709:        And I still don’t have a fucking piece of Btc. You’ve said this is the last one   the relevant paragraphs
                                 a million times                                                                   of the Indictment.
                  JY1709:        Youve given me your word a million times
                  MT1312:        I don’t have anytin neither. I know.                                              On May 16, 2019,
                  JY1709:        You’ve lied to me a million times                                                 $19,900 is sent via
                  MT1312:        I haven’t lied to you. I’ve told you what I promised.                             ACH to Navy Federal
                  JY1709:        So why would I trust you now??                                                    Credit Union Account
                  MT1312:        I’m not lying. I’m not                                                            x8486 for services
                  JY1709:        Hahahaha until next week                                                          purportedly rendered by
                  JY1709:        When you ask for more                                                             [PM] as fraudulently
                  JY1709:        and the week after                                                                documented in [PM]
                  JY1709:        And the week after                                                                7201 2019.05.13
                  JY1709:        Like if you have no BTC, how can you get me 2 ASAP? Makes zero sense.             (NAC_00000558)
                  JY1709:        Until you say, ooooo can you send it back???
                  MT1312:        No I mean I haven’t gotten anything out of all this - I’m not saying we           Bank record show that
                                 don’t ave it. And of course not going to ask for it back                          Michael and Kimberley
                  JY1709:        Well you have every other time. Look I know I don’t know what you’re              Tew received this
                                 dealing with, but this is fucking bullshit. You desperately needed $40K           payment directly into
                                 Friday, now $19K what’s to say you won’t need more ???????                        their joint account at
                  JY1709:        Seriously though???                                                               NFCU x8486.
                  JY1709:        i’m not stupid and I’m not greedy. This is not about any of that.                 [NAVY_00000067]
                  JY1709:        And if you have 2BTC to send ASAP, then why do you need $19K????
                  MT1312:        firstly [L.W.] doesn’t use BTC. he hates it. Secondly I don’t have the
                                 2BTC - Kimberley is going to get it for you. I wish I had 2 BTC!                  See Indictment ¶ 25
                  JY1709:        How tho?? How does that even make fucking sense???                                (alleging that Tews


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                  MT1312:        she has other investors, legitimate wealthy guys that are buying BTC          gave Yioulos bitcoin as
                                 through her right now. Its weird to explain but they are too old to use the   part of the fraud)
                                 exchanges.
                  MT1312:        Totally separate from any of this. NY people. Not my people, I don’t
                                 know any of them. Its her own thing.
                  MT1312:        She can get it.
                  MT1312:        I’m keeping her away from all this
                  JY1709:        ??????????
                  MT1312:        what does question mean sorry - we’re both smart people. In some ways
                                 you’re smarter than I am. We need to think about this analytically and put
                                 it behind us.
                  JY1709:        Why aren’t you answering?? Which account? This is the fucking last and I
                                 mean it, the fucking last time. I can’t do this anymore
                  JY1709:        Which PM account? The real one or yours?
                  MT1312:        AT&T is gone from my building! Its fucked up
                  MT1312:        Send to mine, nothing to him until I have his signature
                  MT1312:        Only FaceTime audiotapes
                  MT1312:        Audio
                  MT1312:        Like overnight - zero bars
                  MT1312:        Send like $19,650 and we’ll talk tonight to get the invoices straight. We
                                 have to hav the right PNL allocations
                  JY1709:        I just sent it..19,900
                  MT1312:        Perfect!!! What time are you free later.
                  JY1709:        Lets talk tomorrow morning if you can
                  JY1709:        Tonight I’m swamped
                  MT1312:        Yeah that’s no problem
                  MT1312:        Got. it

176     5/20/19   MT7473:        58008834271__63E3E49D-94D1-476D-B27B-A89F4C5D4B14.jpeg                        Bank records show a       A, G, H, K,    SW_FIL_003423
                                 37QcAzceV4SaCVd5YWXAiqDYMbGRGnX3Yw                                            $1,200 transfer from      N              23;
                  MT7473:        Call me all cards saying we are at limits                                     Michael Tew’s account
                  MT7473:        Have not tried the 9396 cars                                                  x3494 to Kimberley
                  MT7473:        Nothing!!!!                                                                   Tew.                                     SW_FIL_003269
                                 Ok                                                                            [NAVY_00000491.                          07-
                                 One sec                                                                                                                SW_FIL_003269
                                 Deposit $1,220 into that account                                              Bank records also show                   12
                  MT7473:        Ok I'm so sorry                                                               a transfer of money


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                                                                                                                              Rationale(s)
               MT7473:        Our cards are all jammed up                                          from an account in the
                              Is nothing coming in tomorrow                                        name of Kimberley
                              No                                                                   Tew’s father to the
               MT7473:        I have to pressure him in the am very hard                           NFCU joint account
                              Great                                                                x8486 and transfer from
               MT7473:        Have cash                                                            a checking account,
                                                                                                   followed by multiple
                              [. . . .]                                                            withdrawals at different
                                                                                                   ATMs.
               KT2046:        We are screwed                                                       [NAVY_00000081]
               KT2046:        Was planning on money tomorrow
               KT2046:        Unless we can get a PayPal                                           See Indictment ¶ 20
                                                                                                   (alleging coordination
               Kley(KT): 17Vmtxwpzq3P5DF4TDbNUdbD818rLMZhvu (QR Code                               by the Tews to decide
                         (IMG_2783.jpeg))                                                          how much to ask
               MT7473: Have cash headed to atm now                                                 Yioulos to send them
               Kley(KT): Let me know when you’re done there                                        and the Tews’ role in
               MT7473: Screenshot of btc atm (58002081783__2978C29C-8921-4CAD-A3EF-                making those requests)
                         87689FE223F8.jpeg) ($2,200 deposit into KBTEller.com)
               MT7473: Screenshot of btc atm (58002083092__CD51B77C-9AFF-4F16-B5FC-                See Indictment ¶¶ 23,
                         57A5BBE1721E.jpeg) ($2,200 deposit into KBTEller.com)                     32, 33
               MT7473: On way back
               Kley(KT): Bank of America- $2420 cash
                         Business: [redacted business name]
                         Account # [x]6832
                         Sacramento, California
                         Please write “no refunds for bitcoin purchase” on receipt and TEXT ME A
                         COPY of the receipt
                         Got it?
                         Status: Sent
               Kley(KT): It’s for $2,420
               MT1312: Ok
               Kley(KT): Shit it’s 3:30
               Kley(KT): Did you think of something for Jon
               MT1312: Funds are in joint account you can move them
               Kley(KT): Jon??
               Kley(KT): Nothing tomorrow


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                  MT1312:   photo of deposit slip (58007589604__D2F021F0-A806-456A-9770-
                            4C2451679744.jpeg)
                  Kley(KT): It’s in your 3464 account
                  MT7473: Forgot your moms pin
                  Kley(KT): [redacted pin]
                  MT7473: All set have cash

177     5/21/19   MT7473.:       Photo of PayPal transfer to [M.V.] (IMG_0253.jpeg)                  M.V. is Kimberley        A, C, G, H,    SW_FIL_003423
                  MT1312:        Working on it                                                       Tew’s mother             I, J, K, N     23
                  KT2046:        Maybe get his wife a gift
                                                                                                     Bank records show a                     SW_FIL_003269
                                 [ . . . .]                                                          $6000 ATM                               12-
                                                                                                     withdrawal from NFCU                    SW_FIL_003269
                  KT2046:        Deposit will be at Bank of America                                  joint account x8486                     23
                  KT2046:        It looks like you pulled $600 from all my cards except 2863         [NAVY_00000083
                  KT2046:        If you can withdraw $600 from joint with your card you can try to
                                 withdraw $300 from my 2863 card                                     See Indictment ¶¶ 23,
                  M.T.:          OK I have 3000                                                      32, 33
                  M.T.:          All set
                  KT2046:        Try to withdraw $300 from 2863                                      See Indictment ¶ 20
                  M.T.:          Ok got 3300                                                         (alleging coordination
                  KT2046:        1 sec                                                               by the Tews to decide
                  KT2046:        $3,300 cash BofA / Name: [redacted name] / Account #: [x] 3993 /    how much to ask
                                      Florida                                                        Yioulos to send them
                                                                                                     and the Tews’ role in
                                 [. . . .]                                                           making those requests)

                  Kley(KT):      CALL ME
                  Kley(KT):      REPLY
                  Kley(KT):      Don’t ignore me
                  Kley(KT):      I was talking and you hung up with
                  MT7473:        I’m trying to get Jon
                  Kley(KT):      I’m telling everyone you are holding the crypto
                  Kley(KT):      Try dealing with the pressure
                  MT7473:        Ok
                  Kley(KT):      That’s what you want
                  MT7473:        Ok


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Entry   Date      Statement(s)                                                               Additional Context        801            Source
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                  Kley(KT):      You are a liar
                  Kley(KT):      You said you were going to call Jon
                  Kley(KT):      Fuck Yoo!
                  MT7473:        No I didn’t
                  Kley(KT):      Stop!!
                  Kley(KT):      You’re looking at fish
                  Kley(KT):      You are useless
                  MT7473:        If I’m useless then why ask me to get money for you
                  Kley(KT):      You’re an idiot
                  Kley(KT):      All the money went to you
                  Kley(KT):      Don’t try to pin anything on me
                  Kley(KT):      You’re a selfish
                  Kley(KT):      Person
                  MT7473:        Only when we don’t have a ton of money does it come out
                  MT7473:        I’m not selfish at all
                  Kley(KT):      And you’re trying to sabotage Jon
                  Kley(KT):      Good going
                  Kley(KT):      He will never talk to you again
                  MT7473:        I’m not trying to sabotage it
                  Kley(KT):      You lied
                  Kley(KT):      You said you’d make it happen
                  MT7473:        I lied about what
                  MT7473:        I will
                  Kley(KT):      Can you ask Mike what is the best way to pay him back?
                  Kley(KT):      PayPal, cash deposit?
                  Kley(KT):      Deliver him cash
                  MT1312:        He says any of that is fine
                  MT1312:        He doesn’t care
                  Kley(KT):      If you get it from dumbo we will pay him sooner

                                 [. . . .]

                  Kley(KT): Sold another 1K. It’s in our joint account.

178     5/22/19   MT7473:        Ok                                                          Bank records show wire    A, D, F, G,    SW_FIL_003423
                  MT7473:        Getting receipts now                                        transfers of $5,000 and   K, N           24;
                  MT7473:        I have not spoken to Jon yet                                $5,500 out of the


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               MT7473:        58024086352__20A2A24C-87D3-4B24-BF37-5AE696BE52CA.jpeg               NFCU joint account                     SW_FIL_003423
               MT7473:        58024086786__47B4677C-4E2F-440C-9EDD-E172C06F3659.jpeg               x8486 and $600 ATM                     23
               MT7473:        The third btc confirmed                                              withdrawals.
               MT7473:        Send it here                                                         [NAVY_00000083]                        SW_FIL_003335
               MT7473:        1HPUnjhkTnLc38MyvkJkshBnGYWYnRCAD2                                                                          39
                                                                                                   Kraken is a
                              [ . . . .]                                                           cryptocurrency
                                                                                                   exchange on which
               Kley(KT):      We need to get another wire for Friday                               both Kimberley and
               Kley(KT):      I played last night on drugs and lost                                Michael Tew had                        SW_FIL_003268
               Kley(KT):      I need you to send 5K to [redacted business] and 5.5K to my Simple   accounts.                              99-
               MT7473:        You said you wouldn’t do that                                        KRKN_00000008;                         SW_FIL_003269
               MT7473:        I’ll send the wires                                                  KRKN_00000020.                         40
               MT7473:        You still want the ticket things?
               MT7473:        Am I sendinf 1:3 to wells ?                                          See above, entry 153,
               Kley(KT):      Can you come in and shut off my small iPad I need sleep              for background on
               Kley(KT):      Please send those two wires for me!!!                                Kimberley Tew’s
               Kley(KT):      Can you white out the address and send back to me                    Simple account
               MT7473:        yes                                                                  See Indictment ¶¶ 23,
               MT7473:        (Payment_Receipt May 22.pdf)                                         32, 33
               MT7473:        Got 600 from your 4 accounts plus my 3 plus 500 from console
               MT7473:        Simple
               Kley(KT):      4700
               Kley(KT):      Chase
               Kley(KT):      Deposit
               Kley(KT):      Chase
                              Total $4700
                              (1) $1715 cash
                              number: [x]7907
                              Name: [redacted business name]
                              Florida
                              (2) $2985 cash
                              [redacted business name]
                              Account: [x]6601
                              Miami, FL
                              Got it?
               Kley(KT):


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                      https://www.blockchain.com/btc/tx/99459f81060041bb0dcc08873816286d80e77b5
                  7ca25
                  7f2710171634a0eb833d
                  Kley(KT): Sent 2 BTC to Kraken
                  Kley(KT):
                      https://www.blockchain.com/btc/tx/0f4162824b610cbb8da40e934e8bd473c779fe54
                      1de2 724653d0880904050c62
                  Kley(KT): Sent you another coin
                  Kley(KT): 23400
                  MT7473: Ok - unbelievable!!! Nothing confirmed yet\
                  Kley(KT): It won’t confirm for a long time like 1-2 hours
                  MT7473: The first two confirmed
                  Kley(KT): Ok sell those 2 and wire out
                  MT7473: Will do
                  MT7473: Wire submitted. 3:05 pm
                  Kley(KT): Let me know when it all confirms

179     5/28/19   MT7473:        Photo of BTC ATM screen (58067022280__D8EB4E61-559F-48F1-B610-               Bank records show a        A, F, G, H,    SW_FIL_003269
                                 6CCA2AD8E73B.jpeg)                                                           $500 transfer from         K, N           54-
                  KT2046:        WF pin is 7559                                                               Michael Tew posting                       SW_FIL_003269
                  KT2046:        1NzRLX1w6Aykj4937N1AyknjJR6ABt9cti (QR Code for crypto wallet                on May 28, 2019 and a                     62
                                 (IMG_3364.jpeg))                                                             transfer of $900 to an
                  MT7473:        Have cash headed to atm                                                      account in the name of
                  MT7473:        Photo of BTC ATM screen (58061564030__16CB2A56-60D9-4E04-8FF5-               Kimberley’s father
                                 1B50B989453A.jpeg)                                                           [NAVY_00000085]
                  KT2046:        I need more btc. But as much as you can and same address. I already have a
                                 buy lined up.                                                                See above, entry 11, for
                  KT2046:        Please do that before you come back                                          information about C.R.,
                  KT2046:        Hello?                                                                       CR@gmail.com, and
                  MT7473:        Did I read you need me to go back?                                           5530JD and the
                  MT7473:        Sorry my timeline is all mixed up                                            relevant paragraphs of
                  KT2046:        Yes                                                                          the Indictment.
                  KT2046:        You can do $500?
                  MT7473:        We have $500 in cash a couple hundred in teh bank and I have $200 from       See Indictment ¶¶ 23,
                                 yesterday so that leaves us $400 in spending money                           32, 33
                  KT2046:        Can you deposit it all. I will cash out.
                  MT7473:        i can deposit another $900 that leaves us $100


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                  KT2046:        Ok
                  MT7473:        I trust you
                  KT2046:        I’ll get money from someone
                  KT2046:        To sell
                  MT7473:        You have a buyer already anyway right
                  KT2046:        He’s on standby
                  KT2046:        I need to get more btc
                  KT2046:        Can you confirm now how much Jon is sending to arrive wed
                  KT2046:        I need btc
                  KT2046:        [C.R.] is crazy

180     5/28/19   KT2046:        Is it possible nothing is coming tomorrow                            On May 29, 2019,          A, F, G, K,    SW_FIL_003329
                  MT7473:        $11,110 coming tomorrow.                                             $11,150 is sent via       N              95
                  KT2046:        And the rest?!?!                                                     ACH to Navy Federal
                  KT2046:        When                                                                 Credit Union Account
                  MT7473:        Can’t do anything until June which is next week                      x8486 for services
                  MT7473:        May 31 is Friday. So we have 11,110 tomorrow, 3K from apple coming   purportedly rendered by
                                 back and $5K from [redacted] Friday                                  [PM] as fraudulently
                                                                                                      documented in [PM]
                                                                                                      7263 2019.05.30
                                                                                                      (NAC_00000559)

                                                                                                      Bank record show that
                                                                                                      Michael and Kimberley
                                                                                                      Tew received this
                                                                                                      payment directly into
                                                                                                      their joint account at
                                                                                                      NFCU x8486.

                                                                                                      See Indictment ¶¶ 23,
                                                                                                      32, 33




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 Entry      Date     Statement(s)                                                                           Additional Context         801            Source
                                                                                                                                       Rationale(s)
 181        6/3/19   JY1709:        Well?                                                                   On June 4, 2019,           A, F, G, K,    SW_FIL_003423
                     MT1312         Yes let’s do it!                                                        $53,500 is sent via        L              24
                                    Sorry!!!                                                                ACH to Navy Federal
                                    Thank you                                                               Credit Union Account
                                    Can we do 53500                                                         x8486 for services
                     MT1312         Lot of family around right now sorry                                    purportedly rendered by
                     JY1709:        Yes.                                                                    [PM] as fraudulently
                     MT1312         We’re on for what we diffused                                           documented in [PM]
                     MT1312         Discussed                                                               7312 2019.06.14
                     JY1709:        Ok great                                                                (NAC_00000560), as
                     JY1709:        It’s done ✅                                                             alleged in Count 40 of
                                                                                                            the Indictment

                                                                                                            Bank record show that
                                                                                                            Michael and Kimberley
                                                                                                            Tew received this
                                                                                                            payment directly into
                                                                                                            their joint account at
                                                                                                            NFCU x8486.

                                                                                                            See Indictment ¶ 20
                                                                                                            (alleging coordination
                                                                                                            by the Tews to decide
                                                                                                            how much to ask
                                                                                                            Yioulos to send them
                                                                                                            and the Tews’ role in
                                                                                                            making those requests)

 182        6/3/19   KT2046:   If we want to survive I need the money from [redacted] in Simple by 10       Bank record show ta        A, G, K, N     SW_FIL_003269
                               and something large from Jon to hit tomorrow.                                $1,000 transfer to an                     90-
                     KT2046:   [Redacted{ has not send the funds and it’s 11:24 in NY. Like what is there   account in the name of                    SW_FIL_003269
                               problem? Do they have $? Maybe you should ask to be paid 3 months at a       Kimberley Tew’s father                    92
                               time because it’s like this monthly.                                         and then a transfer of
                     Kley(MT): Ok. I’ll ask                                                                 $1070.46 ithe account
                     KT2046:   You can pay rent in advance or keep the $                                    of Kimberley’s father to

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                                                                                                                                       Rationale(s)
                 KT2046:        If they send 3 months                                                       an associate of
                 KT2046:        Can you withdraw 1000 from our accounts and 200 from WF and go to atm       Kimberley Tew’s.
                 KT2046:        1KwCXUjaLmgkXWNHoNViHpgk45AnbtKaxp (QR code for crypto
                                wallet (IMG_3775.jpeg))                                                     The reference to NY is
                 KT2046:        I sold $1,300                                                               a reference to NAC,
                                                                                                            where it had offices and
                                                                                                            where J.Y. was
                                                                                                            working.

                                                                                                            See Indictment ¶ 20
                                                                                                            (alleging coordination
                                                                                                            by the Tews to decide
                                                                                                            how much to ask
                                                                                                            Yioulos to send them
                                                                                                            and the Tews’ role in
                                                                                                            making those requests)

                                                                                                            See Indictment ¶¶ 23,
                                                                                                            32, 33

183     6/4/19   On June 4, 2019 J.Y. used his business email account to send to NAC employees              See above, entry 41, for   A, K, L        NAC_E_66234;
                 invoices for [5530 JD], and [MCG], among others, writing “See attached for support for     information about                         NAC_E_66239-
                 J/E [journal entry] selections. Let me know if you need anything else or need me to walk   MCG, MM,                                  NAC_E_66246
                 through anything with you.”                                                                MCG@gmail.com and
                                                                                                            the relevant paragraphs
                                                                                                            of the Indictment.

                                                                                                            See above, entry 11, for
                                                                                                            information about C.R.,
                                                                                                            CR@gmail.com, and
                                                                                                            5530JD and the
                                                                                                            relevant paragraphs of
                                                                                                            the Indictment.

                                                                                                            See Indictment ¶¶11,
                                                                                                            12, 13


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Entry   Date     Statement(s)                                                                                Additional Context         801            Source
                                                                                                                                        Rationale(s)
184     6/7/19   MT7473:        Photo of deposit slip (58161632358__8C734A17-CB41-4CB5-A0AF-                 See above, entry 54, for   A, G, K, N     SW_FIL_003330
                                99A6DFF8D309.jpeg)                                                           information about Sand                    12
                 MT7473:        Photo of deposit slip (58161632967__D19D6305-EDEB-4FEF-BD41-                 Hill LLC and its use by
                                66B6929C2212.jpeg)                                                           Michael Tew as a
                                                                                                             vehicle to collect                        SW_FIL_003270
                         [. . . .]                                                                           scheme proceeds and                       03-
                                                                                                             the relevant paragraphs                   SW_FIL_003270
                 KT2046:        Can you go to your sent emails on Sandhillrp.com and look for a few I sent   of the Indictment.                        06;
                                to myself at kley@me.com re [redacted] and forward to                                                                  SW_FIL_003270
                                vtleycap@gmail.com                                                           Michael Tew used the                      12
                                                                                                             email address
                         [. . . .]                                                                           mtew@sandhillrp.com.
                                                                                                             Kimberley used the
                 KT2046:        Can you deposit that $4,200 for me at Chase?                                 kley@me.com address.
                 MT7473:        Ok
                 MT7473:        Vegas?
                 KT2046:        It’s Friday                                                                  Records show that
                                                                                                             Kimberley Vertanen
                                [. . . .]                                                                    (Kimberley Tew’s
                                                                                                             maiden name) had an
                 KT2046:        (1) $4,000.00                                                                account with ATT
                                **Chase bank**                                                               ending x2697
                                [redacted business name                                                      associated with
                                Checking [x]2133                                                             telephone number
                                Florida                                                                      917446-20146
                                (2) $200.00                                                                  (ORD_00019223)
                                Business: [Redacted]
                                Account # [x]2752                                                            Indictment ¶ 34
                                Address: [Redacted]                                                          (describing use of fraud
                                On each please write:                                                        proceeds in Las Vegas)
                                "No refunds for bitcoins"
                                Got it?
                 MT7473:        Ok
                                Looking they open at 10 I’m jus going to call
                 KT2046:        Can you go deposit these
                 MT7473:        On way to chase
                 KT2046:        My phone was shut off


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Entry   Date      Statement(s)                                                                                  Additional Context         801            Source
                                                                                                                                           Rationale(s)
                  KT2046:        And I need the code sent from Simple to 7473
                  MT7473:        I’m so sorry
                                 I will go pay
                  KT2046:        Photo of account balances (IMG_3958.jpeg) (photo of account at ATT
                                 ending x2697 showing a negative balance of $368.43

185     6/10/19   KT2046:        Don’t freak out. I have thought about this. I didn’t lose it all. We need to   On June 11, 2019           A, F, G, H,    SW_FIL_003330
                                 get an ACH today.                                                              $28,000 is sent via        I, K, N        20
                                 [redacted] is all over me to see his account. Offer J 3 BTC. I have to go to   ACH to Navy Federal
                                 Vegas.                                                                         Credit Union Account
                  MT7473:        We never sent him anything and I haven’t spoken to hombre                      x8486 for services                        SW_FIL_003270
                  MT7473:        Him                                                                            purportedly rendered by                   20-
                  MT7473:        He’s not going to trust me                                                     [PM] as fraudulently                      SW_FIL_003270
                  KT2046:        Stop with the negativity                                                       documented in [PM]                        25
                  KT2046:        Please                                                                         7312 2019.06.14
                  KT2046:        I need at least 30 to hit tomorrow                                             (NAC_00000560). That
                  KT2046:        I have a plan                                                                  same day Kimberley
                  MT7473:        Can we send him half a btc today? He sent us money to buy for him. If we       Tew withdrew $15,000
                                 can send him something I can tell him we need the rest for him                 as alleged in Count 43
                  MT7473:        And we got robbed                                                              of the Indictment
                  KT2046:        No he’ll say don’t worry
                  KT2046:        And no we can’t                                                                Bank record show that
                  KT2046:        It takes 18 days to receive on Coinbase                                        Michael and Kimberley
                  MT7473:        Then in need a new story                                                       Tew received this
                  KT2046:        My instant buy with debit is $50 week                                          payment directly into
                  KT2046:        He will say just use his btc                                                   their joint account at
                  KT2046:        Photo of available balance (IMG_4218.jpeg)(photo of balance of $9.27)          NFCU x8486.
                  KT2046:        Photo of available balance (cb.jpeg)
                  KT2046:        Photo of available balance (Img_4223.jpeg)
                  KT2046:        Photo of available balance (FullSizeRender.jpeg)                               See Indictment ¶ 34
                  KT2046:        Screenshot of coinbase (Image-1.jpeg)                                          (describing use of fraud
                  KT2046:        Can you do a cash deposit for me at Bank of America? You can transfer          proceeds in Las Vegas)
                                 funds to withdraw from your 3 debit cards: $600, $600 and $200 and take        See Indictment ¶¶ 23,
                                 out $400 with my Simple card.                                                  32, 33




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Entry   Date      Statement(s)                                                                                  Additional Context         801            Source
                                                                                                                                           Rationale(s)
186     6/12/19   MT1312:        What are the Chances you can send something small for tomorrow 9900.           See Indictment ¶ 21        A, E, F, G,    SW_FIL_003423
                                 Need it for something important. I know it’s deadline and I can’t talk I’m     (describing how            K, L           24
                                 with the kids in a class. Trust me I Know. Just need to know yay or nay.       Yioulos would provide
                                 Thank you.                                                                     information about
                  JY1709:        Can’t do it                                                                    NAC’s finances to
                  JY1709:        I have no money. We might not make payroll                                     facilitate when
                  JY1709:        Would if I could
                                                                                                                fraudulent payments
                  MT1312:        Literally omg
                                                                                                                could be made)
                  MT1312:        Fuck ok
                  MT1312:        Payroll is Friday?                                                             On June 11, 2019
                  JY1709:        Some draws tomorrow, some Friday                                               $28,000 is sent via
                  JY1709:        Dude I just sent $28K. Fuck                                                    ACH to Navy Federal
                  MT1312:        I know I know. I have an emergency. I can’t explain.                           Credit Union Account
                  JY1709:        Well I can’t send it I’m sorry                                                 x8486 for services
                  JY1709:        Literally nothing I can do                                                     purportedly rendered by
                  JY1709:        You know I would if I could                                                    [PM] as fraudulently
                  MT1312:        Can you squeeze 7                                                              documented in [PM]
                  JY1709:        I can’t                                                                        7312 2019.06.14
                  JY1709:        I can’t send any money out                                                     (NAC_00000560), as
                  JY1709:        I really can’t do it                                                           alleged in Count 43 of
                  JY1709:        It’ll look awful                                                               the Indictment
                  JY1709:        Too many eyes at this point
                  MT1312:        Is someone going to see it?
                  JY1709:        They see all the cash sheet items. I can’t do it. I’m sorry. I just sent out   On June 14, 2019,
                                 $28K and $218K before that. I can’t help you on this one. I’m sorry            $9,500 is sent via ACH
                  MT1312:        Even like 7?                                                                   to Navy Federal Credit
                  JY1709:        Even like 7                                                                    Union Account x8486
                  JY1709:        I’m super jammed up                                                            for services purportedly
                  MT1312:        Copy.                                                                          rendered by [PM] as
                  JY1709:        If something drastically changes tomorrow, maybe I could send one              fraudulently
                                 tomorrow for Friday, but this week is legit impossible to send more. That’s    documented in [PM]
                                 why I sent a large one Monday to finish this shit                              7312 2019.06.14
                  MT1312:        Sorry [. . . ] just up for air. understood. Working on it my end.              (NAC_00000560)

                                                                                                                Bank record show that
                                                                                                                Michael and Kimberley
                                                                                                                Tew received this

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Entry   Date      Statement(s)                                                                                   Additional Context          801            Source
                                                                                                                                             Rationale(s)
                                                                                                                 payment directly into
                                                                                                                 their joint account at
                                                                                                                 NFCU x8486.


187     6/12/19   KT2046:        Really need your help to make sure we have $ tomorrow                           The reference to “he” is    A, F, G, K,    SW_FIL_003330
                  KT2046:        It’s important                                                                  a reference to J.Y. The     N              22-
                  KT2046:        Please respond                                                                  reference to bouncing                      SW_FIL_003330
                  KT2046:        Where are you                                                                   payroll is a reference to                  23
                  KT2046:        This is important                                                               concerns that sending
                  KT2046:        If it doesn’t hit tomorrow I am going to blow up                                money to the Tews will
                  KT2046:        Fuck                                                                            call NAC to miss its                       SW_FIL_003270
                  KT2046:        When can he                                                                     payroll. See entry 186                     32-
                  KT2046:        If he can’t tomorrow when can he this week or something big                     above.                                     SW_FIL_003270
                  KT2046:        Can he send 7 for tomorrow                                                                                                 36;
                  KT2046:        We need something                                                               See Indictment ¶ 21                        SW_FIL_003270
                  KT2046:        Tell him to think if something for tomorrow                                     (describing how                            38
                  Kley(MT):      He says they may bounce payroll                                                 Yioulos would provide
                  MT7473:        I’ll have to ask [redacted] for a wire for tomorrow and we’ll have to hit Jon   information about
                                 up after                                                                        NAC’s finances to
                  MT7473:        That’s my option                                                                facilitate when
                  KT2046:        Ask when he can                                                                 fraudulent payments
                  KT2046:        Ask if he can squeeze 7 out                                                     could be made)
                  MT7473:        I did. He said everyone will see it and on top of the 28 he jus sent it’s too   See Indictment ¶ 20
                                 big a deal with them not making payroll                                         (alleging coordination
                  KT2046:        What could drastically change tomorrow                                          by the Tews to decide
                  KT2046:        I got a loan from [redacted]                                                    how much to ask
                  KT2046:        When are you leaving                                                            Yioulos to send them
                  KT2046:        Can you do a cash deposit                                                       and the Tews’ role in
                  MT7473:        I can leave soon                                                                making those requests)
                                                                                                                 .
188     6/13/19   MT1312:        Got a late start.                                                               On June 14, 2019,           A, F, G, H,    SW_FIL_003423
                                 Need you to pull off a miracle for me today. Need to know if anything has       $9,500 is sent via ACH      K              24
                                 changed or improved overnight. Just taking the kids to school now.              to Navy Federal Credit
                  JY1709:        I really don’t think I can. As of now we don’t have enough for payroll and      Union Account x8486
                                 are hoping more cash comes in from Dubai soon                                   for services purportedly
                                                                                                                 rendered by [PM] as


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Entry   Date      Statement(s)                                                                                  Additional Context        801            Source
                                                                                                                                          Rationale(s)
                  JY1709:        FYI. Got payroll covered. Not much left. Still sent $9,500. Please don’t ask   fraudulently
                                 me ever again. This is the last one man                                        documented in [PM]
                                                                                                                7312 2019.06.14
                                                                                                                (NAC_00000560)

                                                                                                                Bank record show that
                                                                                                                Michael and Kimberley
                                                                                                                Tew received this
                                                                                                                payment directly into
                                                                                                                their joint account at
                                                                                                                NFCU x8486.

                                                                                                                See Indictment ¶ 20
                                                                                                                (alleging coordination
                                                                                                                by the Tews to decide
                                                                                                                how much to ask
                                                                                                                Yioulos to send them
                                                                                                                and the Tews’ role in
                                                                                                                making those requests)
                                                                                                                See Indictment ¶ 21
                                                                                                                (describing how
                                                                                                                Yioulos would provide
                                                                                                                information about
                                                                                                                NAC’s finances to
                                                                                                                facilitate when
                                                                                                                fraudulent payments
                                                                                                                could be made)

189     6/13/19   MT7473:        I’ll go to Wells Fargo right norm                                              See Indictment ¶ 18       A, F, G, H,    SW_FIL_003270
                  KT2046:        Don’t                                                                          (alleging coordination    K, N           40-
                  KT2046:        I need it in there                                                             between Michael and                      SW_FIL_003270
                  KT2046:        You need to be texting Jon tonight to make sure you can get something for      Yioulos on how to                        52
                                 Friday.                                                                        provide more specific
                  KT2046:        Significant.                                                                   descriptions of falsely
                  KT2046:        You never answered what could happen tomorrow. He said something
                                 about tomorrow.


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Entry   Date   Statement(s)                                                               Additional Context        801            Source
                                                                                                                    Rationale(s)
                                                                                          claimed services on
                              [. . . .]                                                   fraudulent invoices)

               MT7473:        But I need to actually do it                                See Indictment ¶¶ 23,
               MT7473:        It’s 930 in New York                                        32, 33
               KT2046:        Sending an email won’t do shit
               MT7473:        Jon won’t text me st night                                  The reference to a time
               KT2046:        You work for people you have to beg                         in New York is a
                                                                                          reference to Jon’s
                              [ . . . .]                                                  workplace at NAC”s
                                                                                          offices in New YOrk
               Kley(MT): Jon sent 9500
                         [redacted]
               KT2046:   Need [redacted] today
               KT2046:   Jon is tomorrow?
               KT2046:   It’s almost 2pm Eastern
               KT2046:   Are you getting the 7.5 today
               KT2046:   When
               KT2046:   When
               Kley(MT): $7,000 sent
               MT7473: At atm
               KT2046:   ATM access code photo (IMG_4368.jpeg)
               KT2046:   Pin 7559
               KT2046:   Withdraw $300
               MT7473: Get another access code we’ll try again
               MT7473: It didn’t work
               KT2046:   37189108
               MT7473: Photo of btc atm (58215958112__9B56DEFB-66B9-4AAD-A622-
                         680DB5816453.jpeg)
               MT7473: Second time this happened
               KT2046:   Lovely
               MT7473: What do you want yo do
               KT2046:   Get the $500
               MT7473: Ok already have it
               MT7473: Going to atm
               MT7473: I can deposit that 100 and see if it works st the btc atm
               MT7473: That’s 600


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Entry   Date      Statement(s)                                                                               Additional Context       801            Source
                                                                                                                                      Rationale(s)
                  KT2046:        Ok
                  MT7473:        Are you mad at me
                  KT2046:        I’m mad at myself
                  KT2046:        1FgESzGtRdjnWYSxsRYAYrB65S2L8rAb7e
                  MT7473:        Photo of BTC ATM receipt (58216077242__C66807EE-0022-4CE0-873C-
                                 59E420FF471A.jpeg)

190     6/18/19   MT7473:        Jon is negative in the account he can’t send anything literally today. He   See Indictment ¶ 20      A, D, F, H,    SW_FIL_003270
                                 said everyone is watching everything. I think he can send tomorrow. He’s    (alleging coordination   K, N           62-
                                 on his way back to office to check on everything. He freaked out on me at   by the Tews to decide                   SW_FIL_003270
                                 first and then calmed down. Maybe I can convince him to send something      how much to ask                         66;
                                 small today and the rest tomorrow. I’m working on it I promise you.         Yioulos to send them                    SW_FIL_003270
                  KT2046:        Fuck                                                                        and the Tews’ role in                   68
                  MT7473:        I know                                                                      making those requests)
                  MT7473:        I’m working him I promise you                                               See Indictment ¶ 21
                  KT2046:        The longer the more                                                         (describing how
                  MT7473:        Maybe he can send something small today. I bet you he can.                  Yioulos would provide
                  KT2046:        You said you guarantee [L.W.] was sending yesterday                         information about
                  MT7473:        You still have some from overnight right?                                   NAC’s finances to
                  MT7473:        Mike doesn’t get paid back then                                             facilitate when
                  KT2046:        I’m paying people                                                           fraudulent payments
                  MT7473:        You’re guys get paid first.                                                 could be made)
                  MT7473:        So knock off 3k
                  KT2046:        You don’t understand
                  MT7473:        Ok I’ll ask mike to send more money
                  MT7473:        Today
                  KT2046:        No you don’t understand
                  KT2046:        You’re late with Jon because you were scared
                  KT2046:        You said [L.W.] was definitely sending
                  KT2046:        I’m working
                  MT7473:        I thought he would

191     6/23/19   MT7473:        Information from CoinMe (Image-1.jpeg)                                      See Indictment ¶¶ 23,    A, G, K, N     SW_FIL_003330
                  MT7473:        https://www.coinmewallet.com/kyc                                            32, 33                                  31

                                 [. . . .]                                                                                                           SW_FIL_003270
                                                                                                                                                     75-


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Entry   Date      Statement(s)                                                                               Additional Context       801            Source
                                                                                                                                      Rationale(s)
                                                                                                                                                     SW_FIL_003270
                  MT7473:        Information from CoinMe (Image-1.jpeg)                                                                              77
                  MT7473:        https://www.coinmewallet.com/kyc
                  KT2046:        Can you stop not at the Dino gas station we usually go to but somewhere
                                 else and buy these for me? The quantities are in white. (Photo of lottery
                                 tickets (IMG_4778.jpeg))
                  KT2046:        QR code for crypto wallet (IMG_4779.jpeg)
                  Kley(MT):      Ok so 1200 and pick up lotto tic right
                  KT2046:        Please
                  Kley(MT):      Ok
                                 [. . . .]
                  Kley(MT):      No dollar doubler and win again and again
                  KT2046:        Ok
                  KT2046:        Did you do atm again
                  KT2046:        Yet
                  Kley(MT):      Yes
                  Kley(MT):      Sent you receipt

192     6/24/19   MT7473:        Photo of BTC atm screen (58304145063__F921EBAE-3C56-4F73-A8E2-              The Tews here are        A, D, F, G,    SW_FIL_003330
                                 5BAD2CC250BD.jpeg)                                                          discussing the           H, I, K, N     31
                  MT7473:        Photo of BTC atm screen ( 58304146240__0F532FC0-D53D-4E00-A5F5-             difficulties of being
                                 D359101CDB75.jpeg)                                                          paid reliably for this                  SW_FIL_003270
                  MT7473:        Pls send address                                                            work and their                          78-
                                                                                                             perceived need to                       SW_FIL_003270
                          [. . . .]                                                                          receive fraud proceeds                  83;
                                                                                                             from “Jon” at NAC.                      SW_FIL_000032
                  KT2046:        QR code for crypto wallet (IMG_4905.jpeg)                                                                           7084-
                  MT7473:        I’m taking the funds for the car payment also                               See Indictment ¶¶ 23,                   SW_FIL_003270
                  KT2046:         No                                                                         32, 33                                  94
                  KT2046:        Don’t
                  KT2046:        I’m telling you do not                                                      See above, entry 153,
                  MT7473:        Ok                                                                          for background on
                  MT7473:        Ok I have 1560                                                              Kimberley Tew’s
                  MT7473:        Going to btc atm                                                            Simple account
                  MT7473:        They’re closed I have no idea why
                                 I have to go go ytq
                  MT7473:        Going there now


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Entry   Date   Statement(s)                                                                                Additional Context   801            Source
                                                                                                                                Rationale(s)
               MT7473:        20 mins
               KT2046:        Do you want to use my Simple card to book your trip
               KT2046:        Is [redacted] sending the money there?
               KT2046:        When are we getting the BTC from Coinme
               KT2046:        Hello?
               KT2046:        Do you have cash
               KT2046:        Because the other day I had $1,480
               KT2046:        You purchased $1,200
               KT2046:        Bought some scratch tickets
               MT7473:        I have two hundred bucks I think

                              [ . . . .]


               KT2046:        I’m going to the bank
               KT2046:        Like you’re not even responding
               KT2046:        I don’t know what’s going on
               KT2046:        WHAT is your plan
               KT2046:        Still no fucking bitcoin from the atm
               KT2046:        Are you planning to leave
               KT2046:        Why won’t you text me
               MT7473:        [. . . .]
                              They said between 2-3 pacific I think for the second round. That’s another
                              hour or so
                              You have the 5k in simple right?
               KT2046:        I purchased btc
               MT7473:        I’ll call again
               MT7473:        Ok I’ll coin me again
               KT2046:        And what happens if it’s not there
               KT2046:        At 4
               MT7473:        It will be there
               KT2046:        Are you planning on flying out tonight
               MT7473:        Yes
               KT2046:        We are not on the same page
               MT7473:        You have 45k coming this week
               KT2046:        This is so stressful
               MT7473:        5k from [redacted] hit today


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               MT7473:        Plus we’ll have that 4500 today
               MT7473:        That’s 9500
               KT2046:        I have to work!!!!!!!!
               MT7473:        So work
               KT2046:        Why do you insist on working for losers
               KT2046:        Why don’t you ever think about your family
               MT7473:        Ok can we send [redacted] back the 1900
               MT7473:        I’m not working for losers
               MT7473:        I’m working yo make money we need
               KT2046:        You’ve been working for free
               KT2046:        Tell me what is the plan with [redacted]
               KT2046:        And stop telling me shit is coming in maybe tomorrow
               KT2046:        I heard the 3 day plan last week
               KT2046:        What is confirmed
               KT2046:        With [redacted] and Jon
               MT7473:        [redacted] 7500 on the 1st and every month for 6 month trial for manifest.
                              Jon said he would send 15k per day starting tomorrow OR he said he would
                              try to squeak something today but unlikely. I will call him now to see if he
                              has any additional updates. He said if he can send 20k he will send larger
                              amounts sooner. He knows he has no choice.
                              He agreed to do it. He will send and you will have.
               MT7473:        Coinme says they are pushing all day now and latest 4 pm is the final batch.
               MT7473:        They said just keep watching the wallets which i am doing
               KT2046:        I need it now
               KT2046:        This [redacted] thing is fucking mr Jon
               KT2046:        And not having btc
               KT2046:        I nddd it now
               MT7473:        I’ll call again
               MT7473:        I’m going to ask them to prioritize it
               KT2046:        Two days ago
               KT2046:        I need it now
               KT2046:        How the fuck am I supposed to work
               MT7473:        It’s going to take another hour they told me
                              I need to get more money
               MT7473:        They can’t priories
               KT2046:        19VWGzKQdYy4cbVLUsDGbtvz9gaBY3Z35T



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                  MT7473:        sent

193     6/25/19   MT7473:        QR code (IMG_4967.PNG)                                                  Bank account records     A, G, H, K,    SW_FIL_003330
                  KT2046:        Where are you                                                           show a $500 transfer     N              32-
                  MT7473:        Vaper                                                                   into an account for                     SW_FIL_003330
                  MT7473:        Buying now                                                              Sand HIll at Wells                      34;
                  MT7473:        Didn't see your call                                                    Fargo bank ending                       SW_FIL_003330
                  MT7473:        There's bad signal her                                                  x6934 on which                          41
                  MT7473:        Photo of BTC ATM screen (58311461502__A9D23FA6-1177-4E1B-               Michael Tew was the
                                 A281-24CAADEA8347.jpeg)                                                 sole signatory.
                  MT7473:        Photo of BTC ATM screen (58311462578__62DDB27B-CCB3-402C-               [WFB_00000714]
                                 B169-3C662FDBEE92.jpeg)
                  MT7473:        Boarding now |                                                          “3464 NF account” is a
                                 [ . . . .]                                                              reference ot Michael
                                 I will not let you down I promise you                                   Tew’s bank account at
                                 I’m exhausted                                                           NFCU on which he was
                                 I tried to get the cash but it already pulled the Audi                  the sole signatury.
                                 Apparently we’re only negative 110 now in the joint account even with   Records show a $500
                                 Audi                                                                    depost posted on that
                                 We might be ok with only 100 overdraft for a day                        account tiva Zelle on
                                 Text you when I land it will be about 4 for you                         6/26/19.
                                                                                                         [NAVY_00000501]
                                 [. . . .]
                                                                                                         Records show a $500
                  KT2046:        I transferred $500 to your WF account and you should be receiving       depost posted on the
                                 $500 via Zelle to your 3464 NF account.                                 Tews’ Joint NFCU
                  MT7473:        Jon sent 15k                                                            account x8486 Zelle on
                  MT7473:        Thank you                                                               6/26/19.
                                 Hitting Starbucks now                                                   [NAVY_00000107]
                                 Then one more meeting
                                 Then to airport                                                         See Indictment ¶¶ 23,
                  KT2046:        $1,500 coming into our joint account                                    32, 33


194     6/26/19   MT7473:        Jon wanted to know if he was still getting his btc                      See Indictment ¶ 20      A, G, K, N     SW_FIL_003330
                                                                                                         (alleging coordination                  49-
                                 [ . . . .]                                                              by the Tews to decide


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                                                                                                             how much to ask                           SW_FIL_003330
               MT7473:        I have to cancel this trip tomorrow                                            Yioulos to send them                      52
               KT2046:        Why                                                                            and the Tews’ role in
               KT2046:        I said go                                                                      making those requests)
               MT7473:        I can’t leave you with all of the money in teh account and the girls driving   See Indictment ¶ 21
                              you crazy all day                                                              (describing how
               MT7473:        And jon’s not going to have more money to send Thursday to Friday              Yioulos would provide                     SW_FIL_003270
               MT7473:        They’re going to be overdrawn on a payroll day                                 information about                         95-
               KT2046:        You already booked the ticket or it was already booked                         NAC’s finances to                         SW_FIL_003270
               MT7473:        Yeah [redacted] booked it so what they can eat it                              facilitate when                           98;
               KT2046:        You said he’s sending 30                                                                                                 SW_FIL_003271
                                                                                                             fraudulent payments
               MT7473:        Yes that’s what he said $30K to arrive tomorr                                                                            00-
                                                                                                             could be made)
               MT7473:        i’m on hold with the bank getting an answer on the wire                                                                  SW_FIL_003271
               MT7473:        it never takes this long                                                       See Indictment ¶ 25                       11;
                                                                                                             (alleging that Tews                       SW_FIL_003271
                              [. . . .]                                                                                                                12-
                                                                                                             gave Yioulos bitcoin as
                                                                                                                                                       SW_FIL_003271
                                                                                                             part of the fraud)                        13
               MT7473:   Still on hold waiting for someone that can answer my questiopn                      See Indictment ¶¶ 23,
               KT2046:   Don’t bring up my wire                                                              32, 33
               MT7473:   I won’t I promise. I sent it from my 5336 account and that’s the account
                         they are looking at                                                                 On June 27, 2019
               Kley(MT): My phone is charging I’m on this phone                                              $30,000 is sent via
                                                                                                             ACH to Wells Fargo
                                                                                                             Bank Account x6934
                              [. . . .]                                                                      for services purportedly
                                                                                                             rendered by [PM] as
               Kley(MT): The guy just got back on - he’s still waiting for someone from the wire             fraudulently
               department to get on with us, that means something is backed up there                         documented in [PM]
               Kley(MT): I’m still waiting                                                                   7322 2019.06.27
               Kley(MT): Text me a photo of your joint NFCU card and the CFC                                 (NAC_00000976)
               Kley(MT): Ccv
               Kley(MT): Need it to download app                                                             The reference to a
               Kley(MT): its [redacted]                                                                      “WF” account is a
               Kley(MT): Need your debit card number                                                         reference to Michael
               Kley(MT): To our joint account                                                                Tew’s account in the
               Kley(MT): And the security code


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               Kley(MT):      [x] 0058                                                       name of Sand Hill at
               Kley(MT):      [redacted – security code]                                     Wells Fargo Bank.
               Kley(MT):      Exp
               Kley(MT):      Don’t be rude to rep                                           The reference to the
               Kley(MT):      03/22                                                          x5336 account is a
               Kley(MT):      I’m not hes like a nice old maj                                reference to an account
               Kley(MT):      He’s being helpful                                             at NFCU on which
               Kley(MT):      I’m still on hold. [. . .]                                     Michael Tew was the
               MT7473:        Call Jon there’s a security hold on our account call him now   sole signatory.
               MT7473:        Just call him asapp
               MT7473:        qell have him send to wells                                    Records show a
               MT7473:        I can’t call him and it’s 3 pm there I’m dealing with this     $30,000 transfer from
                                                                                             NAC to an account for
                              [. . . .]                                                      Sand HIll at Wells
                                                                                             Fargo bank ending
               MT7473:   Security holds on our account to call Jon now                       x6934 on which
               MT7473:   Call Jon ASAP                                                       Michael Tew was the
                         I’m on with them now                                                sole signatory.
               MT7473: Call Jon                                                              [WFB_00000714]
               KT2046:   What!?!?
               KT2046:   Texted him
               Kley(KT): He said they haven’t called
               Kley(KT): What’s going on
               MT7473: We won’t be able to get the 30k out
               KT2046:   What
               KT2046:   What is going on
               KT2046:   Have him send to your WF account
               MT7473: Because they see lots of money coming in to [PM]
               KT2046:   Say you’re a partner
               MT7473: Of course I did
               MT7473: It’s just very provincial
               MT7473: They don’t get it
               KT2046:   Is it the bank
               KT2046:   Or the fed
               MT7473: It’s the bank
               KT2046:   Are they not sending wires out
               MT7473: Holding our account under security review


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               KT2046:        Play the veteran part up
               MT7473:        I’m waiting now since they already sent the funds
               MT7473:        I played it trust me
               KT2046:        So the wires won’t go out today
               KT2046:        They did send wires out
               KT2046:        ?
               KT2046:        What is going on
               KT2046:        WHAT is going on
               KT2046:        I can’t log inI can’t log in
               KT2046:        And I can’t login to my dads account
               MT7473:        We have to go to the branch
               KT2046:        [x]6934
               KT2046:        Routing: 121000248
               MT7473:        Tat’s at the bottom of the check right
               KT2046:        No
               MT7473:        Ok - for ACH it would be diff than wire
               KT2046:        That’s the wire routing
               MT7473:        For wells its diff
               KT2046:        [x]0076
               MT7473:        Is that at teh bottom of the check
               KT2046:        Yes!
               MT7473:        ok
               MT7473:        Coming now
               KT2046:        My phone doesn’t take photos
               MT7473:        Its fine
               MT7473:        He’s texting me now
               KT2046:        It’s NOT fine
               KT2046:        I am 15K short
               MT7473:        Ok so we’ll get you a new phone
               KT2046:        This is NOT OKAY
               MT7473:        Ok its not okay I’m sorry
               KT2046:        You should have left the second this happened
               KT2046:        I am on the phone with the bank
               KT2046:        I’m on the phone with the bank

                              [ . . . .]



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                  KT2046:        Can you go to atm for me
                  MT7473:        Like now
                  KT2046:        Yes sure
                                 I’ll head back now
                  KT2046:        I have cash or you can use my Simple for dinner
                  KT2046:        QR code (IMG)4989.jpeg)

                  [. . . .]


195     6/26/19   MT1312:        Bank is calling you to confirm ach                                              See Indictment ¶¶ 18,     A, G, K, L     SW_FIL_003423
                  MT1312:        Pls confirm you received this                                                   19, 20 21, 22 (alleging                  24
                  JY1709:        Yes                                                                             various instances of
                  MT1312:        Did they call                                                                   coordination to make
                  JY1709:        No                                                                              the fraudulent invoices
                  MT1312:        They are asking about money coming in to [PM]                                   more convincing and to
                  MT1312:        Call 7473
                                                                                                                 more efficiently get
                  JY1709:        Just tried twice
                                                                                                                 money from NAC
                  MT1312:        Sand HIll, LLC
                  MT1312:        Account: [x]6934                                                                without getting caught)
                  MT1312:        ABA: tel:[x]0076                                                                On June 26, 2019
                  MT1312:        That’s teh ACH ABA not wire for Wells                                           $15,000 is sent via
                  JY1709:        All set. $30K. I couldn’t do 45. I’m sorry                                      ACH to Navy Federal
                  MT1312:        understood. Talk later. Running to the bank.                                    Credit Union Account
                  JY1709:        Call me. I have a good explanation                                              x8486 for services
                  MT1312:        Maybe she’s being paranoid because of what happened here but still a good       purportedly rendered by
                                 questiopn                                                                       [PM] as fraudulently
                  JY1709:        It won’t get flagged. If your bank account says sand hill and I send to sand    documented in [PM]
                                 hill, there’s no issue at all                                                   7322 2019.06.27
                  JY1709:        Our bank won’t flag it, they have no clue                                       (NAC_00000976)
                  MT1312:        What about On your end
                  MT1312:        ok                                                                              Bank record show that
                  MT1312:        and nobody can see in signature                                                 Michael and Kimberley
                  JY1709:        No, nobody can see. It really doesn’t matter. Unless [A.S] got curious          Tew received this
                                 (never does).                                                                   payment directly into
                  MT1312:        I guess she was asking geez why didn’t we do that earlier on, but its sort of


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                                 water under the bridge now                                                     their joint account at
                  JY1709:        Well cause it’s safer to use a company name In case she does go snooping       NFCU x8486.
                  JY1709:        And if I need confirmations for audits and shit                                [NAVY_00000107]
                  JY1709:        I’d rather not use Sandhill but in this emergency situation I can... that’s
                                 why you should set up a legit Corp for the fuel consulting
                  JY1709:        Does that make sense to you?                                                   Records show a
                  MT1312:        YES                                                                            $30,000 transfer from
                  MT1312:        Copy thank you                                                                 NAC to an account for
                                                                                                                Sand HIll at Wells
                                                                                                                Fargo bank ending
                                                                                                                x6934 on which
                                                                                                                Michael Tew was the
                                                                                                                sole signatory.
                                                                                                                [WFB_00000714]

                                                                                                                As set forth below
                                                                                                                J.Y.’s suggestion that
                                                                                                                Michael Tew set up a
                                                                                                                “legit corp” for fuel
                                                                                                                consulting led Michael
                                                                                                                Tew to create an
                                                                                                                account for fictitious
                                                                                                                companies called
                                                                                                                Global Fuel Logistics
                                                                                                                and Aeromaintenance
                                                                                                                Resources.
196     6/28/19   MT1312:        Hi I’m sorry I wasn’t in touch - I was in SF for meetings and didn’t walk in   See above, entry 54, for   A, F, G, H,    SW_FIL_003423
                                 the door until 1am and bed at 3 am. I’ll get right to the point. Im sure       information about Sand     K              24
                                 things are not good there, I’m hoping you were able to get through payroll,    Hill LLC and its use by
                                 im sure its been a tough couple days. My money is all locked up in the         Michael Tew as a
                                 bank for 10 days. Including all of my own money (consulting prepayments        vehicle to collect
                                 etc) that I was contributing. i can’t even pay rent on Monday. If there is     scheme proceeds and
                                 anything you can contribute today to Monday, even 10K, it goes a LONG          the relevant paragraphs
                                 way. I’m working on buying time with the guy. Sorry to be long on              of the Indictment.
                                 text. Not sure what’s Going on there.                                          Michael Tew was the
                  MT1312:        And again, I/m sorry.                                                          sole signature on the
                  JY1709:        Bank is sitting at -672K                                                       account at Wells Fargo


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                  MT1312:        Holy fuck!                                                                  held in the name of
                  JY1709:        Yup                                                                         Sand Hell with an
                  MT1312:        [C.A.] put in?                                                              account number ending
                  JY1709:        Nope                                                                        x6934.
                  MT1312:        Oh fuck
                  JY1709:        He’s just saying figure it out                                              On July 1, 2019, $9,200
                  MT1312:        Dude he’s walking a tightrope                                               is sent via ACH to
                  MT1312:        [L.A.] is saying figure it out basically                                    Navy Federal Credit
                  MT1312:        Is [J.M.] bringing anything in next 24 - 48 hours/                          Union Account x8486
                  MT1312:        Give me a ring lunch                                                        for services purportedly
                  JY1709:        Text me Wells Fargo info again                                              rendered by [PM] as
                  MT1312:        2 secs tgx                                                                  fraudulently
                  JY1709:        Hurry. [C.A.] wants to get lunch haha                                       documented in [PM]
                  JY1709:        It’s 3:30 here FYI                                                          7410
                  MT1312:        Sand HIll, LLC
                                 Account: [x]6934                                                            Bank record show that
                                 ABA: [x]0076                                                                Michael and Kimberley
                                 That’s teh ACH ABA not wire for Wells                                       Tew received this
                  JY1709:        And he wants to get lunch now ??                                            payment directly into
                  MT1312:        Of course                                                                   their joint account at
                  MT1312:        At 330                                                                      NFCU x8486.
                  MT1312:        He woke up at 1230
                  JY1709:        Best I can do today is 9,000. Just trust me
                  MT1312:        I trust you
                  MT1312:        Touch base monday - just enjoy the weekend, you’ve worked your ass off I
                                 can’t believe the position your in
                  JY1709:        9200 to be exact
                  MT1312:        copy

197     6/28/19   KT2046:        I need you to text Jon. We need him to send money tomorrow. Just tell him   See Indictment ¶ 18        A, D, F, G,    SW_FIL_003330
                                 he’ll get his btc. I didn’t lose it all.                                    (alleging coordination     H, K, N        73-
                  KT2046:        But everyone is cashing                                                     between Michael and                       SW_FIL_003331
                  MT7473:        Like 445-5                                                                  Yioulos on how to                         04
                  MT7473:        I’ll call him in am                                                         provide more specific
                                 He’ll freak with his wife                                                   descriptions of falsely                   SW_FIL_003271
                                 [C.A.] is there                                                                                                       28-
                                 He’s gonna freak


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                              It’s all my fault                                                            claimed services on                       SW_FIL_003271
               MT7473:        I never should have come here                                                fraudulent invoices).                     32
               KT2046:        No
               KT2046:        I didn't lose                                                                [C.A.] is a reference to
               KT2046:        I didn't                                                                     one of the owners of
               MT7473:        Ok good                                                                      NAC
               MT7473:        That's great
               KT2046:        Can you forward me messages from Kraken you’ve received                      On July 1, 2019, $9,200
               KT2046:        It's not                                                                     is sent via ACH to
               KT2046:        We don’t need a ton more but will absolutely not survive on Monday           Navy Federal Credit
                              without anything                                                             Union Account x8486
               MT7473:        What kind of messages                                                        for services purportedly
               KT2046:        I have to screenshot I withdrew BTC                                          rendered by [PM] as
               MT7473:        Just forwarded to you                                                        fraudulently
               KT2046:        I just sent something to you                                                 documented in [PM]
               KT2046:        Can you help me change the date and amount to show your withdrawal of 4      7410
                              BTC
               MT7473:        Yes best way is in an email I can forward you but better on my computer so   Bank record show that
                              there’s no formatting issues                                                 Michael and Kimberley
               KT2046:        Just a reminder that the withdrawal of 4 BTC out of vault "BTC Vault" will   Tew received this
                              be clearing in 1 day, 19 hours, 43 minutes.                                  payment directly into
               KT2046:        What if I just sent him that text                                            their joint account at
               KT2046:        I think better to show I sold BTC and USD is coming                          NFCU x8486.
               [. . . .]
                                                                                                           Kraken is a
               KT2046:        Where ar you                                                                 cryptocurrency
               MT7473:        On Colorado and colfax                                                       exchange on which
               MT7473:        Exhausted                                                                    both Kimberley and
               KT2046:        Are you near the atm                                                         Michael Tew had
               MT7473:        I could go if you want                                                       accounts.
               MT7473:        Now                                                                          KRKN_00000008;
               KT2046:        How far                                                                      KRKN_00000020.
               MT7473:        But I'm just passing it
               MT7473:        10-15 mins
               KT2046:        How much can you even withdraws
               MT7473:        10-15 from the atm
               MT7473:        Oh right 500 bucks I think


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               KT2046:        I need it
               MT7473:        Ok
               KT2046:        Are you 10-15 from atm
               MT7473:        Yes
               KT2046:        If so it can wait
               KT2046:        You just passed it
               MT7473:        I’m already halfway home
               MT7473:        I can go back out
               KT2046:        But it’s 10-15
               KT2046:        No
               KT2046:        Tomorrow
               KT2046:        You wrote you were just passing it
               MT7473:        Yes and we passed it
               KT2046:        I didn’t understand
               KT2046:        Well just isn’t 10-15 minutes
               KT2046:        Considering the airport is 35 min
               MT7473:        Just happened to be at coldax and we drove through
               MT7473:        I waited 20 mins for a car
               MT7473:        She missed the pickup three times
               KT2046:        So how is that 10-15 if on colfax
               MT7473:        It’s like 10 mins west from there the way she’s driving
               KT2046:        Oh
               KT2046:        Tomorrow
               MT7473:        I'll go back out
               KT2046:        Did you talk to Jon like I asked
               MT7473:        I’d rather do it myself
               KT2046:        No
               MT7473:        He didn't answer
               KT2046:        Like you texted him
               KT2046:        And he didn’t answer
               MT7473:        No I didn't text him
               KT2046:        We are fucked
               KT2046:        So you did try!!!!!!
               MT7473:        So we have no money
               MT7473:        He wouldn’t answer he was with his wife
               KT2046:        We have $5K
               MT7473:        It’s all my fault I told your


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Entry   Date      Statement(s)                                                                              Additional Context        801            Source
                                                                                                                                      Rationale(s)
                  KT2046:        He texts you back
                  MT7473:        No he doesn’t he blocks me
                  MT7473:        He blocked me last time
                  KT2046:        No we have $4K
                  MT7473:        Then unblocked me in am
                  MT7473:        It's my fault
                  KT2046:        I don’t' know what to do
                  MT7473:        I have to get another 50k
                  KT2046:        It doesn't matter
                  MT7473:        I should have stayed
                  KT2046:        Can you get dropped off at WF in the am
                  KT2046:        And try to withdraw $300
                  KT2046:        From my mom's account
                  MT7473:        Photo of BTC ATM screen (58339451046__941F07B1-0ECB-47EE-9109-
                                 7551C88ECC53.jpeg)
                  MT7473:        It didn’t like one of the bills just kept spitting it back
                  MT7473:        Got 1550
                  MT7473:        Screenshot of Coinbase (Image-1.jpeg)
                  MT7473:        Screenshot of Coinbase (Screen Shot 2019-06-28 at 11.07.05 AM.jpeg)
                  MT7473:        Screenshot of Coinbase (Screen Shot 2019-06-28 at 11.08.56 AM.jpeg)
                  KT2046:        Screenshot of Coinbase (FullSizeRender.jpg)

                  [. . . .]
198     6/29/19   MT7473:        June 1_28 2019 [redacted] Daily Summary.pdf                                The daily summaries       A, G, N        SW_FIL_003331
                  MT7473:        June 1_28 2019 [redacted] Daily Summary.pdf                                reflect a debt the Tews                  07
                  MT7473:        Photo of BTC ATM screen (58351027444__AAC4CDBE-E00F-43E3-                  owed to a third party.
                                 B9CB-D65170ED7E0D.jpeg)                                                                                             SW_FIL_003271
                  MT7473:        Photo of BTC ATM screen (58351028243__EB622B53-C4A1-4E78-9182-             See Indictment ¶¶ 23,                    32-
                                 6EB13D1F6EC6.jpeg)                                                         32, 33                                   SW_FIL_003271
                                                                                                                                                     33
                                 [. . . .]

                  MT7473:        BTC June (received from [redacted] 6_28_19).xlsx
                  KT2046:        BTC June.xlsx
                  MT7473:        Your spreadsheet shows you sent a total of $139,575 vs my spreadsheet
                                 showing $137,972. I don’t have a record of $500 sent via PayPal to me on
                                 6/4. That would leave a difference of $1,103 which is perhaps fees


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Entry   Date   Statement(s)                                                                                Additional Context   801            Source
                                                                                                                                Rationale(s)
                              incurred?
               MT7473:        I reconciled your numbers with mine, and I’m still showing that you were
                              up $11,726.03 yesterday prior to sending a $5,000 wire to Coinbase today.
                              Your spreadsheet shows you sent a total of $139,575 vs my spreadsheet
                              showing $137,972.
                              The $1,603 difference could be:
                              1.I don’t have a record of $500 sent via PayPal to me on 6/4
                              2.Fees incurred of approximately $1,103?

                              My spreadsheet shows $144,180 sent vs your spreadsheet’s total of
                              $140,592.
                              The $3,588 difference could be:
                              1.I sent you .2 BTC on 6/5 ($1,542.95)
                              2.I sent you a total of $14,215 on 6/14 and I believe your spreadsheet is
                              missing one a second Zelle sent on that day for $2,000.

               MT7473:        I reconciled your numbers with mine, and I’m still showing that you were
                              up $11,726.03 yesterday prior to sending a $5,000 wire to Coinbase today.

                              Your spreadsheet shows you sent a total of $139,575 vs my spreadsheet
                              showing $137,972.
                              The $1,603 difference could be:
                              1. I don’t have a record of $500 sent via PayPal to me on 6/4
                              2. Fees incurred of approximately $1,103?

                              My spreadsheet shows $144,180 sent vs your spreadsheet’s total of
                              $140,592.
                              The $3,588 difference could be:
                              1. I sent you .2 BTC on 6/5 ($1,542.95)
                              2. I sent you a total of $14,215 on 6/14 and I believe your spreadsheet is
                              missing one a
                              second Zelle sent on that day for $2,000.
               KT2046:        File name: IMG_9440.JPG
                              IMG_9440.JPG




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July 2019

 Entry      Date       Statement(s)                                                                           Additional Context         801            Source
                                                                                                                                         Rationale(s)
 199        7/1/2019   On July 1, 2019 Michael tew, using mtew@sandhillrp.com, sent an email to an employee   As set forth above in      A, K, L        VCORP_0000000
                       at VCorp Service LLC with the subject line “Re: Please assist” stating:                entry 195, J.Y.                           9–
                                                                                                              suggested that Michael                    VCORP_0000000
                       I need to set up a new entity                                                          Tew create a “legit”                      14
                                                                                                              consulting corporation
                       Can you assist me with this?                                                           related to fuel. Michael
                                                                                                              Tew responded by
                       Name: Global Fuel Logistics Inc                                                        incorporating Global
                       Type:    S Corp                                                                        Fuel Logistics in
                       Shares: 100 common only                                                                Wyoming.
                       State: Wyoming
                                                                                                              Global Fuel Logistics
                       What is the cost what information do you need from me how does the process work        was a sham corporation
                                                                                                              created by Michael Tew
                       Thank you                                                                              as a vehicle to collect
                                                                                                              money from NAC
                       Michael Tew                                                                            based on false and
                                                                                                              fraudulent pretenses,
                       Michael Tew                                                                            promises and
                       mtew sandhillrp com                                                                    representations.
                       1 917.685.1312                                                                         Michael Tew used the
                                                                                                              address for Kimberley
                                                                                                              Tew’s parents as the
                                                                                                              corporation’s location.
                                                                                                              After incorporating
                                                                                                              Global Fuel, Michael
                                                                                                              Tew opened a bank
                                                                                                              account in its name at
                                                                                                              Wells Fargo ending
                                                                                                              x2064 on which he was
                                                                                                              the sole signatory.
                                                                                                              [WFB_0000532]. He
                                                                                                              then created the domain
                                                                                                              name globalfuel.co with
                                                                                                              go daddy, from which

                                                                                  152
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Entry   Date     Statement(s)                                                                  Additional Context         801            Source
                                                                                                                          Rationale(s)
                                                                                               he could send emails to
                                                                                               J.Y. with false invoices
                                                                                               from “Jessica
                                                                                               Thompson,” a fictitious
                                                                                               identity. Aero
                                                                                               Maintenance resources
                                                                                               was a similarly fictious
                                                                                               “division” of Global
                                                                                               Fuel Logistics. See
                                                                                               Indictment, ¶¶ 14, 15,
                                                                                               17, 19.
200     7/2/19   MT7473:        Scan Jul 2, 2019 at 09.48.pdf                                  [P.M.] was a casino        A, F, G, H,    SW_FIL_003271
                 KT2046:        Where are you                                                  host at the Wynn           K, N           36;
                 MT7473:        Same distance. 32 mins to either.                              Casino in Las Vegas.                      SW_FIL_003271
                 MT7473:        I’ll go to centennial pick up the highway right here.                                                    38-
                 MT7473:        Be there at 325                                                See Indictment ¶¶ 23,                     SW_FIL_003271
                 KT2046:        They don’t have money sometimes                                32, 33                                    41;
                 KT2046:        Maybe come back                                                                                          SW_FIL_003271
                                [ . . . .]                                                     See Indictment ¶ 20                       43
                 MT7473:        Ok ok come back                                                (alleging coordination
                 MT7473:        On way                                                         by the Tews to decide                     SW_FIL_003331
                 MT7473:        15 mins                                                        how much to ask                           14-
                 MT7473:        I got the atm limit increased to 20k / day also                Yioulos to send them                      SW_FIL_003331
                 KT2046:        Where                                                          and the Tews’ role in                     17
                 KT2046:        What bank                                                      making those requests)
                 KT2046:        When                                                           See Indictment ¶ 34
                 MT7473:        The btc atm                                                    (describing use of fraud
                 KT2046:        I thought you meant navy federal. lol.                         proceeds in Las Vegas)
                 MT7473:        Yeah would save time
                 KT2046:        1PViLwy49WhLZAyzZNcDfdxj6vMUpc9uPy

                                [. . . .]

                 MT7473:        I’m so sorry
                                I’m going to get paid on the 15th
                                That’s 15k on the 15th for you to use all at once
                                Just got here


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Entry   Date     Statement(s)                                                                            Additional Context         801            Source
                                                                                                                                    Rationale(s)
                                [. . . .]
                 KT2046:        Jon better be sending like 50K tomorrow.
                 KT2046:        And btc is trading at 10.8
                 KT2046:        Fuck!!
                 KT2046:        Fuck
                 KT2046:        Fuck
                 KT2046:        Fuck
                 MT7473:        Calling you
                 MT7473:        I will talk to Jon
                 KT2046:        It’s past the cut off
                 KT2046:        We talked about this last night
                 KT2046:        Tuesday for Wednesday
                 MT7473:        He didn’t have the money toda
                 MT7473:        They never sent it
                 KT2046:        Well thanks for letting me know

                                [. . . .]

                 KT2046:        I booked our flight. We board at 8:50pm and land at 10:10pm on
                                Southwest.
                 KT2046:        I texted [P.M.]
                 KT2046:        Southwest Airlines - Print Boarding Passes and Security
                                Documents.pdf

201     7/3/19   Michael Tew and Kimberley Tew, using the [PM]@gmail.com account had sent the            See above, entry 86, for   A, K, L        SW_FIL_000115
                 below emails to J.Y.’s business account with an attached invoice directing payment to   information about                         20
                 their joint bank account at NFCU x8486                                                  L.W., PM,
                                                                                                         PM@gmail.com and                          SW_FIL_000115
                 Dear National Air Cargo Group, Inc.,                                                    the relevant paragraphs                   32
                                                                                                         of the Indictment.
                 Your invoice is attached. Please remit payment at your earliest convenience.                                                      SW_FIL_000115
                                                                                                         There were four emails                    24
                 Thank you for your business - we appreciate it very much.                               on this date with
                                                                                                         substantially similar                     NAC_E_131792-
                 From PM@gmail.com                                                                       content. Only the                         NAC_E_131793
                 Dear National Air Cargo Group, Inc.,                                                    invoices were different.



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Entry   Date   Statement(s)                                                                   Additional Context   801            Source
                                                                                                                   Rationale(s)
               Your invoice is attached. Please remit payment at your earliest convenience.                                       NAC_E_131798-
                                                                                                                                  NAC_E_131799
               Thank you for your business - we appreciate it very much.
                                                                                                                                  NAC_E_131801-
               [. . . .]                                                                                                          NAC_E_131802

               Dear National Air Cargo Group, Inc.,                                                                               NAC_E_129112-
                                                                                                                                  NAC_E_129113
               Your invoice is attached. Please remit payment at your earliest convenience.

               Thank you for your business - we appreciate it very much.

               From PM@gmail.com
               Dear National Air Cargo Group, Inc.,

               Your invoice is attached. Please remit payment at your earliest convenience.

               Thank you for your business - we appreciate it very much.

               [. . . .]

               Dear National Air Cargo Group, Inc.,

               Your invoice is attached. Please remit payment at your earliest convenience.

               Thank you for your business - we appreciate it very much.

               From PM@gmail.com
               Dear National Air Cargo Group, Inc.,

               Your invoice is attached. Please remit payment at your earliest convenience.

               Thank you for your business - we appreciate it very much.

               [. . . .]




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Entry   Date     Statement(s)                                                                                  Additional Context         801            Source
                                                                                                                                          Rationale(s)
                 Dear National Air Cargo Group, Inc.,

                 Your invoice is attached. Please remit payment at your earliest convenience.

                 Thank you for your business - we appreciate it very much.

                 From PM@gmail.com
                 Dear National Air Cargo Group, Inc.,

                 Your invoice is attached. Please remit payment at your earliest convenience.

                 Thank you for your business - we appreciate it very much.

202     7/4/19   MT7473:        Transfer done                                                                  Bank records for the       A, F, G, K,    SW_FIL_003331
                 MT7473:        Should I pay rent                                                              Tews’joint account at      N              20;
                 MT7473:        I transferred 40k to joint                                                     NFCU x8486 show                           SW_FIL_003331
                                                                                                               multiple $600 ATM                         23
                                [. . . .]                                                                      withdrawals at the
                                                                                                               Wynn casino in Las                        SW_FIL_003271
                 KT2046:        I’m playing blackjack                                                          Vegas posting on July                     47,
                 MT7473:        Ok cool. Shold we come down? Need anything? Otherwise we’re just               5, 2019 and multiple                      SW_FIL_003271
                                resting                                                                        $4,000 transfers from                     49-
                                                                                                               that same account., as                    SW_FIL_003271
                                [. . . .]                                                                      well as a $40,000                         52
                                                                                                               transfer into the
                 KT2046:        Can you transfer like 30K into our joint                                       account.[NAVY_00000
                 KT2046:        Or 40                                                                          108-109]
                 KT2046:        I don’t know why it’s all in yours
                 MT7473:        Ok                                                                             See Indictment ¶¶ 23,
                 KT2046:        How’s it going.                                                                32, 33
                 KT2046:        I need you to transfer 4K to each of your accounts and do a cash advance
                                with debit and pin                                                             See Indictment ¶ 34
                                for $2,800 for each card and then after you get the tickets to go to cashier   (describing use of fraud
                                withdraw $600                                                                  proceeds in Las Vegas)
                                from each.
                 KT2046:        When can you do that. How soon.



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                                                                                                                                      Rationale(s)
                 MT7473:        I can do it in like 10 mins probably
                 KT2046:        Ok

                                [. . . .]

                 KT2046:        Where are you guys now
                 KT2046:        I need you to transfer 4K to each of your accounts and do a cash advance
                                with debit and pin for $2,800 for each card and then after you get the
                                tickets to go to cashier withdraw $600 from each.
                 KT2046:        When can you do that. How soon.

203     7/5/19   KT2046:        I just won my first jackpot $5,115                                         See Indictment ¶ 34        A, G, I, K,    SW_FIL_003271
                 MT7473:        Amazing!!!!!                                                               (describing use of fraud   N              53;
                 MT7473:        Incredible                                                                 proceeds in Las Vegas)                    SW_FIL_003271
                                                                                                                                                     56-
                                [. . . .]                                                                  Bank records for the                      SW_FIL_003271
                                                                                                           Tews’joint account at                     57
                 KT2046:        I’m at blackjack                                                           NFCU x8486 show
                                                                                                           multiple $600 ATM
                                [. . . .]                                                                  withdrawals at the
                                                                                                           Wynn casino in Las
                 KT2046:        Everything ok                                                              Vegas posting on July
                 KT2046:        I’m in pit8                                                                5, 2019 and multiple
                 MT7473:        Yep all good                                                               $4,000 transfers from
                                                                                                           that same account., as
                                                                                                           well as a $40,000
                                                                                                           transfer into the
                                                                                                           account.[NAVY_00000
                                                                                                           108-109]

204     7/6/19   KT2046:        Can you pls text info for flight tomouss                                   The reference to x3494,    A, G, K, N     SW_FIL_003271
                 KT2046:        To [P.M.]                                                                  x5336 and x8486 are                       59;
                                                                                                           references to accounts                    SW_FIL_003271
                                [. . . .]                                                                  at NFCU on which                          62
                                                                                                           Michael Tew is a
                 KT2046:        What did you withdraw last night from each                                 signatory. There is a
                 KT2046:        Screenshot of messages with [M.M.] (IMG_5306.jpeg)                         $2000 Zelle transaction


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                                                                                                                                        Rationale(s)
                                                                                                             into account on July 6,
                 The screenshot shows a picture of a 1099 from for MCG reflecting compensation of            2019.
                 $125,000 and the statement from MM “This is what I am talking about. This is not mine       [NAVY_00000109]
                 to deal with.”
                                                                                                             [P.M.] was a casino
                 KT2046:   This is why I’m asking about Jon                                                  host at the Wynn
                 Kley(KT): 320 from 3494                                                                     Casino in Las Vegas
                           420 from 5336
                           200 from 8486                                                                     See above, entry 41, for
                                                                                                             information about
                                                                                                             MCG, MM,
                                                                                                             MCG@gmail.com and
                                                                                                             the relevant paragraphs
                                                                                                             of the Indictment.
                                                                                                             See Indictment ¶ 20
                                                                                                             (alleging coordination
                                                                                                             by the Tews to decide
                                                                                                             how much to ask
                                                                                                             Yioulos to send them
                                                                                                             and the Tews’ role in
                                                                                                             making those requests)

205     7/7/19   KT2046:        Screenshot of messages from [M.M.] (IMG_5313.PNG)                            See above, entry 11, for   A, G, K, N     SW_FIL_003331
                                                                                                             information about C.R.,                   30-
                 The screenshot is of a message from “[M.M.]” with the message: “Just lost my                CR@gmail.com, and                         SW_FIL_003331
                 transmission in my truck this morning, so great month for you to fuck me over, thanks       5530JD and the                            36;
                 again for keeping your word. I will be forwarding you my tax bill for air national          relevant paragraphs of                    SW_FIL_003331
                 carriers shortly, that needs to be covered immediately. Losing my transmission on top of    the Indictment.                           38-
                 being late on rent means I do not have the means to cover it, nor the fucking patience to                                             SW_FIL_003331
                 pussy foot around any longer.”                                                              See above, entry 41, for                  39
                                                                                                             information about
                 KT2046:        Screenshot of messages with [C.R.] (IMG_5311.PNG)                            MCG, MM,
                 MT7473:        He's just empty threats                                                      MCG@gmail.com and
                 KT2046:        No [M.M.] is dumb                                                            the relevant paragraphs                   SW_FIL_003271
                 KT2046:        So dumb                                                                      of the Indictment.                        64-
                 KT2046:        Dumb enough to do it                                                                                                   SW_FIL_003271
                 MT7473:        Nothing on bitcoin talk                                                                                                66;


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Entry   Date   Statement(s)                                                                    Additional Context         801            Source
                                                                                                                          Rationale(s)
               KT2046:        [C.R.] is talking to someone                                     Bank records for the                      SW_FIL_003271
               MT7473:        Who                                                              Tews’ joint bank                          68-
               KT2046:        He won't say                                                     account show                              SW_FIL_003271
               MT7473:        Who hasn't been paid back                                        transactiosn at the                       90
               MT7473:        Everyone has been paid back                                      Wynn Casino in Las
               KT2046:        Screenshot of messages with [C.R.] (IMG_5316.PNG)                Vegas between 7/5/19
               KT2046:        I think [M.M.] already did something                             and 7/8/19 with a final
               KT2046:        He posted an image on icq but deleted it                         $2,945.99 debit on July
               KT2046:        We need to go to the police                                      8 [NAVY_00000110]
               KT2046:        About [C.R.]
               MT7473:        Ok                                                               See Indictment ¶ 34
               MT7473:        In car                                                           (describing use of fraud
               MT7473:        They’re talking to each other                                    proceeds in Las Vegas)
               MT7473:        I can’t imagine it’s anyone else                                 See Indictment ¶¶ 23,
               KT2046:        Who                                                              32, 33
               MT7473:        [M.M.] and [C.R.]
               KT2046:        How do you know
               KT2046:        Call [M.M.]
               KT2046:        I mean [M.M.] will tell you
               KT2046:        I can't text him
               KT2046:        He's android
               MT7473:        You want me to call hi. Ow?
               KT2046:        Duck
               MT7473:        Ok I'll calm hun
               MT7473:        What's his number

                              [. . . .]

               MT7473:        Starbucks and then get bitcoin?
               MT7473:        Photo of BTC ATM Screen (58421695766__4F7DC008-7EAF-4182-
                              9F2A-6A245390C3B2.jpeg)
               MT7473:        Photo of BTC ATM Screen (58421696567__EA064795-5C25-4681-B0F7-
                              F57D78A50A11.jpeg)
               MT7473:        Photo of BTC ATM Screen (58423668159__F3BA86A3-AFF4-4766-
                              8F36-2F4E8DD1C1BB.jpeg)
               MT7473:        Photo of BTC ATM Screen (58423669043__DBCCE35D-6A15-478E-



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Entry   Date   Statement(s)                                                                           Additional Context   801            Source
                                                                                                                           Rationale(s)
                              9F98-18A0B6F7CAE8.jpeg)

                              [. . . .]

               KT2046:        You saw the text from [M.M.].
               KT2046:        I owe [redacted] BTC and $25K to [redacted[ and [C.R.] and [M.M.] are
                              hreatening me
                              [. . . .]
               KT2046:        WTF is he talking about (email from [C.R.] R(IMG_5310.jpeg))
               KT2046:        Check bitcointalk

                              [. . . .]

               KT2046:        Pls reply
               KT2046:        I just saw this
               MT7473:        Will check

                              [. . . .]

               KT2046:        QR Code (IMG_5322.jpeg)

                         [. . . .]
               Kley(MT): As soon as your mom tranfers the money I’ll bring them back and buy
                         the coin
               KT2046:   Screenshot of messages with [C.R.] IMG_5323.jpeg, IMG_5324.jpeg)
               MT7473: I’ll call him
               MT7473: You let him get to your
               MT7473: He’s been harassing us for months and months
               KT2046:   Because he can destroy us
               KT2046:   Call him?
               KT2046:   What will that do
               MT7473: I’ll file an fbi complaint and send it to him
               MT7473: Tell him to have his lawyer contact me directly
               MT7473: I’ll respond to his email
               KT2046:   Don’t
               KT2046:   You’re not thinking it through
               MT7473: Ok what’s the solution then


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Entry   Date   Statement(s)                                                                                  Additional Context   801            Source
                                                                                                                                  Rationale(s)
               KT2046:        Just reacting
               MT7473:        You’re reacting
               MT7473:        He’s not getting a penny without a full documented unequivocal release
                              from him and everyone else
               MT7473:        So get his lawyer on the phone
               MT7473:        That will distract him and he’ll be spending money
               MT7473:        He’s literally not getting a penny until he stops
               MT7473:        Then we go to finra and report him as an unlicensed broker
               MT7473:        He’s not getting a penny
               MT7473:        Otherwise
               MT7473:        Did [redacted] send
               KT2046:        1900 and 2100 in a few
               MT7473:        Shouldn’t even be communicating with anyone that’s threatening
               MT7473:        Just say have your lawyer reach me directly
               MT7473:        Period of
               MT7473:        He’s not getting a penny because he’s not even sending it up the people that
                              are owed
               MT7473:        He’s fucked and he knows it
               MT7473:        And fucking our lives up doesn’t get him any money any faster
               MT7473:        And if he tatted us out to people that are owed and there was a real lawsuit
                              they would have named us in the suit
               MT7473:        There’s nothing
               MT7473:        He has nothing
               MT7473:        He knows he has nothing
               MT7473:        His lawyer told him he has nothingn
               MT7473:        I’ll send him an email with my list of demands to start getting him money
               KT2046:        Don’t
               KT2046:        Put anything in writing
               MT7473:        You are
               KT2046:        But don’t
               KT2046:        Involve yourself
               MT7473:        Talked to your mom she’s waiting and ready
               MT7473:        So then how can I help
               KT2046:        He just sent the last part
               MT7473:        Ok
               KT2046:        You’re helping by talking to me about it
               KT2046:        Before reacting


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                                                                                                                                 Rationale(s)
               KT2046:        But shit with [M.M.] and taxes
               KT2046:        I need a real plan
               MT7473:        The returns he says he is “promised” would be considered usury in most
                              states, he would have to litigate in his local state, he would have no case
                              and it doesn’t get him any money
               KT2046:        If crypto keeps going up
               MT7473:        How much do you owe [M.M.]
               MT7473:        30kv
               KT2046:        Just being accused
               KT2046:        I’m not worried he has a case
               MT7473:        She’s transferring now
               MT7473:        Yeah so how do you send [C.R.] money. When does it ever end
               MT7473:        You can’t send him a pennnu
               KT2046:        The only thing that concerns me about [C.R.] and [M.M.] is National
               MT7473:        It’ll never end
               MT7473:        Ok well [M.M.] can be reasoned with
               MT7473:        He can
               KT2046:        I know
               MT7473:        I can talk to [M.M.] directly
               KT2046:        Plus he’s nothing like [C.R.]
               KT2046:        Tell her to transfer $500 to Navy Federal 8825
               MT7473:        Ok
               MT7473:        I can reason with [M.M.]. He’s missing the point. He sent it to us.
               MT7473:        It’s a tax wash
               KT2046:        That’s not the point
               KT2046:        I told him does he have any idea how much interest I’ve paid him without
                              1099ing
                              him
               KT2046:        She hasn’t transferred anything to me
               MT7473:        The simple ones?
               KT2046:        I didn’t want to say anything about the bitstarz win
               KT2046:        I knew it would become a mess
               KT2046:        What simple ones
               MT7473:        What do you mean
               KT2046:        There was only supposed to be one
               KT2046:        You sold it at the lowest price possible
               KT2046:        You operate on fear


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                                                                                                                                      Rationale(s)
                 KT2046:        That’s why we are married
                 MT7473:        Security hold on the simple send also she said
                 MT7473:        I thought you said you wanted to sel it
                 KT2046:        WTF
                 MT7473:        That’s what she said
                 MT7473:        Funds are there
                 KT2046:        I messaged [redacted]
                 MT7473:        Is there another way he can send
                 MT7473:        He can Zelle to my wells account and to navy federal accounts
                 KT2046:        QR Code (IMG_5326.jpeg)
                 MT7473:        New hours hey close at 5 Sunday’s
                                Going to vaper jungle

206     7/8/19   MT1312:        Hi buddy - I hope you had a nice weekend, I really do. I’m sure I’m the     See Indictment ¶ 18       A, G, K        SW_FIL_003423
                                last person you want to hear from, but I need your help TODAY, and want     (alleging coordination                   24
                                to go over the plan as well, when you can. In motion on my end. Takes a     between Michael and
                                few days to get it all set up, and because of the holiday lost some time.   Yioulos on how to
                 JY1709:        Morning. Hope you had a good weekend as well.                               provide more specific
                                Ok. Let’s talk around 12-12:30 ET.                                          descriptions of falsely
                                Today is going to be VERY difficult to make a payment, but Tuesday for
                                                                                                            claimed services on
                                Wednesday is much more feasible
                                                                                                            fraudulent invoices)

                                                                                                            Bank records for the
                                                                                                            Tews’ joint bank
                                                                                                            account show
                                                                                                            transactions at the
                                                                                                            Wynn Casino in Las
                                                                                                            Vegas between 7/5/19
                                                                                                            and 7/8/19 with a final
                                                                                                            $2,945.99 debit on July
                                                                                                            8 [NAVY_00000110]

207              On July 8, 2019 Michael Tew, using mtew@sandhillrp.com sent an email to an                 See above, entry 199      A, K, L        VCORP_0000001
                 employee at VCorp services in response to questions, stating:                              for information about                    3
                                                                                                            GFL, AMR, Jessica
                 1 Yes VCORP as agent                                                                       Thompson, and the


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Entry   Date     Statement(s)                                                                         Additional Context        801            Source
                                                                                                                                Rationale(s)
                 2 Address [redacted] Marquette MI 49855                                              relevant paragraphs of
                 3 Need FEIN                                                                          the Indictment.
                 4 Fiscal year end 12 31
                 5 Par value 0.01                                                                     The address in
                 6 Responsible Party Michael Tew 524.67.6212                                          Michigan is the address
                 7 Also will need an out of state registration for Colorado doing business in         for Kimberley Tew’s
                 Colorado                                                                             parents.

                 What is the S Corp Election Option

                 How long will it take to set up and get the FEIN

                 Thank you!

                 Michael Michael Tew

                 mtew sandhillrp com
                 1 917.685.1312
208     7/9/19   On July 9, 2019 Michael Tew, using mtew@sandhillrp.com sent an email to an           See above, entry 199      A, K, L        VCORP_0000001
                 employee at VCorp services in response to questions, stating:                        for information about                    2
                                                                                                      GFL, AMR, Jessica
                 The address is [redacted] in Marquette MI                                            Thompson, and the
                 Otherwise looks great                                                                relevant paragraphs of
                                                                                                      the Indictment.
                 Also remember I need that Colorado document
                                                                                                      The address in
                 Thank You!                                                                           Michigan is the address
                                                                                                      for Kimberley Tew’s
                 Michael Tew                                                                          parents.
                 mtew sandhillrp com
                 1 917.685.1312

                 Later that same day, Michael Tew, using the same mtew@sandhillrp.com sent an email
                 to an employee at VCorp services stating:

                 Perfect We are ok to go on the new version please submit
                 Thanks again


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                                                                                                                            Rationale(s)


209     7/9/19   MT7473: Send address                                                            On July 9, 2019            A, G, K, N     SW_FIL_003331
                 Kley(KT): AttachmentQR Code (IMG_5395.jpeg)                                     $13,000 is sent via                       45-
                                                                                                 ACH to Wells Fargo                        SW_FIL_003331
                                [. . . .]                                                        Bank Account x6934                        47
                                                                                                 for services purportedly
                 MT7473:   Photo of BTC ATM Screen (58432856614__1E7B3490-CC66-47B8-8089-        rendered by [PM] as
                           2FA884D47754.jpeg)                                                    fraudulently
                 MT7473: Photo of BTC ATM Screen (58432857480__A313E177-778E-423A-               documented in                             SW_FIL_003271
                           B7A3-C22558D7752C.jpeg)                                               [PM]7410                                  92
                 MT7473: The simple card didn't work
                 Kley(KT): Only $380 maybe                                                       The x6934 account at
                 MT7473: Just transfer another $600 to your other NF card                        Wells Fargo was
                 MT7473: Photo of BTC ATM Screen (58440367904__45DEBF03-390A-4FC8-               controlled by Michael
                           840D-1B15603F2907.jpeg)                                               Tew, who had opened
                 MT7473: Photo of BTC ATM Screen (58440368846__5115E0C5-2F9C-4620-914D-          an account in the name
                           B0564BA982AA.jpeg)                                                    of Sand Hill.

                                [. . . .]                                                        “NF” is Navy Federal
                                                                                                 Credit Union, where teh
                 KT2046:        Document (17).docx                                               Tews banked.
                 KT2046:        $100 from Simple
                                $500 Discover                                                    See above, entry 153,
                                $600 total from NFCU                                             for background on
                 KT2046:        QR Code (IMG_5400.jpeg)                                          Kimberley Tew’s
                 MT7473:        Simple didn’t work                                               Simple account

                                                                                                 See Indictment ¶¶ 23,
                                                                                                 32, 33

210     7/9/19   MT7473:        Photo of BTC ATM Screen (58450328191__511FDFA9-013A-4967-        Kraken is a                A, F, G, K,    SW_FIL_003271
                                929A-B688D849B12B.jpeg)                                          cryptocurrency             N              96-
                 MT7473:        Photo of BTC ATM Screen (58450329127__A91DFB18-7525-4068-A859-   exchange on which                         SW_FIL_003271
                                58C4B4CB67DF.jpeg)                                               both Kimberley and                        98
                                                                                                 Michael Tew had
                                [ . . . .]                                                       accounts.


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                                                                                                                                    Rationale(s)
                                                                                                           KRKN_00000008;
                  KT2046:                                                                                  KRKN_00000020.
                      https://www.blockchain.com/btc/tx/1cc7784c3d8a51b1174fa0bf7d2381e1ab635a09
                  e36be1ba7e9cee05fd361f52                                                                 See Indictment ¶¶ 23,
                  KT2046:      Sent .5 to your Kraken. Once it confirms do you think if you sell it will   32, 33
                               wire today?

211     7/17/19   MT7473:        Photo of deposit slip (58509605424__2568AA28-5D8C-4F5D-88FE-              See Indictment ¶¶ 23,    A, G, K, N     SW_FIL_003331
                                 E8AEC4B80263.jpeg)                                                        32, 33                                  71
                  KT2046:        QR Code (IMG_5993.PNG)
                  MT7473:        Photo of BTC ATM Screen (58509764238__DAD8FAED-D440-47F3-
                                 90AB-52B5BBDE022D.jpeg)
                  MT7473:        Photo of BTC ATM Screen (58509777527__F5CB06D3-4CE7-40B2-
                                 8C15-8DE48A3EED88.jpeg)
                  MT7473:        Photo of BTC ATM Screen (58509782694__033FEC12-4697-411F-B4B3-
                                 C61F3DA80172.jpeg)

212     7/18/19   KT2046:        Is Jon sending 9??????                                                    See Indictment ¶ 20      A, D, F, G,    SW_FIL_003272
                  KT2046:        Is jon sending 9                                                          (alleging coordination   H, K, N        79-
                  MT7473:        There is a chance something comes in this afternoonm (Screenshot of       by the Tews to decide                   SW_FIL_003272
                                 messages (Screen Shot 2019-07-18 at 9.35.31 AM.jpeg))                     how much to ask                         96
                                                                                                           Yioulos to send them
                  The screenshot shows a message in which Michael asks Jonathan Yioulos “can you send      and the Tews’ role in
                  9k. 9k” and Yiolous responds “I can’t send anything today unless I get something this    making those requests)
                  afternoon. I have nothing to send.”

                  MT7473:        It happens
                  KT2046:        Is he send 9
                  KT2046:        Yes or no
                  MT7473:        Right now he says no
                  KT2046:        Jon sending money was a lie
                  MT7473:        Wasn’t a lit
                  MT7473:        lie
                  KT2046:        He won’t even send 9?
                  MT7473:        Jon and I spoke about it earlier in the week
                  KT2046:        Why won’t he send 9?
                  KT2046:        You tricked me said you’d be back by 10


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                  MT7473:        I didn’t trick you
                  KT2046:        When does the 35K hit
                  MT7473:        I told you this am what happened when is poke with [redacted]
                  KT2046:        What date
                  MT7473:        60 days maybe sooner
                  MT7473:        Then ih ave 35K / month
                  KT2046:        Well you should have told dupshut I told my wife I’d be back by 10
                  KT2046:        Ok
                  MT7473:        I did
                  KT2046:        I’ll screenshot this
                  KT2046:        I need btc now. Thanks.
                  MT7473:        Did [redacted] get you btc?
                  KT2046:        But you won’t be back by 10
                  KT2046:        So it’s gone
                  KT2046:        And Jon won’t even send 9?
                  MT7473:        I’ll keep pushing jon
                  MT7473:        Best to talk to him when he’s at lumch
                  MT7473:        He knows I won’t give up
                  MT7473:        I won’t scream. I will go right to navy federal get cash and get BTC
                  KT2046:        No
                  MT7473:        I’ll talk to jon to see how much I can get
                  KT2046:        I don’t want to touch it

213     7/19/19   JY1709:        Send me account info please                                            See above, entry 54, for   A, G, K        SW_FIL_003423
                  JY1709:        Getting pmt out now                                                    information about Sand                    24
                  JY1709:        Need it now                                                            Hill LLC and its use by
                  MT1312:        Ok                                                                     Michael Tew as a
                  MT1312:        Sand HIll, LLC                                                         vehicle to collect
                                 Account: [x]6934                                                       scheme proceeds and
                                 ABA: [x]0076                                                           the relevant paragraphs
                                 That’s teh ACH ABA not wire for Wells                                  of the Indictment.
                  MT1312:        Sorry
                  MT1312:        All ok)                                                                On July 22, 2019,
                  MT1312:        ?                                                                      $10,000 is sent via
                  JY1709:        Yes. Good to go                                                        ACH to Wells Fargo
                  MT1312:        Thx sorry was with kids didn’t see your texts                          Bank Account x6934
                                                                                                        for services purportedly


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Entry   Date      Statement(s)                                                                    Additional Context         801            Source
                                                                                                                             Rationale(s)
                                                                                                  rendered by [PM] as
                                                                                                  fraudulently
                                                                                                  documented in [PM]
                                                                                                  7410

214     7/22/19   MT1312:        On a call - let’s catch up when you can                          On July 22, 2019,          A, G, K        SW_FIL_003423
                  MT1312:        Can you send anything small today                                $10,000 is sent via                       24
                  JY1709:        No                                                               ACH to Wells Fargo
                                                                                                  Bank Account x6934
                                                                                                  for services purportedly
                                                                                                  rendered by [PM] as
                                                                                                  fraudulently
                                                                                                  documented in [PM]
                                                                                                  7410

                                                                                                  On July 24, 2019,
                                                                                                  $45,000 is sent via
                                                                                                  ACH to Navy Federal
                                                                                                  Credit Union Account
                                                                                                  [x]5336 for services
                                                                                                  purportedly made to
                                                                                                  Global Fuel Logistics,
                                                                                                  as alleged in Count 12

                                                                                                  See Indictment ¶ 20
                                                                                                  (alleging coordination
                                                                                                  by the Tews to decide
                                                                                                  how much to ask
                                                                                                  Yioulos to send them
                                                                                                  and the Tews’ role in
                                                                                                  making those requests)


215     7/29/19   KT2046:   Will you pls work on getting money today or tomorrow and as much as   See Indictment ¶ 20        A, D, F, G,    SW_FIL_003273
                            possible from Jon and soon                                            (alleging coordination     H, K, N        58-
                  Kley(MT): yes                                                                   by the Tews to decide                     SW_FIL_003273
                  KT2046:   Is anything likely tomorrow                                           how much to ask                           60

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                  Kley(MT): There’s still a chance [redacted] sends today at 3pm or tomorrow              Yioulos to send them
                  KT2046:   Why at 3pm                                                                    and the Tews’ role in
                  KT2046:   No I mean about Jon                                                           making those requests)
                  Kley(MT): Maybe before                                                                  See Indictment ¶ 21
                  Kley(MT): I can ask jon to send something small but he’s going to say tues for wed is   (describing how
                            what he can do. I’ll talk to him again at lunch - 45 minutes                  Yioulos would provide
                  KT2046:   Fine if it’s tues for wed try for 75+ because people are cashing              information about
                  Kley(MT): What if he can do 75 in two increments                                        NAC’s finances to
                  Kley(MT): He may not be able to get 75 out in one shot                                  facilitate when
                  KT2046:   Why two                                                                       fraudulent payments
                  KT2046:   If the money is there                                                         could be made)
                  KT2046:   Hello
                  KT2046:   I don’t see you trying
                  KT2046:   And I was trying to sleep
                  KT2046:   Get on this

216     7/30/19   JY1709:        Need bank info before 4                                                  See above, entry 199      A, G, K, N     SW_FIL_003423
                  MT1312:        Global Fuel Logistics, Inc.                                              for information about                    24
                                 Navy Federal Credit Union                                                GFL, AMR, Jessica
                                 Account Number [x]5336                                                   Thompson, and the
                                 Routing Number [x]4974                                                   relevant paragraphs of
                  MT1312:        Just walked in thank you!!!                                              the Indictment.
                  JY1709:        Thank you
                  JY1709:        All good                                                                 On August 2 2019
                  MT1312:        ??just want this over thank you                                          $47,000 sent via ACH
                  JY1709:        Tell me about it!                                                        to Wells Fargo Bank
                                                                                                          Account x6934 for
                                                                                                          services purportedly
                                                                                                          rendered to Global Fuel
                                                                                                          Logistics




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 Entry    Date     Statement(s)                                                                                    Additional Context         801            Source
                                                                                                                                              Rationale(s)
 217      8/1/19   MT1312:        Look - I hear you man. We tend to get into arguments when things don’t           On August 2 2019           A, C, G, H,    SW_FIL_003423
                                  go as planned. Things generally don’t go as planned and that’s                   $47,000 sent via ACH       I, J, K, N     24
                                  frustrating. I’m trying to keep it together here and meet my own deadlines       to Wells Fargo Bank
                                  as well. 1 guy put in for $92K and he’s problematic for the other                Account x6934 for
                                  $47K. I’m trying to stretch everything as much as possible, I truly truly        services purportedly
                                  truly am. I kwon we’re at 192 so that leaves $150K.                              rendered to Global Fuel
                   JY1709:        Well yeah it’s fucking frustrating. You know how tight things are here.          Logistics
                                  You know the situation and yet it’s nonstop. And I truly feel like after we
                                  get to $150K, it’s not ending. I still have no BTC. This feels like it’s never   See above, entry 86, for
                                  going to stop                                                                    information about
                   MT1312:        The reason why these things happen is because of vol in BTC, which is            L.W., PM,
                                  why everyone wants out anyway. Which is fine because this will al be over        PM@gmail.com and
                                  soon. In other words if they expect X value but BTC goes up (as it has in        the relevant paragraphs
                                  teh past few days) all of a sudden they want more. So the fight to get them      of the Indictment.
                                  less is ongoing if you see what I’m saying. They will use their leverage to
                                  get as much as possible, we use ours to get them as little as possible. I        “SHILL” is a reference
                                  know this is a bit more information than you want to know, but I want you        to “Sand Hill.”
                                  to know that I’m truly not bullshitting you. Ok?                                 See above, entry 54, for
                   JY1709:        Yeah                                                                             information about Sand
                   MT1312:        Please stay calm. I honestly do not know the current cash position - other       Hill LLC and its use by
                                  than its stretched. I need to know if you can do anything for tomorrow. I        Michael Tew as a
                                  know you are worried about invoices. We can make that work. But if we            vehicle to collect
                                  have $ available we should use it to make this move faster. Hear what I’m        scheme proceeds and
                                  saying.                                                                          the relevant paragraphs
                   MT1312:        Call me lunch? If you can?                                                       of the Indictment.
                   MT1312:        I need money for tomorrow or things can get fucked. I know you’re pissed,
                                  I know you are angry, I know you are totally frustrated. I am also. can we       See Indictment ¶16,
                                  send to a different vendor. I know you have obligations. I know you are          alleging use of the
                                  doing your best. I know these things.                                            acronym “SHI LLC” to
                   JY1709:        No we can’t send to a different vendor                                           refer to Sand Hill.
                   JY1709:        I’m not getting this all fucked up again
                   JY1709:        ...                                                                              See Indictment ¶¶ 18,
                   MT1312:        I understand. Sorry been working on this on top of my other stuff - been         19, 20 21, 22 (alleging
                                  falling behid.                                                                   various instances of
                   MT1312:        I know you are putting your foot down and I know you are managing                coordination to make

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Entry   Date   Statement(s)                                                                                 Additional Context        801            Source
                                                                                                                                      Rationale(s)
                              risk. What is the most reasonable amount you MAY be Able to sneak out         the fraudulent invoices
                              for tomorrow.                                                                 more convincing and to
               JY1709:        15                                                                            more efficiently get
               MT1312:        If you can send $45K you get your 1 BTC. If you don’t get it over the         money from NAC
                              weekend you don’t send another penny. Assuming we honor the deal and          without getting caught)
                              you get it then we pick up where we left off with the plan. Think on it.      See Indictment ¶ 25
               JY1709:        That’s so much to send again. Fuckkk                                          (alleging that Tews
               MT1312:        True, but its a weekend and we will create invoices for fuel                  gave Yioulos bitcoin as
               MT1312:        What if you sent 15K to [PM] (sand hill) and 30K to global fuels              part of the fraud)
               JY1709:        Idk
               MT1312:        [PM] goes to teh SHILL account and 30K goes to fuel
               JY1709:        Idk. I kind of want to be done with PM
               MT1312:        Ok
               MT1312:        Hang on
               MT1312:        Its all fuel and you owe AEG like 4m right, can you book it to that account
                              in teh cash sheets?
               JY1709:        Yeah idk.
               MT1312:        If you send to global fuel you boo it to AEG on teh cash sheet. Nobody
                              knows that’s an account of theirs
               JY1709:        You don’t understand the process
               MT1312:        Obviously not ??
               MT1312:        Calling
               JY1709:        I need bank information before 4....
               MT1312:        On it
               MT1312:        ACCOUNT NAME: SAND HILL, LLC
                              BANK NAME: WELLS FARGO Bank NA
                              ACCOUNT NUMBER: [x]6934
                              ABA:                        [x]0076
               MT1312:        This is for ACH not Wire. Wells has different wire ABA
               JY1709:        Yup
               MT1312:        Assuming all is on plan, let me know how much and when next week if its
                              Monday or Tuesday and I won’t bother you again.
               JY1709:        47K. Out
               MT1312:        OMG. Not sure how you did it but thank you. You’ll have your BTC.
               MT1312:        Next week Monday / tues? Which one is better
               JY1709:        Probably Tuesday
               MT1312:        Works thanks


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                                                                                                                                      Rationale(s)
                 JY1709:        In a board meeting. What’s up
                 MT1312:        All good just checking in you’re ok
                 JY1709:        Yeah I’m fine. Email the W9 over when you can.
                 MT1312:        Ok
                                Just confirming you sent this to send hill but are booking as global fuel
                                Why not in the past just send to Michael Tew (account holder) at Navy
                                federal - in the past.
                 JY1709:        Yes. Sent to sand hill but booking as global fuel.
                 MT1312:        We’re just trying to understand the banking issues
                 JY1709:        Cause I have to put the name in the remittance. If I put your name, and
                                someone ever pulls the remittance, we’re fucked
                 JY1709:        I don’t hate doing it in a pinch, but still.
                 MT1312:        Got it
                                Doesn’t everyone know sand hill also?
                 JY1709:        Yes, but it goes out as SHI LLC.
                 JY1709:        Nobody knows what the fuck that is. And I can be like o shit I put the
                                wrong name
                 JY1709:        If it says Michael TEW, that’s too obvious
                 MT1312:        Interesting Question Could you just use a potion of the account number as
                                the name on the account?
                 MT1312:        That might be a good one
                 JY1709:        I’ll talk to you tomorrow
                 MT1312:        Np

218     8/3/19   MT1312:        Any chance you can send Monday for Tuesday at least in part                 See Indictment ¶ 25       A, C, F, H,    SW_FIL_003423
                                Working on your BTC                                                         (alleging that Tews       I, J, K, N     24
                                No bullshit                                                                 gave Yioulos bitcoin as
                                Send me that address again thx                                              part of the fraud)
                 JY1709:        Gonna be tough                                                              See Indictment ¶ 18
                 JY1709:        19nWxoPtMzya2iyknK6PSfsJbZFAJUWJY1                                          (alleging coordination
                                                                                                            between Michael and
                                                                                                            Yioulos on how to
                                                                                                            provide more specific
                                                                                                            descriptions of falsely
                                                                                                            claimed services on
                                                                                                            fraudulent invoices)



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219     8/4/19   MT7473:        Photo of BTC ATM screen (58664509361__87A1CE2F-3E24-4127-8060-                  Messages sent to           A, G, K, N     SW_FIL_003331
                                3226F5EA9117.jpeg)                                                              Kimberley Tew                             77-
                 MT7473:        Photo of BTC ATM screen (58664510489__6A2CAB3E-93B6-41D2-                                                                 SW_FIL_003331
                                84F6-C74789431E25.jpeg)                                                         See Indictment ¶¶ 23,                     78
                                                                                                                32, 33

220     8/5/19   MT1312:        ok. Been a long weekend. Kimberley sent you 0.5. things got tight               See Indictment ¶ 25        A, B, C, D,    SW_FIL_003423
                                because fo that move up in BTC. Are you cool with that? We can send             (alleging that Tews        F, G, H, I,    24
                                you the rest ASAP. I literally took every dollar I had to get that to you. Q:   gave Yioulos bitcoin as    K, N
                                can you send anything at all for tomorrow ? I promise you are going to get      part of the fraud)
                                the rest. Trying to keep this short - its been a busy few days
                 MT1312:        Sorry for the delay. I mean that                                                On August 6, 2019,
                 JY1709:        I really can’t send anything for tomorrow. we have no cash right now. It’s      $15,000 sent via ACH
                                even going to be tight tomorrow to send, but I will obviously                   to Wells Fargo Bank
                 JY1709:        And thank you for sending. I’ll let you know when it arrives                    Account x6934 for
                 MT1312:        The goal is to get you 2.5 BTC over time as we close this out                   services purportedly
                 JY1709:        You are a saint. I have a plan to close this out too. Pretty easy one with      rendered to Global Fuel
                                regards to invoices                                                             Logistics. Michael Tew
                 MT1312:        We will get you to that 2.5                                                     was the sole signatory
                 MT1312:        I know you don’t have cash. Or not a lot. Can you squeeze 7K out? It            on that account, which
                                makes a difference                                                              was held in the name of
                 MT1312:        Is there any way you can send $25K today?                                       Sand Hill.
                 MT1312:        We’re going bounce a check to investors
                 MT1312:        A check to an investor                                                          See above, entry 199
                 JY1709:        There’s no way I can do that                                                    .for information about
                 JY1709:        I’m sorry. I really can’t                                                       GFL, AMR, Jessica
                 MT1312:        ACCOUNT NAME: SAND HILL, LLC                                                    Thompson, and the
                                BANK NAME: WELLS FARGO Bank NA                                                  relevant paragraphs of
                                ACCOUNT NUMBER:                 [x]6934                                         the Indictment.
                                ABA:                          [x]0076                                           See above, entry 54, for
                 JY1709:        15K our                                                                         information about Sand
                 JY1709:        Out*                                                                            Hill LLC and its use by
                 MT1312:        AMAZING                                                                         Michael Tew as a
                 MT1312:        Talk after work                                                                 vehicle to collect
                 MT1312:        THANK YO                                                                        scheme proceeds and
                                                                                                                the relevant paragraphs
                                                                                                                of the Indictment.


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221     8/5/19   KT2046:        I have $3,700 in cash                                                     See Indictment ¶ 25         A, C, F, G,    SW_FIL_003331
                 KT2046:        But we need to deposit $2,900 into navy                                   (alleging that Tews         H, K, N        80-
                 KT2046:        Maybe you can wire $3K                                                    gave Yioulos bitcoin as                    SW_FIL_003331
                                                                                                          part of the fraud)                         92
                                [. . . .]                                                                 See Indictment ¶¶ 23,
                                                                                                          32, 33
                 MT7473:        So nothing for jon?
                 KT2046:        I have $3,700 in cash that we can buy btc with                            Bank records show
                 MT7473:        Ok right                                                                  financial transactions at
                 KT2046:        Sending him something tonight                                             the Monarch Casino in
                 MT7473:        Io can wire 3K in the am                                                  Blackhawk Colorado
                 KT2046:        Have to                                                                   on August 5, 2019 on
                 MT7473:        I can wire whatever when the money hites                                  the Tews’ joint NFCU
                 MT7473:        Int eh am                                                                 bank account x8486.
                 MT7473:        Love yo                                                                   NAVY_00000127.
                 MT7473:        drive safe
                 MT7473:        Did you eat?                                                              Bank records show wire
                 KT2046:        I can only get $2,500                                                     transactions from the
                                                                                                          x6934 account
                                [. . . .]

                 MT7473:        Yeah I know
                 KT2046:        Waiting for it
                 KT2046:        Then driving home
                 MT7473:        I actually can get more at a different location but whatever works
                 [. . . .]
                 KT2046:        In Aurora though right?
                 MT7473:        That gas station where I bought the other day after aurora navy federal
                                that’s a good one
                 MT7473:        Its about 20 minute driv
                 MT7473:        Whatever works
                 MT7473:        I can definitely deliver there at same atm company if we want
                 MT7473:        BTW great job!! Made 1700 bucks in black hawk!
                 KT2046:        Do they ID you
                 KT2046:        Like they check the camera
                 MT7473:        Yeah there's a camera


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               MT7473:        Same ATM machine
               MT7473:        I don’t know if they check the camerca
               KT2046:        What happened that one time I deposited
               [. . . .]
               KT2046:        This place is so slow
               MT7473:        Different atm company
               MT7473:        What. Casino are you at
               KT2046:        Monarch
               MT7473:        Good crab buffet
               KT2046:        Do you want me to deposit
               KT2046:        In Aurora
               MT7473:        Should we try it?
               KT2046:        Its not really on your way home
               KT2046:        It's a risk
               MT7473:        I can do it when you get back
               KT2046:        Eta is prob 9:30
               KT2046:        If I don't go
               KT2046:        To atm
               MT7473:        Just come home and I can go back out
               MT7473:        Just About 0.3
               MT7473:        His address is on my grey phone
               KT2046:        I'm not sending it immediately
               MT7473:        Photo of BTC ATM screen (58671603791__DFD9500C-C7E2-4C90-
                              8D55-3CA16B080A71.jpeg)
               MT7473:        Photo of BTC ATM screen (58671604418__D6E9B5DD-2559-4A81-
                              88EF-8B9DD4F6D57B.jpeg)

222            KT2046:        Are you getting 9K of btc                                        See Indictment ¶¶ 23,     A, D, F, G,    SW_FIL_003331
               KT2046:        Where are you                                                    32, 33                    H, I, K, N     92-
               MT7473:        IMG_2714.jpeg                                                                                             SW_FIL_003331
               MT7473:        Photo of BTC ATM screen (58680143185__ED97D42F-6E63-433E-9BE0-   See Indictment ¶ 25                      93
                              299362E5500F.jpeg)                                               (alleging that Tews
               MT7473:        Photo of BTC ATM screen (58680155593__B1FFE297-9671-4851-A48C-   gave Yioulos bitcoin as                  SW_FIL_003273
                              8B7F543880A1.jpeg)                                               part of the fraud)                       87-
               MT7473:        Photo of BTC ATM screen (58680162706__CAE5C37B-FD23-4610-8364-                                            SW_FIL_003273
                              269575456A93.jpeg)                                               On August 6, 2019,                       93
                                                                                               $15,000 sent via ACH


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                                [. . . .]                                                                  to Wells Fargo Bank
                                                                                                           Account x6934 for
                 MT7473:        Jon saying he can only send 30 today because ofd the 15                    services purportedly
                 MT7473:        He says they have no money                                                 rendered to Global Fuel
                 KT2046:        WTF                                                                        Logistics
                 KT2046:        I owe Aaron 30
                 KT2046:        Ask him if I can borrow his BTC then until tomorrow
                 KT2046:        15EpimocgedRpx8Bay6KDUywsh3ABsR4X2
                 KT2046:        Are you going to withdrawal cash or are you still here
                 MT7473:        Bank is cloerd
                 KT2046:        Where are you
                 MT7473:        Still on with wells and fighting with jon
                 KT2046:        Tell him to send the BTC back it’s just sitting there. He’ll get it back
                                tomorrow.
                 MT7473:        Yeah he’s just pissed
                 KT2046:        Did you tell him to send it back
                 KT2046:        That messed everything up
                 MT7473:        yes
                 MT7473:        Hes just pissed but he’ll send
                 KT2046:        What did he say
                 KT2046:        When
                 MT7473:        Just now
                 MT7473:        He said sure Micheal every fucking time
                 KT2046:        When is he sending
                 KT2046:        So stop taking it from him
                 KT2046:        That attitude
                 MT7473:        He said he just sent it and it was only 0.45
                 MT7473:        I’ll just tell him he’ll have 0.5 tomororw
                 KT2046:        Sending Jon .5 back
                 MT7473:        You’re incredible
                 KT2046:        Maybe we will send him more today
                 KT2046:        Already sent him .25 back

223     8/6/19   MT1312:        Funds received, thank you. How you holding up. Are we good for $45 for     See Indictment ¶ 18       A, F, G, H,    SW_FIL_003423
                                tomorrow? I know it is tight. busy day for me also                         (alleging coordination    I, K, N        24
                 JY1709:        $45? I just sent 15                                                        between Michael and
                 JY1709:        You’re good for 30                                                         Yioulos on how to


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                  JY1709:        We HAVE NOOOOOO MONEY                                                     provide more specific
                  MT1312:        Calm down                                                                 descriptions of falsely
                  MT1312:        Ok.                                                                       claimed services on
                  JY1709:        I’m calm lol                                                              fraudulent invoices)
                  MT1312:        Ok KT asking if she can borrow your BTC until tomorrow in that            See Indictment ¶ 25
                                 case. She obv will return it tomorrow. Will be helpful. Understand your   (alleging that Tews
                                 position.                                                                 gave Yioulos bitcoin as
                  MT1312:        I know you hate me asking but you’re going to get it                      part of the fraud)
                  JY1709:        every fucking time
                  JY1709:        Sure Michael                                                              On August 7, 2019,
                  MT1312:        15EpimocgedRpx8Bay6KDUywsh3ABsR4X2                                        $31,500 is sent via
                  MT1312:        You will have it in your wallet tomorrow                                  ACH to Wells Fargo
                  MT1312:        Take it easy                                                              Bank Account x6934
                  MT1312:        Its yours                                                                 for services purportedly
                  JY1709:        Just sent it. And it was only .45 by the way.                             made to Global Fuel
                  MT1312:        I got it. Hey it’s my fault. I misunderstood.                             Logistics, as alleged in
                  MT1312:        You’l have 0.5 back tomorrow                                              Count 13 of the
                  JY1709:        Ok                                                                        Indictment

224     8/11/19   MT7473:        Photo of BTC ATM screen (58723701528__F244A6C1-BF81-4CEE-                 See Indictment ¶¶ 23,       A, G, K, N     SW_FIL_003331
                                 A1F1-1C5B4DC66B8E.jpeg)                                                   32, 33                                     98
                  MT7473:        Photo of BTC ATM screen (58723712987__6442180A-433B-4DA2-8871-
                                 EBC48D8A2F5E.jpeg)

225     8/13/19   KT2046:        Will send Jon how much                                                    Messages sent to            A, G, K, N     SW_FIL_003274
                  KT2046:        ?                                                                         Michael Tew                                22
                  KT2046:        How much is there
                                                                                                           See Indictment ¶ 25
                                                                                                           (alleging that Tews
                                                                                                           gave Yioulos bitcoin as
                                                                                                           part of the fraud)

226     8/13/19   MT1312:        How are you at 230/3 eastern                                              “Squeeze something          A, F, G, H,    SW_FIL_003423
                  JY1709:        Works                                                                     small for me tomorrow”      K              24
                  MT1312:        Sorry - can you squeeze something small for tomorrow. Small.              is a reference to sending
                  MT1312:        I know it’s late.                                                         out another payment
                  JY1709:        Too late. I already left for the day                                      from NAC

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                  JY1709:        I had to go to a mediation
                  MT1312:        Ok                                                          See Indictment ¶ 20
                  JY1709:        Sorry, but too late                                         (alleging coordination
                  MT1312:        Sorry about your divorce                                    by the Tews to decide
                  MT1312:        I’m sure it’s tough                                         how much to ask
                                                                                             Yioulos to send them
                                                                                             and the Tews’ role in
                                                                                             making those requests)

227     8/14/19   MT1312:        When are you free                                           See above, entry 54, for   A, F, G, H,    SW_FIL_003423
                  MT1312:        Let me know when you are back                               information about Sand     K              24
                  MT1312:        ACCOUNT NAME: SAND HILL, LLC                                Hill LLC and its use by
                                 BANK NAME: WELLS FARGO Bank NA                              Michael Tew as a
                                 ACCOUNT NUMBER: [x]6934                                     vehicle to collect
                                 ABA: [x]0076                                                scheme proceeds and
                  JY1709:        $35 today                                                   the relevant paragraphs
                  MT1312:        Copybthanks                                                 of the Indictment.
                                 Let’s get invoices done                                     The x6934 account was
                  JY1709:        Ok sounds good.                                             for Sand Hill. Michael
                                                                                             Tew was the sole
                                                                                             signatory

228     8/15/19   MT1312:        All good for tomorrow? Literally been slammed               See above, entry 199       A, F,G, H, K   SW_FIL_003423
                  JY1709:        Send bank info                                              .for information about                    24
                  MT1312:        Global Fuel Logistics, Inc.                                 GFL, AMR, Jessica
                                 Navy Federal Credit Union                                   Thompson, and the
                                 Account Number x5336                                        relevant paragraphs of
                                 Routing Number x4974                                        the Indictment.
                  JY1709:        You want it to that one now?
                  JY1709:        It’s out                                                    “You want it to that one
                  MT1312:        Thank you                                                   now” is a reference to
                                                                                             the fact that J.Y. had
                                                                                             not previously send
                                                                                             money for Global Fuel
                                                                                             to that account. The
                                                                                             x5336 account was held
                                                                                             in the name of Michael


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                                                                                                                 Tew and he was was
                                                                                                                 the sole signatory.
229     8/18/19   KT2046:        I feel like it’s all dependent on Jon who is clearly losing it and that makes   See Indictment ¶ 20        A, G, H, I,    SW_FIL_003274
                                 me nervous                                                                      (alleging coordination     K, N           39
                  KT2046:        I just want to know a time                                                      by the Tews to decide
                  MT7473:        I’ll get it I promise                                                           how much to ask
                                 I promise                                                                       Yioulos to send them
                  KT2046:        I love you                                                                      and the Tews’ role in
                  KT2046:        I would just feel better if you talked to him today                             making those requests)
                  MT7473:        I will
                                 He texted he can talk tonight
                  KT2046:        He skydiving right now
                  MT7473:        Real mid life crisis

230     8/19/19   MT1312:        Global Fuel Logistics, Inc.                                                     On August 19, 2019         A, G, K        SW_FIL_003423
                                 Navy Federal Credit Union                                                       $9,500 sent via ACH to                    24
                                 Account Number [x]5336                                                          Navy Federal Credit
                                 Routing Number [x]74974                                                         Union Account [x]5336
                  JY1709:        9500 out                                                                        for services purportedly
                  MT1312:        Thx                                                                             made to Global Fuel
                                 Talk tonight                                                                    Logistics, as alleged in
                                                                                                                 Count 14 of the
                                                                                                                 Indictment

                                                                                                                 See above, entry 199,
                                                                                                                 for information about
                                                                                                                 GFL, AMR, Jessica
                                                                                                                 Thompson, and the
                                                                                                                 relevant paragraphs of
                                                                                                                 the Indictment.

                                                                                                                 The x5336 account was
                                                                                                                 held in the name of
                                                                                                                 Michael Tew and he
                                                                                                                 was was the sole
                                                                                                                 signatory.



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231     8/20/19   JY1709:        Hey, I really need that BTC soon. At least one. Like I’m finalizing shit for      See Indictment ¶ 25        A, B, C, F,    SW_FIL_003423
                                 the divorce and she’s really harping me on logging in. It’s essential I get it    (alleging that Tews        G, K, N        24
                                 soon because she wants 1/2 of it. You’ve gotta come through for me here           gave Yioulos bitcoin as
                  MT1312:        Hi buddy. Listen - I will pull through. Kimberley already knows, I told her       part of the fraud)
                                 all about it yesterday. You mentioned last time we spoke 30 days so I             [C.A.] was an owner of
                                 wasn’t sweating it for now. I also have another idea I want to run by you -       NAC
                                 unrelated. But of course.
                  JY1709:        On with [C.A.]                                                                    See Indictment ¶ 20
                  MT1312:        Ok ring me when can thx                                                           (alleging coordination
                  MT1312:        You still on with him?                                                            by the Tews to decide
                  JY1709:        Yes                                                                               how much to ask
                  MT1312:        He loves to talk                                                                  Yioulos to send them
                  MT1312:        Need to know if you can do ANYTHING for tomorrow.                                 and the Tews’ role in
                  MT1312:        I know you need the bTC. I’m on it. I also have an idea for you / us that I       making those requests)
                                 want to discuss                                                                   See Indictment ¶ 21
                  JY1709:        Lets talk at 3:40                                                                 (describing how
                  MT1312:        Ok thx                                                                            Yioulos would provide
                  MT1312:        Can you ach 2k to wells                                                           information about
                  MT1312:        Just 2                                                                            NAC’s finances to
                  MT1312:        Sorry                                                                             facilitate when
                  JY1709:        Accounts are literally overdrawn by $6,000                                        fraudulent payments
                  JY1709:        I can’t                                                                           could be made)
                  MT1312:        Ok

232     8/21/19   JY1709:        ￼This is for global fuel logistics...$256K so far sent since July 24th            See above, entry 199,      A, B, D, G,    SW_FIL_003423
                  JY1709:        ￼This is for [PM] for payments I don’t have invoices for                          for information about      H, I, K        24
                  JY1709:        Starting with the $9200                                                           GFL, AMR, Jessica
                                 essentially, even thought the “number” was supposed to be $350K, I’ve             Thompson, and the
                                 sent $315K already between the two since July 1. I’m really not mad, I’m          relevant paragraphs of
                                 just letting you know                                                             the Indictment.
                  MT1312:        Copy that. Just got back [. . . ]. I will get you the invoices. Look - I don’t
                                 have a lot of time, I’m working 4 jobs, mostly for equity, at like a quarter of   See above, entry 86, for
                                 the national salary and keeping the lights on here. Admittedly a lot of this      information about
                                 is my fault, I have undershot the mark a bit primarily because I just want to     L.W., PM,
                                 keep things between us copasetic. I like        you and I respect you and         PM@gmail.com and
                                 what you have done for my family I will never forget. I’m angry beyond            the relevant paragraphs
                                 belief at the [C.A./L.A.] family and all their BS - but that’s separate. I’m      of the Indictment.

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                              desperately trying to get this thing done and behind us and I need you to
                              just hear me me out so we can get it done for both of us, then we can move     “DFAS” is a reference
                              on to our monthly thing until end of year which will also be a great           to a client of NAC.
                              help. Plus you get your BTC as per our agreement. I respect you and we
                              have an agreement.                                                             “[J.M.]” is a reference
               MT1312:        I need $50k today for tomorrow and then $40K early next week and we’re         to a NAC employee
                              done. I know that’s more than we agreed, but some things out of my
                              personal control happened - we’re only like what $50K over that we’re
                              really arguing about here. I can call you - just on a call now and can speak
                              after, have a noter call at 1pm EST.
               MT1312:        I know you are under tremendous stress - I know that. We have to stick
                              together and just move on from this jon.
               MT1312:        That’s me talking sincerely.
               MT1312:        Thank you - brb on a quick call
               JY1709:        I can’t do 50K today
               MT1312:        Please don’t yell. This is man to man.
               MT1312:        ok
               JY1709:        Dfas money never came
               MT1312:        copy
               MT1312:        OH FUCK
               MT1312:        Can you do anything today?
               JY1709:        LITERALLY. NO DFAS
               MT1312:        I’m jammed up to keep pushing
               MT1312:        fuck
               JY1709:        I’ll call around 230
               JY1709:        Yes I can do something.
               MT1312:        ok
               MT1312:        Ok thanks
               MT1312:        Thanks jon
               MT1312:        Call me 2:30ish
               MT1312:        I’m getting a lot of shit here - trying to get some clarity on my end as I
                              know you are as well. I have a call at 2:30 EST actually for about 30
                              mins. Should we talk before? I can talk at 2 if thet works?
               JY1709:        Sure
               JY1709:        ￼FYI. She’s chasing the invoices hard for global fuel. I bought some time
                              here, but she’s clearly snooping around
               MT1312:        Call me when can


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Entry   Date      Statement(s)                                                                             Additional Context         801            Source
                                                                                                                                      Rationale(s)
                  JY1709:        On a call
                  MT1312:        Sorry that was a stupid idea. Yes Talk shortly.
                  JY1709:        Send me account info. I can probably send $25K today, but not much more
                                 today. Maybe more tomorrow, but this is tough
                  JY1709:        On a call with [J.M.]
                  MT1312:        Ok
                  JY1709:        Trying to get rid of him
                  JY1709:        Send me info
                  MT1312:        ACCOUNT NAME: SAND HILL, LLC
                                 BANK NAME: WELLS FARGO Bank NA
                                 ACCOUNT NUMBER:                 []6934
                                 ABA:                          []076
                  JY1709:        Sand hill now???
                  JY1709:        I thought it hit the limit?
                  MT1312:        It’s 3p day rolling
                  MT1312:        It’s rolling off
                                 Is that ok?
                  JY1709:        Yes that’s fine
                  JY1709:        We need to talk tonight tho. Gotta get invoices in the system by Friday
                  MT1312:        Yes no prob
                  MT1312:        I will deliver for you
                                 I know you are doing everything you can
                  JY1709:        I sent $28K
                  MT1312:        Amazing

233     8/22/19   MT1312:        I’m so sorry I missed you last night time got away from me                $28,000 sent via ACH       A, B, D, G,    SW_FIL_003423
                  MT1312:        Should I just send the invoiced                                           to Wells Fargo Bank        H, I, K        24
                  JY1709:        Call you in an hour                                                       Account x6934 for
                  MT1312:        Ok                                                                        services purportedly
                  MT1312:        Hang in there                                                             made to Global Fuel
                  JY1709:        Need account                                                              Logistics, as alleged in
                  MT1312:        ACCOUNT NAME: SAND HILL, LLC                                              Count 15 of the
                                 BANK NAME: WELLS FARGO Bank NA                                            Indictment
                                 ACCOUNT NUMBER:                 [x]6934
                                 ABA:                          tel:[x]0076                                 See above, entry 199,
                  MT1312:        Can you send 25                                                           for information about
                  MT1312:        Thank you                                                                 GFL, AMR, Jessica


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Entry   Date      Statement(s)                                                                                 Additional Context       801            Source
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                  JY1709:        I’ve already sent $37500 this week. I really can’t                            Thompson, and the
                  MT1312:        I’ve pushed everything quite a bit. Its a tight situation. The most you can   relevant paragraphs of
                                 send teh better. I do understand your situation as well.                      the Indictment.
                  JY1709:        I’ve sent nearly $350K in a month. I really don’t think you get it. When
                                 things are this tight
                  MT1312:        I know you just want your BTC, I know you are traveling tomorrow, do
                                 you want to talk tonight?
                  JY1709:        Lets just talk this weekend. I’m fucking beat and my flight leaves at 6AM.
                                 Honestly, as long as we get everything in (invoices) by Monday morning
                                 we’ll be good. Thanks for checking in though
                  MT1312:        Are you sure? I’m fine with that if you are.
                  JY1709:        Yeah it’s fine
                  MT1312:        I know you’re getting hte shit beat out of you

234     8/22/19   MT7473:        Photo of BTC atm screen (58819208745__3EF1FF8D-1D5C-4633-B3CF-                Messages sent to         A, G, K, N     SW_FIL_003332
                                 A9DE77C5C873.jpeg)                                                            Kimberley Tew                           04
                  MT7473:        Photo of BTC atm screen (58819222503__821E0D55-9B82-4B1C-8429-
                                 97F4321D3301.jpeg)                                                            See Indictment ¶¶ 32,
                  MT7473:        Photo of BTC atm screen (58819226709__CD79F235-7CE4-4868-8410-                33
                                 34BA94330B01.jpeg)

235     8/23/19   MT7473:    Photo of BTC atm screen (58827087661__F806463C-E2CB-4F9B-A62F-                                             A, G, K        SW_FIL_003332
                             3F30ACDCB95A.jpeg)                                                                                                        05
                  MT7473: Photo of BTC atm screen (58827101199__01E0B75D-95F9-409E-952E-
                             6CE614AB56A1.jpeg)
                  MT7473: Photo of BTC atm screen (58827113143__B1F41B58-0039-49F9-966F-
                             1B1172B9F903.jpeg)
                  MT7473: Photo of BTC atm screen (58827121542__E2A2AC50-4456-40DF-9BE8-
                             8590192A2813.jpeg)A, G, KMT7473: Photo of deposit slip
                  (58829292164__A74CCE32-1CF2-432A-BC34-                793B7FFB8CD2.jpeg)
                  MT7473: Photo of deposit slip (58829294760__54D0395F-7445-4E73-9935-
                             DF8D79E2751C.jpeg)

236     8/25/19   MT7473:        Photo of BTC atm screen (58847015339__A9A51E2F-A3E7-4FAA-841D-                See Indictment ¶¶ 32,    A, G, K, N     SW_FIL_003332
                                 BC5F08D8F427.jpeg)                                                            33                                      08




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237     8/26/19   MT1312:        When are you free                                                 See above, entry 199,      A, B, D, G,    SW_FIL_003423
                  MT1312:        ACCOUNT NAME: SAND HILL, LLC                                      for information about      H, I, K, N     24
                                 BANK NAME: WELLS FARGO Bank NA                                    GFL, AMR, Jessica
                                 ACCOUNT NUMBER:                 [x]6934                           Thompson, and the
                                 ABA:                          tel:[x]0076                         relevant paragraphs of
                  MT1312:        Can you send 40                                                   the Indictment.
                  MT1312:        Done                                                              See Indictment ¶ 25
                  JY1709:        Yes, if I send $45K, do you think I can get at least 1BTC soon?   (alleging that Tews
                  JY1709:        Either way, I sent $45K. It’s done. Out. THANK GOD                gave Yioulos bitcoin as
                  MT1312:        Yes                                                               part of the fraud)
                  MT1312:        Pulling in now was on with marcum believe it or now
                  JY1709:        Haha bizarre                                                      See above, entry 54, for
                  MT1312:        So funny                                                          information about Sand
                                                                                                   Hill LLC and its use by
                                                                                                   Michael Tew as a
                                                                                                   vehicle to collect
                                                                                                   scheme proceeds and
                                                                                                   the relevant paragraphs
                                                                                                   of the Indictment.

238     8/26/19   MT7473:        Photo of BTC atm screen (58852688011__68F0A3B1-EB0D-44D3-B3C9-    The Tews were              A, G, K, N     SW_FIL_003332
                                 E74E23C57122.jpeg)                                                anticipating a payment                    09
                  MT7473:        Photo of BTC atm screen (58852699336__D23EF89D-97D6-4C6A-905E-    on August 27, 2019
                                 A0FC5A838DD2.jpeg)                                                $45,000 sent via ACH
                                                                                                   to Wells Fargo Bank
                                                                                                   Account x6934 for
                                                                                                   services purportedly
                                                                                                   made to Global Fuel
                                                                                                   Logistics

239     8/27/19   MT7473:        Photo of BTC atm screen (58861620814__36BB7665-EEC8-4AD7-AFA3-    On August 27, 2019         A, G, K, N     SW_FIL_003332
                                 ED56CB7C368C.jpeg)                                                $45,000 sent via ACH                      09-
                  MT7473:        Photo of BTC atm screen (58861632596__C57DBD8D-E359-49C5-8463-    to Wells Fargo Bank                       SW_FIL_003332
                                 620D9A379AC8.jpeg)                                                Account x6934 for                         12
                  MT7473:        Photo of BTC atm screen (58861644155__710EC1D1-7D28-4EEE-AF21-    services purportedly
                                 2803B196D904.jpeg)                                                made to Global Fuel
                  MT7473:        Btc hit let me know what you want                                 Logistics.


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Entry   Date      Statement(s)                                                                             Additional Context        801            Source
                                                                                                                                     Rationale(s)
                  KT2046:        Sell 2K rn
                  KT2046:        And transfer to NFCU                                                      Bank records show two
                  MT7473:        dsone                                                                     Zelle transfers, for
                  KT2046:        Can you send rest to below                                                $1,000 each, posting on
                  KT2046:        1JdPtwSPRWtzAykDaJWY7GQMhibTr65yJR                                        August 28, 2019 in teh
                  MT7473:        Done                                                                      Tews NFCU x8486
                  KT2046:        Can you send me another cb btc wallet address for you please              joint bank account.
                  MT7473:        3DmXYf68zAGPzQUpceJP5niNieZNYh9xjA
                                                                                                           See Indictment ¶¶ 32,
                                                                                                           33

240     8/28/19   MT7473:        Photo of deposit slip (58870318763__22AF392D-2117-4192-8997-              See Indictment ¶¶ 32,     A, G, K, N     SW_FIL_003332
                                 F6FBE5280445.jpeg)                                                        33                                       13-
                  MT7473:        Photo of deposit slip (58870322460__CF7F28E8-FFA8-4CB1-8D71-                                                       SW_FIL_003332
                                 23156E190DDE.jpeg)                                                                                                 14
                  KT2046:        The second one is too blurry
                  KT2046:        Where are you????
                  KT2046:        Can't reach you
                  MT7473:        Photo of deposit slip (58870365236__EC77764A-4C1F-4FF4-B959-
                                 82DD83B332EB.jpeg)
                  MT7473:        Photo of deposit slip (58870368231__81D64BA3-840B-4EBA-9118-
                                 A01C5EF6CD6F.jpeg)

241     8/28/19   Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s   See above, entry 199,     A, K, L        GFL_00000055-
                  business email account with two attached invoices, writing:                              for information about                    GFL_00000059
                                                                                                           GFL, AMR, Jessica
                  Dear Jon:                                                                                Thompson, and the
                                                                                                           relevant paragraphs of
                  Apologies for the delay in getting you these.                                            the Indictment.
                                                                                                           See Indictment ¶¶11,
                  Attached is our W9 and invoices covering payments you made to us through August 20.      12, 13
                  I am still scanning our files for anything we might be missing to get you the rest by
                  tomorrow.

                  Thank you for your business!

                  Jessica Thompson


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Entry   Date      Statement(s)                                                                                  Additional Context         801            Source
                                                                                                                                           Rationale(s)
                  Global Fuel Logistics, Inc.
242     8/29/19   KT2046:      1MTwXiUhC23oTgXEE7VQXoezXVz58YxL38                                               On August 29, 2019         A, D, G, H,    SW_FIL_003332
                  MT7473: Sent                                                                                  $45,000 sent via ACH       I, J, K, N     15
                                                                                                                to Wells Fargo Bank
                                 [. . . .]                                                                      Account [x]2064 for
                                                                                                                services purportedly
                  KT2046:        I don’t know why you never talk to jon in front of me                          made to Global Fuel                       SW_FIL_003275
                  MT7473:        Because we will end up fighting                                                Logistics, as alleged in                  12-
                  MT7473:        Headed to btc atm nowadays                                                     Count 45 of the                           SW_FIL_003275
                  KT2046:        You said you would have an update at 6:30am                                    Indictment                                22
                  KT2046:        Or was that to shut me up
                  MT7473:        I thought he would call me before work                                         See Indictment ¶ 20
                  KT2046:        You let him treat you like shit                                                (alleging coordination
                  KT2046:        He started all of this                                                         by the Tews to decide
                  MT7473:        It’s all my fault I have to eat crow from everyone                             how much to ask
                  KT2046:        Wah wah wah                                                                    Yioulos to send them
                  KT2046:        You don’t need to take shit from him                                           and the Tews’ role in
                  MT7473:        Just the fright                                                                making those requests)
                  MT7473:        Truth                                                                          See Indictment ¶¶ 32,
                  KT2046:        But get the numbers right                                                      33
                  KT2046:        Get a hold of him
                  MT7473:        Get another 168?
                  MT7473:        I just almost got hit
                  KT2046:        Stop texting
                  KT2046:        Including DB that’s another 213. Plus our credit cards and taxes and car.
                  MT7473:        Photo of BTC ATM screen (58878759310__31BA9717-615F-40CF-A1B0-
                                 B1755DE433F5.jpeg)
                  MT7473:        So I need a 400k commitment from Him. today and 90k ASAP
                  KT2046:        I don’t think the former is possible but the 90 is going to turn into double
                                 that if not dealt with.
                  KT2046:        Stop letting him treat you like shit
                  KT2046:        You don’t deserve it from him
                  MT7473:        And you just take it
                  KT2046:        Photo of BTC ATM screen (58878770997__27C47A16-37C9-47DD-
                                 86D0-7AB63E841F7C.jpeg)
                  MT7473:        So just lay into him and try to get 180!
                  MT7473:        ?


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Entry   Date      Statement(s)                                                                                  Additional Context       801            Source
                                                                                                                                         Rationale(s)
                  MT7473:        I do deserve it
                  MT7473:        I fuck everyone’s shit up
                  KT2046:        Ok I don’t respect you
                  KT2046:        You’re not listening
                  KT2046:        Let him treat you like shit and piss me off
                  KT2046:        I don’t see the BTC yet
                  MT7473:        I just did it
                  KT2046:        How many times have I told you to not text and drive
                  MT7473:        I’m chasing Jon sending him nasty texts now
                  MT7473:        He won’t answer me and said he will call me this afternoon
                  KT2046:        Tell him fuck him and his mid life crisis
                  KT2046:        If he doesn’t call you within the next 20 min I will personally turn him in.
                                 Fuck it.
                  KT2046:        He can’t even help us at this point
                  KT2046:        And he’s so abusive you’re afraid to tell him what’s really needed
                  KT2046:        He’s going to tell you he can’t send anything or like 20
                  MT7473:        He said he will make it work he’ll do whatever he can to help
                                 He will call me at 1 eastern
                                 I told him we could all just go to the sec and turn everyone in
                  KT2046:        No plan
                  KT2046:        No clarity
                  KT2046:        Make sure that account is set up for online wires like today more than the
                                 minimum.
                                 150K+?
                  MT7473:        Ok

243     8/29/19   On August 29, 2019 J.Y. used his business email account to respond to questions by            See above, entry 199,    A, K, L        NAC_E_70403
                  NAC employees about a payment to Global Fuel Logistics, writing “I’ll send confirms.”         for information about
                                                                                                                GFL, AMR, Jessica
                                                                                                                Thompson, and the
                                                                                                                relevant paragraphs of
                                                                                                                the Indictment.
                                                                                                                See Indictment ¶¶11,
                                                                                                                12, 13

244     8/29/19   Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s        See above, entry 199,    A, K, L        GFL_00000008-
                  business email account with two attached invoices, writing:                                   for information about                   GFL_00000009


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Entry   Date      Statement(s)                                                                             Additional Context       801            Source
                                                                                                                                    Rationale(s)
                                                                                                           GFL, AMR, Jessica
                  Dear Jon:                                                                                Thompson, and the
                                                                                                           relevant paragraphs of
                  Attached is an updated invoice 1001.                                                     the Indictment.
                                                                                                           See Indictment ¶¶11,
                  Let me know if you have any questions.                                                   12, 13

                  Thank you!

                  Jessica Thompson

245               Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s   See above, entry 199,    A, K, L        GFL_00000060-
                  business email account with two attached invoices, writing:                              for information about                   GFL_00000063
                                                                                                           GFL, AMR, Jessica
                  Dear Jon:                                                                                Thompson, and the
                                                                                                           relevant paragraphs of
                  Attached are the remainder of the invoices that have been paid and / or are due          the Indictment.
                  immediately                                                                              See Indictment ¶¶11,
                                                                                                           12, 13
                  Thank you for your business!

                  Jessica Thompson
                  Global Fuel Logistics, Inc.

246     8/30/19   MT7473:        Photo of BTC ATM screen (58882335544__A6E825A0-4408-4C58-9456-            Messages sent to         A, G, K, N     SW_FIL_003332
                                 8D1AE7AC23D3.jpeg)                                                        Kimberley Tew                           19
                  MT7473:        Photo of BTC ATM screen (58882337054__1E05EA14-F320-416E-AF9E-
                                 942A9870E394.jpeg)                                                        See Indictment ¶¶ 32,
                                                                                                           33




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September 2019

 Entry    Date     Statement(s)                                                                              Additional Context         801              Source
                                                                                                                                        Rationale(s)
 247      9/3/19   KT2046:        Just hit jackpot for 8K                                                    On September 4, 2019,      A, G, H, I, J,   SW_FIL_003332
                   MT7473:        Omg!!!!! We’re in business baby!                                           $45,000sent via ACH        K, N             23-
                   KT2046:        Actually $7,730                                                            to Navy Federal Credit                      SW_FIL_003332
                   MT7473:        Omg!!! Hit it!                                                             Union Account [x]5336                       26
                   KT2046:        Lol                                                                        for services purportedly
                   KT2046:        Only $1,200 on the second                                                  made to Global Fuel
                   KT2046:        Fuck this place. Getting paid today.                                       Logistics, as alleged in
                   MT7473:        Still incredible                                                           Counts 16 and 46 of the
                   MT7473:        Incredible                                                                 Indictment
                                  Just winning
                   MT7473:        Last flight out is 9:45, booked that flight, gets in at 12:30 am.          Bank records show
                   KT2046:        How far is navy federal                                                    transactions at the
                   MT7473:        Navy federal is 15 minute drive west, BTC atm is 30 minutes back NE        Wynn Casino in Las
                                  from there                                                                 Vegas on the Tews
                   KT2046:        We will do btc. When we get back                                           Joint NFCU bank
                   KT2046:        Stick with me                                                              account x8486 on Sept.
                   MT7473:        I;’m sticking with you - you’re coming back in an hour, or you’re saying   4, 2019 and transfers to
                                  figure it out later                                                        Kimberley Tew’s
                   KT2046:        Hi! let’s go get that money from NFCU 26K ! Bring it back here!            NFCU account x4602,
                                                                                                             where there are ATM
                                                                                                             withdrawals and debits
                                                                                                             at the casino.
                                                                                                             NAVY_00000148;
                                                                                                             158]. There were also
                                                                                                             purchases at the Wynn
                                                                                                             posted to the Global
                                                                                                             Fuel Logistics x29064
                                                                                                             account.
                                                                                                             [WFB_00002340]


                                                                                                             Records from the Wynn
                                                                                                             show Kimberley Ann
                                                                                                             Tew staying between
                                                                                                             9/1/19 and 9/15/19.

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Entry   Date     Statement(s)                                                                              Additional Context         801            Source
                                                                                                                                      Rationale(s)
                                                                                                           WYNN_00000624.
                                                                                                           They also show
                                                                                                           Kimberley Tew
                                                                                                           winning $7,730 on
                                                                                                           September 3, 2019.
                                                                                                           [WYNN_00000174].
                                                                                                           The Wynn hotel
                                                                                                           estimated that she lost
                                                                                                           $23,651.82 gambling
                                                                                                           on slots in 2019 and
                                                                                                           lost $38,550 gambling
                                                                                                           at tables.
                                                                                                           [WYNN_00000179]

                                                                                                           See Indictment ¶ 34
                                                                                                           (describing use of fraud
                                                                                                           proceeds in Las Vegas)


248     9/6/19   MT7473:        Your 5296 card said “not active”                                           Bank records show two      A, G, K, N     SW_FIL_003332
                                Couldn’t get anything                                                      $600 ATM withdrawals                      27-
                                Got 600 from 4769 and 2863                                                 from account x4062 in                     SW_FIL_003332
                                And I could get 600 from each of mine                                      the name of Kimberley                     34
                                That’s 1800 from mine                                                      Tew
                                1200 from yours                                                            {NAVY_00000158], 2
                                Plus 3000                                                                  $600 ATM withdrawals
                                Six thousand total                                                         from the joint account
                 MT7473:        All set                                                                    x8486
                                I can only buy up to 2k more on this atm until like 1 or whenever we did   [NAVY_0000149], a
                                the 12k today                                                              $600 ATM withdrawal
                                                                                                           from Michael Tew’s
                                [. . . .]                                                                  NFCU account x3494.
                                                                                                           [NAVY_00000520],
                 KT2046:        $3,500 to [redacted business]                                              and a $600 ATM
                 KT2046:        Account Number:                                                            withdrawal from
                                [x]8260                                                                    Michael Tew’s NFCU
                 KT2046:        Hold on depositing to [redacted] until we talk


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Entry   Date     Statement(s)                                                                  Additional Context       801            Source
                                                                                                                        Rationale(s)
                 MT7473:        In line                                                        account x5336.
                 KT2046:        Deposit 5K                                                     [NAVY_00000524]
                 KT2046:        To [redacted]
                 MT7473:        Ok                                                             See Indictment ¶¶ 23,
                                Confirmed?                                                     32, 33
                                Going to chase now it’s like 3 blocks
                 KT2046:        I’ll send you a text to extra confirm
                 MT7473:        Ok
                 MT7473:        At chase
                 KT2046:        K
                 KT2046:        5K deposit
                 MT7473:        Ok
                 MT7473:        Making now
                 MT7473:        Then coming back
                 KT2046:        Sam just surfaced
                 KT2046:        Might have a 4K deposit at Chase
                 KT2046:        Or Boa
                 KT2046:        Is the latter close to you
                 MT7473:        There is a bofa close yes
                 KT2046:        CHASE
                                Account # 51370[x]rvices llc
                                California
                 KT2046:        This is for Sam
                 KT2046:        Just shoot me a copy of receipt blank
                 KT2046:        4000
                 MT7473:        ok
                 MT7473:        Photo of deposit slip (58948175101__4A171850-5F55-4898-87C9-
                                8CB6FB96FD87.jpeg)
                 KT2046:        For the $4k deposit when it’s completed
                 MT7473:        Photo of deposit slip (58948194739__8A0B9BBE-49FD-42C3-A688-
                                63017EC709A5.jpeg)
                 KT2046:        Can you check to see if you received 2K via Zelle to NFCU
                 MT7473:        Got text confirm checking account now

249     9/7/19   KT2046:        I need you to call jon                                         See Indictment ¶ 18      A, B, D, F,    SW_FIL_003275
                 MT7473:        I need a plan and dates                                        (alleging coordination   G, H, K, N     68-
                 MT7473:        And say what to him                                            between Michael and


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                 MT7473:        We never sent him anything                                                    Yioulos on how to                           SW_FIL_003275
                 MT7473:        I haven’t spoken to him since Tuesday when I said we would send him btc       provide more specific                       82
                 MT7473:        We need to send him something                                                 descriptions of falsely
                 MT7473:        We have to                                                                    claimed services on
                 KT2046:        Something                                                                     fraudulent invoices)
                 KT2046:        Fuck this shit
                 KT2046:        I have nothing to send
                 KT2046:        I need you to not freak out
                 MT7473:        I need you to not freak out

                                [. . . .]

                 KT2046:        You’re freaking
                 KT2046:        You’re afraid of Jon
                 MT7473:        I’m not afraid of Jon
                                We specifically said we would send him btc for his divorce
                                He sent that 90k as we asked
                 MT7473:        Why do we purposely fuck hom over and then make me go back to him hat
                                in hand
                 MT7473:        Just tell me why we do it so I understand
                 KT2046:        I don’t have it what do you want me to do

250     9/8/19   MT7473:        Photo of BTC ATM screen (58966783274__7CAE38F8-1512-459C-                     See Indictment ¶¶ 32,      A, G, K, N       SW_FIL_003332
                                BB1E-94FA763CE0AE.jpeg)                                                       33                                          36

251     9/9/19   MT1312:        Need you to come up for air or I have to send an email                        On September 10,           A, B, D, F,      SW_FIL_003423
                 JY1709:        I’ll be available soon. If you’re asking for money...                         2019, $18,000 sent via     G, H, I, J, K,   24
                 JY1709:        I’ll literally lose my shit                                                   ACH to Wells Fargo         N
                 JY1709:        I’m not kidding. I’ll fucking lose it                                         Bank Account x6934
                 MT1312:        We needed more, we couldn’t ask you, she got scammed, I was traveling, I      for services purportedly
                                got back late Friday, I know she lost the money and your BTC just trying to   made to Aero
                                handle everything so I don’t go to jail (because I’ll be the one to go to     Maintenance
                                prison). We’ve been fighting over it all weekend long. I mean what do you     Resources, as alleged in
                                want me to do. I mean that, I’m asking you, what do I do.                     Count 17 of the
                 JY1709:        Fuck you                                                                      Indictment
                 JY1709:        Fuck you
                 JY1709:        Fuck you                                                                      On September 10,


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               JY1709:        SHE GOT SCAMMED. Are you kidding me? Go fuck yourself                            2019, $28,000 sent via
               MT1312:        i know how it looks - in the end it will all come out, you will see, none of     ACH to Wells Fargo
                              the funds ended up in our pocket.                                                Bank Account x6934
               MT1312:        Do you want to come to Denver one weekend                                        for services purportedly
               JY1709:        Possibly                                                                         made to Aero
               MT1312:        May be a good idea                                                               Maintenance Resources
               JY1709:        Just send me the bank shit before it gets late. I want to take care of today’s
               MT1312:        Ok - 2 secs                                                                      “SHILL” is a reference
               MT1312:        In the middle of getting all of this squared away with her just hte two of us    to Sand Hill. See
                              - believe it or not first time. I’m sorry jon. Sending bank                      above, entry 54, for
               MT1312:        SHILL or Global Fuel                                                             information about Sand
               JY1709:        Whatever is easier. I’d prefer global though                                     Hill LLC and its use by
               MT1312:        Ok 2 secs                                                                        Michael Tew as a
               MT1312:        Have to make sure I get hte right routing                                        vehicle to collect
               MT1312:        Can you send ACH to Global Fuel but to SHILL                                     scheme proceeds and
               JY1709:        Listen, I’d really rather send to the global fuel account in case anyone         the relevant paragraphs
                              looks...                                                                         of the Indictment.
               MT1312:        ACCOUNT NAME: SAND HILL, LLC
                              BANK NAME: WELLS FARGO Bank NA                                                   See above, entry 199,
                              ACCOUNT NUMBER:                   [x]6934                                        for information about
                              ABA:                            [x]0076                                          GFL, AMR, Jessica
               JY1709:        Thanks                                                                           Thompson, and the
               MT1312:        We think we should meet in person at some point. Anywhere                        relevant paragraphs of
               MT1312:        We can talk later                                                                the Indictment.
               JY1709:        Agreed
               MT1312:        At this point we have to. You can come here spend the weekend or we can          “[C.A.]” is a reference
                              meet in FL. We can go to a rockies or broncos game                               to the owner of NAC
               MT1312:        Whats your sports team
               JY1709:        Yeah we’ll figure it out. Die hard bills fan, but just a fan of sports in
                              general. I’ll make it out to Denver probably
               MT1312:        How soon could you make it do you think - think about it and let me know.
                              No direct flights so tougher for us with the [. . . .]to mobilize
               JY1709:        Not sure. Really tough to know with the whole divorce thing and house sale
                              and the bipolar attitude of [C.A.]
               JY1709:        Ok, ACH is out. 18K
               MT1312:        Copy that. Thank you jon. When can you talk tonight
               JY1709:        11 ??


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                  JY1709:        So after 9PM your time
                  MT1312:        yeah...meeting your girl: )
                  MT1312:        [. . . .]
                                 Can we talk in am
                  JY1709:        Sure
                  MT1312:        Thx sorry

252     9/9/19    MT7473:        Photo of BTC ATM screen (58967611293__CA005090-EA52-4EAA-        Message to Kimberley       A, G, K, N     SW_FIL_003275
                                 9CD9-906D07A92E9C.jpeg)                                          Tew                                       75

                                                                                                  See Indictment ¶¶ 32,
                                                                                                  33

253     9/10/19   MT7473:        Photo of BTC ATM screen (58983275109__7204C976-2851-44C5-AEC3-   Messages to Kimberley      A, G, K, N     SW_FIL_003332
                                 FB347FF2A581.jpeg)                                               Tew.                                      46-
                  MT7473:        Photo of BTC ATM screen (58983286737__84466F5F-5456-45E9-A542-                                             SW_FIL_003332
                                 6EE327B8972C.jpeg)                                               See Indictment ¶¶ 32,                     47
                  MT7473:        Photo of BTC ATM screen (58983294750__BA5FCB27-45D8-4BD4-        33
                                 B75E-9D95877F22D8.jpeg)
                                                                                                  On September 10,
                                 [. . . .]                                                        2019, $18,000 sent via
                                                                                                  ACH to Wells Fargo
                  MT7473:        I have 17 in global fuel                                         Bank Account x6934                        SW_FIL_003275
                                                                                                  for services purportedly                  77
                                                                                                  made to Aero
                                                                                                  Maintenance
                                                                                                  Resources, as alleged in
                                                                                                  Count 17 of the
                                                                                                  Indictment

                                                                                                  On September 10,
                                                                                                  2019, $28,000 sent via
                                                                                                  ACH to Wells Fargo
                                                                                                  Bank Account x6934
                                                                                                  for services purportedly
                                                                                                  made to Aero
                                                                                                  Maintenance Resources


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254     9/13/19   Kley(KT):      I want to get 15K of btc                                         See Indictment ¶¶ 32,      A, G, K, N     SW_FIL_003332
                  MT7473:        Ok                                                               33                                        51-
                  MT7473:        You need me to go to bank?                                                                                 SW_FIL_003332
                  Kley(KT):      Yes                                                              On September13, 2019,                     54;
                  Kley(KT):      How else would I get it                                          $51,500 sent via ACH                      SW_FIL_003332
                  MT7473:        Right I forgot its at wells no prob                              to Wells Fargo Bank                       58-
                  MT7473:        Photo of BTC ATM Screen (59009287920__2DD9B3F9-BF8F-4452-        Account x6934 for                         SW_FIL_003332
                                 892E-10683FDE65EC.jpeg)                                          services purportedly                      59
                  MT7473:        Photo of BTC ATM Screen (59009298297__52EBCD8A-4285-4767-        made to Aero
                                 A45A-33EDDD592EF5.jpeg)                                          Maintenance Resources
                  MT7473:        Photo of BTC ATM Screen (59009308985__D355134C-768C-4483-B773-
                                 C57CA6A60CC6.jpeg)
                  MT7473:        Photo of BTC ATM Screen (59009323062__2B7B1BA3-1BD9-4390-        Bank record show a
                                 A759-033B4D99CCDB.jpeg)                                          $15,000 withdrawal
                  MT7473:        Photo of BTC ATM Screen (59009333408__E24FFA08-CDF9-451A-        from Michael Tew’s
                                 8824-DA6EA5E2ED38.jpeg)                                          Sand Hil bank account
                  MT7473:        Photo of BTC ATM Screen (59009343449__3CEAA1BD-E0B7-48B1-        at Wells Fargo x6934
                                 87F0-9C7207B76B99.jpeg)                                          on September 13, 2019.
                                                                                                  [WFB_00002519]
                                 [. . . .]
                                                                                                  See above, entry 199,
                  MT7473:        Getting cash now                                                 for information about
                                 Go to both of the atms ?                                         GFL, AMR, Jessica
                  MT7473:        Photo of BTC ATM Screen (59010711965__C010CF29-381D-4FF2-9B18-   Thompson, and the
                                 4165C88D1DE3.jpeg)                                               relevant paragraphs of
                                                                                                  the Indictment.
                                 [. . . .]
                                                                                                  See above, entry 54, for
                  MT7473:        Photo of BTC ATM Screen (59010923693__CD24F82A-1A6B-4691-        information about Sand
                                 B203-57D613426719.jpeg)                                          Hill LLC and its use by
                                                                                                  Michael Tew as a
                                                                                                  vehicle to collect
                                                                                                  scheme proceeds and



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                                                                                                                the relevant paragraphs
                                                                                                                of the Indictment.

255     9/14/19   MT7473:        Photo of BTC ATM Screen (IMG_3189.jpeg)                                        Bank records show two     A, G, K, N     SW_FIL_003332
                  MT7473:        How much am I getting out of navy                                              $600 ATM withdrawals                     60-
                  Kley(KT):      1200 out of joint                                                              on 9/14/19, posting to                   SW_FIL_003332
                  MT7473:        Ok                                                                             the Tews’ NFCU joint                     64
                  MT7473:        And 1knohtbof wells                                                            account x8486 on 9/16.
                                                                                                                [NAVY_00000152].
                                 [. . . .]
                                                                                                                See Indictment ¶¶ 32,
                  MT7473:        Got the cash headed to atm                                                     33

                                 [. . . .]

                  MT7473:        Texted them and asked if they could increase my limit just in case
                  MT7473:        59017862814__D8BE5BCF-7C1F-49AA-96EC-ADB6F5C58666.jpeg

256     9/16/19   MT1312:        Hi what’s the plan this week                                                   See Indictment ¶ 20       A C,, F, G,    SW_FIL_003423
                                 Need 75k                                                                       (alleging coordination    H, I, K, N     24
                                 Can you make that happen by wed or thurs                                       by the Tews to decide
                                 Can do two increments                                                          how much to ask
                                 Let’s also make a plan for rest of year                                        Yioulos to send them
                                 I have the numbers                                                             and the Tews’ role in
                  JY1709:        It’s bleak as fuck. We’ll talk later today if that’s cool. Gotta get settled   making those requests)
                  MT1312:        Ok                                                                             See Indictment ¶ 21
                                 Talk at 3?                                                                     (describing how
                  JY1709:        Works                                                                          Yioulos would provide
                  MT1312:        Perfect thanks buddy                                                           information about
                  MT1312:        Urgent if we can get something for tomorrow. I know it’s tight. Talk at 3      NAC’s finances to
                  MT1312:        I have a 1pm MT call, can we talk prior because I also have a 1;30. Can we     facilitate when
                                 talk at 2:45 EST
                                                                                                                fraudulent payments
                  JY1709:        Can’t. 245 it is
                                                                                                                could be made)
                  MT1312:        Nothing for tomorrow? Not small?
                  JY1709:        I DONT FUCKING KNOW                                                            On September 17,
                  MT1312:        I got it.                                                                      2019,
                  JY1709:        5 min


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                  MT1312:        Ok                                                                                $11,950 sent via ACH
                  MT1312:        You good?                                                                         to Navy Federal Credit
                  JY1709:        Yeah sorry finishing a call                                                       Union Account [x]5336
                  MT1312:        All good                                                                          for services purportedly
                  MT1312:        I have a call in 10 mins can we speak before                                      made to Aero
                  MT1312:        Please please please try and send something small                                 Maintenance Resources
                                 Re your BTC
                                 Kimberley suggested maybe better to hand you 2 BTC on a stick when you            See above, entry 199,
                                 come here she told me to ask you what you prefer. Said she needs two              for information about
                                 weeks.                                                                            GFL, AMR, Jessica
                  JY1709:        I really don’t think I can. Just send bank info. I can try, but I can’t promise   Thompson, and the
                  JY1709:        And no, I’d rather just have it sent to me                                        relevant paragraphs of
                  MT1312:        Ok. I’ll tell her. She figured maybe stick because then can’t trace the           the Indictment.
                                 records. Just saying.                                                             See Indictment ¶ 25
                  MT1312:        Global Fuel Logistics, Inc.                                                       (alleging that Tews
                                 Navy Federal Credit Union                                                         gave Yioulos bitcoin as
                                 Account Number [x]5336                                                            part of the fraud)
                                 Routing Number [x]4974
                  MT1312:        Copy and get it
                  JY1709:        11,950
                  MT1312:        THANK YOU

257     9/17/19   MT1312:        How are you doing                                                                 See Indictment ¶ 25        A, B, D, B,    SW_FIL_003423
                  MT1312:        Canh you talk at 2/2:30                                                           (alleging that Tews        C, F, G, H,    24
                  JY1709:        Sure                                                                              gave Yioulos bitcoin as    I, K, N
                  MT1312:        0.5 sent to youi                                                                  part of the fraud)
                  MT1312:        Check your address
                  MT1312:        13CzsY9L9cibW6yVPkDJg3ys7bu5Mi4t5f                                                On September 17,
                  JY1709:        Got it!                                                                           2019, $11,950 sent via
                  MT1312:        Told you                                                                          ACH to Navy Federal
                  MT1312:        It’s gonna be ok                                                                  Credit Union Account
                  JY1709:        Haha I know. I’m just stressed cause of the situation here. If we had more        [x]5336 for services
                                 cash, this wouldn’t even be a worry                                               purportedly made to
                  MT1312:        Send what you can don’t get into any trouble - maybe we wait until next           Aero Maintenance
                                 week for the larger chunk                                                         Resources
                  MT1312:        Kimberley says she’s running a script - says she can turn hat 0.5 to 0.75 if
                                 you want. She can make money with it right now. The day is going well


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               MT1312:        Up to you                                                                      On September 18,
               MT1312:        That’s how she came up with the 0.5                                            2019, $33,500 sent via
               MT1312:        Some days are really good                                                      ACH to Wells Fargo
               MT1312:        1Cm5DqFvF8CRr1qhDffEf3pnguqkB6pFRA                                             Bank Account x6934
               MT1312:        Send back here if you want                                                     for services purportedly
               MT1312:        She will turn to 0.75                                                          made to Aero
               JY1709:        How quickly...                                                                 Maintenance
               MT1312:        How fast do you want it she asked                                              Resources, as alleged in
               JY1709:        I think I’ll just hold for now. I think I’m getting served with papers today   Counts 18 and 47 of the
                              and I want to make sure I at least have her portion                            Indictment
               MT1312:        You’ll have it
               JY1709:        Send me bank info. Trying for 30                                               See above, entry 54, for
               MT1312:        ACCOUNT NAME: SAND HILL, LLC                                                   information about Sand
                              BANK NAME: WELLS FARGO Bank NA                                                 Hill LLC and its use by
                              ACCOUNT NUMBER:                  [x]6934                                       Michael Tew as a
                              ABA:                            [x]0076                                        vehicle to collect
               MT1312:        Is that ok or do you ant to send to global fuel account                        scheme proceeds and
               JY1709:        Na that’s fine                                                                 the relevant paragraphs
               MT1312:        Thx did you figure it out                                                      of the Indictment.
               MT1312:        Need to also know if you are sending back to work it for today
               MT1312:        You’ll have more than 0.5 back so you don’t have to worry. We know it’s        See above, entry 199,
                              important                                                                      for information about
               JY1709:        Ok. I’d rather just keep it                                                    GFL, AMR, Jessica
               JY1709:        But if you need it back for yourself, then just say that lol                   Thompson, and the
               MT1312:        Trust me I know how it looks                                                   relevant paragraphs of
                              She’s running her script and right when to when she withdrew it it affects     the Indictment.
                              it. She can get a loan for 5k which will cost us 10k
               MT1312:        Talking to her now
               JY1709:        So you want it back then?
               MT1312:        She came to me and said shit I have jons BTC I’m sending ypbuimband
                              then said shit I just lost momentum in my script
               JY1709:        Ok? FYI, I just sent $33,500 for tomorrow
               MT1312:        Yes pls
                              When do you need the 0.5 min for divorce
               MT1312:        And thank you Jon
               JY1709:        I need a full 1 BTC within a week or so
               MT1312:        Thank you


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                                 I’m working my aaa off getting back on my feet
                  JY1709:        I’ll just send it back now
                  MT1312:        Ok. I thought you just needed a half for her. Do you need the extra for
                                 cash?
                  MT1312:        She’s very detail oriented
                  JY1709:        I just need to show the full Btc. then send her half of it probably
                  JY1709:        It’s really not that much haha out of everything I’m sending
                  MT1312:        I see
                  JY1709:        Sent the BTC back
                  MT1312:        Ok THSNK you
                                 I see i missed a call from you do you need me to ring you
                  MT1312:        Other phone was dead and charging

258     9/18/19   MT1312:        Did you get AEG to put anything up to cover payroll?                         See Indictment ¶ 20       A, F, G, I, J,   SW_FIL_003423
                  MT1312:        Do you think your GF will start digging through your phone?                  (alleging coordination    K, N             24
                  JY1709:        No never. It’s not that serious                                              by the Tews to decide
                  MT1312:        Do you have any money at all                                                 how much to ask
                  MT1312:        Asking straight tup                                                          Yioulos to send them
                  JY1709:        What???                                                                      and the Tews’ role in
                  MT1312:        NA                                                                           making those requests)
                  JY1709:        What are you saying?                                                         See Indictment ¶ 21
                  MT1312:        KT was running her script, was waiting for $15K from my airline /            (describing how
                                 chairman of frontier project, he literally never sent it I’ve been slaving   Yioulos would provide
                                 away for him and it fucked everything up.                                    information about
                  JY1709:        STOP DOING STUPID SHIT                                                       NAC’s finances to
                  JY1709:        IM TIRED OF THIS                                                             facilitate when
                  JY1709:        FUCK YOU
                                                                                                              fraudulent payments
                  JY1709:        IMG
                                                                                                              could be made)
                  JY1709:        OMG
                  JY1709:        I DONT WANT EXCUSES                                                          See Indictment ¶ 25
                  JY1709:        I Want this fine                                                             (alleging that Tews
                  JY1709:        Done*
                                                                                                              gave Yioulos bitcoin as
                  JY1709:        Fucking script fuck off
                  JY1709:        I’m going to bed. HOW MUCH MONEY DO YOU THINK I CAN SEND                     part of the fraud)
                                 OUT                                                                          On September 18,
                  JY1709:        HOLY FUCK                                                                    2019, $33,500 sent via
                  MT1312:        Look - this is going to be done. We are on the same team. We are. I need     ACH to Wells Fargo

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                                 to know if there anything small to eek out, that’s all I’m asking. My ass is   Bank Account x6934
                                 on the line really more than anyones.                                          for services purportedly
                  MT1312:        Are you there?                                                                 made to Aero
                  MT1312:        You say we’re in this together too...                                          Maintenance
                                                                                                                Resources, as alleged in
                                                                                                                Counts 18 and 47 of the
                                                                                                                Indictment

259     9/19/19   MT7473:        Photo of BTC ATM Screen (59054321828__67FAE604-1540-4C4E-                      Sent to Kimberley Tew      A, G, K, N     SW_FIL_003332
                                 BE4F-0A5E7897487C.jpeg)                                                        See Indictment ¶¶ 23,                     65
                  MT7473:        Photo of BTC ATM Screen (59054333166__AD69FF78-AF73-4E57-                      32, 33
                                 876C-E9A66FA9A420.jpeg)


260     9/22/19   KT2046:        Have you called Jon once this weekend to prepare                               On September 20,           A, D, F, G,    SW_FIL_003276
                  KT2046:        No                                                                             2019, $41,500 sent via     K, N           66-
                  KT2046:        I am FUCKED                                                                    ACH to Wells Fargo                        SW_FIL_003276
                                                                                                                Bank Account x6934                        69
                                 [. . . .]                                                                      for services purportedly
                                                                                                                made to Aero
                  MT7473:        I will call Jon as soon as we are back                                         Maintenance Resources
                  MT7473:        How much do we need this week
                  MT7473:        Another 90                                                                     See Indictment ¶ 20
                  KT2046:        I’m losing my mind                                                             (alleging coordination
                  KT2046:        It’s that we need something for Tue                                            by the Tews to decide
                  MT7473:        I’m calling                                                                    how much to ask
                  KT2046:        Or tomorrow                                                                    Yioulos to send them
                                                                                                                and the Tews’ role in
                                                                                                                making those requests)

261     9/23/19   MT7473:        Just got to atm                                                                Bank records show a        A, D, G, K,    SW_FIL_003332
                  MT7473:        Love you                                                                       $300 transfer from         H, I           68-
                  MT7473:        I feel so bad                                                                  Michael Tew’s NFCU                        SW_FIL_003332
                  MT7473:        Screenshot of conversation with JY (Image-1.jpeg)                              account x3494 on                          70
                                                                                                                9/23/19
                  The screenshot of the conversation with J.Y. forwarded to Kimberley Tew is a                  [NAVY_00000529]
                  photograph showing a list of available cash balances and the message “FYI. This is today      and a $300 transfer


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                                                                                                                                     Rationale(s)
                  so far and there’s a wire going out already and pending payments that will bring this   from Michael Tew’s                        SW_FIL_003276
                  negative. So as I said last week, Wednesday or Thursday is going to have to be it.”     NFCU account x5336.                       72

                  [. . . .]                                                                               See Indictment ¶ 20
                                                                                                          (alleging coordination                    SW_FIL_003338
                  Kley(KT): You have to transfer $300 from your 3494 account to 5336 account to           by the Tews to decide                     31
                            withdraw $300 from 5336                                                       how much to ask
                  MT7473: Got 3900 on way                                                                 Yioulos to send them
                                                                                                          and the Tews’ role in
                                 [. . . .]                                                                making those requests)

                  KT2046:        You need to talk to Jon
                  KT2046:        I have people asking for money today

262     9/25/19   JY1709:        Calll you in a bit                                                       On September 26,           A, G, K        SW_FIL_003423
                  MT1312:        all good thnakjs!                                                        2019, $52,750 sent via                    24
                  JY1709:        How’s 1:30?                                                              ACH to Wells Fargo
                  MT1312:        Perfect                                                                  Bank Account x6934
                  JY1709:        This is gonna be tough, but best option is 45 and 45 probably            for services purportedly
                  MT1312:        Confirming all ok                                                        made to Aero
                  MT1312:        ?                                                                        Maintenance
                  JY1709:        Yes                                                                      Resources, as alleged in
                  JY1709:        52750                                                                    Counts 19 and 48 of the
                  MT1312:        Thx                                                                      Indictment

                                                                                                          See Indictment ¶ 20
                                                                                                          (alleging coordination
                                                                                                          by the Tews to decide
                                                                                                          how much to ask
                                                                                                          Yioulos to send them
                                                                                                          and the Tews’ role in
                                                                                                          making those requests)
                                                                                                          See Indictment ¶ 21
                                                                                                          (describing how
                                                                                                          Yioulos would provide
                                                                                                          information about


                                                                                  201
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Entry   Date      Statement(s)                                                                     Additional Context         801            Source
                                                                                                                              Rationale(s)
                                                                                                   NAC’s finances to
                                                                                                   facilitate when
                                                                                                   fraudulent payments
                                                                                                   could be made)

                                                                                                   See above, entry 199,
                                                                                                   for information about
                                                                                                   GFL, AMR, Jessica
                                                                                                   Thompson, and the
                                                                                                   relevant paragraphs of
                                                                                                   the Indictment.

263     9/26/19   JY1709:      60K our                                                             On September 27,           A, B, F, G,    SW_FIL_003423
                  JY1709:      Out                                                                 2019, $60,000 sent via     H, I, K, M,    24
                  MT1312:      Omg!                                                                ACH to Wells Fargo         N
                               Jon- none of us want to get caught. You good?                       Bank Account x6934
                  MT1312: Send me your BTC address                                                 for services purportedly
                  JY1709:      We’re good. This just has to be it for a WHILE                      made to Aero
                  JY1709:      1F5uevzzWDxjnPC6gByJUymRknfL1chb8k                                  Maintenance
                  MT1312: ⁠Bitcoin Transaction                                                     Resources, as alleged in
                  73732d6888908f8dd5cfab44264f146241d48a61ad95f9aa8d730bbe4ce70a41⁠⁦blockchai      Count 49 of the
                  n.com⁩                                                                           Indictment
                  MT1312:
                      https://www.blockchain.com/btc/tx/73732d6888908f8dd5cfab44264f146241d48a61   See Indictment ¶ 25
                  ad95f9aa8d730bbe4ce70a41                                                         (alleging that Tews
                                                                                                   gave Yioulos bitcoin as
                                                                                                   part of the fraud)
                                                                                                   See above, entry 199,
                                                                                                   for information about
                                                                                                   GFL, AMR, Jessica
                                                                                                   Thompson, and the
                                                                                                   relevant paragraphs of
                                                                                                   the Indictment.

264     9/26/19   KT2046:        Photographs                                                       On September 27,           A, G, K        SW_FIL_003276
                  KT2046:        I don’t know what routing number to use                           2019, $60,000 sent via                    89-
                  KT2046:        Her address is our home address                                   ACH to Wells Fargo

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Entry   Date   Statement(s)                                                                               Additional Context         801            Source
                                                                                                                                     Rationale(s)
               KT2046:        Send5K                                                                      Bank Account x6934                        SW_FIL_003276
               KT2046:        Actually send 7K                                                            for services purportedly                  98
               KT2046:        Use OUR address right?                                                      made to Aero
               KT2046:        Can you please go to WF to withdraw 20K and deposit at atm immediately?     Maintenance
                              BTC is dropping in price again                                              Resources, as alleged in
               MT1312:        Ok                                                                          Count 49 of the
               MT7473:        Photograph                                                                  Indictment
               MT7473:        Photograph
               MT7473:        Photograph                                                                  See above, entry 199,
               MT7473:        Photograph                                                                  for information about
               MT7473:        Photograph                                                                  GFL, AMR, Jessica
               Kley(MT):      Photograph                                                                  Thompson, and the
               KT2046:        Can you stop at vaper jungle to buy the rest                                relevant paragraphs of
               MT7473:        Photograph                                                                  the Indictment.
               MT7473:        Yes will go to vaper now
               KT2046:        [m.v.]@gmail.com                                                            M.V. is Kimberley
               KT2046:        [redacted name]                                                             Tew’s mother
                              Account Number: [x]8867
                              Name:[redacted[                                                             Bank records show a
                              JP Morgan /Chase                                                            $15,0000 transfer to
               KT2046:        Bank: JP Morgan Chase                                                       Aaron Nussdorf from
                              Wire Routing: [x]021                                                        Michael Tew’s Sand
                              Account Number: [x]8867                                                     Hill account x6934 and
                              Name: [redacted]                                                            a $7,000 transfer to
                              Address:                                                                    Mary Vertanen
                              [redacted address]                                                          [WFB_0000252].
                              Old Westbury, New York
                              11568                                                                       Bank records also show
                              Account Type: Checking                                                      $600 atm withdrawals
               MT7473:        $15K sent                                                                   from Michael Tew
               KT2046:        Can you get $ from your debit cards and mine if you have them if not just   accounts x3494, x5366,
                              yours                                                                       from Kimberley Rew’s
               KT2046:        For atm                                                                     NFCU account x3009,
               Kley(MT):      photograph                                                                  and from the Tews joint
               Kley(MT):      Two bills didn’t take and the guy couldn’t change them                      NFCU account x8486.
               Kley(MT):      Which two cards for your accounts                                           NAVY_00000169; 533;
               KT2046:        4 accounts


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Entry   Date      Statement(s)                                                                          Additional Context         801            Source
                                                                                                                                   Rationale(s)
                  KT2046:   All my cards                                                                See Indictment ¶¶ 23,
                  Kley(MT): Ok                                                                          32, 33
                            Hold back on one of your cards if you want
                  Kley(MT): I can get 600 from all four of yours 600 from 5336 and 600 from my joint
                            which will leave about 500 in teh accounts. That’s 3600 + 1000 form wells
                            In what account
                  Kley(MT): I’ll move it to joint
                  KT2046:   No
                  Kley(MT): Ok. Its in teh 3494 account
                  KT2046:   Actually I don’t care

265     9/27/19   MT1312:         That was my daughter on the car with me job                           On September 27,           A, D, G, H,    SW_FIL_003423
                  MT1312:         Jon                                                                   2019, $60,000 sent via     I, J, K, N     24
                  JY1709:         I didn’t know                                                         ACH to Wells Fargo
                  JY1709:         Sorry                                                                 Bank Account x6934
                  MT1312(KT):     FUCK YOU                                                              for services purportedly
                  MT1312(KT):     THIS IS KIMBERLEY                                                     made to Aero
                  MT1312(KT):     I'm calling the fucking husband                                       Maintenance
                  MT1312(KT):     YOU ASSHOLE                                                           Resources, as alleged in
                  MT1312(KT):     FUCK YOU                                                              Count 49 of the
                  MT1312(KT):     FOR talking to my husband like this                                   Indictment
                  JY1709:         What?
                  MT1312(KT):     YOU ASSHOLE
                  MT1312(KT):     WE ARE ALL IN THIS TOGETHER                                           The 716-858-7618
                  MT1312(KT):     Don’t you ever talk to Michael like that again                        number is the publicly
                  JY1709:         Lol I’ve sent you guys over $1.3MM. I think I’m entitled to get       listed number for the
                                  frustrated once in a while                                            Erie County Sheriff’s
                  MT1312(KT):     Phone: (716) 858-7618                                                 office in Buffalo, where
                  MT1312(KT):     YOU HAVE SENT                                                         J.Y. resided.
                  MT1312(KT):     ONCE IN AWHILE
                  MT1312(KT):     He’s like your personal punching bag                                  See Indictment ¶ 25
                  JY1709:         Ok                                                                    (alleging that Tews
                  MT1312(KT):     How do you think it feels to be in our shoes and have NO CONTROL      gave Yioulos bitcoin as
                  MT1312(KT):     I’m sick of this shit                                                 part of the fraud)
                  MT1312(KT):     I’m sick of trying to cope
                  MT1312(KT):     That BTC is just sitting in your wallet
                  MT1312(KT):     I don’t care


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                                                                                                        Rationale(s)
               MT1312(KT): If we all go down
               MT1312(KT): I can’t live like this
               MT1312(KT): My daughter!!!
               MT1312(KT): You asshole
               MT1312(KT): Pretending that you want to be our friend
               MT1312(KT): And come visit
               MT1312(KT): I knew it!
               MT1312(KT): Michael refused to ask you FYI
               MT1312(KT): And I took out a 2 BTC loan
               MT1312(KT): It was his 40th birthday yestreday
               MT1312(KT): Do you know that
               MT1312(KT): And he refused to ask you
               JY1709:  Are you done?
               MT1312(KT): I want to die
               MT1312(KT): Don’t you get it
               MT1312(KT): Every day I wake up afraid
               JY1709:      Just tell me where you want the shit sent
               MT1312(KT): NO
               MT1312(KT): I WANT TO KNOW THIS CAN END
               JY1709:      Well I’ve been ASSURED it is. You guys lie
               JY1709:      That’s al you do
               MT1312(KT): You think we skim
               MT1312(KT): We don’t
               JY1709:      That’s all you do is lie about shot
               JY1709:      Shit
               MT1312(KT): Michael used A FUCKING coupon for his bday dinner
               MT1312(KT): Which was with just one of our daughters
               MT1312(KT): DON’T YOU GET IT
               MT1312(KT): My husband actually thinks of you as a friend
               MT1312(KT): And trusts you
               MT1312(KT): More than me
               MT1312(KT): And you treat him like shit
               MT1312(KT): I lie?
               MT1312(KT): Really?
               MT1312(KT): Then what the fuck am I lying about
               MT1312(KT): WRONG answer
               JY1709:      Are you done??? How is this progressive


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Entry   Date   Statement(s)                                                                             Additional Context   801            Source
                                                                                                                             Rationale(s)
               JY1709:        I offered to send it back
               MT1312(KT):    I AM ANGRY AT THE WAY YOU TREAT MICHAEL
               MT1312(KT):    He gets really upset
               JY1709:        He’s an adult. Jesus
               JY1709:        Stop texting me
               MT1312(KT):    FUCK YOU
               JY1709:        Ha
               MT1312(KT):    You know what
               MT1312(KT):    Fuck you
               MT1312(KT):    Fuck you
               JY1709:        Ok cool
               MT1312(KT):    You don’t know anythinhg
               MT1312(KT):    He doesn’t even have his family
               MT1312(KT):    No one called to wish him a happy birthday
               MT1312(KT):    You’re his freind
               MT1312(KT):    If that’s all you have to say is stop texting you and he’s an adult you
                              know nothing about anything
               MT1312(KT):    And you definitely do not care about him or us
               MT1312(KT):    I’m the piece of shit
               MT1312(KT):    Not him
               MT1312(KT):    Don
               MT1312(KT):    Don’t ever forget that
               MT1312(KT):    He doesn’t deserve this
               MT1312(KT):    Fucking apologize
               MT1312(KT):    You asshole
               MT1312(KT):    I know you don’t give a shit because you’re fucking someone else and
                              destroying another family but Michael has kids
               MT1312(KT):    And you were SO OUT OF LINE
               MT1312(KT):    Seriously you’re not going to respond and apologize?
               MT1312(KT):    I swear to god you will regret it
               MT1312(KT):    FUCK YOU
               MT1312(KT):    CALL AND APOLOGIZE TO HIM
               MT1312(KT):    I really will track down that husband
               JY1709:        OMG RELAX.im on a call and driving.
               MT1312(KT):    1Khrvuy6os5AMAkAf2kRpd8UvfuN4qKrtH
               JY1709:        It’s sent.



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Entry   Date      Statement(s)                                                                              Additional Context         801            Source
                                                                                                                                       Rationale(s)
266     9/28/19   KT2046:        QR Code (IMG_1240.PNG)                                                     On September 28,           A, G, K, N     SW_FIL_003332
                  KT2046:        Did you get this                                                           2019, $75,000 sent via                    71
                  MT7473:        Photo of BTC ATM screen (59140575563__AD90D6D2-D3B5-496D-                  ACH to Wells Fargo
                                 97B1-2C9ECEF053B5.jpeg)                                                    Bank Account x6934
                                                                                                            for services purportedly
                                                                                                            made to Aero
                                                                                                            Maintenance Resources

                                                                                                            See Indictment ¶ 25
                                                                                                            (alleging that Tews
                                                                                                            gave Yioulos bitcoin as
                                                                                                            part of the fraud)

267     9/30/19   MT7473:        II saw your texts to jon and I don’;t think you stressed how large         See Indictment ¶ 20        A, D, E, F,    SW_FIL_003332
                  MT7473:        You’re really not clear                                                    (alleging coordination     G, H, I, K,    81-
                  MT7473:        Ok. I’ll take care of it                                                   by the Tews to decide      N              SW_FIL_003332
                  MT7473:        Ever                                                                       how much to ask                           87;
                  MT7473:        No                                                                         Yioulos to send them                      SW_FIL_003332
                  MT7473:        This is how we end up in serious panic mode                                and the Tews’ role in                     89-
                                                                                                                                                      SW_FIL_003332
                                                                                                            making those requests)
                                 [. . . .]                                                                                                            90
                                                                                                            See Indictment ¶ 21
                  MT7473:        I have no phone                                                            (describing how
                  MT7473:        You said one last                                                          Yioulos would provide
                  MT7473:        Which ind’t accurate                                                       information about
                  MT7473:        I don’t think he is going to do it                                         NAC’s finances to
                  MT7473:        You don’t understand                                                       facilitate when
                  MT7473:        I need a number                                                            fraudulent payments
                  MT7473:        He doesn't have a choice                                                   could be made)
                  MT7473:        I need a number
                  MT7473:        And stop telling him last one
                  MT7473:        What is your problem with me                                               As set forth in
                  MT7473:        They have zero revenue for three weeks. I didn’t tell him last one. They   paragraph 33(f).f of the
                                 won’t have any money                                                       indictment, thew Tews
                  MT7473:        0 revenue for three weeks and you’re only asking for 50????                used proceeds of their
                  MT7473:        I don’t think he takes you seriously                                       scheme to buy an Audi.
                  KT2046:


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                                                                                                                              Rationale(s)
                  https://www.edbozarthparkmeadow.com/VehicleSearchResults?search=all&make=
               Chevrolet&model=Tahoe&year=2020
               MT7473: Transunion 533 Equifax 539 from my credit karma
               KT2046:     So what are our options
               KT2046:     At this point
               KT2046:     That’s why there’s a big difference between getting 50-100
               KT2046:     What was the Porsche pre pay option
               KT2046:     Or L4 the boxy one used
               MT7473: Discovery LR4 you mean? Used yes?
               MT7473: I found a really nice LR4 with 26,000 miles (2016) super nice and clean for
                           41K list, we Can get for less
               KT2046:     What color
               KT2046:     Does that seat 7?
               MT7473: Its like a dark beige with dark leather interior with two extra seats in back
                           so yes 7

                              [ . . . .]

               KT2046:        QR Code (IMG_1267.PNG)
               MT7473:        Photo of BTC ATM screen (59156000108__6D2F6D88-8F7F-4F4C-85B2-
                              3507D24D7655.jpeg)
               MT7473:        Where to send the funds
               MT7473:        purchase agreement for Audi (Tew.pdf)
               KT2046:        You were already supposed to be doing the credit application for the car
               MT7473:        I honestly didn’t know you wanted me to. I just did it.
               MT7473:        They are working on it rig tnow
               KT2046:        Wouldn’t do it




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October 2019

 Entry    Date      Statement(s)                                                                                   Additional Context         801            Source
                                                                                                                                              Rationale(s)
 268      10/1/19   MT7473:        I got approved at 12.23 APR for the financing. Don’t know terms yet.            As alleged in Count 50     A, F, G, H,    SW_FIL_003332
                                   Finding out. Still have to provide proof of income but we should be ok. I       of the Indictment,         K, N           94-
                                   think that’s only with 5k down. If so it’s 12 percent on 15k which is like 2k   Michael Tew withdrew                      SW_FIL_003333
                                   in interest over however many months which should be no problem. Maybe          $20,000 from x6934,                       01
                                   worth it.                                                                       which was an account
                    MT7473:        Have the cash I can send wire now if you want                                   for Sand Hill.
                    MT7473:        Before I go to atm                                                              [WFB_00000740]
                    MT7473:        Going to atm first
                    KT2046:        Up to you                                                                       As set forth in
                    KT2046:        QR Code (IMG_1271.PNG)                                                          paragraph 33(f).f of the
                    KT2046:        FYI wire to LLC                                                                 indictment, thew Tews
                    MT7473:        photo of BTC ATM Screen (59164751347__F4AFA15C-2425-4A1C-                       used proceeds of their
                                   AAE3-0EFCE58F6CFA.jpeg)                                                         scheme to buy an Audi.
                    MT7473:        Photo of BTC ATM screen (59164763214__70B42329-385A-4747-A3E8-                  See Indictment ¶¶ 23,
                                   1E4D57974C5A.jpeg)                                                              32, 33
                    MT7473:        72 @ 12.23 % with $5000 down / $313.79 month
                    KT2046:        Not bad right
                    KT2046:        Won’t it improve our credit
                    KT2046:        Or your
                    MT7473:        59164779378__1A821B69-BF96-4646-BA01-2313A635B5FB.jpeg
                    MT7473:        Yes pay on time and will help
                    MT7473:        Need to provide proof of income they want tax returns
                    KT2046:        Fuck
                    KT2046:        Maybe we just buy it
                    MT7473:        Photo of BTC ATM screen (59164794789__D0A6FA17-7FE6-4BE3-
                                   BF90-AE53F041B863.jpeg)
                    MT7473:        We just have to be prepared for anything. I can send my 1099s and
                                   anything else I can to get them comfortable
                    MT7473:        Photo of BTC ATM Screen (59164819132__A4F19011-3A3E-4C7E-
                                   9D98-DF1956396CD5.jpeg)
                    MT7473:        Photo of BTC ATM Screen (59164836417__0D0F1932-78C4-4469-91EB-
                                   BD52C9EB4AB1.jpeg)
                    MT7473:        Photo of BTC ATM screen (59164854056__C7BC1B8E-FA77-45B0-
                                   AA54-5DE9CBBDBF5D.jpeg)
                    MT7473:        One 100 didn't work

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                  MT7473:        Hold on I’ll see if I can change it
                  MT7473:        Photo of BTC ATM screen (59164880696__93BE8464-C0A9-4568-B345-
                                 3908FAB5E919.jpeg)
                  MT7473:        They won’t do it without tax returns fuck
                  MT7473:        I have to try somewhere else

269     10/2/19   MT7473:        Almost exactly my old car (Photo of car (IMG_3475.jpeg))         As alleged in Count 51     A, F, G, K,    SW_FIL_003333
                                                                                                  of the indictment,         N              01;
                                 [. . . .]                                                        Michael Tew withdrew                      SW_FIL_003333
                                                                                                  $51,000 from the x6934                    03-
                  MT7473:        Sent you 1.5                                                     account on October 22,                    SW_FIL_003333
                  MT7473:        Screenshot of spreadsheet (Messages Image(2446086633).jpeg)      2019.                                     06
                  MT7473:        That’s everything we cashed out and sent to navy federal today
                  MT7473:        Here now - doesn’t free up until 1240                            As set forth in
                  MT7473:        Have to wait                                                     paragraph 33(f).f of the
                  KT2046:        Huh                                                              indictment, thew Tews
                  KT2046:        We didn’t do the 20K until 12:40?                                used proceeds of their
                  KT2046:        What are you doing?                                              scheme to buy an Audi.
                  MT7473:        Yes
                  MT7473:        On way back home
                  KT2046:        QR Code (IMG_1276.jpeg)
                  MT7473:        At vaper
                  KT2046:        Come back as soon as fine
                  KT2046:        Done if you want 5 is ok.

                                 [ . . . .]

                  MT7473:        Ok did 5

270     10/3/19   MT7473:        Tew Budget 10 20 19.xlsx                                         kley@me.com was the        A, F, G, K,    SW_FIL_003333
                  MT7473:        This is the correct tuition and minus tonight’s cash wD          email address used by      N              07-
                  MT7473:        Love you                                                         Kimberley Tew.                            SW_FIL_003333
                                                                                                                                            09;
                                 [. . . .]                                                        As alleged in paragraph                   SW_FIL_003333
                                                                                                  33.f of the Indictment,                   10-
                  KT2046:        Can you wire 5K to [redacted business name]                      the Tews purchased an                     SW_FIL_003333
                  KT2046:        Business Checking:                                               Audi using proceeds of                    12;


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Entry   Date   Statement(s)                                                                                   Additional Context        801            Source
                                                                                                                                        Rationale(s)
                              Bank: JPMorgan Chase                                                            the scheme and here are                  SW_FIL_003333
                              Account Name: [redacted business name], LLC                                     discussing its delivery                  14-
                              Wire Routing Number: [x]0021                                                    to them.                                 SW_FIL_003333
                              Account Number:                                                                 AUDI_00000003.                           21
                              [x]8260
               KT2046:        7 Second St                                                                     $20,611.01 was
                              Ladera Ranch CA 92694                                                           transferred from the
                              United States                                                                   Sand Hill account
               KT2046:        Ask for an email confirm to kley@me.com                                         x6934 on November 1,
               MT7473:        Wire out                                                                        2019, as alleged in
               MT7473:        They are emailing confirmation                                                  Count 52 of the
                                                                                                              Indictment to pay for
                                                                                                              the Audi.
                              [. . . .]

               KT2046:        Where are you
               MT7473:        Car will be done within the hour he said
               KT2046:        Ok keep me updated
               KT2046:        Also ask about the scratches on drivers side and options
               MT7473:        All signed
                              Finance coming to collect check now
                              Then they are going to see if they can do a deep clean not quite a detail but
                              a deep clean
                              I’ll ask about the scratch
               KT2046:        Well if that takes longer we can do it
               MT7473:        Ok
               KT2046:        I thought they already said you would received vip clean
               MT7473:        Yeah but i asked the sales guy and he said the sales side has a separate crew
                              that can do it better
               KT2046:        Whatever right lol
               MT7473:        Exactly

                              [ . . .]

               MT7473:        He said we got a very good price on the car he couldn’t believe how low
                              the mileage
               MT7473:        I mean he wasn’t bull shitting me either


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                                                                                                                                  Rationale(s)
               MT7473:        You were right
               MT7473:        Do you have two secs to discuss warranty
               KT2046:        Do whatever you want
               KT2046:        I don’t want to spend a lot
               KT2046:        They are sales people
               KT2046:        It's only one year
               MT7473:        There’s a diff one it’s six years sixty thousand miles for 138/ month for 24
                              months that’s no interest just pay 138 now. It covers most everything
                              including all electrical which is important. 138 dollars now
               KT2046:        Cool
               KT2046:        Are you in the service area or the sales area
               MT7473:        Sales area now just closing on the car now
               MT7473:        Literally handing him a check now
               MT7473:        Copy of sales agreement and photo of check for car(IMG_3481.jpeg)
                              (photograph of agreement for Audi and check for $20,611.01 with
                              signature of Michael Tew)
               MT7473:        They are finishing the car now
                              Will additional 10-15 mins for the cleaning if we want
                              You tell me
               MT7473:        Car pulling up in a few mins
                              Just a light wash and vacuum
                              Do you want me to wait for the full treatment or just come home
               MT7473:        44 bucks for the service!!!
               MT7473:        That’s ITV
               MT7473:        It!
               KT2046:        How much money do we have left
               KT2046:        Can you get me more btc
               MT7473:        Yes
                              9405 in wells
                              [. . . .]
                              I can get 5-6 out of wells
                              There’s 25k in navy with that 21k hitting at 2
                              Tell me what you want
                              [. . . .]
               KT2046:        Are you close to navy
               KT2046:        Hello
               MT7473:        I can only get 3000 from navy to leave enough to verify funds but I can get


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Entry   Date      Statement(s)                                                                              Additional Context       801            Source
                                                                                                                                     Rationale(s)
                                 6 from wells
                  MT7473:        At navy
                  MT7473:        Have the navy cash headed to wells
                  MT7473:        Have 9k heads to atm. 12 minute drive
                  MT7473:        Here now
                  KT2046:        Let me give you address
                  KT2046:        QR Code (bustadice – Next Generation Dice.jpeg)
                  MT7473:        Got it
                  MT7473:        Photo of BTC ATM Screen (59182488619__D7BFF9D8-C146-448F-
                                 A33B-7591CDC91674.jpeg)

271     10/5/19   MT7473:        Photo of BTC ATM screen (9201036088__8683B05D-8DDA-4D3C-                   See Indictment ¶¶ 23,    A, F, G, K,    SW_FIL_003333
                                 9D80-253C8943BAB7.jpeg)                                                    32, 33                   N              29-
                  KT2046:        I transferred 1 btc to your CB account you should definitely put $ in WF                                           SW_FIL_003333
                                 first so those checks don’t bounce and try $500 at navy                    “CB” is short for                       31
                  KT2046:        Don’t send a lot to PayPal without knowing for sure                        coinbase, a
                                                                                                            kryptocurrency
                                                                                                            exchange.
272     10/7/19   MT1312:        Have 1700 on way to atm                                                    Messages to Kimberley    A, F, G, K,    SW_FIL_003133
                                                                                                            Tew                      N              89-
                                 [. . . .]                                                                                                          SW_FIL_003133
                                                                                                            See Indictment ¶¶ 23,                   91
                  MT1312:        We just need to stay focused                                               32, 33
                  MT1312:        Here at atm                                                                                                        SW_FIL_003277
                  MT1312:        Photo of BTC ATM screen (59211728766__A784E06E-793B-4603-                  See Indictment ¶ 20                     38-
                                 A3EA-A5F3910ED088.jpeg)                                                    (alleging coordination                  SW_FIL_003277
                                                                                                            by the Tews to decide                   39;
                                 [. . . .]                                                                  how much to ask                         SW_FIL_003277
                                                                                                            Yioulos to send them                    46-
                  MT1312:        Photo of BTC ATM screen (59216873005__B30508AC-28F2-4149-A25F-             and the Tews’ role in                   SW_FIL_003277
                                 D951789DA253.jpeg)                                                         making those requests)                  47;
                  MT1312:        Photo of BTC ATM screen (59216887207__B94A44CF-198A-473B-                  See Indictment ¶ 21                     SW_FIL_003277
                                 A69A-FB558F9C1775.jpeg)                                                    (describing how                         51-
                  MT1312:        Photo of BTC ATM screen (59216895753__822F8994-8A20-4E70-A4E4-             Yioulos would provide                   SW_FIL_003277
                                 A22A8401AB0B.jpeg)                                                         information about                       53;
                                                                                                            NAC’s finances to                       SW_FIL_003277
                                 [. . . .[                                                                  facilitate when                         56


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Entry   Date   Statement(s)                                                                               Additional Context    801            Source
                                                                                                                                Rationale(s)
                                                                                                          fraudulent payments
               MT7473:        I don’t know how do we ask [redacted] for a bridge when he’s sitting on     could be made)
                              our chi deck
               MT7473:        It may be our only option. Jon asking [C.A.] to put money in.
               KT2046:        He knows I’m jammed up because of frozen finds
               KT2046:        Can he overdraft account to get us something tomorrow
               KT2046:        [C.A.] is going to freak out when Jon asks and he’s going to wonder where
                              all the $ is
               KT2046:        I can’t take a loan out if we can’t pay it back

                              [. . . .]

               KT2046:        Is Jon not sending anything for tomorrow???
               MT1312:        I’ll check again
               KT2046:        Not that you care but I am worried about the car and also rent and I’m
                              basically screwing [redacted] over who is moving his family right bow
               MT1312:        I do care
               KT2046:        I didn’t mean it like that
               KT2046:        I messed up
               MT1312:        I’ll do everything I can to get whatever money I can get

                              [. . . . ]

               KT2046:        Fuck. Just make sure jon is sending tomorrow
               KT2046:        If you’re on a call get off and call him
               MT1312:        He may be able to send tomorrow
                              He can’t send today
               MT1312:        I called him
               KT2046:        Doesn’t work!!
               MT1312:        Friday
               MT1312:        He can’t
               MT1312:        There’s nothing to send
               MT1312:        Nothing
               KT2046:        Overdraft

                              [. . . .]



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Entry   Date      Statement(s)                                                                            Additional Context         801            Source
                                                                                                                                     Rationale(s)

                  KT2046:        I need Jon to send for tomorrow
                  KT2046:        Or it better be a shit load

273     10/8/19   KT2046:        Please tell me Jon is sending something tomorrow                         See Indictment ¶ 20        A, G, K, N     SW_FIL_003277
                  KT2046:        Even if it’s 3,000                                                       (alleging coordination                    75
                  MT7473:        Been trying him - texted him and called to see if he can send ANYTHING   by the Tews to decide
                  KT2046:        4 min to cut off                                                         how much to ask
                  MT7473:        I know                                                                   Yioulos to send them
                                                                                                          and the Tews’ role in
                                                                                                          making those requests)

274     10/9/19   Kley(KT): You better have something lined up                                            The person whose name      A, G, K        SW_FIL_003277
                  Kley(KT): With Jon                                                                      is redacted here was a                    83;
                                                                                                          person to whom                            SW_FIL_003277
                                 [ . . . .]                                                               Kimberley owed                            85;
                                                                                                          money. Kimberley was                      SW_FIL_003277
                  Kley(KT): I will continue to lose money until you tell me there is a plan               worried the check she                     90-
                  Kley(KT): I’m in the dark                                                               had written to cover the                  SW_FIL_003277
                  Kley(KT): Tell him we are borrowing money from my parents and will pay him              debt would bounce.                        92;
                            back at the end of the month                                                                                            SW_FIL_003277
                  Kley(KT): I need my pills and I need you to get on Jon [redacted] is cashing that       See Indictment ¶ 20                       94;
                            check tomorrow                                                                (alleging coordination                    SW_FIL_003277
                                                                                                          by the Tews to decide                     97-
                                 [. . . .]                                                                how much to ask                           SW_FIL_003278
                                                                                                          Yioulos to send them                      05;
                  Kley(KT):      Can you call [L.W.]                                                      and the Tews’ role in                     SW_FIL_003278
                  Kley(KT):      He can google pay                                                        making those requests)                    07-
                  MT1312:        Ok                                                                       See Indictment ¶ 21                       SW_FIL_003278
                  Kley(KT):      If he could send something substantial if anyone could we could be ok    (describing how                           08;
                  Kley(KT):      [redacted] sent 2K                                                       Yioulos would provide                     SW_FIL_003278
                  Kley(KT):      He’s the only one on my side                                             information about                         10-
                  Kley(KT):      I don’t know what to do to get him to send the other 3K                  NAC’s finances to                         SW_FIL_003278
                  MT1312:        How much do we owe [redacted] now                                        facilitate when                           11
                  MT1312:        Total                                                                    fraudulent payments
                  Kley(KT):      I don’t know                                                             could be made)



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                                                                                                                              Rationale(s)
               Kley(KT): Did you call [L.W.]
               MT1312: Yeah he didn’t answer

                                    [. . . .]

               Kley(KT): I don’t know what’s going on with you and Jon but he sent nothing.
               Kley(KT): Not even $500
               Kley(KT): We have nothing

                              [. . . .]

               Kley(KT):      We needed something this week
               Kley(KT):      Anything
               Kley(KT):      Jon is going to screw us over
               MT1312:        I think we’ll have something Friday he said he was pulling it together
               Kley(KT):      How much
               MT1312:        He’s not going to screw ya over
               MT1312:        Us
               Kley(KT):      But like Friday for Monday
               MT1312:        He doesn’t know yet he had a divorce appointment
               MT1312:        No Thursday for Friday
               Kley(KT):      Like a lot
               Kley(KT):      It matters
               Kley(KT):      Big difference
               Kley(KT):      How much
               MT1312:        I’ve been trying to reach him for an hour
               MT1312:        I promise you I’m working on it as much as I can I promise you I know
                              you’re mad at me
               Kley(KT):      How much do you think
               MT1312:        I promise I am stalking him
               Kley(KT2)      How much
               Kley(KT)       How much
               Kley(KT):      Do you think
               MT1312:        If [NAC vendor]a comes in 500k he could send 40-50 I think that would be
                              a lot
               MT1312:        But maybe
               Kley(KT):      But what if it doesn’t


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Entry   Date   Statement(s)                                                                              Additional Context   801            Source
                                                                                                                              Rationale(s)
               Kley(KT):      And they won’t know until when
               Kley(KT):      That’s a big difference
               MT1312:        He said they expect [NAC vendor] toxins in Vegas
               MT1312:        To come in
               Kley(KT):      [redacted] could cash the check
               Kley(KT):      When will they know
               Kley(KT):      You think that would be a lot
               Kley(KT):      I don’t understand
               MT1312:        They should know by 5 today
               Kley(KT):      Did he give you the 40-50 number
               MT1312:        I think if he sends us 10 percent of what they get th AG would be a
                              long
               MT1312:        No I’m making it up he’s said nothing o have no fucking Coie
               MT1312:        You’re asking me
               Kley(KT):      I think if he sends us 10 percent of what they get th AG would be a long
               Kley(KT):      What does that mean
               Kley(KT):      I’m scared
               MT1312:        Nevermind you want me to give you definite answers and I know
                              nothing right now
               MT1312:        Scared of what
               MT1312:        You’re not scared of anything
               Kley(KT):      So did you make up they’ll know by 5
               Kley(KT):      you think you know me
               Kley(KT):      you don’t
               MT1312:        They should know for sure by 5
               Kley(KT):      How

                                      [. . . .]

               Kley(KT): By 5 o’clock is in 30 min
               Kley(KT): I tell you how I feel you tell me how I feel
               MT1312: Ok they should be getting 500 in tomorrow. It’s not confirmed yet. He
                         will be able to send us something. We don’t know yet. He really is not
                         going to screw us. He even offered to send more in October when more
                         money starts rolling in.
               Kley(KT): When did he say this



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Entry   Date       Statement(s)                                                                                 Additional Context       801            Source
                                                                                                                                         Rationale(s)
                   Kley(KT): How do you know
                   Kley(KT): Why are you not responding

                                        [. . . .]

                   Kley(KT): What’s the story
                   Kley(KT): I need a number

                                        [.. . . .]

                   MT1312:        He’s not answering he’s probably with his girl I’m going to text him. He’ll
                                  be up for air in 2 hours if so

                                  [. . . .]

                   Kley(KT):      No update!!!
                   Kley(KT):      WTF
                   Kley(KT):      You’re not listening
                   Kley(KT):      And screwing us over
                   Kley(KT):      You told me 50
                   Kley(KT):      You told him 25


275     10/10/19   Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s       See above, entry 199,    A, K, L        GFL_00000047-
                   business email account with two attached invoices, writing:                                  for information about                   GFL_00000050
                                                                                                                GFL, AMR, Jessica
                   Dear Jon:                                                                                    Thompson, and the
                                                                                                                relevant paragraphs of
                   Attached are our service and maintenance invoices for Aero Maintenance Resources for         the Indictment.
                   September.

                   Please contact me if you have any questions

                   Thank you

                   Jessica Thompson
                   Aero Maintenance Resources


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Entry   Date       Statement(s)                                                                              Additional Context       801            Source
                                                                                                                                      Rationale(s)
                   A Unit of Global Fuel Logistics, Inc.

276     10/11/19   Kley(KT): Is Jon sending more for Monday since you told me rhrrr would be 50              See Indictment ¶ 20      A, D, G, H,    SW_FIL_003278
                   Kley(KT): WTF                                                                             (alleging coordination   K, N           24;
                                                                                                             by the Tews to decide                   SW_FIL_003278
                                      [. . . .]                                                              how much to ask                         26;
                                                                                                             Yioulos to send them                    SW_FIL_003278
                   Kley(KT): Can he do a wire today                                                          and the Tews’ role in                   30-
                   MT1312: He said wed for Thursday that’s if                                                making those requests)                  SW_FIL_003278
                   MT1312: That it                                                                           ee Indictment ¶ 21                      31;
                                                                                                             (describing how                         SW_FIL_003278
                                      [. . . .]                                                              Yioulos would provide                   32-
                                                                                                             information about                       SW_FIL_003278
                   Kley(KT):      You told me 50 from Jon                                                    NAC’s finances to                       33
                   MT7473:        Its my fault                                                               facilitate when
                   MT7473:        He didn’t have it                                                          fraudulent payments
                   Kley(KT):      I don’t care who’s fault                                                   could be made)
                   MT7473:        He started at 20
                   Kley(KT):      That’s not the point                                                       [C.A.] was an owner of
                   MT7473:        It is the point                                                            NAC
                   Kley(KT):      I need you to get money today
                   Kley(KT):      Today

                                      [. . . .]

                   MT7473:        He can’t send anything
                   Kley(KT):      Fuck
                   MT7473:        I’m asking [L.W.] for rent money
                   Kley(KT):      You won’t even try
                   MT7473:        I did try he’s not at his computer and [C.A.] took teh last of the money
                   Kley(KT):      [L.W.] won’t respond to a text
                   MT7473:        I already spoke to jon earlier

277     10/15/19   MT7473:        Jon asking what is the total needed for everything including his BTC. He   “SH” is a reference to   A, D, G, I,    SW_FIL_003333
                                  wants to send a final thing. I mean he’s super fucking pissed etc but is   Sand Hill. Banking       K, N           38-
                                  calming down and wants to help. What should I say you think.               records show a check                    SW_FIL_003333
                   KT2046:        God like 150-80                                                            deposit into Michael                    40


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Entry   Date       Statement(s)                                                                              Additional Context         801            Source
                                                                                                                                        Rationale(s)
                   KT2046:        Just say I took out more loans                                             Tew’s Sand Hill
                   MT7473:        I know                                                                     account x6934 on
                   KT2046:        Should you try to deposit a check from your 3494 account at the atm into   October 15, 2019.
                                  your SH account                                                            [WFB_00002572;
                   MT7473:        yes                                                                        NAVY_00000753]
                   KT2046:        Will you try now
                   MT7473:        [Redacted] doesn’t have money its worst than ti thought. H showed me his   See above, entry 54, for
                                  cc balance on the computer                                                 information about Sand
                   MT7473:        He has $1000 available on his CC to live on                                Hill LLC and its use by
                   MT7473:        Its all maxed out                                                          Michael Tew as a
                   KT2046:        Tell him we will get him his money ASAP                                    vehicle to collect
                   MT7473:        Jon said he can send but doesn’t know ho wmuch                             scheme proceeds and
                   MT7473:        He is calling me                                                           the relevant paragraphs
                                                                                                             of the Indictment.

                                                                                                             See Indictment ¶ 20
                                                                                                             (alleging coordination
                                                                                                             by the Tews to decide
                                                                                                             how much to ask
                                                                                                             Yioulos to send them
                                                                                                             and the Tews’ role in
                                                                                                             making those requests)
                                                                                                             See Indictment ¶ 21
                                                                                                             (describing how
                                                                                                             Yioulos would provide
                                                                                                             information about
                                                                                                             NAC’s finances to
                                                                                                             facilitate when
                                                                                                             fraudulent payments
                                                                                                             could be made)


278     10/17/19   MT7473:        WF Wire Limit Calculation.xlsx+G3900                                       As alleged in paragraph    A, G, K, N     SW_FIL_003333
                   KT2046:        Sending to [redacted]’s simpld right                                       33.f of the Indictment,                   42
                   MT7473:        Yrs both are out.                                                          the Tews purchased an
                   MT7473:        43k available                                                              Audi using proceeds of
                                                                                                             the scheme and here are

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Entry   Date       Statement(s)                                                                       Additional Context          801            Source
                                                                                                                                  Rationale(s)
                                  [. . . .]                                                           discussing its delivery
                                                                                                      to them.
                   KT2046:        Thursday, Nctober 17, 2019:                                         AUDI_00000003.                             SW_FIL_003278
                                  ITEMS PAID                                                                                                     77
                                      1.$27,000 online ($10K to [redacted]; $17K to Gemini)           $20,611.01 was
                                      2.$5,000 online (CW Simple)                                     transferred from the
                                      3.$23,000 branch (SG)                                           Sand Hill account
                                      4.$3,700 ACH for rent                                           x6934 on November 1,
                                      $58,700 subtotal items paid                                     2019, as alleged in
                                  ITEMS TO BE PAID                                                    Count 52 of the
                                      1.$21,000 (Audi)                                                Indictment to pay for
                                      2.$1,000 (PR Newswire)                                          the Audi.
                                      3.$6,200 (Sand Hill WF)
                                      4.$3,500 (rent)                                                 Michael Tew had given
                                      5.$500 (MV WF)                                                  a check to the
                                      6.$500 (Jeep)                                                   dealership, but it had to
                                      7.$5,000 (CW Chase)                                             be covered by a later
                                       ($37,700) subtotal items to be paid                            wire transfer.
                                      $16,300 balance in WF
                                       ($21,400) Ending Balance                                       See Indictment ¶ 25
                                  ADDITIONAL ITEMS                                                    (alleging that Tews
                                      1.$25,000 (AN)                                                  gave Yioulos bitcoin as
                                      2.$5,650 (MP)                                                   part of the fraud)
                                      3.$12,000 (CW)
                                      4.$8,500 (BTC for Jon)
                                       ($51,150) subtotal additional items
                                       ($21,400) balance after items to be paid
                                       ($72,550) Ending Balance

279     10/19/19   Kley(KT): Jon has to send something on Monday right because we need to             See Indictment ¶ 20         A, B, C, D,    SW_FIL_003278
                             put the car behind us and book everything for Vegas.                     (alleging coordination      F, G, H, I,    94
                                                                                                      by the Tews to decide       K, N
                                  [. . . .]                                                           how much to ask
                                                                                                      Yioulos to send them
                   MT1312:        I don’t know if he has anything for Monday. Bill talk to him this   and the Tews’ role in
                                  weekend                                                             making those requests)
                   MT1312:        I’ll find out what we can do


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                                                                                                                                Rationale(s)
                   MT1312:        I’m just saying right now I don’t know but I’ll find out             See Indictment ¶ 21
                   Kley(KT):      Do you think sabotaged 75                                            (describing how
                   Kley(KT):      Another                                                              Yioulos would provide
                   MT1312:        I don’t know                                                         information about
                   MT1312:        I don’t                                                              NAC’s finances to
                   Kley(KT):      At least because of the car                                          facilitate when
                   MT1312:        Maybe if I tell him nothing until mid November                       fraudulent payments
                   MT1312:        I know                                                               could be made)

280     10/20/19   MT7473:        Screenshot of sending BTC (Screenshot 2019-10-20 at 13.12.11.jpeg)   See Indictment ¶¶ 32,    A, D, G, K,    SW_FIL_003333
                                                                                                       33                       N              44
                                  [. . . .]                                                            See Indictment ¶ 20
                                                                                                       (alleging coordination
                   Kley(KT):      Hello                                                                by the Tews to decide
                   Kley(KT):      Did you even talk to Jon                                             how much to ask                         SW_FIL_003279
                   Kley(KT):      We can’t wait until like Wed or later                                Yioulos to send them                    16;
                   MT7473:        That was an accident i thought wring dot a second                    and the Tews’ role in                   SW_FIL_003279
                   MT7473:        He just texted me back                                               making those requests)                  19

                                        [. . . .[

                   Kley(KT):      Can we get another 75 or more this week
                   Kley(KT):      [redacted[ is sending me 1K
                   Kley(KT):      Plus we have 200 in navy
                   Kley(KT):      Plus whatever you can get out of wells

281     10/21/19   MT7473:        Wells Fargo Wire Availability 10_16_2019.xlsx                        See Indictment ¶ 20      A, G, K, N     SW_FIL_003333
                   MT7473:        Have the cash                                                        (alleging coordination                  44
                                                                                                       by the Tews to decide
                                  [. . . .]                                                            how much to ask                         SW_FIL_003279
                                                                                                       Yioulos to send them                    30,
                   Kley(KT):      Who are you talking to                                               and the Tews’ role in                   SW_FIL_003279
                   Kley(KT):      And what is up with Jon                                              making those requests)                  31
                   MT7473:        Talking to Jon in 5
                   Kley(KT):      Is he sending today
                                                                                                       Bank records show
                                        [. . . .]                                                      ATM withdrawals from


                                                                                    222
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Entry   Date       Statement(s)                                                                             Additional Context       801            Source
                                                                                                                                     Rationale(s)
                                                                                                            Tew bank accounts on
                   Kley(KT): I need you to go to the nfcu atm to get more cash                              October 21, 2019.
                   Kley(KT): Do you have the cards on you                                                   [NAVY_00000539]
                   MT7473: OK
                             Yes

                             [. . . .]
282     10/23/19   Kley(KT): 1. $600 4769 (KT)                                                              See Indictment ¶ 20      A, D, H, G,    SW_FIL_003279
                                    2. $600 6685 (KT)                                                       (alleging coordination   K, N           42-
                                    3. $600 7782 (KT)                                                       by the Tews to decide                   SW_FIL_003279
                                    4. $600 4974 (MT)                                                       how much to ask                         43
                                    5. $600 8780 (MT)                                                       Yioulos to send them
                                    $3,000 total                                                            and the Tews’ role in
                   MT7473: Jon sent the 25k                                                                 making those requests)
                   MT7473: On way to banks
                   MT7473: Sorry am I doing 500 from simple or no                                           On October 23, 2019,
                   Kley(KT): Yes                                                                            $25,000 sent via ACH
                   MT7473: Ok                                                                               to Wells Fargo Bank
                   Kley(KT): From any atm                                                                   Account x6934 for
                   Kley(KT): You don’t have to withdraw at bbva                                             services purportedly
                                                                                                            made to Aero
                                                                                                            Maintenance Resources
                                                                                                            and Global Fuel
                                                                                                            Logistics

283     10/25/19   Kley(KT): I really really really don’t want to stress you out but we are going to need   See Indictment ¶ 20      A, B, D, F,    SW_FIL_003279
                             more money                                                                     (alleging coordination   G, H, I, K,    59-
                   Kley(KT): It’s just not enough                                                           by the Tews to decide    N              SW_FIL_003279
                   Kley(KT): With the negative accounts and bills we have to pay plus the car and AN        how much to ask                         66
                             that’s over 60K                                                                Yioulos to send them
                   Kley(KT): It really leaves nothing for Vegas                                             and the Tews’ role in
                   Kley(KT): Can we send another to arrive Monday
                                                                                                            making those requests)
                   MT7473: I doubt it
                   MT7473: I’ll see                                                                         See Indictment ¶ 21
                   MT7473: I guess we’re fucked                                                             (describing how
                   Kley(KT): I need you to try                                                              Yioulos would provide
                   MT7473: Just forget the car                                                              information about

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Entry   Date   Statement(s)                                                                      Additional Context         801            Source
                                                                                                                            Rationale(s)
               MT7473:        I’ll try                                                           NAC’s finances to
               Kley(KT):      We are going to Vegas down                                         facilitate when
               Kley(KT):      No!!!                                                              fraudulent payments
               Kley(KT):      Stop                                                               could be made)
               Kley(KT):      What is your balance in Wells                                      See Indictment ¶ 34
               Kley(MT):      I transferred money to your 3494 account so the check will clear   (describing use of fraud
                              14019.15                                                           proceeds in Las Vegas)
               [. . . .]
                                                                                                 On October 25, 2019,
               Kley(KT): Ok I have a plan. But I need you to work on Jon for sending today       $43,000 sent via ACH
               Kley(KT): Can you wire 6K to [redacted]                                           to Wells Fargo Bank
               Kley(KT): I will                                                                  Account x6934 for
               [. . . .]                                                                         services purportedly
                         What time is the latest we can cash kraken                              made to Aero
               MT7473: Geez last time we did at 11 and it wired same day hit at 2                Maintenance
               MT7473: I would say that would be the latest                                      Resources, as alleged in
               MT7473: We have Coinbase too I can sell into either wells or navy                 Count 21 of the
               MT7473: Up to 25K                                                                 Indictment
               Kley(KT): Its good luck even If Jon sends 25K
               MT7473: Over the limit have to go to bank to send to him                          Bank records show
               Kley(KT): How much can you send                                                   money transfers to the
               MT7473: 2750                                                                      x3494 account
               Kley(KT): Ok                                                                      controlled by
               Kley(KT): Do that                                                                 Kimberley Tew on
               MT7473: ok                                                                        October 25, 2019, from
               MT7473: sending now                                                               Michael Tew’s Sand
               MT7473: Working on Jon                                                            Hill Wells Fargo
               MT7473: Wire sent                                                                 x6934.
               MT7473: Jon says there's nothing there he can't send anything until next week.    NAVY_00000537;
                         That 43k emptied the account.                                           WFB_00002528.

                                                                                                 Kraken and Coinbase
                                                                                                 are cryptocurrency
                                                                                                 exchanges on which
                                                                                                 Michael and Kimberley
                                                                                                 had accounts.
                                                                                                 KRKN_00000008;


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Entry   Date       Statement(s)                                                                        Additional Context         801            Source
                                                                                                                                  Rationale(s)
                                                                                                       KRKN_00000020;
                                                                                                       COIN_00000027-30;
                                                                                                       32.


284     10/25/19   MT7473:   Have cash going to atm                                                    As alleged in paragraph    A, F, G, K,    SW_FIL_003279
                   MT7473:   Audi starting to get testy. Thy need me to call to arrange alternative    33.f of the Indictment,    N              71-
                             payment.i think I call and say I need until mid next week I'm traveling   the Tews purchased an                     SW_FIL_003279
                             but send me wire instructions.                                            Audi using proceeds of                    73
                   Kley(KT): We are checked in for flight tonight at 10:28. I have us down for 3       the scheme and here are
                             checked bags.                                                             discussing its delivery
                   MT7473: OK                                                                          to them.
                   MT7473: At atm now Getting 9K                                                       AUDI_00000003.
                   Kley(KT): Our tickets with seat selection and 3 checked bags round-trip were
                             $740.36. We leave Tuesday @ 9:16am.                                       $20,611.01 was
                   MT7473: That's amazing                                                              transferred from the
                                                                                                       Sand Hill account
                                      [. . . .]                                                        x6934 on November 1,
                                                                                                       2019, as alleged in
                   MT7473:        You're going to kill it in Vegas let's just get there                Count 52 of the
                   MT7473:        Done 3600 at vaper                                                   Indictment to pay for
                                                                                                       the Audi.

                                                                                                       Bank records show that
                                                                                                       the Tews went to Las
                                                                                                       Vegas between
                                                                                                       10/25/19 and 11/2/19 [
                                                                                                       NAVY_0000195]
                                                                                                       See Indictment ¶ 34
                                                                                                       (describing use of fraud
                                                                                                       proceeds in Las Vegas)


285     10/31/19   Kley(KT): I just won $13k                                                           On October 31, 2019,       A, B, D, F,    SW_FIL_003280
                   Kley(KT): Wrong $18,575 jackpot!!!                                                  $23,750 sent via ACH       G, H, K, N     21;
                   Kley(KT): I have 20k                                                                to Navy Federal Credit                    SW_FIL_003280
                                                                                                       Union Account [x]5336                     23-


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Entry   Date   Statement(s)                                                                    Additional Context         801            Source
                                                                                                                          Rationale(s)
                              [. . . .]                                                        for services purportedly                  SW_FIL_003280
                                                                                               made to Aero                              24;
               Kley(KT): In blackjack inside what you doing                                    Maintenance Resources                     SW_FIL_003280
               MT1312: Jon can send 50 today and 25 next week and that's it what do you want                                             26-
               Kley(KT): Yes!!                                                                 On November 1, 2019,                      SW_FIL_003280
                                                                                               $49,750 sent via ACH                      33
                              [. . . .]                                                        to Wells Fargo Bank
                                                                                               Account x6934 for
               Kley(KT): I have 30K in cash                                                    services purportedly
               MT7473: Omg!!!!                                                                 made to Aero
               MT1312: Where you he send funds                                                 Maintenance Resources

                              [. . . .]                                                        Bank records show that
                                                                                               the Tews went to Las
               Kley(KT):      Want to deposit the cash at navy today and wire                  Vegas between
               Kley(KT):      Yes                                                              10/25/19 and 11/2/19 [
               Kley(KT):      \Just waiting for payout                                         NAVY_0000195]
               MT7473:        Ok                                                               See Indictment ¶ 34
                                                                                               (describing use of fraud
                              [. . . .]                                                        proceeds in Las Vegas)
                                                                                               Records from the Wynn
               Kley(KT):      I might have 40K                                                 Casino in Las Vegas
               MT7473:        Amazing!!!!                                                      confirm the say and
               MT1312:        50K coming in from jon 49,750                                    Kimberley Tew’s
               Kley(KT):      Coming as soon as they hand me the money                         winnings.
               Kley(KT):      We did it baby!!!!                                               WYNN_00000689;
               Kley(KT):      I love you
               MT7473:        Incredible
               MT1312:        Of course we df
               Kley(KT):      Send to WF?
               Kley(KT):      Still waiting on payout

                              [. . . .]
               MT1312:        He sent to wells so we can wire what we need
               MT7473:        He couldn't do two separate accounts

                                    [. . . .]


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Entry   Date   Statement(s)                                                              Additional Context   801            Source
                                                                                                              Rationale(s)

               Kley(KT):      Lol. I sat down and won two more jackpots.
               MT1312:        Omg!!!! You're totally in dire
               MT7473:        Incredible
               MT1312:        I ordered you a Diet Coke whenever you come up
               Kley(KT):      Just kidding 4 jackpots
               Kley(KT):      I'm coming up
               Kley(KT):      Have so much money I can't fit it
               MT1312:        Holy shit
               MT7473:        This is insane
               Kley(KT):      5 really coming up after this
               Kley(KT):      6
               Kley(KT):      Waiting for another payout
               Kley(KT):      Was playing while I was waiting
               MT7473:        Omg
               Kley(KT):      I know
               Kley(KT):      Going to start getting heat
               Kley(KT):      Casinos don't like winners
               MT7473:        So what do we do
               Kley(KT):      photo of cash in bag (IMG_1095.jpeg)
               Kley(KT):      Plus I have 3 flags
               Kley(KT):      And I'm waiting on $2,400 and $1860 payouts
               Kley(KT):      Screenshot of account balances (IMG_1098.png)




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 Entry   Date      Statement(s)                                                                             Additional Context         801            Source
                                                                                                                                       Rationale(s)
 286     11/1/19   MT1312:        Here now                                                                  See Indictment ¶ 20        A, D, G, K,    SW_FIL_003280
                   MT7473:        All set 15k Dropping me at the mall                                       (alleging coordination     N              34-
                   Kley(KT):      Need to find out when Jon is sending next                                 by the Tews to decide                     SW_FIL_003280
                   MT7473:        ok                                                                        how much to ask                           53
                   Kley(KT):      I owe [redacted] 10.5 today                                               Yioulos to send them
                   MT7473:        Ok                                                                        and the Tews’ role in
                   Kley(KT):      25 to [redacted]
                                                                                                            making those requests)
                   Kley(KT):      On Mon and 6K to James on Monday
                   Kley(KT):      I want to get another 5K of btc                                           See Indictment ¶ 34
                   Kley(KT):      And also owe [redacted] 4K I think                                        (describing use of fraud
                   Kley(KT):      Paid my discover out of joint                                             proceeds in Las Vegas)
                   Kley(KT):      Transferred everything to join for what I have put $400 in savings
                   MT7473:        I paid the car. Did not pay chase. There's $25K in wells. Do you still    On November 1, 2019,
                                  want me to pay chase? Which account? Its 2200 total. I'll do whatever     $49,750 sent via ACH
                                  you want.                                                                 to Wells Fargo Bank
                   MT7473:        I ordred room servic                                                      Account x6934 for
                   MT7473:        Las vegas north outlets (outdoor) are a 10 minute drive. They have Lili   services purportedly
                                  but not hanna or janie. The Las Vegas south outlets are bit further       made to Aero
                                  (opposite direction) they don't have lulu or janie or hana                Maintenance Resources

                                        [. . . .]                                                           Bank records show that
                                                                                                            the Tews went to Las
                   Kley(KT):      Can you wire 2K to [redacted] and 10.5 to [redacted] simple               Vegas between
                   MT1312:        Ok                                                                        10/25/19 and 11/2/19 [
                   MT7473:        Packing everything up                                                     NAVY_0000195]
                   MT7473:        Both wires sent
                                                                                                            Records from the Wynn
                                  [. . . .]                                                                 Casino in Las Vegas
                                                                                                            confirm the stay and
                   Kley(KT): What did Jon say                                                               Kimberley Tew’s
                   MT7473: He doesn't know yet will know Monday and maybe Monday for                        winnings.
                             Tuesday                                                                        WYNN_00000689;

                                  [. . . .]


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Entry   Date       Statement(s)                                                                             Additional Context       801            Source
                                                                                                                                     Rationale(s)
                                                                                                            Kraken is a
                   Kley(KT):      HOLY SHIT I won 4 BTC                                                     cryptocurrency
                   Kley(KT):      I just lost money downstairs and started rage betting on dice             exchange on which
                   Kley(KT):      Lol                                                                       both Kimberley and
                   MT1312:        Omg!!! That's insane!!! Score                                             Michael Tew had
                   MT7473:        Great that's so amazing                                                   accounts.
                   MT1312:        We're on the way back ok?                                                 KRKN_00000008;
                   Kley(KT):      Where are you guys now                                                    KRKN_00000020.
                   Kley(KT):      6 btc
                   MT1312:        Holy shot
                   Kley(KT):      I got down to $500 on dice and cashed out 6 BTC
                   Kley(KT):      6 btc = $55,368
                   Kley(KT):      Sending 4 to your kraken
                   Kley(KT):      We won't get it until Monday but that's fine
                   MT7473:        Hun are you sure you sent 4 BTC to kraken -- its not showing up even
                                  as pending

287     11/11/19   Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s   See above, entry 199,    A, K, L        GFL_00000043-
                   business email account with two attached invoices, writing:                              for information about                   GFL_00000046
                                                                                                            GFL, AMR, Jessica
                   Dear Jon:                                                                                Thompson, and the
                                                                                                            relevant paragraphs of
                   Attached are our service and maintenance invoices for Aero Maintenance Resources for     the Indictment.
                   October.

                   Please contact me if you have questions.

                   Thank you

                   Jessica Thompson
                   Aero Maintenance Resources
                   A Unit of Global Fuel Logistics, Inc.

288     11/13/19   Kley(KT):      You need to call Jon and ask for today                                    See Indictment ¶ 20      A, C, D, G,    SW_FIL_003281
                   Kley(KT):      It can't wait                                                             (alleging coordination   H, I, K, N     13-
                   MT7473:        Ok what's my reason                                                       by the Tews to decide                   SW_FIL_003281
                   MT7473:        My wife to the exchange got jammed up and need another 25k to get                                                 15


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Entry   Date       Statement(s)                                                                       Additional Context         801            Source
                                                                                                                                 Rationale(s)
                                  him his btc                                                         how much to ask
                   Kley(KT):      We need more than 25. Just be honest. Tell him I lost it.           Yioulos to send them
                   Kley(KT):      Is your 3494 account overdrawn?                                     and the Tews’ role in
                   MT7473:        Transferred to 4917                                                 making those requests)
                   Kley(KT):      What is up with Jon
                   MT7473:        Working on it he said fuck off earlier and he didn't want any BTC
                                  anymore but he'll come around tonight                               “3494” is a reference to
                                                                                                      Michael Tew’s NFCU
                                                                                                      Bank account x3494.

                                                                                                      “4917” is a reference to
                                                                                                      Kimberley Tew’s
                                                                                                      NFCU account ending
                                                                                                      x4917.
289     11/14/19   KT2046:        At least if you are in jail you can't hurt us                       See Indictment ¶ 20        A, G, K, N     SW_FIL_003133
                   MT1312:        I will be better I'm sorry                                          (alleging coordination                    98
                   MT1312:        I got 1940 out                                                      by the Tews to decide
                   KT2046:        You're never better                                                 how much to ask
                   MT1312:        Going to deposit it now                                             Yioulos to send them
                   KT2046:        I told you I needed help yesterday                                  and the Tews’ role in
                   KT2046:        And I hear you talk to him                                          making those requests)
                   MT1312:        I’ve spoken to him a bunch of times since yes yes sub
                   MT1312:        I spoke to him yesterday and this morning
                   KT2046:        Great
                   KT2046:        All you’re doing is fighting
                   KT2046:        Stop texting and driving
                   KT2046:        Yeah
                   KT2046:        I hope you got through to Jon
                   KT2046:        We are in for a tough weekend

290     11/19/19   Kley(KT):          I need more btc                                                 Messages to Michael        A, D, F, G,    SW_FIL_003281
                   Kley(KT):          And I assume Jon is sending nothing for tomorrow so I AM        Tew                        K, N           52
                                      FUCKED
                   Kley(KT):          I have $495 in 0556 (7444) and $496 in 4917 (9396)
                   Kley(KT):          I just transferred $996 to your 3494 (0816) account
                                                                                                      See Indictment ¶ 20
                                                                                                      (alleging coordination


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Entry   Date       Statement(s)                                                                       Additional Context       801            Source
                                                                                                                               Rationale(s)
                                                                                                      by the Tews to decide
                                                                                                      how much to ask
                                                                                                      Yioulos to send them
                                                                                                      and the Tews’ role in
                                                                                                      making those requests)

                                                                                                      On November 19, 2019,
                                                                                                      $25,000 sent via ACH
                                                                                                      to Wells Fargo Bank
                                                                                                      Account x6934 for
                                                                                                      services purportedly
                                                                                                      made to Aero
                                                                                                      Maintenance Resources

                                                                                                      Bank records show
                                                                                                      transfers of $501, and
                                                                                                      $$95 from Kimberley
                                                                                                      Tew’s NFCU accounts
                                                                                                      to Michael Tew’s
                                                                                                      x3494 accounts.

291     11/20/19   Kley(KT): What's the deal                                                          See Indictment ¶ 20      A, D, F, G,    SW_FIL_003281
                   MT7473: Been arguing with jon                                                      (alleging coordination   K, H, I, N     58-
                   MT7473: He'l get us the 80 but he will not go to the bank and ask them to send     by the Tews to decide                   SW_FIL_003281
                             the funds. Right now they are 100K overdrawn                             how much to ask                         60
                   MT7473: I'm still fighting with him                                                Yioulos to send them
                   Kley(KT): Is he sending the money this week                                        and the Tews’ role in
                   MT7473: yes                                                                        making those requests)
                   Kley(KT): What if nothing hits tomorrow                                            See Indictment ¶ 21
                   MT7473: Hes confident it iwll                                                      (describing how
                   Kley(KT): He's sending 55 tomorrow or 80                                           Yioulos would provide
                   MT7473: I'm not there yet                                                          information about
                   MT7473: We're still arguing how much he can send and nay get                       NAC’s finances to
                   Kley(KT): I can get $48 on Coinbase can you withdraw the rest to get the btc and   facilitate when
                             whatever else we need




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Entry   Date       Statement(s)                                                                         Additional Context         801            Source
                                                                                                                                   Rationale(s)
                                                                                                        fraudulent payments
                                                                                                        could be made)

                                                                                                        On November 26, 2019,
                                                                                                        $43,250 sent via ACH
                                                                                                        to Wells Fargo Bank
                                                                                                        Account [x]2064 for
                                                                                                        services purportedly
                                                                                                        made to Aero
                                                                                                        Maintenance
                                                                                                        Resources, as alleged in
                                                                                                        Count 24 of the
                                                                                                        Indictment

                                                                                                        See above [X] for
                                                                                                        information about Sand
                                                                                                        Hill LLC and its use by
                                                                                                        Michael Tew as a
                                                                                                        vehicle to collect
                                                                                                        scheme proceeds

                                                                                                        See above [] for
                                                                                                        information about
                                                                                                        Global Fuel Logistics,
                                                                                                        Aero Maintenance
                                                                                                        Resources, and “Jessica
                                                                                                        Thompson”

292     11/21/19   MT7473:   Screenshot of messages with JY (Yes. Of course NOTHING                     See Indictment ¶ 20        A, B, D, F,    SW_FIL_003281
                             showed.jpeg)                                                               (alleging coordination     G, K, N        65-
                   Kley(KT): How much cash do you have on you or in sand hill                           by the Tews to decide                     SW_FIL_003281
                   MT7473: 10 dollars in cash, 5 dollars in global fuel, sand hill overdrawn            how much to ask                           66
                   MT7473: Hes saying he may be able to take something small from the                   Yioulos to send them
                             forwarders and send it but there's not much there so he doesn't know yet   and the Tews’ role in
                                                                                                        making those requests)
                                                                                                        See Indictment ¶ 21
                                                                                                        (describing how


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Entry   Date       Statement(s)                                                                           Additional Context         801            Source
                                                                                                                                     Rationale(s)
                                                                                                          Yioulos would provide
                                                                                                          information about
                                                                                                          NAC’s finances to
                                                                                                          facilitate when
                                                                                                          fraudulent payments
                                                                                                          could be made)

                                                                                                          See above, entry 54, for
                                                                                                          information about Sand
                                                                                                          Hill LLC and its use by
                                                                                                          Michael Tew as a
                                                                                                          vehicle to collect
                                                                                                          scheme proceeds and
                                                                                                          the relevant paragraphs
                                                                                                          of the Indictment.

293     11/22/19   Kley(KT):      What's up with Jon                                                      See Indictment ¶ 20        A, B, D, F,    SW_FIL_003281
                   Kley(KT):      I need a date                                                           (alleging coordination     G, H, K, N     73-
                   Kley(KT):      He needs to send for Monday too or a lot early                          by the Tews to decide                     SW_FIL_003281
                   Kley(KT):      How could I possibly focus and remain calm                              how much to ask                           75
                   Kley(KT):      Same shit. Different day. You told me he was sending large this week.   Yioulos to send them
                   Kley(KT):      Same story.                                                             and the Tews’ role in                     SW_FIL_003134
                   Kley(KT):      That's a 50k spread.                                                                                              02
                                                                                                          making those requests)
                   MT7473:        Ok so I will keep putting pressure on him
                   MT1312:        He has no idea what's coming in or when next week                       See above, entry 54, for
                   MT7473:        No schedule                                                             information about Sand
                   MT1312:        System is down                                                          Hill LLC and its use by
                   Kley(KT):      You don't give me the real numbers                                      Michael Tew as a
                   Kley(KT):      What system                                                             vehicle to collect
                   MT7473:        The goverments payment system                                           scheme proceeds and
                                                                                                          the relevant paragraphs
                                  [. . . .]                                                               of the Indictment.

                   MT1312:        Screenshot of the GFL Wells Fargo bank account balance (Screenshot
                                  2019-11-22 at 09.33.48.jpeg)




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Entry   Date       Statement(s)                                                             Additional Context         801            Source
                                                                                                                       Rationale(s)
294     11/25/19   MT1312:        Dubai money hit                                           See Indictment ¶ 20        A, C, F, G,    SW_FIL_003281
                   Kley(KT):      How much can he send today and tomorrow                   (alleging coordination     H, K, L, N     86-
                   MT7473:        Call jon Went to niche main                               by the Tews to decide                     SW_FIL_003281
                   MT1312:        Voicemail                                                 how much to ask                           88
                   Kley(KT):      But he texted you to let you know                         Yioulos to send them
                   Kley(KT):      Today and tomorrow are critical                           and the Tews’ role in
                   MT7473:        Yes                                                       making those requests)
                   Kley(KT):      If he wants his "XMAS" present                            See Indictment ¶ 21
                   MT1312:        Have 800 going up btc atm now                             (describing how
                   MT7473:        800 bought                                                Yioulos would provide
                                                                                            information about
                                                                                            NAC’s finances to
                                                                                            facilitate when
                                                                                            fraudulent payments
                                                                                            could be made)
                                                                                            See Indictment ¶ 25
                                                                                            (alleging that Tews
                                                                                            gave Yioulos bitcoin as
                                                                                            part of the fraud)

                                                                                            On November 26, 2019,
                                                                                            $43,250 sent via ACH
                                                                                            to Wells Fargo Bank
                                                                                            Account [x]2064 for
                                                                                            services purportedly
                                                                                            made to Aero
                                                                                            Maintenance
                                                                                            Resources, as alleged in
                                                                                            Count 24 of the
                                                                                            Indictment

                                                                                            Bank records and
                                                                                            records from the Wynn
                                                                                            casino in Las Vegas
                                                                                            show substantial debits
                                                                                            and purchases at the
                                                                                            Wynn between


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Entry   Date   Statement(s)                                                Additional Context       801            Source
                                                                                                    Rationale(s)
                                                                           11/26/19 and 12/11/19;
                                                                           WFB_00002350-2356;
                                                                           NAVY_0000228-232;
                                                                           552-554;
                                                                           WYNN_00000730; 736




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 Entry   Date      Statement(s)                                                                  Additional Context         801            Source
                                                                                                                            Rationale(s)
 295     12/1/19   MT1312: Hun there’s only 919 left in global fuel all the Wynn stuff hit       See Indictment ¶ 34        A, G, K        SW_FIL_003282
                   Kley(KT): OK                                                                  (describing use of fraud                  41
                                 [. . . .]                                                       proceeds in Las Vegas)
                   Kley(KT): So hold off on depositing at sand hill

                                                                                                 Bank records and
                                                                                                 records from the Wynn
                                                                                                 casino in Las Vegas
                                                                                                 show substantial debits
                                                                                                 and purchases at the
                                                                                                 Wynn between
                                                                                                 11/26/19 and 12/11/19;
                                                                                                 WFB_00002350-2356;
                                                                                                 NAVY_0000228-232;
                                                                                                 552-554;
                                                                                                 WYNN_00000730; 736

                                                                                                 See above, entry 54, for
                                                                                                 information about Sand
                                                                                                 Hill LLC and its use by
                                                                                                 Michael Tew as a
                                                                                                 vehicle to collect
                                                                                                 scheme proceeds and
                                                                                                 the relevant paragraphs
                                                                                                 of the Indictment.

 296     12/2/19   Kley(KT):      Can Jon send today                                             See Indictment ¶ 20        A, D, F, G,    SW_FIL_003282
                   MT1312:        Trying him he has not responded                                (alleging coordination     H, K           50-
                   Kley(KT):      What’s up                                                      by the Tews to decide                     SW_FIL_003282
                   Kley(KT):      Pls tell me you have good news                                 how much to ask                           55
                   MT7473:        Working on it - I think he is sending                          Yioulos to send them
                   Kley(KT):      For tomorrow                                                   and the Tews’ role in
                   Kley(KT):      How much                                                       making those requests)
                   Kley(KT):      To navy?
                   MT7473:        To navy

                                                                              236
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Entry   Date      Statement(s)                                                                         Additional Context         801            Source
                                                                                                                                  Rationale(s)
                  MT7473:        Not sure yet                                                          See Indictment ¶ 21
                  Kley(KT):      What’s going on                                                       (describing how
                  Kley(KT):      Can you tell me                                                       Yioulos would provide
                  MT7473:        Waiting to hear from him if he can send and how much but cutoff is    information about
                                 soon so i’ll know shortly                                             NAC’s finances to
                  MT7473:        Trust me i;mn on it                                                   facilitate when
                  Kley(KT):      We are screwed if he doesn’t
                                                                                                       fraudulent payments
                  Kley(KT):      How much
                                                                                                       could be made)
                  MT7473:        I’m doing my best I really am
                  MT7473:        Less than 10 not sure yet                                             On December 3, 2019,
                  MT7473:        He needs invoices from me so I’m working the angles                   $9,500 sent via ACH to
                  Kley(KT):      What!!                                                                Navy Federal Credit
                  Kley(KT):      He can’t send 15-20                                                   Union Account [x]5336
                  MT7473:        No he doesn’t have                                                    for services purportedly
                  MT1312:        9800 sent to navy                                                     made to Aero
                  MT7473:        Best I could do                                                       Maintenance
                  Kley(KT):      That’s awesome                                                        Resources, as alleged in
                  Kley(KT):      Thank you                                                             Count 25. That account
                  Kley(KT):      Is there a plan for this week with him                                was controlled by
                  MT7473:        Tonight we’re talking                                                 Michael Tew.
                  MT1312:        I’m doing my best
                  MT7473:        He couldn’t talk today in office                                      Records show
                                                                                                       Kimberley Tew at the
                                                                                                       Wynn hotel between
                                                                                                       11/26/19 and 12/11/19.
                                                                                                       [WYN_00000730; 736]

                                                                                                       See Indictment ¶ 34
                                                                                                       (describing use of fraud
                                                                                                       proceeds in Las Vegas)

297     12/3/19   Kley(KT): Jon needs to send today                                                    See Indictment ¶ 20        A, D, F, G,    SW_FIL_003333
                  MT7473: I had already asked - [C.A.] took all the money in anticipation of more      (alleging coordination     K, N           89-
                            coming this week and the auto draws put them over into negative. The       by the Tews to decide                     SW_FIL_003333
                            only people that got paid this week were us and [C.A.]. I did ask. I can   how much to ask                           90
                            work on getting more later this week if you want                           Yioulos to send them
                  MT7473: I promise you I am doing everything I possibly can to get us more

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Entry   Date   Statement(s)                                                                Additional Context         801            Source
                                                                                                                      Rationale(s)
                         money from him                                                    and the Tews’ role in                     SW_FIL_003282
               MT7473:   everything                                                        making those requests)                    63-
               Kley(KT): He needs to send today                                            See Indictment ¶ 21                       SW_FIL_003282
               Kley(KT): I am freaking out                                                 (describing how                           65
               MT7473:   The bank won’t send it they have a negative balance it happened   Yioulos would provide
                         before                                                            information about
               MT7473: Come up here then if you are freaking out                           NAC’s finances to
               Kley(KT): We are stuck                                                      facilitate when
                                                                                           fraudulent payments
                                                                                           could be made)

                                                                                           On December 3, 2019,
                                                                                           $9,500 sent via ACH to
                                                                                           Navy Federal Credit
                                                                                           Union Account [x]5336
                                                                                           for services purportedly
                                                                                           made to Aero
                                                                                           Maintenance
                                                                                           Resources, as alleged in
                                                                                           Count 25

                                                                                           See above, entry 199,
                                                                                           for information about
                                                                                           GFL, AMR, Jessica
                                                                                           Thompson, and the
                                                                                           relevant paragraphs of
                                                                                           the Indictment.

                                                                                           Bank records and
                                                                                           records from the Wynn
                                                                                           casino in Las Vegas
                                                                                           show substantial debits
                                                                                           and purchases at the
                                                                                           Wynn between
                                                                                           11/26/19 and 12/11/19;
                                                                                           WFB_00002350-2356;
                                                                                           NAVY_0000228-232;


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Entry   Date      Statement(s)                                                                             Additional Context         801            Source
                                                                                                                                      Rationale(s)
                                                                                                           552-554;
                                                                                                           WYNN_00000730; 736
                                                                                                           ]

                                                                                                           See Indictment ¶ 34
                                                                                                           (describing use of fraud
                                                                                                           proceeds in Las Vegas)

298     12/4/19   KT2046:        Can you transfer 610 from 3494 to 5336                                    Bank records show          A, G, K, N     SW_FIL_003333
                  KT2046:        Can't do it from your computer                                            transfers from Michael                    90-
                  MT7473:        Yes                                                                       Tew’s x3494 account to                    SW_FIL_003333
                                 On way back                                                               Michael Tew’s x5336                       92
                  KT2046:        Do you have a key                                                         account.
                  MT7473:        Yes                                                                       [NAVY_00000554]
                  MT7473:        There’s already 610 in 5336
                  MT7473:        There’s like 590 in 3494                                                  Bank records and
                  KT2046:        Ok                                                                        records from the Wynn
                  KT2046:        So all three                                                              casino in Las Vegas
                  KT2046y:       Can you transfer 20 from joint to 3494                                    show substantial debits
                  MT7473:        Ok                                                                        and purchases at the
                  KT2046:        Which accounts have money                                                 Wynn between
                  MT7473:        Done                                                                      11/26/19 and 12/11/19;
                                                                                                           WFB_00002350-2356;
                                                                                                           NAVY_0000228-232;
                                                                                                           552-554;
                                                                                                           WYNN_00000730; 736

                                                                                                           See Indictment ¶ 34
                                                                                                           (describing use of fraud
                                                                                                           proceeds in Las Vegas)

                                                                                                           See Indictment ¶¶ 23,
                                                                                                           32, 33

299     12/6/19   MT7473:        Jon is pittjnbup [sic] a wall saying he cannot senf anything for Monday   See Indictment ¶ 20        A, D, G, K,    SW_FIL_003333
                  KT2046:        Isn’t it past cut off time                                                (alleging coordination     J, N           92-
                  KT2046:        At this point                                                             by the Tews to decide


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Entry   Date   Statement(s)                                                                             Additional Context         801            Source
                                                                                                                                   Rationale(s)
               MT7473:        10 mins                                                                   how much to ask                           SW_FIL_003333
               MT7473:        We re really at each other                                                Yioulos to send them                      95
               KT2046:        Tell him you wouldn’t be doing this unless 911                            and the Tews’ role in
               KT2046:        To take you seriously                                                     making those requests)
               KT2046:        Say I’m not going to fight with you                                       See Indictment ¶ 21
               MT7473:        [P.M.] said he will come [comp] what he can tonight                       (describing how
               KT2046:        But Tue is a problem                                                      Yioulos would provide
               KT2046:        Not what he said                                                          information about
               KT2046:        Big problem                                                               NAC’s finances to
               MT7473:        Have the 1800                                                             facilitate when
               MT7473:        Getting uber
                                                                                                        fraudulent payments
               MT7473:        Screenshot of account balances (Screenshot 2019-12-06 at 12.44.27.jpeg)
                                                                                                        could be made)
               MT7473:        Global fuel 161
                              Sand hill -564                                                            On December 6, 2019,
                              Didn’t cash out that PayPal transaction yet                               $26,500 sent via ACH
               MT7473:        Maybe don’t stop at in n out it’ll just be more expensive with uber and   to Navy Federal Credit
                              everything                                                                Union Account [x]5336
                                                                                                        for services purportedly
                                                                                                        made to Aero
                                                                                                        Maintenance Resources

                                                                                                        Bank records and
                                                                                                        records from the Wynn
                                                                                                        casino in Las Vegas
                                                                                                        show substantial debits
                                                                                                        and purchases at the
                                                                                                        Wynn between
                                                                                                        11/26/19 and 12/11/19;
                                                                                                        WFB_00002350-2356;
                                                                                                        NAVY_0000228-232;
                                                                                                        552-554;
                                                                                                        WYNN_00000730; 736

                                                                                                        “P.M.” is a reference to
                                                                                                        a casino host at the
                                                                                                        Wynn


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Entry   Date       Statement(s)                                                                              Additional Context         801            Source
                                                                                                                                        Rationale(s)
                                                                                                             See Indictment ¶ 34
                                                                                                             (describing use of fraud
                                                                                                             proceeds in Las Vegas)

300     12/7/19    KT2046:        I hate life                                                                On December 10, 2019,      A, G, K, N     SW_FIL_003333
                   KT2046:        How the fuck are we going to get back                                      $51,150 sent via ACH                      97-
                   MT7473:        What happened                                                              to Navy Federal Credit                    SW_FIL_003333
                   KT2046:        I just can’t breathe!!!!                                                   Union Account [x]5336                     99
                   KT2046:        How much money do you have left                                            for services purportedly
                   KT2046:        We have to do crypto                                                       made to Aero
                   KT2046:        I hate everyone but you and the girls                                      Maintenance Resources
                   MT7473:        I spent like 30 bucks
                   MT7473:        I have 100 in navy                                                         Bank records and
                   MT7473:        We have enough to buy Tickets no?                                          records from the Wynn
                   KT2046:        I thought you srill has the 700 I forgot you transferred                   casino in Las Vegas
                   KT2046:        Nope                                                                       show substantial debits
                   MT7473:        I transferred that to you                                                  and purchases at the
                   KT2046:        I know                                                                     Wynn between
                   KT2046:        Kill me                                                                    11/26/19 and 12/11/19;
                                                                                                             WFB_00002350-2356;
                                                                                                             NAVY_0000228-232;
                                                                                                             552-554;
                                                                                                             WYNN_00000730; 736

                                                                                                             See Indictment ¶ 34
                                                                                                             (describing use of fraud
                                                                                                             proceeds in Las Vegas)

301     12/11/19   MT7473:        I got 5100 and with the fees that’s what’s left (Screenshot of account     See Indictment ¶ 20        A, G, K, N     SW_FIL_003334
                                  balances (Screenshot 2019-12-10 at 19.53.42.jpeg))                         (alleging coordination                    00-
                   MT7473:        Zara closes at 9                                                           by the Tews to decide                     SW_FIL_003334
                   KT2046:        Played aggressive and even                                                 how much to ask                           08
                   MT7473:        Cool                                                                       Yioulos to send them
                   MT7473:        That's fine                                                                and the Tews’ role in
                   MT7473:        I’m almost good with packing except wf need y finish our toiletries and    making those requests)                    SW_FIL_003283
                                  there’s some things of yours in the drawer not sure what you are packing   See Indictment ¶ 21                       20-
                                  and what wearing                                                           (describing how


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Entry   Date   Statement(s)                                                                             Additional Context         801            Source
                                                                                                                                   Rationale(s)
               KT2046:        I'm frustrated                                                            Yioulos would provide                     SW_FIL_003283
               KT2046:        I don’t want to go home empty after all this                              information about                         35
               MT7473:        I know you don’t but we’re not                                            NAC’s finances to
                              We have so much wonderful time planned away from here that’s what         facilitate when
                              matters                                                                   fraudulent payments
                              You’re not going home empty handed but they’ll keep you at those tables   could be made)
                              all night if they can
               MT7473:        Get some food in you                                                      On December 12, 2019,
               KT2046:        Is 5K and bouncing tent enough to go                                      $24,500 sent via ACH
               KT2046:        I will be more comfortable knowing Jon is sending before Friday           to Navy Federal Credit
               MT7473:        I know but I won’t know that until tomorrow                               Union Account [x]5336
               MT7473:        What can we do stay?                                                      for services purportedly
               MT7473:        Buy btc?                                                                  made to Aero
               MT7473:        Can we take a break and strategize together?                              Maintenance
               KT2046:        Here? Hell no.                                                            Resources, as alleged in
               MT7473:        Exactly                                                                   Count 26 of the
               KT2046:        Are you hungry                                                            Indictment
               MT7473:        Let’s just get Jon to send Friday work on it from la
               MT7473:        Yeah and [redacted] is                                                    Bank records and
               MT7473:        I can order                                                               records from the Wynn
               KT2046:        Not for Monday though right                                               casino in Las Vegas
               MT7473:        No has to be Thursday for Friday                                          show substantial debits
               KT2046:        We have to go and do one day at a time for now until tomorrow             and purchases at the
               MT7473:        We can do it I know we can.                                               Wynn between
               MT7473:        We’ve done harder                                                         11/26/19 and 12/11/19;
               MT7473:        Plan our next adventure                                                   WFB_00002350-2356;
               KT2046:        I’m up 2K                                                                 NAVY_0000228-232;
               KT2046:        Time to stop                                                              552-554;
               MT7473:        Perfect                                                                   WYNN_00000730; 736
               KT2046:        Order food
               MT7473:        For now                                                                   See Indictment ¶ 34
               MT7473:        Ok ordering now                                                           (describing use of fraud
               KT2046:        Maybe 3                                                                   proceeds in Las Vegas)
               KT2046:        I don't know
               MT7473:        That's great
               KT2046:        But will stop
               MT7473:        It's good


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Entry   Date   Statement(s)                                                                         Additional Context   801            Source
                                                                                                                         Rationale(s)
               MT7473:        Order in food ready in 15
               KT2046:        Do you need me to go
               KT2046:        I'm still playing

                              [. . . .]

               KT2046:        Should I ask for a check?
               KT2046:        I just won another jackpot
               KT2046:        No we will use for btc
               KT2046:        Is there a navy federal in LA?
               MT7473:        Ok perfect idea
               MT7473:        Use it
               MT7473:        One in hawthorne

                              [. . . .]

               MT7473:   If we take the 7pm flight we leave here at 5. Everyone sleeps until
                         12...we have 5 hours to
                         sort of get our shit together
               MT7473: I would personally rather not push it off like an entire day at hte casino
                         just book a cheap van, get on teh plane, and get there. But jon is NOT
                         expecting to send more money this week and I have to convince him,
                         which I may be able to, send more
               MT7473: tomorreow
               Kley(KT): Can you come down to floor to grab 2K from me. I won.
               Kley(KT): We have to cancel car

                              [. . . .]

               Kley(KT):      Isn’t that what we started with
               Kley(KT):      I’m not hungry
               MT7473:        Ok
               Kley(KT):      No is it less
               Kley(KT):      I can’t remember
               MT7473:        we started with 10,600 exactly
               Kley(KT):      Do we have a rental
               Kley(KT):      So we are up $103


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Entry   Date   Statement(s)                                                                            Additional Context   801            Source
                                                                                                                            Rationale(s)
               MT7473:        No I need to have a return ticket booked to book a rental with hertz
                              using debit card

                              [. . . .]

               MT7473:        Including rent and discover we have enough $ now for the trip and rent
                              and dsicover
               MT7473:        if we wanted to stay to Saturday
               Kley(KT):      You need to deal with Jon first thing in AM
               Kley(KT):      I’m serious
               MT7473:        Yes I know
               MT1312:        But like you’re going to have all day at the casino tomorrow
               Kley(KT):      First thing in AM
               Kley(KT):      Funds are going to navy right?
               MT7473:        If you want
               Kley(KT):      Can you bring me the rest of cash and chip
               Kley(KT):      I’m at slots right outside coffee

                                    [. . . .]

               Kley(KT): What is Jon doing

                                    [. . . .]

               MT1312:        Jon sent 24

                                    [. . . .]

               Kley(KT): I’m winning
               Kley(KT): Photo of jackpot (59779381882__2324EF01-F0C6-4CBB-BF89-
                         80255E6D412C.jpeg)
               MT1312: Awesome!
               MT7473: That’s amazing

                                    [. . . .]

               Kley(KT): I’m frustrated


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Entry   Date       Statement(s)                                                                             Additional Context         801            Source
                                                                                                                                       Rationale(s)
                   Kley(KT):      I hit 2 3K jackpots and at 8K
                   Kley(KT):      photo of jackpot (IMG_2418.jpeg)
                   Kley(KT):      Thought I was winning
                   MT7473:        That’s fine! Its a good place!
                   Kley(KT):      No wait
                   Kley(KT):      I have credit in machine
                   MT7473:        A lot of credit
                   Kley(KT):      At $10,600
                   MT7473:        That’s awesome
                   MT7473:        Plus 24K coming tomorrow
                   Kley(KT):      So there’s no movement
                   MT7473:        come up and eat with us

302     12/13/19   MT7473:        Screenshot of account (BUSINESS CHECKING - Wells Fargo.jpeg)              See Indictment ¶¶ 23,      A, G, K, N     SW_FIL_003334
                   MT7473:        ThTs sand hill account number                                             32, 33                                    08-
                                                                                                                                                      SW_FIL_003334
                                  [. . . .]                                                                 On December 12, 2019,                     09
                                                                                                            $24,500 sent via ACH
                   MT7473:   Sand hill is linked to globalfuel.co                                           to Navy Federal Credit
                   MT1312:   Global fuel is linked to tew trading                                           Union Account [x]5336
                   Kley(KT): What’s the email for PayPal linked to sandhill                                 for services purportedly                  SW_FIL_003283
                   MT1312:   Mtew@globalfuel.co                                                             made to Aero                              78-
                   MT7473:   If you transfer to Tew trading at least I can get to global fuel I can get a   Maintenance                               SW_FIL_003283
                                  new debit card at                                                         Resources, as alleged in                  80
                                  wells today                                                               Count 26 of the
                   MT1312: I mean ASAP                                                                      Indictment
                   MT7473: It’s the account that’s linked for instant transfer not the debit number
                   Kley(KT): 5K deposit into sandhill in about 20 min                                       The
                   Kley(KT): Need to withdraw buy more btc                                                  Mtew@globalfuel.co
                   MT7473: Ok                                                                               address was created on
                                                                                                            the domain name
                                                                                                            Michael Tew paid fo
                                                                                                            from go daddy, along
                                                                                                            with the Sand Hill
                                                                                                            domain name.
                                                                                                            ORD_00000003,
                                                                                                            19768; 19821.


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Entry   Date       Statement(s)                                                                             Additional Context        801            Source
                                                                                                                                      Rationale(s)

                                                                                                            Bank records show a
                                                                                                            $5,000 deposit into teh
                                                                                                            Sand Hill Wells Fargo
                                                                                                            bank account x6934
                                                                                                            used by Michael Tew.
                                                                                                            [WFB_00002538]

303     12/17/19   Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s   See above, entry 199,     A, K, L        GFL_00000039-
                   business email account with two attached invoices, writing:                              for information about                    GFL_00000042
                                                                                                            GFL, AMR, Jessica
                                                                                                            Thompson, and the
                   Dear Jon:                                                                                relevant paragraphs of
                                                                                                            the Indictment.
                   Attached are our service and maintenance invoices for Aero Maintenance Resources for
                   November.

                   Please contact me if you have questions.

                   Thank you

                   Jessica Thompson
                   Aero Maintenance Resources
                   A Unit of Global Fuel Logistics, Inc.

304     12/20/19   Kley(KT): Look at our bank balance if this kraken shit isn’t sorted out today it’s       See Indictment ¶ 20       A, D, G, H,    SW_FIL_003284
                             bad                                                                            (alleging coordination    K, I, N        80-
                   Kley(KT): Like Denver                                                                    by the Tews to decide                    SW_FIL_003284
                   Kley(KT): And if Jon doesn’t send totally over                                           how much to ask                          91
                   MT7473: I’m trying to get him to send today                                              Yioulos to send them
                   MT7473: I’m going back to kraken again now                                               and the Tews’ role in
                   MT7473: I don’t know how to make it happen, maybe I cancel the wire and try
                                                                                                            making those requests)
                             to get the funds back
                   Kley(KT): No                                                                             On December 17, 2019,
                   MT7473: Ma7be we get it back monday                                                      $7,800 sent via ACH to
                   MT7473: I have 1000 in my accounts do you have anything                                  Navy Federal Credit
                   MT7473: I mean that’s it?                                                                Union Account [x]5336

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Entry   Date       Statement(s)                                                                 Additional Context         801            Source
                                                                                                                           Rationale(s)
                   MT7473:        No more money?                                                for services purportedly
                   MT7473:        I emailed kraken again                                        made to Aero
                   Kley(KT):      About $1,800                                                  Maintenance Resources
                   MT7473:        so we have 2800 total?
                   Kley(KT):      Will work btc                                                 On December 18, 2019,
                   MT7473:        No BtC/                                                       $33,300 sent via ACH
                   MT7473:        I’m working on getting more money from jon                    to Navy Federal Credit
                   Kley(KT):      $4,500 in btc                                                 Union Account [x]5336
                   MT7473:        Jon left the office for the day                               for services purportedly
                   MT7473:        He said he has nothing to send - i will keep pushing him      made to Aero
                   Kley(KT):      What do you think                                             Maintenance Resources
                   Kley(KT):      Remember he thinks we are still 20K short
                   MT7473:        Yeah I know                                                   See above, entry 199,
                   MT7473:        I’m doing everything go can                                   for information about
                   Kley(KT):      Stay on Jon before deadline                                   GFL, AMR, Jessica
                   MT7473:        I’m on him                                                    Thompson, and the
                   MT7473:        He said Monday for Tuesday                                    relevant paragraphs of
                   Kley(KT):      How much                                                      the Indictment.
                   MT7473:        Don’t know yet I’m on t
                   MT1312:        More but he’s overdrawn so not sure how much                  Kraken is a
                   MT7473:        I know you need to know                                       cryptocurrency
                   MT1312:        We need money till Tuesday                                    exchange on which
                   MT7473:        I love you I’m sorry I’ll keep pushing                        both Kimberley and
                   Kley(KT):      An update would be nice                                       Michael Tew had
                   MT7473:        Coming back                                                   accounts.
                   MT7473:        [x]2064                                                       KRKN_00000008;
                   MT7473:        Global fuel logistics INC                                     KRKN_00000020.
                   MT7473:        There’s 1540 in global fuel
                   Kley(KT):      Huh
                   Kley(KT):      Oh I guess I sent you some

305     12/21/19   Kley(KT): Send me the screenshot you sent Jon                                See Indictment ¶ 20        A, G, K, N     SW_FIL_003285
                   MT7473: The original one or the one I just sent you                          (alleging coordination                    01
                   Kley(KT): Never mind I found it                                              by the Tews to decide
                                                                                                how much to ask
                                                                                                Yioulos to send them



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Entry   Date       Statement(s)                                                            Additional Context         801            Source
                                                                                                                      Rationale(s)
                                                                                           and the Tews’ role in
                                                                                           making those requests)

306     12/30/19   MT1312: How much should I go for with jon today and tomorrow            See Indictment ¶ 20        A,F, K, N      SW_FIL_003286
                   MT1312: What’s realistic                                                (alleging coordination                    46-
                   Kley(KT): As much as you can                                            by the Tews to decide                     SW_FIL_003286
                                                                                           how much to ask                           47
                                                                                           Yioulos to send them
                                                                                           and the Tews’ role in
                                                                                           making those requests)

307     12/31/19   Kley(KT): Jon is full of shit he can’t send more today                  See Indictment ¶ 20        A, D, F, G,    SW_FIL_003286
                   Kley(KT): And an extra 15K would help to pay these                      (alleging coordination     H, I, K, N     53
                   Kley(KT): Plus we get platinum back                                     by the Tews to decide
                   MT7473:   Ill work on it                                                how much to ask
                   MT7473:   I’m supposed to pay my chase cards also - should I make       Yioulos to send them
                             payment?                                                      and the Tews’ role in
                   Kley(KT): Yes
                                                                                           making those requests)

                                                                                           On December 31, 2019,
                                                                                           $77,500 sent via ACH
                                                                                           to Navy Federal Credit
                                                                                           Union Account [x]5336
                                                                                           for services purportedly
                                                                                           made to Aero
                                                                                           Maintenance Resources




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January 2020

 Entry    Date     Statement(s)                                                                            Additional Context         801            Source
                                                                                                                                      Rationale(s)
 308      1/3/20   Kley(KT):      What’s up with kraken and jon                                            See Indictment ¶ 20        A, D, F, G,    SW_FIL_003287
                   MT7473:        I REACHED OUT to jon and nothing no response                             (alleging coordination     H, I, K, N     00-
                   Kley(KT):      What’s your plan                                                         by the Tews to decide                     SW_FIL_003287
                   Kley(KT):      What did you say to him                                                  how much to ask                           01;
                   Kley(KT):      How long is call                                                         Yioulos to send them                      SW_FIL_003287
                   MT7473:        15 minutes                                                               and the Tews’ role in                     02;
                                                                                                           making those requests)                    SW_FIL_003287
                                  [. . . .]                                                                                                          05-
                                                                                                           Kraken is a                               SW_FIL_003287
                                                                                                           cryptocurrency                            08;
                   MT7473:   I’m gpoign to talk to jon this weekend is my plan and tell him I need         exchange on which                         SW_FIL_003287
                             another $200k it has to be done in January and that we can do it without      both Kimberley and                        10
                             any problems because its still first month of hte year, we will do December   Michael Tew had
                             invoices for January bills                                                    accounts.
                   MT7473: I have to convince him that we’ll be ok                                         KRKN_00000008;
                   Kley(KT): Kraken?                                                                       KRKN_00000020.

                                  [. . . ]                                                                 Bank records show teh
                                                                                                           Tews travelling to Los
                   MT7473:        what do you recommend                                                    Angeles in January
                   MT7473:        Just tell me                                                             2020, staying at the
                   Kley(KT):      Talk to Jon                                                              Four Seasons.
                   MT7473:        What do I say
                   Kley(KT):      Transfer 600 to all your NF accounts
                   MT7473:        Hotel called I told them we are staying the night again                  See Indictment ¶ 34
                   MT7473:        We need tix to get home kimbelrey                                        (describing use of fraud
                   MT7473:        We have no tickets to get back                                           proceeds in California)
                   Kley(KT):      You were supposed to do this 4 days ago
                   Kley(KT):      No shit                                                                  Bank records show a
                   Kley(KT):      I’m sick                                                                 series of $600 transfers
                   MT7473:        Ok so what’s your plan                                                   into accounts for
                   Kley(KT):      Don’t give me shit                                                       Michael Tew.
                                                                                                           NAVY_00001288,
                                  [ . . .]                                                                 1293, 1297]



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Entry   Date     Statement(s)                                                                             Additional Context       801            Source
                                                                                                                                   Rationale(s)

                 MT7473:        I’m calling jon
                 Kley(KT):      Where’s my kraken btc
                 MT7473:        Jons not answering
                 Kley(KT):      Excuses

                                [ . . .]

                 Kley(KT):      WHERE THE FUCK ARE YOU
                 Kley(KT):      ALL I KNOW IS YOU’RE NOT WORKING ON KRAKEN OR JON
                 Kley(KT):      HELLLO
                 Kley(KT):      HELLLLLLLLOOOOOOO

309     1/7/20   Kley(KT): Is there any way you can get the number up to 27? I could pay both of my       See Indictment ¶ 20      A, B, D, F,    SW_FIL_003287
                           Amex off and we                                                                (alleging coordination   G, H, I, K,    45-
                 Kley(KT): This is the last chance for a long time to have a platinum card.               by the Tews to decide    N              SW_FIL_003287
                 MT7473: I’ll see what I can do, I dot think he can go over 20 or it will be flagged in   how much to ask                         55
                           the audit which                                                                Yioulos to send them
                           starts next month                                                              and the Tews’ role in
                 Kley(KT): I need 27                                                                      making those requests)
                 MT7473: Im doing my best
                 MT7473: I really honestly truly am
                 MT7473: I’ll get as much as I possibly can
                 Kley(KT): Maybe try for 32
                 Kley(KT): Because he usually comes in 5K lower
                 Kley(KT): Is he at least talking to you
                 MT7473: Yes we are ok
                 MT7473: I dont know what to do I will get as much as I can
                 Kley(KT): Well can you start that now
                 MT7473: Already started this morning
                 Kley(KT): Is he sending twice this week
                 MT7473: I dont think so
                 MT7473: Yesterday we were at 5k
                 MT7473: I’m at 14K with him
                 MT7473: I will try for more
                 Kley(KT): That’s not enough for both cards
                 MT7473: 17K is both cards right


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Entry   Date     Statement(s)                                                                          Additional Context         801            Source
                                                                                                                                  Rationale(s)
                 Kley(KT):      More because of fees
                 Kley(KT):      And I want to pay my chexsystens
                 MT7473:        I can’t get more than 20
                 MT7473:        I’ll try
                 MT7473:        We’re just going to end up fighting about it
                 MT7473:        Then why did you say you’d try for 27-32
                 Kley(KT):      I said I would try
                 MT7473:        We don’t have to
                 MT7473:        Bec cause we just fight all day anyway
                 MT7473:        About money
                 MT7473:        And about jon
                 MT7473:        And about work
                 Kley(KT):      But then you said you can’t get more than 20

310     1/8/20   MT1312:        Jon answered the phone sitting next to [C.A.] and [B.B.d and           Message sent to            A, G, K, L,    SW_FIL_003287
                                pretended I was someone else                                           Kimberley Tew              N              55

                                                                                                       See Indictment ¶ 20
                                                                                                       (alleging coordination
                                                                                                       by the Tews to decide
                                                                                                       how much to ask
                                                                                                       Yioulos to send them
                                                                                                       and the Tews’ role in
                                                                                                       making those requests)

                                                                                                       [C.A.] is a reference to
                                                                                                       an owner of NAC.
                                                                                                       [B.B.] is a reference to
                                                                                                       NAC’s Director of
                                                                                                       Security.
311     1/9/20   Kley(KT): Why do you keep saying we received $850,000 in Dec?                         See Indictment ¶ 20        A, B, D, E,    SW_FIL_003287
                 MT7473:   Between November and December                                               (alleging coordination     F, G, K, N     70-
                 MT7473:   It was a bit lesss than that actually                                       by the Tews to decide                     SW_FIL_003287
                 MT7473:   Jon keeps making it Seem like it’s a lot more tha. It is. It’s about 300-   how much to ask                           71
                           350/month                                                                   Yioulos to send them
                 Kley(KT): We need 23750
                 MT7473: Duck


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Entry   Date      Statement(s)                                                                             Additional Context         801            Source
                                                                                                                                      Rationale(s)
                  Kley(KT): What now                                                                       and the Tews’ role in
                  Kley(KT): I need your login info for wells                                               making those requests)
                  MT7473: Michael_tew
                            [redacted password]

312     1/9/20    Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s   See above, entry 199,      A, K, L        NAC_E_0007887
                  business email account with two attached invoices, writing:                              for information about                     3
                                                                                                           GFL, AMR, Jessica
                  Dear Jon:                                                                                Thompson, and the
                                                                                                           relevant paragraphs of
                  Attached are our service and maintenance invoices for Aero Maintenance Resources for     the Indictment.
                  February 2020.
                                                                                                           Bank records show a
                  Please contact me if you have questions.                                                 $200 deposit into the
                                                                                                           Wells Fargo x2064
                  Thank you                                                                                account for Global Fuel
                                                                                                           Logistics on January
                  Jessica Thompson                                                                         10, 2019.
                  Aero Maintenance Resources                                                               [WFB_00002360]
                  A Unit of Global Fuel Logistics, Inc.

313     1/10/20   MT1312:        How much should I put into sand hill                                      See Indictment ¶ 20        A, D, F, G,    SW_FIL_003287
                  MT1312:        Put $200 in global fuel and the rest in sand hill                         (alleging coordination     H, K, N        74;
                  MT1312:        Ok                                                                        by the Tews to decide                     SW_FIL_003287
                                                                                                           how much to ask                           77-
                                 [ . . . .]                                                                Yioulos to send them                      SW_FIL_003287
                                                                                                           and the Tews’ role in                     78
                  MT7473:        Where do we want Jon to send                                              making those requests)
                  MT7473:        What account
                  Kley(KT):      How much                                                                  See above, entry 54, for
                  MT7473:        Not enough                                                                information about Sand
                  Kley(KT):      What                                                                      Hill LLC and its use by
                  Kley(KT):      That’s not an answer                                                      Michael Tew as a
                  MT7473:        15 I’m pushing for more                                                   vehicle to collect
                  MT7473:        Only on text he’s in meetings                                             scheme proceeds and
                  Kley(KT):      15 or is it really 12                                                     the relevant paragraphs
                  Kley(KT):      Last time he said 14900 and it was less                                   of the Indictment.


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Entry   Date      Statement(s)                                                               Additional Context         801            Source
                                                                                                                        Rationale(s)

                                                                                             See above, entry 199,
                                                                                             for information about
                                                                                             GFL, AMR, Jessica
                                                                                             Thompson, and the
                                                                                             relevant paragraphs of
                                                                                             the Indictment.

                                                                                             Bank records show a
                                                                                             $200 deposit into the
                                                                                             Wells Fargo x2064
                                                                                             account for Global Fuel
                                                                                             Logistics on January
                                                                                             10, 2019.
                                                                                             [WFB_00002360]

                                                                                             On January 13, 2020,
                                                                                             $15,500 sent via ACH
                                                                                             to Navy Federal Credit
                                                                                             Union Account x336
                                                                                             for services purportedly
                                                                                             made to Aero
                                                                                             Maintenance Resources
314     1/11/20   Kley(KT): If it works for global fuel deposit cash into sand hill          See above, entry 54, for   A, G, K, N     SW_FIL_003287
                  MT1312: Ok                                                                 information about Sand                    74;
                                                                                             Hill LLC and its use by                   SW_FIL_003287
                                                                                             Michael Tew as a                          84
                                                                                             vehicle to collect
                                                                                             scheme proceeds and
                                                                                             the relevant paragraphs
                                                                                             of the Indictment.

                                                                                             See above, entry 199,
                                                                                             for information about
                                                                                             GFL, AMR, Jessica
                                                                                             Thompson, and the


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Entry   Date      Statement(s)                                                                          Additional Context         801            Source
                                                                                                                                   Rationale(s)
                                                                                                        relevant paragraphs of
                                                                                                        the Indictment.

315     1/13/20   MT7473: documents.pdf                                                                 See Indictment ¶ 20        A, B, D, F,    SW_FIL_003334
                  Kley(KT): Pls tell me you have good news since today is the day I need to pay my      (alleging coordination     G, H, K, N     09-
                            Amex                                                                        by the Tews to decide                     SW_FIL_003334
                  MT7473: The accounts overdrawn they’re talking about bankruptcy their not paying      how much to ask                           13
                            anyone there is no payment schedule yet this week we think something will   Yioulos to send them
                            come in next day or two and he’ll send as much as he can - let’s just get   and the Tews’ role in
                            everything we can out of The bank and double down to focus on paying        making those requests)
                            your AMEX.                                                                  See Indictment ¶ 21
                  Kley(KT): Ok                                                                          (describing how
                  MT7473: No other choice                                                               Yioulos would provide
                  Kley(KT): Wouldn’t bk be bad because everything comes out                             information about
                  MT7473: Yes                                                                           NAC’s finances to
                  MT7473: Well maybe                                                                    facilitate when
                  MT7473: Not necessarily
                                                                                                        fraudulent payments
                  MT7473: Just a restructuring of the outstanding debt
                                                                                                        could be made)
                  Kley(KT): Yes the trustee would contact
                  MT7473: Only if there was a payable                                                   On January 13, 220,
                  MT7473: Bills already paid are on a diff list                                         $15,500 sent via ACH
                  MT7473: But the balance sheet is frozen in time at that point and nothing goes in     to Navy Federal Credit
                            nothing goes out                                                            Union Account x5336
                  MT7473: I doubt they will do it checks will lose everything including his hey         for services purportedly
                  MT7473: Hey                                                                           made to Aero
                  MT7473: Jet but they are all discussing it as an option                               Maintenance Resources
                  MT7473: Assuming they don’t I’m getting job to commit to more in the second half
                            of month when money starts coming in                                        See above, entry 199,
                  MT7473: In larger chunk an                                                            for information about
                  MT7473: As a cost of pushing back                                                     GFL, AMR, Jessica
                                                                                                        Thompson, and the
                                                                                                        relevant paragraphs of
                                                                                                        the Indictment.

                                                                                                        ATM photographs
                                                                                                        show Michael Tew
                                                                                                        making transactions in

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                                                                                                                                              Rationale(s)
                                                                                                                   the NFCU accounts.
                                                                                                                   NAVY_00001702

                                                                                                                   The references here to a
                                                                                                                   bankruptcy are
                                                                                                                   references to concerns
                                                                                                                   that NAC would be
                                                                                                                   filing for bankruptcy.
316     1/16/20   MT1312:        Jon saying charter wire has to hit by three today or shit will hit the fan with   Sent to Kimberley Tew      A, D, F, G,      SW_FIL_003288
                                 the bank so he’s counting on it. Well know at 3 pm if he has money to send                                   H, K, N          15
                                 to us                                                                             See Indictment ¶ 20
                                                                                                                   (alleging coordination
                                                                                                                   by the Tews to decide
                                                                                                                   how much to ask
                                                                                                                   Yioulos to send them
                                                                                                                   and the Tews’ role in
                                                                                                                   making those requests)
                                                                                                                   See Indictment ¶ 21
                                                                                                                   (describing how
                                                                                                                   Yioulos would provide
                                                                                                                   information about
                                                                                                                   NAC’s finances to
                                                                                                                   facilitate when
                                                                                                                   fraudulent payments
                                                                                                                   could be made)

317     1/17/20   Kley(KT): Did you talk to Jon                                                                    See Indictment ¶ 20        A, C D, F,       SW_FIL_003334
                                                                                                                   (alleging coordination     G, H, I, J, K,   14-
                                 [ . . . .]                                                                        by the Tews to decide      N                SW_FIL_003334
                                                                                                                   how much to ask                             15
                  MT1312:        Screaming match                                                                   Yioulos to send them
                  MT1312:        On way back ringing your donut                                                    and the Tews’ role in
                  Kley(KT):      Do we have enough for frap and donut                                              making those requests)
                  Kley(KT):      But did you get anywhere with screaming match                                     See Indictment ¶ 21                         SW_FIL_003288
                  Kley(KT):      Tell him I’m personally calling the local jail to have the guy she’s having       (describing how                             16;
                                 an affair with pick                                                               Yioulos would provide                       SW_FIL_003288
                                 him up                                                                                                                        31


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Entry   Date   Statement(s)                                                                                Additional Context         801            Source
                                                                                                                                      Rationale(s)
               Kley(KT):      I don’t care if we all go down                                               information about
               MT1312:        He didn’t care                                                               NAC’s finances to
               Kley(KT):      Today                                                                        facilitate when
               MT1312:        I told him we’re all going                                                   fraudulent payments
               Kley(KT):      Tell him I’m calling                                                         could be made)
               Kley(KT):      That guy
               MT1312:        He said fine I’m so stressed everyone screaming at me                        On January 23, 2020
                                                                                                           $9,800 sent via ACH to
                              [. . . .]                                                                    Navy Federal Credit
                                                                                                           Union Account [x]5336
               MT7473:        Screenshot of conversation with JY (Screenshot 2020-01-17 at                 for services purportedly
                              10.03.11.jpeg)                                                               made to Aero
               MT7473:        Screenshot of conversation with JY (Yes, I’m really lying.jpeg)              Maintenance Resources
               MT7473:        Screenshot of conversation with JY (I can’t send money without having the
                              knowledge more is coming in. I can send Monday for Tuesday, as I’ve
                              communicated. If I kne.jpeg)                                                 The references to a gift
                                                                                                           for “him” is a reference
               The first screenshot has the following message from J.Y.: “OK. I don’t really know what     to gifts for J.Y., who
               to tell you. It’s not like I’m lying. I can’t make money appear out of nowhere. You’re      resided in Buffalo, New
               being super unreasonable. Over $2MM out by this point. And she’s flipping out right         York.
               now? Let’s get realistic. I told you Tuesday. I can guarantee that. That’s the best I can
               do.”

               In the second screenshot, J.Y. shows a picture of a negative balance. He then states
               “Yes, I’m really lying. I can’t send money without having the knowledge more is coming
               in. I can send Monday for Tuesday, as I’ve communicated. If I knew money was
               coming Monday, I might be able to float it, but I don’t have that knowledge.” The third
               screenshot has the same communication.
                             [. . . .]

               Kley(KT):      What is happening
               Kley(KT):      How much can he send Monday for Tuesday
               MT1312:        Banks are closed Monday he’s sending today I’m working on amount
               MT1312:        ACH won’t hit until Monday at midnight
               Kley(KT):      Tell him btc is going up and the portfolio value is increasing
               MT1312:        Already did
               Kley(KT):      How much is he sending


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                                                                                                                      Rationale(s)
               MT1312: I promise I have told him we’ve now doubled
               Kley(KT): It’s fine as long as there’s a real plan
               MT1312: He says at least 10 hut that’s not enough and I’m trying to get him to
                         commit to a plan to send more Tuesday
               Kley(KT): He said in his text Monday for Tuesday
               MT1312: Monday banks are closed he’s sending today for Tuesday
               MT1312: I’ve been texting with him
               Kley(KT): But he said he could definitely send next week
               Kley(KT): Monday at midnight?
               Kley(KT): What will we do until then
               Kley(KT): I need a real plan
               MT1312: I was going to ask [redacted] for cash we would return to him next week
               MT1312: Including some overage
               MT1312: He may have it
               Kley(KT): But what if we don’t get cash this week
               MT1312: That’s what I’m trying to pin down Jon
               MT1312: He said more craf is supposed to hit later in the week as well
               Kley(KT): He’s losing it
               MT1312: Bigger $
               MT1312: Yes he’s losing it
               Kley(KT): Something small can make him happy
               MT1312: Yes
               MT1312: I’m calling him in 15 mins
               Kley(KT): Let’s get him sports tickets
               Kley(KT): Whatever you think
               Kley(KT): He’s a kid
               MT1312: Yeah he flies places to see sports games. What about in Vegas?
               Kley(KT): Well he must have a favorite team
               MT1312: Yeah buffalo bills
               Kley(KT): Would he want to go see John legend it’s a private concert
               Kley(KT): Let’s get him season tickets
               Kley(KT): Like a box or something
               Kley(KT): Worth the cost
               Kley(KT): Or a Jersey
               MT1312: Yeah good idea
                         For 2020 season it would be so cheap in buffalo for season tickets
               MT1312: They’re already done with season so for next season


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                                                                                                                                    Rationale(s)
                  MT1312:   He would rather have that then jon legend
                  Kley(KT): Maybe both
                  Kley(KT): We meet him there
                  Kley(KT): He can’t pussyfoot if we are meeting in person
                  MT1312:   Ok
                  Kley(KT): https://www.buffalobills.com/tickets/season-tickets
                  Kley(KT): Call them real quick to get price quote
                  MT1312:   Ok
                  Kley(KT): On best tickets
                  Kley(KT): So he knows you’re not kidding
                  Kley(KT): Club seats?
                  Kley(KT): Oh you can see through 3D viewer
                  Kley(KT): Attachment
                  Kley(KT): Text him what is the best seat for season tickets
                  Kley(KT): How much is a full season suite
                  Kley(KT): The 200 level suites look a lot nicer than the 100 level
                  MT1312:   There are no good 100 level seats left anyway
                            Sideline club indoor outdoor 2700/ticket for the best midfield seats. You
                            give 125/ticket now to secure your spot and in February they email you you
                            can either pay all at once or 10
                            months interest free with payments starting April
                  MT1312: MT club is all inclusive reserved indoor seating for 3270/seat
                  Kley(KT): KT club but suites
                  MT1312: But there’s only for seats left
                  Kley(KT): Suites
                  MT1312: I’ll ask
                  MT1312: 90k for a 200 level suite for 12 people
                  MT1312: He said he has season tix already thx but no worries
                  MT1312: He just bought regular seats
                  MT1312: He’s sending 15-20 today will hit Monday at midnight
                            35-50 Thursday for Friday
                  Kley(KT): Can you secure 25 and 70
                  MT1312: I’ll ask

318     1/22/20   MT1312:        Two checks from global fuel to navy one for 210 and one for 200 were      See Indictment ¶ 20      A, D, F, G,    SW_FIL_003288
                                 returned unpaid                                                           (alleging coordination   H, I, K, N     61-
                  MT1312:        Sand hill must have paid one but its just showing the overdraft not the   by the Tews to decide

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                                                                                                               Rationale(s)
                         check yet                                                  how much to ask                           SW_FIL_003288
               Kley(KT): What was number from Jon today                             Yioulos to send them                      62
               MT7473: 9800                                                         and the Tews’ role in
               MT1312: I’ll work on more tomorrow for Friday                        making those requests)

                                                                                    On January 23, 2020
                                                                                    $9,800 sent via ACH to
                                                                                    Navy Federal Credit
                                                                                    Union Account [x]5336
                                                                                    for services purportedly
                                                                                    made to Aero
                                                                                    Maintenance Resources

                                                                                    See above, entry 199,
                                                                                    for information about
                                                                                    GFL, AMR, Jessica
                                                                                    Thompson, and the
                                                                                    relevant paragraphs of
                                                                                    the Indictment.

                                                                                    See above, entry 54, for
                                                                                    information about Sand
                                                                                    Hill LLC and its use by
                                                                                    Michael Tew as a
                                                                                    vehicle to collect
                                                                                    scheme proceeds and
                                                                                    the relevant paragraphs
                                                                                    of the Indictment.

                                                                                    An ATM photograph
                                                                                    shows Michael Tew
                                                                                    making transactions in
                                                                                    NFCU accounts on
                                                                                    January 23, 2020.
                                                                                    NAVY_00001772




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Entry   Date      Statement(s)                                                                   Additional Context         801            Source
                                                                                                                            Rationale(s)
319     1/26/20   MT7473:        Scan Jan 25, 2020 at 20.58.pdf - Navy Federal bank statements   See Indictment ¶¶ 23,      A, G, K, N     SW_FIL_003334
                                                                                                 32, 33                                    20

                                                                                                 On January 21, 2020,
                                                                                                 $19,500 sent via ACH
                                                                                                 to Navy Federal Credit
                                                                                                 Union Account [x]5336
                                                                                                 for services purportedly
                                                                                                 made to Aero
                                                                                                 Maintenance Resources

                                                                                                 On January 23, 2020,
                                                                                                 $9,800 sent via ACH to
                                                                                                 Navy Federal Credit
                                                                                                 Union Account [x]5336
                                                                                                 for services purportedly
                                                                                                 made to Aero
                                                                                                 Maintenance Resources

                                                                                                 On January 24, 2020,
                                                                                                 $13,500 sent via ACH
                                                                                                 to Navy Federal Credit
                                                                                                 Union Account [x]5336
                                                                                                 for services purportedly
                                                                                                 made to Aero
                                                                                                 Maintenance Resources


                                                                                                 Message to Kimberley
                                                                                                 Tew
320     1/28/20   KT2046:        Should I go buy btc now                                         On January 28, 2020,       A, G, K, N     SW_FIL_003334
                                                                                                 $36,500 sent via ACH                      20-
                                 [. . . .]                                                       to Navy Federal Credit                    SW_FIL_003334
                                                                                                 Union Account [x]5336                     28
                  MT7473:        Going to btc atm                                                for services purportedly
                                                                                                 made to Aero
                                 [. . . .]                                                       Maintenance Resources


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                                                                                                                                      Rationale(s)

                  MT7473:        Getting btc                                                                 See Indictment ¶¶ 23,
                                                                                                             32, 33

321     1/29/20   Kley(KT): Did you talk to Jon                                                              See Indictment ¶ 20      A, D, F, G,    SW_FIL_003289
                  MT1312: He has not answered I keep calling him                                             (alleging coordination   H, I, K, N     10-
                            I won’t be able to talk to him until later I’m betting                           by the Tews to decide                   SW_FIL_003289
                            I know you just want results I’m working on it                                   how much to ask                         12
                  Kley(KT): I’m sorry                                                                        Yioulos to send them
                  Kley(KT): The whole site has me frazzled                                                   and the Tews’ role in
                  MT7473: For what
                                                                                                             making those requests)
                  MT1312: It’s fine we’ll be fine we always are
                  MT7473: I’m working on it I promise                                                        Michael Tew was
                                                                                                             photographed making
                                                                                                             transactions at NFCU
                                                                                                             bank on January 29,
                                                                                                             2020.
                                                                                                             NAVY_00001775.
322     1/31/20   KT2046:        Did you talk to Jon                                                         See Indictment ¶ 20      A, F, G,I ,    SW_FIL_003334
                  MT7473:        He hasnt answered I’ve called him three times and have texted him several   (alleging coordination   K, N           29-
                                 times for an update                                                         by the Tews to decide                   SW_FIL_003334
                  MT7473:        I will talk to him                                                          how much to ask                         32
                  KT2046:        Got it                                                                      Yioulos to send them
                  KT2046:        Got the btc                                                                 and the Tews’ role in
                  KT2046:        How do we know he hasn’t fallen off the deep end                            making those requests)
                  MT7473:        Ok
                                 He hasnt                                                                    On January 31, 2020,
                                 We spoke yesterday they were working on a solution                          $7,200 sent via ACH to
                                                                                                             Wells Fargo Bank
                                                                                                             Account [x]2064 for
                                                                                                             services purportedly
                                                                                                             made to Aero
                                                                                                             Maintenance Resources




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February 2020

 Entry    Date      Statement(s)                                                                                Additional Context        801            Source
                                                                                                                                          Rationale(s)
 323      2/1/20    MT7473:        At btc atm                                                                   Messages to Kimberley     A, G, K, N     SW_FIL_003334
                    MT7473:        Photo of BTC ATM Screen (60221031083__F1B0432E-F100-4CAE-                    Tew                                      33
                                   B305-512C81EEEDF4.jpeg)
                    MT7473:        Photo of BTC ATM Screen (60230041576__A6840AEE-5614-456C-                    See Indictment ¶¶ 23,
                                   AB6C-15DEE0342894.jpeg)                                                      32, 33



 324      2/5/20    MT7473:        Photo of BTC ATM Screen (60263825242__2717F383-3BE5-4E52-9167-               Message to Kimberley      A, G, K, N     SW_FIL_003334
                                   225CB82592F0.jpeg)                                                           Tew                                      36

                                                                                                                ATM photographs
                                                                                                                show Michael Tew
                                                                                                                making ATM
                                                                                                                withdrawals on
                                                                                                                February 5, 2020.
                                                                                                                NAVY_00001692.

                                                                                                                See Indictment ¶¶ 23,
                                                                                                                32, 33

 325      2/12/20   Kley(KT): Did you talk to Jon                                                               See Indictment ¶ 20       A, B, D, F,    SW_FIL_003289
                    Kley(KT): All 3 of the payments bounced                                                     (alleging coordination    G, H, I, K,    70-
                    Kley(KT): Can you resubmit rent online via ACH?                                             by the Tews to decide     N              SW_FIL_003289
                    MT7473:   I’m still sitting here waiting                                                    how much to ask                          78
                              I’m going to give it a few mins and then I’ll just go to the place on federal I   Yioulos to send them
                              could have been                                                                   and the Tews’ role in
                              there already
                                                                                                                making those requests)
                              I didn’t know Jon is with [C.A.] right now in Florida
                              Called him and he was sitting right next to him                                   “[C.A.]” is a reference
                              Setting a time to speak                                                           to NAC’s owner
                              I will resubmit payment
                              Do we know if Amex will auto resubmit or contact you first                        On February 12, 2020
                    Kley(KT): Did you talk to Jon                                                               $33,000 sent via ACH


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Entry   Date      Statement(s)                                                                 Additional Context         801            Source
                                                                                                                          Rationale(s)
                  Kley(KT):      He is definitely pushing it through now?                      to Navy Federal Credit
                  Kley(KT):      Don’t forget to pay                                           Union Account [x]5336
                  Kley(KT):      Use bitpay                                                    for services purportedly
                  Kley(KT):      But like 10 sessions                                          made to Aero
                  MT1312:        He says sending it now                                        Maintenance Resources
                  MT1312:        He says he’s sending it all at once
                                                                                               On February 12, 2020
                                                                                               Michael Tew was
                                                                                               captured in lobby of
                                                                                               NFCU making a
                                                                                               [NAVY_00001767]

326     2/13/20   Kley(KT):      Have you talked to Jon                                        See Indictment ¶ 20        A, F, G, H,    SW_FIL_003289
                  Kley(KT):      To confirm the 40                                             (alleging coordination     K, N           82
                  MT1312:        I called him                                                  by the Tews to decide
                  MT1312:        I’m on it                                                     how much to ask
                                                                                               Yioulos to send them
                                                                                               and the Tews’ role in
                                                                                               making those requests)

                                                                                               On February 14, 2020,
                                                                                               $32,500 sent via ACH
                                                                                               to Navy Federal Credit
                                                                                               Union Account [x]5336
                                                                                               for services purportedly
                                                                                               made to Aero
                                                                                               Maintenance Resources

327     2/15/20   MT1312:   Spoke to Jon                                                       See Indictment ¶ 20        A, D, F, G,    SW_FIL_003289
                            50k tues for wed                                                   (alleging coordination     H, K, N        97-
                            50k wed for thurs or thurs for Friday                              by the Tews to decide                     SW_FIL_003289
                  Kley(KT): Do you think for sure                                              how much to ask                           99
                  MT1312: Yes                                                                  Yioulos to send them
                            I will try to get more                                             and the Tews’ role in
                            But that’s what he has guaranteed
                                                                                               making those requests)
                  MT1312: Have the 10k now what
                  Kley(KT): I need at least 1/2 in btc

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                                                                                                                                             Rationale(s)
                  MT1312:        Ok so 5K btc                                                                     On February 19, 2020,
                  MT1312:        I’ll go buy now at the dry creek gas station and get gas                         $55,000 sent via ACH
                                                                                                                  to Navy Federal Credit
                                 [. . . .]                                                                        Union Account [x]5336
                                                                                                                  for services purportedly
                  Kley(KT):      I need like $6,500 in btc                                                        made to Aero
                  Kley(KT):      QR Code (IMG_5229.png)                                                           Maintenance Resources
                  MT1312:        Ok
                  MT1312:        Here now                                                                         See Indictment ¶¶ 23,
                                                                                                                  32, 33

328     2/18/20   Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s          See above, entry 199,      A, K, L        GFL_00000022-
                  business email account with two attached invoices, writing:                                     for information about                     GFL_00000024
                                                                                                                  GFL, AMR, Jessica
                  Dear Jon:                                                                                       Thompson, and the
                                                                                                                  relevant paragraphs of
                  Attached are our service and maintenance invoices for Aero Maintenance Resources for            the Indictment.
                  January 2020. Please contact me if you have any questions.

                  Thank

                  Jessica Thompson
                  Aero Maintenance Resources
                  A Unit of Global Fuel Logistics, Inc.
329     2/25/20   MT1312: Screenshot of conversation with JY (Screenshot 2020-02-25 at                            See Indictment ¶ 20        A, D, F, G,    SW_FIL_003134
                               15.40.02.jpeg)                                                                     (alleging coordination     K, N           29
                  KT2046:      How much                                                                           by the Tews to decide
                  MT1312: At least 40                                                                             how much to ask
                                                                                                                  Yioulos to send them
                  In the screenshot, Michael Tew asked J.Y. “CN you send tomorrow when you’re back.               and the Tews’ role in
                  I’ll just add to the invoices – won’t be that hard. Get it all into feb dude. Talk before you
                                                                                                                  making those requests)
                  fly?” J.Y. responded with a thumbs up icon.
                                                                                                                  Michael Tew was
                                                                                                                  photographed in the
                                                                                                                  lobby of the Centennial
                                                                                                                  Branch of NFCU


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                                                                                                                                  Rationale(s)
                                                                                                         making transactions.
                                                                                                         NAVY_00001770
 330     2/26/20   Kley(KT): I stayed up until 5am. Pls try for closer to 100 from Jon. We need it for   See Indictment ¶ 20      A, D, F, G,    SW_FIL_003290
                             everything we were talking about today.                                     (alleging coordination   K, N           60
                   Kley(KT): Like is that possible                                                       by the Tews to decide
                                                                                                         how much to ask
                                                                                                         Yioulos to send them
                                                                                                         and the Tews’ role in
                                                                                                         making those requests)




March 2020

 Entry   Date      Statement(s)                                                                          Additional Context       801            Source
                                                                                                                                  Rationale(s)
 331     3/3/20    MT17473:  Get 20? Or less                                                             As alleged in Count 56   A, G, K, N     SW_FIL_003298
                   MT1312:   On way to wells                                                             of the Indictment,                      06-
                   MT1312:   What am I doing                                                             Michael Tew and                         SW_FIL_003290
                   Kley(KT): We talked about it                                                          Kimberley Tew worked                    88
                   Kley(KT): I was sleeping                                                              together to withdraw
                   MT7473:   You said less than 20                                                       $20,000 from the Wells
                   MT1312:   Getting 20                                                                  Fargo x2064 account
                   MT7473:   Going to btc atm                                                            held in the name of
                             Should I just go to navy and try to resolve the account issue               Global Fuel Logistics.
                   Kley(KT): Where are you now                                                           [WFB_00000618]
                   Kley(KT): It took 20 minutes to get the money?
                   MT1312: Yes                                                                           See Indictment ¶¶ 23,
                                                                                                         32, 33

 332     3/6/20    MT1312:        No job                                                                 See Indictment ¶ 20      A, D, F, G,    SW_FIL_003291
                   MT1312:        Job                                                                    (alleging coordination   H, K, N        03-
                   MT1312:        Job                                                                    by the Tews to decide                   SW_FIL_003291
                   MT1312:        Job                                                                    how much to ask                         04;
                   MT1312:        Jon                                                                    Yioulos to send them                    SW_FIL_003291
                   Kley(KT):      No when I said you needed to get Monday                                                                        09-

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Entry   Date     Statement(s)                                                                             Additional Context       801            Source
                                                                                                                                   Rationale(s)
                                                                                                          and the Tews’ role in                   SW_FIL_003291
                                [. . . .]                                                                 making those requests)                  10

                 Kley(KT):      You screamed fuck                                                         On March 6, 2020,
                 Kley(KT):      Fuck                                                                      $24,700 sent via ACH
                 MT1312:        Because I don’t know if I can                                             to Wells Fargo Bank
                 MT1312:        And he needs invoices he’s been hounding meal I’ll end up fighting woth   Account [x]2064 for
                                either him you                                                            services purportedly
                                or [redacted]                                                             made to Aero
                 MT1312:        Going to navy                                                             Maintenance Resources

                                [. . . .]                                                                 Kimberley Tew was
                                                                                                          photographed at an
                 Kley(KT):      How much did you withdraw from global                                     NFCU branch receiving
                 Kley(KT):      Don’t go to navy                                                          money on March 6,
                 Kley(KT):      It’s a waste of time                                                      2020.
                 Kley(KT):      And I didn’t mean don’t buy btc                                           NAVY_00001731.
                 Kley(KT):      Fuck me
                 MT1312:        I got the 2@l from globa                                                  See above, entry 199,
                 MT1312:        At the atm now                                                            for information about
                                                                                                          GFL, AMR, Jessica
                                                                                                          Thompson, and the
                                                                                                          relevant paragraphs of
                                                                                                          the Indictment.

333     3/9/20   Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s   See above, entry 199,    A, K, L        GFL_00000018-
                 business email account with two attached invoices, writing:                              for information about                   GFL_00000021
                                                                                                          GFL, AMR, Jessica
                 Dear Jon:                                                                                Thompson, and the
                                                                                                          relevant paragraphs of
                 Attached are our service and maintenance invoices for Aero Maintenance Resources for     the Indictment.
                 February 2020.

                 Please contact me if you have questions.

                 Thank you



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                                                                                                                                   Rationale(s)
                  Jessica Thompson
                  Aero Maintenance Resources
                  A Unit of Global Fuel Logistics, Inc.

334     3/10/20   Kley(KT):      Can you go to navy and withdraw 20 to buy btc                            Bank records show a      A, D, F, G,    SW_FIL_003291
                  MT1312:        Ok                                                                       $10,000 withdrawal on    H, I, K, N     50-
                  MT7473:        The only navy that will do 20k is centennial FYI                         March 10, 2020 from                     SW_FIL_003291
                  Kley(KT):      How much will aurora do                                                  the Tews’ Joint NFCU                    52
                  MT1312:        10k that’s it                                                            account x8486.
                                 I can call ahead add see if they will do moew                            [NAVY_00001008]

                  MT7473:   Jon said end of week for rest but he’s confirming today when                  Photographs from the
                  MT1312:   I can wire out same day from digital mint they just need to send by 230 our   NFCU drive through
                            time.                                                                         show Michael Tew
                  Kley(KT): You can’t do more than 5                                                      making transactions in
                  Kley(KT): End up week so sending tomorrow                                               NFCU accounts.
                  Kley(KT): Right?                                                                        NAVY_00001721. He
                  MT7473: Tomorrow is wed                                                                 was also photographed
                            I have a feeling he’ll do pry tomorrow and part Thursday                      making transactions at
                  MT1312: I mean selling                                                                  an ATM.
                  MT7473: We need to put money back into the account when we have it                      NAVY_00001797

                                                                                                          See Indictment ¶ 20
                                                                                                          (alleging coordination
                                                                                                          by the Tews to decide
                                                                                                          how much to ask
                                                                                                          Yioulos to send them
                                                                                                          and the Tews’ role in
                                                                                                          making those requests)
                                                                                                          See Indictment ¶ 21
                                                                                                          (describing how
                                                                                                          Yioulos would provide
                                                                                                          information about
                                                                                                          NAC’s finances to
                                                                                                          facilitate when



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Entry   Date      Statement(s)                                                                             Additional Context       801            Source
                                                                                                                                    Rationale(s)
                                                                                                           fraudulent payments
                                                                                                           could be made)

                                                                                                           See Indictment ¶¶ 23,
                                                                                                           32, 33

335     3/11/20   Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s   See above, entry 199,    A, K, L        GFL_00000006-
                  business email account with two attached invoices, writing:                              for information about                   GFL_00000007
                                                                                                           GFL, AMR, Jessica
                  Dear Jon:                                                                                Thompson, and the
                                                                                                           relevant paragraphs of
                  Attached is our final service and maintenance invoice for Aero Maintenance Resources     the Indictment.
                  for February 2020.

                  Please contact me if you have questions.

                  Thank you

                  Jessica Thompson
                  Aero Maintenance Resources
                  A Unit of Global Fuel Logistics, Inc.

336     3/11/20   Kley(KT): Did you talk to Jon                                                            See Indictment ¶ 20      A, D, F, G,    SW_FIL_003291
                  MT7473: Yes he said he may send half today he doesn’t know yet he almost freaked         (alleging coordination   H, K, N        69-
                            out and I calmed him down                                                      by the Tews to decide                   SW_FIL_003291
                  MT1312: I’m taking it very seriously                                                     how much to ask                         70
                  Kley(KT): What do you mean he may send half. Why doesn’t he know. It’s 1pm there.        Yioulos to send them
                            It feels like he’s                                                             and the Tews’ role in
                            playing around and clearly wants to control the situation.                     making those requests)
                  Kley(KT): Why not send all of it today
                  MT1312: Yes he is trying to control and I am trying to get th RG money as much and
                            as fast as
                            possible
                  Kley(KT): Be nice to him
                  MT1312: I just asked him why not send all today of you have the money get it over
                            with. I’m
                            trying


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Entry   Date      Statement(s)                                                                               Additional Context         801              Source
                                                                                                                                        Rationale(s)
                  Kley(KT): Try to get it all tomorrow
                  MT1312: Trying now
                  MT1312: He usually will let me know around 230 his time

337     3/17/20   MT7473:        I’m still pressing Jon over text                                            See Indictment ¶ 20        A, B, C, D,      SW_FIL_003291
                  MT1312:        He says now he hopes for tomorrow                                           (alleging coordination     F, G, H, J,      94
                  MT7473:        We are coming back soon it’s getting cold                                   by the Tews to decide      K, N
                  Kley(KT):      Say Jon I’m not kidding we are sending you your btc and was going to send   how much to ask
                                 2 bc price is so                                                            Yioulos to send them
                                 low but just need some plan                                                 and the Tews’ role in
                                                                                                             making those requests)
                                                                                                             See Indictment ¶ 25
                                                                                                             (alleging that Tews
                                                                                                             gave Yioulos bitcoin as
                                                                                                             part of the fraud)

338     3/18/20   Kley(KT):      I messaged Jon                                                              See Indictment ¶ 20        A, B, C, D,      SW_FIL_003292
                  Kley(KT):      Truthfully we owe him our lives                                             (alleging coordination     E, F, G, H, I,   09-
                  Kley(KT):      He saved us and helped is when no one would                                 by the Tews to decide      K, N             SW_FIL_003292
                  Kley(KT):      I thought you guys were friends but all you do is fight                     how much to ask                             13
                  MT7473:        Did it go through the message                                               Yioulos to send them
                  Kley(KT):      If more btc would make this better I understand and would do it for him     and the Tews’ role in
                  Kley(KT):      From my google voice.                                                       making those requests)
                  Kley(KT):      I don’t know.                                                               See Indictment ¶ 25
                  Kley(KT):      I don’t want to fight or demand or beg from him. I thought you guys were    (alleging that Tews
                                 friends.                                                                    gave Yioulos bitcoin as
                  MT1312:        So did I                                                                    part of the fraud)
                  Kley(KT):      I told him I just want to drive off a cliff
                  Kley(KT):      It’s really not worth it if he’s lost his mind                              On March 18, 2020,
                  Kley(KT):      He really did help us                                                       $17,200 sent via ACH
                  MT1312:        We don’t have a choice so he has to send more                               to Navy Federal Credit
                  Kley(KT):      I don’t think he ever knew how bad it was                                   Union Account [x]5336
                  Kley(KT):      Why won’t he just reply                                                     for services purportedly
                  MT1312:        He claims he’s busy                                                         made to Aero
                  Kley(KT):      He responded?                                                               Maintenance Resources
                  MT1312:        Truthfully he just hates us
                  MT7473:        No that’s just his MO


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Entry   Date      Statement(s)                                                                        Additional Context           801            Source
                                                                                                                                   Rationale(s)
                  Kley(KT): I told her we are working with a no nonsense accountant                   In January, Kimberley
                  Kley(KT): And I’m worried about bouncing checks                                     Tew had been
                  MT1312: Ok.                                                                         questioned by an IRS
                            Give it 30 mins to see if he responds                                     agent coincidentally
                            I’m coming back in 5                                                      pursuing a separate
                  Kley(KT): If he really hates us we should figure something out and                  investigation out of a
                  Kley(KT): Get immunity                                                              different district.
                  MT1312: Yes I agree
                  Kley(KT): I told him I would turn myself in and negotiate immunity for you so our   Michael Tew was
                            kids have a shot                                                          photographed at an
                                                                                                      NFCU drive through
                                                                                                      windo.
                                                                                                      NFCU_00001800. And
                                                                                                      in an NFCU lobby
                                                                                                      making additional
                                                                                                      transactions.
                                                                                                      NFCU_00001805

339     3/19/20   Email from Kimberley Tew using [MCG]@gmail.com, to J.Y. business email:             See above, entry 41, for     A, K, L        NAC_E_79398
                                                                                                      information about
                  I heard you are not available.                                                      MCG, MM,
                                                                                                      MCG@gmail.com and
                  Let’s just talk through email then.                                                 the relevant paragraphs
                                                                                                      of the Indictment.
                  I’m sick of hearing excuses from someone else.
                                                                                                      As set forth above,
                                                                                                      Kimberley Tew
                                                                                                      indicated that J.Y. had
                                                                                                      not responded to her via
                                                                                                      text message so,
                                                                                                      instead, she was
                                                                                                      reaching out to him
                                                                                                      using the
                                                                                                      [mcg]@gmail.com
                                                                                                      address. The” excuses
                                                                                                      from someone else” is a
                                                                                                      reference to the fact that

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Entry   Date      Statement(s)                                                                     Additional Context          801            Source
                                                                                                                               Rationale(s)
                                                                                                   Michael Tew had been
                                                                                                   making excuses for
                                                                                                   J.Y.’s failure to provide
                                                                                                   money from NAC
                                                                                                   under false and
                                                                                                   fraudulent pretenses.
340     3/20/20   Kley(KT): I need to know if we will have money on Tuesday and how much by next   See Indictment ¶ 20         A, G, K, N     SW_FIL_003292
                            week                                                                   (alleging coordination                     26-
                  MT7473: I’ve been trying to find out                                             by the Tews to decide                      SW_FIL_003292
                  MT1312: Right now his best answer is I hope                                      how much to ask                            40
                  Kley(KT): So I am supposed to spend the whole weekend wondering                  Yioulos to send them
                  MT7473: Jon will not answer what should I say to him to make him answer          and the Tews’ role in
                  MT1312: I’m trying I’m telling him I have to know I need to know
                                                                                                   making those requests)
                  Kley(KT): Are you serious
                                                                                                   On March 20, 2020,
                                                                                                   $22,500 sent via ACH
                                                                                                   to Navy Federal Credit
                                                                                                   Union Account [x]5336
                                                                                                   for services purportedly
                                                                                                   made to Aero
                                                                                                   Maintenance Resources

                                                                                                   Toll records show that
                                                                                                   J.Y. did not answer a
                                                                                                   calls from Michael Tew
                                                                                                   the prior evening.
                                                                                                   ORD_000019512;
                                                                                                   ORD_19950

                                                                                                   ATM photographs
                                                                                                   show Michael Tew and
                                                                                                   Kimberley Tew making
                                                                                                   transactions in NFCU
                                                                                                   accounts.
                                                                                                   NAVY_00001719;
                                                                                                   NAVY_00001720.


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Entry   Date      Statement(s)                                                                             Additional Context          801            Source
                                                                                                                                       Rationale(s)
341     3/22/20   Kley(KT): So is he sending on Tuesday for sure?                                          The references to “he” a    A, D, F, G,    SW_FIL_003263
                  MT7473:   He didn’t commit because now he says he can’t log in from home                 reference to Jonathan       H, G, J, K,    50
                  MT1312:   I’m still trying to get him                                                    Yioulos                     N
                  MT7473:   I mean he has to send
                  Kley(KT): Right but he can go to the office?                                             Toll records show that
                  Kley(KT): He was there when                                                              J.Y. did not answer a
                  MT7473:   He’ll have to so yes                                                           calls from Michael Tew
                  MT1312:   He was there on Friday                                                         the prior evening.
                  Kley(KT): So what is his problem. He will obviously have to go in for other things.      ORD_00019950
                  Kley(KT): Is their banking down
                  MT1312:   He said banking is up signature is up                                          The reference to not
                  MT7473:   He just has stone walked me otherwise                                          wanting MCG to email
                  MT1312:   I am keep pressing him                                                         is a reference to efforts
                  Kley(KT): Is he responding                                                               by the Tews to use the
                  Kley(KT): Can you get him to send tomorrow                                               [MCG]@gmail.com
                  MT7473:   He stopped responding                                                          address and the threat
                  MT1312:   He stopped responding and told me to stop texting him                          that [M.M.] might
                  MT7473:   I told him I need answers                                                      disclose the scheme to
                  Kley(KT): Wtf                                                                            someone else as
                  MT7473:   I will call him                                                                leverage to get a
                  Kley(KT): Say we have shit that bounced that is going to be submitted again              payment from J.Y.. See
                  MT7473:   I will tell him                                                                entry 338 above.
                  Kley(KT): Better for tomorrow
                  Kley(KT): He’s obviously going into office
                  MT1312:   He’s going to have to go in tomorrow
                  MT7473:   I asked him
                  Kley(KT): Why is he being such a brat
                  MT7473:   He hates me
                  Kley(KT): Ok
                  Kley(KT): What do you want me to say
                  MT7473:   Nothing
                  MT1312:   Just trying to get as much as I can as fast as I can
                  Kley(KT): But that’s not happening
                  MT1312:   I’m trying being nice I’m trying being mean I’m trying to threaten I’m
                            trying to help him I’m trying to play ball I’m trying every method and he is
                            not responding
                  Kley(KT): So it’s not working. Great.


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Entry   Date   Statement(s)                                                                               Additional Context   801            Source
                                                                                                                               Rationale(s)
               MT1312:        It’s not
               Kley(KT):      Stop
               Kley(KT):      I’m stressed out
               Kley(KT):      When you say it’s not it’s not
               MT7473:        Ok it’s working
               MT1312:        I’m working on it
               MT7473:        I will call him
               Kley(KT):      That’s a lot
               Kley(KT):      That’s a lot
               Kley(KT):      You just said it’s not
               Kley(KT):      You’ve given up
               Kley(KT):      You already said you’d call him
               MT7473:        Screenshot of of conversation with JY (Screenshot 2020-03-22 at
                              16.01.05.jpeg)

               In the screenshot of a text conversation Michael Tew asks J.Y.” Can you pls tell me
               what’s up. Do you have any insight. Is money coming in tllotrw” J.Y. responds “I. Don’t.
               Know. We have no insight.”

               Kley(KT): He’s abusive
               Kley(KT): Say you confirmed last week I have shit that bounced
               MT7473: Conversation with JY (Screenshot 2020-03-22 at 16.02.04.jpeg)

               In the screenshot of a text conversation Michael Tew asks J.Y. “Are you allowed to go
               into the office tomorrow? Some of my stuff Th at I wrote bounced so I’m just figuring
               out on my end. J.Y. responded: “WHAT COULD YOU POSSIBLY WANT. ITS
               FUCKING SUNDAY JESUS FUCK I CANT TELL YOU ANYTHING NEW I DON’T
               KNOW ANYTHING Seriously though. I’m sick of this shit. Like we’ll finish it this
               week hopefully. That’s all I can say. I literally am done.

               Kley(KT):      Tell him to respond
               Kley(KT):      Because we don’t want [MCG] to email
               Kley(KT):      Or something
               Kley(KT):      I don’t know what you’ve said
               Kley(KT):      Say you need confirm he’s sending tomorrow
               MT7473:        I just said our checks bounced and I’m trying to make a plan



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Entry   Date      Statement(s)                                                                                    Additional Context       801            Source
                                                                                                                                           Rationale(s)
                  MT1312:        Screenshot of conversation with JY (Screenshot 2020-03-22 at
                                 16.10.21.jpeg)

                  In the screenshot of a text conversation Michael Tew says to J.Y. “Look stop yelling at
                  me. I’m not yelling. You stick your neck out there for [C.A.] and The company for no
                  money I might add you set up all of his plans and put your ass on the line for him and
                  have no clue what is going on over there. A. I just find that hard to believe or B. You’re
                  really going out on a limb for this guy sticking your neck out there for this job with no
                  plan. Sure plans change but again hard to believe.” J.Y. responded “The majority of our
                  receivables are craf [crap. I told you that we have zero visibility on their pay dates at the
                  moment. Should see money this week, but we don’t know when. So that’s the exact thing
                  I’ve said before and I truly do not feel the need to repeat . . . “

                  MT7473:        Screenshot of conversation with JY (Screenshot 2020-03-22 at
                                 16.10.34.jpeg)

                  This screenshot shows the rest of J.Y.’s response: “. . . myself over an dover again. I
                  told you that I would update you when I know more and I will I always have.”

                  Kley(KT): WTF this is more stressful
                  Kley(KT): Say you need him to send something tomorrow
                  Kley(KT): Not all of it but something

342     3/23/20   Kley(KT):      We bounced rent. Just got the notice. Jon has to send today.                     See Indictment ¶ 20      A, D, F, G,    SW_FIL_003292
                  MT1312:        I’m trying                                                                       (alleging coordination   H, K, N        41-
                  Kley(KT):      Are you getting anywhere with Jon                                                by the Tews to decide                   SW_FIL_003292
                  MT7473:        He’s in office dealing with this hack I’m texting him but he not committing      how much to ask                         44
                                 yet                                                                              Yioulos to send them
                  MT1312:        He’s not committing to send today                                                and the Tews’ role in
                  Kley(KT):      Fuck!!!!!!                                                                       making those requests)
                  Kley(KT):      And tomorrow?                                                                    See Indictment ¶ 21
                  MT7473:        Working on it now                                                                (describing how
                                 Pushing him to ducking just send something already                               Yioulos would provide
                  MT1312:        He says tomorrow but won’t say how much                                          information about
                  Kley(KT):      At least a range                                                                 NAC’s finances to
                  Kley(KT):      Who are you on the phone with                                                    facilitate when
                  Kley(KT):      Hello


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Entry   Date      Statement(s)                                                                          Additional Context         801            Source
                                                                                                                                   Rationale(s)
                  Kley(KT): Who are you on the phone with                                               fraudulent payments
                  Kley(KT): Why won’t he send something today                                           could be made)
                  Kley(KT): It would be blended in with everything else that was overdrawn and didn’t   On March 25, 2020,
                            go out                                                                      $32,245 sent via ACH
                  Kley(KT): Screenshot of Wells Fargo information (IMG_6518.png)                        to Navy Federal Credit
                  MT1312: Should I try at the desk? Or just atm                                         Union Account [x]5336
                                                                                                        for services purportedly
                                                                                                        made to Aero
                                                                                                        Maintenance Resources

343     3/27/20   Kley(KT):      Don’t withdraw from my card ending in 7782                             On March 27, 2020,         A, G, K, N     SW_FIL_003292
                  MT1312:        Withdraw 1k from every card but nothing from 7782 right ?              $32,300 sent via ACH                      67-
                  Kley(KT):      Right                                                                  to Navy Federal Credit                    SW_FIL_003292
                  MT7473:        Have all the cash on way to the atm                                    Union Account [x]5336                     68
                  MT1312:        Just got to atm                                                        for services purportedly
                                 It’s really snowing out                                                made to Aero
                                                                                                        Maintenance Resources

                                                                                                        Bank records show that
                                                                                                        the debit card ending
                                                                                                        7782 was connected
                                                                                                        with NFCU account
                                                                                                        x0572, associated with
                                                                                                        Kimberley Tew

                                                                                                        Bank records show a
                                                                                                        $1,000 withdrawal from
                                                                                                        an ATM on 3/27 from
                                                                                                        account 3494 controlled
                                                                                                        by Tew and photos
                                                                                                        show Michael Tew at
                                                                                                        the ATM that night.
                                                                                                        NAVY_00001334;
                                                                                                        1725. It appears to be
                                                                                                        snowing in the ATM
                                                                                                        photograph.



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Entry   Date      Statement(s)                                                                                   Additional Context         801            Source
                                                                                                                                            Rationale(s)
                                                                                                                 See Indictment ¶¶ 23,
                                                                                                                 32, 33
344     3/31/20   MT1312:        Jon did confirm ties for wed finally not how much yet I’ll get it figured out   See Indictment ¶ 20        A, D, F, G,    SW_FIL_003292
                  MT1312:        Jonnaays 75 but we are talking through it at 230 his time                       (alleging coordination     H, K, N        81
                  MT1312:        I need to get 75 today and more for Friday or even for Thursday                 by the Tews to decide
                  Kley(KT):      He confirmed 75 for today                                                       how much to ask
                  MT1312:        He said “75ish”                                                                 Yioulos to send them
                                                                                                                 and the Tews’ role in
                                                                                                                 making those requests)
                                                                                                                 See Indictment ¶ 21
                                                                                                                 (describing how
                                                                                                                 Yioulos would provide
                                                                                                                 information about
                                                                                                                 NAC’s finances to
                                                                                                                 facilitate when
                                                                                                                 fraudulent payments
                                                                                                                 could be made)

                                                                                                                 On April 1, 2020,
                                                                                                                 $73,460 sent via ACH
                                                                                                                 to Navy Federal Credit
                                                                                                                 Union Account [x]5336
                                                                                                                 for services purportedly
                                                                                                                 made to Aero
                                                                                                                 Maintenance
                                                                                                                 Resources, as alleged in
                                                                                                                 Count 33 of the
                                                                                                                 Indictment




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April 2020

 Entry       Date     Statement(s)                                                                         Additional Context         801            Source
                                                                                                                                      Rationale(s)
 345         4/1/20   Kley(KT): You have $24K in 3494. I want to do $20K because I have to send Phillipe   On April 1, 2020,          A, F, G, K,    SW_FIL_003292
                                $12K in btc.                                                               $73,460 sent via ACH       N              85-
                      Kley(KT): A $20K wire to kraken                                                      to Navy Federal Credit                    SW_FIL_003292
                      MT7473: Ok                                                                           Union Account [x]5336                     86
                      MT1312: Sent 3.2                                                                     for services purportedly
                                                                                                           made to Aero
                                                                                                           Maintenance
                                                                                                           Resources, as alleged in
                                                                                                           Count 33 of the
                                                                                                           Indictment

                                                                                                           Bank records show a
                                                                                                           $20,000 withdrawal
                                                                                                           from Michael Tew’s
                                                                                                           x3494 account on April
                                                                                                           1, 2020.

                                                                                                           Michael Tew was
                                                                                                           photographed making a
                                                                                                           large withdrawal from
                                                                                                           the Buckley AFB
                                                                                                           branch of NFCU on
                                                                                                           April 1, 2020.
                                                                                                           NAVY_00001757-
                                                                                                           1758.

                                                                                                           See Indictment ¶¶ 23,
                                                                                                           32, 33


 346         4/3/20   Kley(KT): How much is Jon sending                                                    See Indictment ¶ 20        A, F, G, K,    SW_FIL_003292
                      MT7473: He sent 411125                                                               (alleging coordination     N              90
                      MT1312: 41125                                                                        by the Tews to decide
                                                                                                           how much to ask


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Entry   Date     Statement(s)                                                                          Additional Context         801            Source
                                                                                                                                  Rationale(s)
                                                                                                       Yioulos to send them
                                                                                                       and the Tews’ role in
                                                                                                       making those requests)

                                                                                                       On April 3, 2020,
                                                                                                       $41,225 sent via ACH
                                                                                                       to Navy Federal Credit
                                                                                                       Union Account [x]5336
                                                                                                       for services purportedly
                                                                                                       made to Aero
                                                                                                       Maintenance Resources

                                                                                                       ATM photographs
                                                                                                       show Michael Tew
                                                                                                       making withdrawals
                                                                                                       from NFCU accounts.
                                                                                                       NAVY_00001684.

347     4/5/20   Kley(KT):      I need btc                                                             See Indictment ¶ 20        A, D, F, G,    SW_FIL_003293
                 Kley(KT):      And when are you talking to Jon                                        (alleging coordination     H, K, N        00-
                 MT7473:        Coming back in 5                                                       by the Tews to decide                     SW_FIL_003293
                 Kley(KT):      Do you want me to just go                                              how much to ask                           08
                 Kley(KT):      You’ll be back in 5 or heading back in 5                               Yioulos to send them
                 MT1312:        You can’t leave [redacted]                                             and the Tews’ role in
                                I won’t talk to Jon until the morning he won’t even respond today
                                                                                                       making those requests)
                 Kley(KT):      Whatever
                 Kley(KT):      You have no plan                                                       “P.M.” is a reference to
                 MT7473:        The plan is to tell him that it’s all gone and he needs to send more   a casino host at the
                 MT1312:        That’s it                                                              Wynn Casino in Las
                 MT7473:        And he will be asking forinoviwa tomorrow                              Vegas
                 Kley(KT):      He won’t do it
                 MT1312:        Now we’re fighting
                 MT7473:        I have to threaten hi
                 MT1312:        It’ll be a battle
                 MT7473:        For sure
                 Kley(KT):      What should I do
                 Kley(KT):      Beg [P.M.]e to send another 1K


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Entry   Date     Statement(s)                                                                                 Additional Context       801            Source
                                                                                                                                       Rationale(s)
                 Kley(KT):      I’m not sure he will
                 MT1312:        How much total do we owe him as of now
                 Kley(KT):      So much
                 Kley(KT):      He’s out of pocket $13
                 MT1312:        Shit
                 MT7473:        Is it worth even asking
                 Kley(KT):      I will get him his money back but he will have to wait for all the interest
                 MT1312:        Right

348     4/6/20   MT1312:        BTC ATM Deposit slip (60782419598__5E28B616-CD21-4BE8-B18C-                   See Indictment ¶ 20      A, D, F, G,    SW_FIL_003293
                                4A8E5DDE4933.jpeg)                                                            (alleging coordination   H, K, N        09-
                 Kley(KT):      1c8qp8UQye1R1AVJNAJfmBprTgJHVY9HK                                             by the Tews to decide                   SW_FIL_003293
                 Kley(KT):      I need you to deliver on everything                                           how much to ask                         13
                 MT1312:        Didn’t work                                                                   Yioulos to send them
                                Funds available in full tomorrow                                              and the Tews’ role in
                 Kley(KT):      Have you heard from [L.W.] Y or J?                                            making those requests)
                 Kley(KT):      My anxiety is through the roof                                                See Indictment ¶ 21
                 MT7473:        No but I will                                                                 (describing how
                                I didn’t ask [L.W.] yet he seemed super reluctant this weekend                Yioulos would provide
                                I will ask him                                                                information about
                 Kley(KT):      Maybe ask for $500                                                            NAC’s finances to
                 Kley(KT):      Need to know if Jon is sending today                                          facilitate when
                 MT7473:        [L.W.] says no can’t do another penny he said he is sorry                     fraudulent payments
                 Kley(KT):      Jon                                                                           could be made)
                 Kley(KT):      Is he sending today
                 MT7473:        Haven’t heard trying him again
                 Kley(KT):      I need to know if he’s sending because I’m trying to make a deal
                 MT7473:        He hasn’t responded and not yo my calls
                 Kley(KT):      account #[x]7062
                 MT1312:        He’s not sending today
                                I can’t get him to
                 MT7473:        He is sending this week
                 MT1312:        Screenshot of conversation with JY (Screenshot 2020-04-06 at
                                12.31.05.jpeg)

                 In the screenshot of a conversation between Michael Tew and J.Y.:



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Entry   Date      Statement(s)                                                                             Additional Context         801            Source
                                                                                                                                      Rationale(s)
                      MT:        can you at least respond pls when you can. I know you are very busy.
                                 Thank you.”
                      J.Y.:      “Not like I have a choice.”
                      MT:        Anything possible today?
                      JY:        Hahahaha you’re a piece of work
                      MT:        Half today and half Thursday? What’s your schedule like.
                      JY:        Today isn’t possible
                                 So don’t’ even ask
                      MT:        7700?
                      JY:        No.
                                 You can’t just ask randomly
349     4/8/20    MT7473:        Jon said tomorrow for Friday I can’t get him to send today                See Indictment ¶ 20        A, D, F, G,    SW_FIL_003293
                  MT1312:        He sent 37k                                                               (alleging coordination     K, N           16-
                  MT7473:        I sent $37k. It might fuck us but sounds like we were fucked regardless   by the Tews to decide                     SW_FIL_003293
                                                                                                           how much to ask                           17
                                                                                                           Yioulos to send them
                                                                                                           and the Tews’ role in
                                                                                                           making those requests)

                                                                                                           On April 9, 2020,
                                                                                                           $37,323 sent via ACH
                                                                                                           to Navy Federal Credit
                                                                                                           Union Account [x]5336
                                                                                                           for services purportedly
                                                                                                           made to Aero
                                                                                                           Maintenance Resources

350     4/13/20   Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s   See above, entry 199,      A, K, L        GFL_00000025-
                  business email account with two attached invoices, writing:                              for information about                     GFL_00000027
                                                                                                           GFL, AMR, Jessica
                  Dear Jon:                                                                                Thompson, and the
                                                                                                           relevant paragraphs of
                  Attached is are our service and maintenance invoices for Aero Maintenance Resources      the Indictment.
                  for March 2020.

                  Please contact me if you have questions.


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Entry   Date      Statement(s)                                                                             Additional Context         801            Source
                                                                                                                                      Rationale(s)
                  Thank you

                  Jessica Thompson
                  Aero Maintenance Resources
                  A Unit of Global Fuel Logistics, Inc.

351     4/14/20   MT7473:        Spoke with Jon he’s in a good mood he said he’s going up shoot for wed    See Indictment ¶ 20        A, D, F, G,    SW_FIL_003293
                                 for Thursday                                                              (alleging coordination     K, N           38
                  MT1312:        The machine here jammed again (Photo of BTC ATM screen                    by the Tews to decide
                                 (IMG_1837.jpeg))                                                          how much to ask
                                                                                                           Yioulos to send them
                                                                                                           and the Tews’ role in
                                                                                                           making those requests)
                                                                                                           See Indictment ¶¶ 32,
                                                                                                           33

                                                                                                           On April 14, 2020,
                                                                                                           $31,355 sent via ACH
                                                                                                           to Navy Federal Credit
                                                                                                           Union Account [x]5336
                                                                                                           for services purportedly
                                                                                                           made to Aero
                                                                                                           Maintenance Resources

                                                                                                           Photographs from an
                                                                                                           NFCU ATM show
                                                                                                           Michael Tew making
                                                                                                           withdrawals.
                                                                                                           NAVY_00001678
                                                                                                           s

352     4/15/20   Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s   On April 16, 2020,         A, K, L        GFL_00000003-
                  business email account with two attached invoices, writing:                              $68,255 sent via ACH                      GFL_00000005
                                                                                                           to Navy Federal Credit
                  Dear Jon:                                                                                Union Account [x]5336
                                                                                                           for services purportedly
                                                                                                           made to Global Fuel


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Entry   Date      Statement(s)                                                                             Additional Context         801            Source
                                                                                                                                      Rationale(s)
                  Attached are our initial service and maintenance invoices for Aero Maintenance           Logistics, as alleged in
                  Resources for April 2020.                                                                Count 35 of the
                                                                                                           Indictment
                  Please contact me if you have questions.
                                                                                                           See above, entry 199,
                  Thank you                                                                                for information about
                                                                                                           GFL, AMR, Jessica
                  Jessica Thompson                                                                         Thompson, and the
                  Aero Maintenance Resources                                                               relevant paragraphs of
                  A Unit of Global Fuel Logistics, Inc.                                                    the Indictment.

353     4/27/20   Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s   On April 22, 2020,         A, K, L        GFL_00000014-
                  business email account with two attached invoices, writing:                              $56,530 sent via ACH                      GFL_00000015
                                                                                                           to Navy Federal Credit
                  Dear Jon:                                                                                Union Account [x]5336
                                                                                                           for services purportedly
                  Attached is our invoices for Global Fuel Logistics, Inc., for 15 April 2020              made to Global Fuel
                                                                                                           Logistics
                  Please contact me if you have questions.
                                                                                                           On April 28, 2020,
                  Thank you                                                                                $46,850 sent via ACH
                                                                                                           to Navy Federal Credit
                  Jessica Thompson                                                                         Union Account [x]5336
                  Aero Maintenance Resources                                                               for services purportedly
                  A Unit of Global Fuel Logistics, Inc.                                                    made to Aero
                                                                                                           Maintenance Resources

                                                                                                           On April 30, 2020,
                                                                                                           $36,240 sent via ACH
                                                                                                           to Navy Federal Credit
                                                                                                           Union Account [x]5336
                                                                                                           for services purportedly
                                                                                                           made to Global Fuel
                                                                                                           Logistics

                                                                                                           On May 6, 2020,
                                                                                                           $85,325 sent via ACH


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Entry   Date   Statement(s)                                                Additional Context         801            Source
                                                                                                      Rationale(s)
                                                                           to Navy Federal Credit
                                                                           Union Account [x]5336
                                                                           for services purportedly
                                                                           made to Aero
                                                                           Maintenance Resource


                                                                           See above, entry 199,
                                                                           for information about
                                                                           GFL, AMR, Jessica
                                                                           Thompson, and the
                                                                           relevant paragraphs of
                                                                           the Indictment.




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May 2020

 Entry     Date      Statement(s)                                                                                  Additional Context       801            Source
                                                                                                                                            Rationale(s)
 354       5/4/20    Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s        See above, entry 199,    A, K, L        GFL_00000010-
                     business email account with two attached invoices, writing:                                   for information about                   GFL_00000011
                                                                                                                   GFL, AMR, Jessica
                     Dear Jon:                                                                                     Thompson, and the
                                                                                                                   relevant paragraphs of
                     Attached is our corrected invoice for Aero Maintenance Resources for 2 March 2020.            the Indictment.

                     Please contact me if you have questions.                                                      An ATM photograph
                                                                                                                   shows Michael Tew
                     Thank you                                                                                     making transactions
                                                                                                                   from an NFCU ATM
                     Jessica Thompson                                                                              on May 4, 2020.
                     Aero Maintenance Resources                                                                    NAVY_00001744.
                     A Unit of Global Fuel Logistics, Inc.

 355       5/10/20   Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s        See above, entry 199,    A, K, L        GFL_00000016-
                     business email account with two attached invoices, writing:                                   for information about                   GFL_00000017
                                                                                                                   GFL, AMR, Jessica
                     Dear Jon:                                                                                     Thompson, and the
                                                                                                                   relevant paragraphs of
                     Attached is our Final Invoice for Global Fuel Logistics, Inc. for April 2020.                 the Indictment.

                     Please contact me if you have questions.

                     Thank you

                     Jessica Thompson
                     Aero Maintenance Resources
                     A Unit of Global Fuel Logistics, Inc.

 356       5/12/20   MT1312:        Jon saying 40k brings us to the end of the road basically. Texting with him.   See Indictment ¶ 20      A, B, C, D,    SW_FIL_003294
                                    I told him we’ll                                                               (alleging coordination   F, G, H, I,    55-
                                    send you 1 btc and tally it up and catch up later in the week. He said that    by the Tews to decide    K, N           SW_FIL_003294
                                    brigs it to over 100                                                           how much to ask                         57


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Entry   Date   Statement(s)                                                                                Additional Context         801            Source
                                                                                                                                      Rationale(s)
                              for the week and that should be it                                           Yioulos to send them
                              What do you want me to o                                                     and the Tews’ role in
               Kley(KT):      Is he saying he’ll send tomorrow                                             making those requests)
               MT7473:        He can send today he’s just saying hey I think that’s it dude                See Indictment ¶ 21
                              I’m like let’s catch up later In the week and tallly IP                      (describing how
               MT1312:        My plan was to entice him to send more                                       Yioulos would provide
               Kley(KT):      Ask him if he can send 90 today                                              information about
               MT7473:        Ok                                                                           NAC’s finances to
               MT1312:        Got the 9k                                                                   facilitate when
                              Getting the sun
                                                                                                           fraudulent payments
               MT7473:        Atm
                                                                                                           could be made)
               Kley(KT):      Are you withdrawing 1K from my accounts
               MT1312:        Yes                                                                          On May 12, 2020
               Kley(KT):      Just get them from all the accounts. I transferred 1K to all of yours too.   $68,400 sent via ACH
               MT7473:        Ok                                                                           to Navy Federal Credit
               MT1312:        Your dad?                                                                    Union Account [x]5336
               Kley(KT):      No                                                                           for services purportedly
               MT7473:        Have all the cash                                                            made to Aero
                              It’s a lot of bills will take a bit of time                                  Maintenance Resources
                              Going to btc atm now
                                                                                                           Bank records show
                                                                                                           $1,000 withdrawals
                                                                                                           from accounts at NFCU
                                                                                                           controlled by
                                                                                                           Kimberley Tew.
                                                                                                           NAVY_00001091;
                                                                                                           NAVY_00001100;
                                                                                                           00001104; 00001109;
                                                                                                           0000113; 00001116;

                                                                                                           ATM photographs
                                                                                                           depict Michael Tew
                                                                                                           making NFCU
                                                                                                           transactions.
                                                                                                           NAVY_00001737;
                                                                                                           NAVY00001823. He
                                                                                                           was also photographed

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Entry   Date      Statement(s)                                                                                   Additional Context           801            Source
                                                                                                                                              Rationale(s)
                                                                                                                 at an NFCU drive-
                                                                                                                 through.
                                                                                                                 NFCU_00001821. And
                                                                                                                 in an NFCU lobby.
                                                                                                                 NAVY_00001823.

357     5/23/20   KT2046:        This is ridiculous                                                              See Indictment ¶ 25          A, G, N        SW_FIL_003128
                  KT2046:        We can't access our money                                                       (alleging that Tews                         73-
                  KT2046:        What is YOUR problem                                                            gave Yioulos bitcoin as                     SW_FIL_003128
                  KT2046:        I don't need this sulking                                                       part of the fraud)                          74
                  KT2046:        I told you to get in touch with Jon you didn't take that seriously and fed me
                                 a bunch of shit                                                                 The reference to
                  KT2046:        He cashed it all out                                                            “cashing it out” is a
                  KT2046:        I looked at his address                                                         reference to the fact that
                                                                                                                 the blockchain address
                                                                                                                 showed that J.Y. had
                                                                                                                 cashed out his
                                                                                                                 cryptocurrency.


358     5/28/20   MT1312:        Jon Answered he said he sent 85,500                                             See Indictment ¶ 20          A, D, F, G,    SW_FIL_003128
                  KT2046:        Ask him if he can send any btc because the funds aren’t there but we can        (alleging coordination       K, N           99-
                                 buy when they hit                                                               by the Tews to decide                       SW_FIL_003129
                  MT1312:        Ok                                                                              how much to ask                             00
                  KT2046:        3JShyJMwBKwhzfpQUZmkDKZi41SLF32usJ                                              Yioulos to send them
                  KT2046:        What's going on                                                                 and the Tews’ role in
                  MT1312:        He's not responding I'll ping him again                                         making those requests)

                                                                                                                 On May 28, 2020,
                                                                                                                 $85,500 sent via ACH
                                                                                                                 to Navy Federal Credit
                                                                                                                 Union Account [x]5336
                                                                                                                 for services purportedly
                                                                                                                 made to Aero
                                                                                                                 Maintenance Resources




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June 2020

 Entry      Date     Statement(s)                                                                             Additional Context         801            Source
                                                                                                                                         Rationale(s)
 359        6/3/20   Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s   See above, entry 199,      A, K, L        GFL_00000035-
                     business email account with two attached invoices, writing:                              for information about                     GFL_00000038
                                                                                                              GFL, AMR, Jessica
                     Dear Jon:                                                                                Thompson, and the
                                                                                                              relevant paragraphs of
                     Attached are the invoices for Aero Maintenance Resources and Global Fuel Logistics for   the Indictment.
                     the month of May 2020.
                                                                                                              On June 3, 2020,
                     Please contact me if you have questions.                                                 $83,526 sent via ACH
                                                                                                              to Navy Federal Credit
                     Thank you                                                                                Union Account [x]5336
                                                                                                              for services purportedly
                     Jessica Thompson                                                                         made to Global Fuel
                     Aero Maintenance Resources                                                               Logistics
                     A Unit of Global Fuel Logistics, Inc.

 360        6/7/20   KT2046:        Ask Jon if he was sending the wires to gf                                 See Indictment ¶ 20        A, D, F, G,    SW_FIL_003130
                     KT2046:        You should say something to him now                                       (alleging coordination     H, K, N        00
                     KT2046:        They might call the office                                                by the Tews to decide
                     MT7473:        I will tell him yes but I do t what him to freak out                      how much to ask
                     KT2046:        You need to                                                               Yioulos to send them
                     KT2046:        It might determine if he goes into office                                 and the Tews’ role in
                     KT2046:        He should go in
                                                                                                              making those requests)
                     MT1312:        Ok
                     KT2046:        I'm going to contact those fed agents and become an official CI.          “gf” is a reference to
                     MT7473:        I'll tell him                                                             Global Fuel. See above,
                     KT2046:        Like now                                                                  entry 199, for
                     KT2046:        You need to tell him now
                                                                                                              information about GFL,
                                                                                                              AMR, Jessica
                                                                                                              Thompson, and the
                                                                                                              relevant paragraphs of
                                                                                                              the Indictment.

                                                                                                              On June 5, 2020,


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Entry   Date     Statement(s)                                                                             Additional Context         801            Source
                                                                                                                                     Rationale(s)
                                                                                                          $42,220 sent via ACH
                                                                                                          to Navy Federal Credit
                                                                                                          Union Account [x]5336
                                                                                                          for services purportedly
                                                                                                          made to Global Fuel
                                                                                                          Logistics

                                                                                                          “CI” is shorthand for
                                                                                                          confidential informant.
                                                                                                          Kimberley Tew is
                                                                                                          threatening to extort
                                                                                                          J.Y. by going to the
                                                                                                          authorities.

361     6/9/20   MT7473:        Jon sent 93                                                               See Indictment ¶ 20        A, B, D, F,    SW_FIL_003294
                 MT1312:        Done here                                                                 (alleging coordination     G, H, K, N     94-
                                How much from the bank                                                    by the Tews to decide                     SW_FIL_003295
                 Kley(KT):      What can you get                                                          how much to ask                           00
                 MT7473:        I may be able to get 20 agai                                              Yioulos to send them
                 Kley(KT):      Ok                                                                        and the Tews’ role in
                 MT1312:        Have to ask when get there I guess                                        making those requests)
                 MT7473:        Is that ok
                 Kley(KT):      Ok                                                                        Michael Tew opened an
                 MT7473:        t the bank finishing up                                                   account x3094 for
                 MT1312:        The manager wants to speak with me can’t wait to see what he has to say   Global Fuel Logistics at
                 Kley(KT):      What the fuck                                                             Navy Federal Credit
                 Kley(KT):      Before you got your cash                                                  Union on Jun 8, 2020.
                 Kley(KT):      Don’t take shit from them                                                 He was the sole
                 MT1312:        No as I’m finishing up                                                    signatory.
                 MT7473:        I’m not                                                                   NAVY_00000857.
                 Kley(KT):      Did they give you the cash                                                Photographs show him
                 MT1312:        They’re all being really nice                                             meeting with the bank
                                Kike overlay nice                                                         representative.
                 MT1312:        I got the cash                                                            NAVY_00001718.
                 MT7473:        She’s doing the report
                 Kley(KT):      They probably got in trouble                                              On June 10, 2020,
                                                                                                          $93,135 sent via ACH


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                                                                                                                                           Rationale(s)
                                                                                                               to Navy Federal Credit
                                                                                                               Union Account [x]3094
                                                                                                               for services purportedly
                                                                                                               made to Global Fuel
                                                                                                               Logistics.

                                                                                                               Photographs from the
                                                                                                               bank lobby show
                                                                                                               Michael Tew making
                                                                                                               transactions which is
                                                                                                               also reflected in bank
                                                                                                               records.
                                                                                                               NAVY_00001795. The
                                                                                                               records appear to show
                                                                                                               Michael Tew speaking
                                                                                                               with a bank employee.
                                                                                                               NAVY_00001796.

                                                                                                               The references to staff
                                                                                                               being overly nice and to
                                                                                                               filling out a report is a
                                                                                                               reference to Currency
                                                                                                               Transaction Reports
                                                                                                               that must be filed by the
                                                                                                               bank to report
                                                                                                               transactions of $10,000
                                                                                                               or more.

362     6/10/20   Kley(KT):      How much money are you showing                                                See Indictment ¶ 20         A, D, F, G,    SW_FIL_003295
                  MT1312:        55,500 plus the 93 jon sent in global fuel                                    (alleging coordination      K, N           02-
                  MT7473:        AtM went out of service and ate your card number 7 4405                       by the Tews to decide                      SW_FIL_003295
                  MT1312:        Im going up try chase                                                         how much to ask                            11
                  MT7473:        For the rest                                                                  Yioulos to send them
                  Kley(KT):      Sweet                                                                         and the Tews’ role in
                  Kley(KT):      You need to take my mom to wells and sit down with your banker                making those requests)
                  Kley(KT):      We need to increase wire limit and get rsa reader if needed                   See Indictment ¶¶ 23,
                  Kley(KT):      I set up a preferred checking does that have a higher wire limit? Also need   32, 33


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                                                                                                                                Rationale(s)
                            (2) debit cards
                            and pins and can you increase daily limits                               On June 10, 2020,
                  Kley(KT): What’s the plan                                                          $93,135 sent via ACH
                  Kley(KT): What are you doing                                                       to Navy Federal Credit
                  MT1312: Whatever you tell me to do                                                 Union Account [x]3094
                  MT1312: Wire capabil u freed up on my account FYI                                  for services purportedly
                  MT1312: If we want to make a large cash withdrawal I have to do that now if you    made to Global Fuel
                            want me to get 1k                                                        Logistics
                            out of the accounts via atm we can do that now or later
                                                                                                     Bank records show
                                                                                                     withdrawals from a
                                                                                                     Wells Fargo atm on
                                                                                                     June 10, 2020.
                                                                                                     NAVY_00000859;
                                                                                                     NAVY_00001132-
                                                                                                     1133.
363     6/11/20   Kley(KT):      Does it make sense to buy 11,500                                    See Indictment ¶¶ 23,      A, F, G, K,    SW_FIL_003295
                  Kley(KT):      And then tomorrow AM 9,500                                          32, 33                     N              17-
                  Kley(KT):      Or go to centennial branch and get 9500 now                                                                   SW_FIL_003295
                  Kley(KT):      I don’t care                                                                                                  19
                  MT1312:        Would rather drive early in the morning if it makes no difference   Bank records show
                  Kley(KT):      Then what                                                           Kimberley Tew making
                  MT1312:        Then late at night                                                  ATM withdrawals from
                  MT1312:        Higheay driving                                                     the Centennial
                  Kley(KT):      No I was saying stop at credit union                                Colorado branch of
                  Kley(KT):      Not not go                                                          NFCU on June 11,
                  MT1312:        Oh I see                                                            2020.
                  Kley(KT):      Whatever                                                            NAVY_00001707;
                  MT1312:        If you need the 20 k then yes                                       1711. She was
                                                                                                     photographed in the
                                 [. . . .]                                                           lobby of an NFCU
                                                                                                     branch.
                  MT7473:        Awesome                                                             NAVY_00001778;                            SW_FIL_003130
                                 Plus the 93 in global fuel                                          1779. She was also                        35
                                                                                                     photographed making
                                                                                                     transactions at an ATM.
                                                                                                     NAVY_00001780.


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                                                                                                                        Rationale(s)
                                                                                               And going through
                                                                                               NFCU’s drive through
                                                                                               windor.
                                                                                               NAVY_00001786.
364     6/16/20   MT1312:        Jon’s putting up a fight                                      See Indictment ¶ 20      A, B, C, F,    SW_FIL_003130
                                 He said he’s done for a while                                 (alleging coordination   G, H, I, K,    73-
                                 Even for 3.5 btc                                              by the Tews to decide    N              SW_FIL_003130
                                 Maybe we let him stew on it and I’ll bug him about it         how much to ask                         76;
                                 He always comes back                                          Yioulos to send them                    SW_FIL_003130
                  MT1312:        Have the cash going to Colfax                                 and the Tews’ role in                   78
                  MT1312:        I will get tough with him                                     making those requests)

                                 [. . . .]                                                     On June 18, 2020,
                                                                                               $93,635.00 sent via
                  MT1312:        We can turn hi                                                ACH to Navy Federal
                                                                                               Credit Union Account
                                 [. . . .]                                                     [x]3094 for services
                                                                                               purportedly made to
                  KT2046:        Was Jon a dick                                                Global Fuel Logistics
                  KT2046:        Any chance he will send today

                                 [. . . .]

                  MT1312:        He said no no no I'm done I told you I'm done
                  KT2046:        4K on Amex
                  MT1312:        Don’t max out your AMEX
                  KT2046:        Tell him I fucked up
                  KT2046:        What else are we going to do
                  MT1312:        I'm telling him

                                 [. . . .]

                  MT1312:        Jon says 80 tomorrow

365     6/17/20   MT1312:        Jon sent 93635                                                Message to Kimberley     A, F, G, N     SW_FIL_003130
                                                                                               Tew                                     87



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                                                                                                                               Rationale(s)
                                                                                                    See Indictment ¶ 20
                                                                                                    (alleging coordination
                                                                                                    by the Tews to decide
                                                                                                    how much to ask
                                                                                                    Yioulos to send them
                                                                                                    and the Tews’ role in
                                                                                                    making those requests)

                                                                                                    On June 18, 2020,
                                                                                                    $93,635.00 sent via
                                                                                                    ACH to Navy Federal
                                                                                                    Credit Union Account
                                                                                                    [x]3094 for services
                                                                                                    purportedly made to
                                                                                                    Global Fuel Logistics

366     6/24/20   MT1312:        Deposit done                                                       See Indictment ¶ 20        A, D, F, G,    SW_FIL_003131
                                 Jon said he will send more money                                   (alleging coordination     K, N           13-
                                 He didn’t say today or tomorrow                                    by the Tews to decide                     SW_FIL_003131
                                 Waiting to hear back                                               how much to ask                           16
                                 Going to gym                                                       Yioulos to send them
                  KT2046:        Thank god!                                                         and the Tews’ role in
                  KT2046:        I love you                                                         making those requests)
                  MT1312:        He can send 55 today                                               “Jin” is a typo – it
                  KT2046:        And more the next day or week?                                     should be “Jon.”
                  MT1312:        Working on it
                  MT1312:        He said he can't do another 90 he's going to "try" for 70          On June 23, 2020,
                  KT2046:        Can you get the rest of the cash out of the accounts and buy btc   $97,545 sent via ACH
                  KT2046:        Did you use the $500?                                              to Navy Federal Credit
                  MT1312:        Jin sent 71k                                                       Union Account [x]3094
                                                                                                    for services purportedly
                                                                                                    made to Aero
                                                                                                    Maintenance Resources

                                                                                                    Bank records show
                                                                                                    transfers of money from
                                                                                                    the NFCU x3094

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                                                                                                              account to other
                                                                                                              accounts at NFCU
                                                                                                              controlled by Michael
                                                                                                              and Kimberley Tew.
                                                                                                              Michael Tew was
                                                                                                              photographed in the
                                                                                                              lobby of the Centennial
                                                                                                              branch of NFCU on
                                                                                                              June 24, 2020.
                                                                                                              NAVY_00001717

367     6/25/20   KT2046:        Just to be safe should you go to Jon for another 30                          See Indictment ¶ 20        A, D, F, G,    SW_FIL_003131
                  MT1312:        I'll ask                                                                     (alleging coordination     H, K, N        26-
                                 I don't know what he'll do                                                   by the Tews to decide                     SW_FIL_003131
                  MT1312:        Are you mad at me                                                            how much to ask                           29
                  KT2046:        I'm scared how to do it all                                                  Yioulos to send them
                  KT2046:        Can you figure out a Plehn                                                   and the Tews’ role in
                  KT2046:        Plan                                                                         making those requests)
                  KT2046:        I'll make it happen today                                                     “[C.A.]” and “[L.A.]”
                  MT1312:        Yes                                                                          are references to the
                                 I don’t know how much you owe                                                owners of NAC
                                 Don’t worry about Jon
                                 We can send him little bits as we go                                         On June 25, 2020,
                  MT1312:        He's not answering                                                           $71,550 sent via ACH
                  MT1312:        He's on with [C.A.] I promise I will get him                                 to Navy Federal Credit
                  MT1312:        He won’t call her he said JT will get her antenna up and she’ll just call    Union Account [x]3094
                                 [L.A.]. He did say he wil probe her in person in the office tomorrow which   for services purportedly
                                 will make sense and he’ll see what else he                                   made to Aero
                                 can learn                                                                    Maintenance Resources
                  MT1312:        At gas station
                  KT2046:        Whatever                                                                     Michael Tew was
                  KT2046:        If this was you you'd be freaking out                                        photographed in the
                  KT2046:        I thought [L.A.] and [A.S] hate each other                                   lobby of the NFCU
                  MT1312:        [L.A.] Hates everyone until she doesn't                                      Centennial branch on
                  MT1312:        She's a lunatic                                                              June 25, 2020.
                                 It could be nothing                                                          NAVY_00001789.



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                  MT1312:        We haven't done anythign wrong
                  MT1312:        Certainly not to them

368     6/26/20   KT2046:        Do you have a $100 bill                                                     See Indictment ¶ 20         A, F, G, H,    SW_FIL_003131
                  MT7473:        Yes on me                                                                   (alleging coordination      K, J, N        30-
                                 I didn’t but enough I miscalculated by 600 I got 4300 plus the 100 I have   by the Tews to decide                      SW_FIL_003131
                                 I didn’t get from one account                                               how much to ask                            38
                                 I called Jon he is not answering                                            Yioulos to send them
                                 I will text him and he will tell me what he knows                           and the Tews’ role in
                                 And I’ll work on the money ASAP
                                                                                                             making those requests)
                                 I’m on it
                                 Going to gym                                                                “[A.S]” is a reference to
                  MT7473:        Just pulled in                                                              NAC’s Director of
                  KT2046:        What's going on with Jon we need an update on this crap                     Accounting. During the
                  MT1312:        He's on audit falls with [redacted] all morning                             calls on July 7 and July
                  MT7473:        He is texting no news he hasn’t talked to anyone yet                        8, Michael and Yioulos
                  MT1312:        He's working until Midday                                                   talked about their
                  KT2046:        But you will find out the story                                             concerns that A.S.
                  KT2046:        Not about money                                                             would find out about
                  MT7473:        Yes both                                                                    the fraud scheme.
                  MT1312:        100 percent
                  MT1312:        Spoke to Jon
                                 He doesn’t think it’s that serious
                                 None of it makes sense
                                 He got nothing new out of [A.S] she left for the day even before he did
                                 That meeting next week isn’t happening and there’s no reschedule
                  MT7473:        If we can send anything even small to Jon it will help for Monday pls
                                 believe me

369     6/29/20   Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s     See above, entry 199,       A, K, L        GFL_00000091-
                  business email account with two attached invoices, writing:                                for information about                      GFL_00000094
                                                                                                             GFL, AMR, Jessica
                  Dear Jon:                                                                                  Thompson, and the
                                                                                                             relevant paragraphs of
                  Attached are the invoices for Aero Maintenance Resources, Inc. and Global Fuel             the Indictment.
                  Logistics for the month of June 2020.



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                  Please contact me if you have any questions.

                  Thank

                  Jessica Thompson
                  Global Fuel Logistics, Inc.
370     6/30/20   MT1312: He sent 105                                                                         See Indictment ¶ 20        A, G, K, N     SW_FIL_003131
                  KT2046:      Great                                                                          (alleging coordination                    60;
                  KT2046:      At least that's not bad news                                                   by the Tews to decide                     SW_FIL_003131
                                                                                                              how much to ask                           62
                                 [. . . .]                                                                    Yioulos to send them
                                                                                                              and the Tews’ role in
                  KT2046:        Figure out if you want to be in this family. You were extremely rude to me
                                                                                                              making those requests)
                                 in front of Jon and have said horrible things these past days.
                                                                                                              On June 30, 2020,
                                                                                                              $105,000 sent via ACH
                                                                                                              to Navy Federal Credit
                                                                                                              Union Account [x]3094
                                                                                                              for services purportedly
                                                                                                              made to Aero
                                                                                                              Maintenance Resources

                                                                                                              An ATM photograph
                                                                                                              shows Michael Tew
                                                                                                              making transactions in
                                                                                                              NFCU accounts on
                                                                                                              June 30, 2020.
                                                                                                              NAVY_00001787.




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 371        7/1/20   KT2046:        Please you need to talk to Jon                                                 See Indictment ¶ 20        A, F, G, K,    SW_FIL_003131
                     KT2046:        This week                                                                      (alleging coordination     H, I, N        76
                     KT2046:        Today I guess                                                                  by the Tews to decide
                                                                                                                   how much to ask
                                    [. . . .[                                                                      Yioulos to send them
                                                                                                                   and the Tews’ role in
                     KT2046:        Please stick with me                                                           making those requests)
                     KT2046:        Please I know you are afraid of Jon
                     KT2046:        Weren't they supposed to have a meeting tomorrow                               On July 3, 2020,
                     KT2046:        Does it still say pending                                                      $95,000 sent via ACH
                     MT7473:        Says pending                                                                   to Navy Federal Credit
                     MT7473:        The meeting f was supposed to be today. There’s no meeting and nothing         Union Account [x]3094
                                    scheduled. [L.A.] is on her way to the hamptons wirh [C.A.]                    for services purportedly
                                                                                                                   rendered to Global Fuel
                                                                                                                   Logistics, as alleged in
                                                                                                                   Count 40 of the
                                                                                                                   Indictment

 372        7/1/20   KT0152:        Omg thank you omg. You have saved me. And my family. I mean that.              See Indictment ¶ 20        A, D, F, G,    INV_00005192
                                    Don’t send anything until the fall                                             (alleging coordination     K
                                    I’ll figure out how to break news to Michael he’s going to be livid also but   by the Tews to decide
                                    thank you so much Jon I just don’t know what to say                            how much to ask
                                                                                                                   Yioulos to send them
                                    No ChAnce at sending anything today and tomorrow like splitting it or best     and the Tews’ role in
                                    just once? I don’t know how it all works that’s michaels area
                                                                                                                   making those requests)
                                    Area
                     JY1709:        I can’t unfortunately. I’m not in the office right now.                        Google voice records
                     KT0152:        Totally get it Jon                                                             show that the google
                                    Omg thank you thank you                                                        voice number
                                                                                                                   4693190152 was
                                                                                                                   created by someone
                                                                                                                   identifying themselves
                                                                                                                   as “Kimberley Tew”
                                                                                                                   with an associated


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                                                                                                           email address that
                                                                                                           contains the year of
                                                                                                           Kimberley Tew’s birth.
                                                                                                           ORD_00015068.

                                                                                                           As set forth above in
                                                                                                           entry 160, Kimberley
                                                                                                           Tew had previously
                                                                                                           explained that she used
                                                                                                           Google Voice to
                                                                                                           contact J.y.
373     7/2/20   Michael Tew, using the email address accounting@globalfuel.co, sent an email to J.Y.’s    See above, entry 199,     A, K, L          NAC_E_118548
                 business email account with two attached invoices, writing:                               for information about
                                                                                                           GFL, AMR, Jessica
                 Dear Jon:                                                                                 Thompson, and the
                                                                                                           relevant paragraphs of
                 Attached is the invoice for Global Fuel Logistics for July 1, 2020.                       the Indictment.

                 Please contact me if you have questions.

                 Thank you

                 Jessica Thompson
                 Aero Maintenance Resources
                 A Unit of Global Fuel Logistics, Inc.

374     7/7/20   On July 7, 2020 Jonathan Yioulos made a consensually monitored call from his X1709        At this point in time,    A, B, D, E,      INV_00008612-
                 number to Michael Tew’s x1312 number. The government will seek to admit the entire        J.Y. was no longer a      F, G, H, I, J,   8768;
                 call and a transcript is attached. In sum and substance:                                  conspirator because he    K, M
                      Yioulos referenced prior conversations in which he had alerted Michael that          was working with                           INV_00005038
                 executives at NAC were asking questions about the fraudulent payments and a prior visit   federal agents.
                 to NAC by the FBI. As part of his efforts to keep Yioulos calm and involved in the        However, Michael Tew
                 conspiracy, Michael explained why he had been asking for money, how he had set up         and Kimberley Tew
                 Global Fuel to receive the money.                                                         were still conspiring
                      Among other things, Michael explained that they kept asking Yioulos because of       with another to get
                 Kimberley’s gambling problem. Michael also tried to reassure Yioulos about the scheme     more payments from



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                 by explaining how he had set up Global Fuel and the payments to it in a way to avoid        NAC under false and
                 audit scrutiny.                                                                             fraudulent pretenses
                       Michael also tried to reassure Yioulos that MM was a real person that Kimberley
                 had befriended. Then he encouraged Yioulos to find out more about what the FBI was
                 investigating so that they could “head things off at the pass.”
375     7/8/20   On July 8, 2020 Jonathan Yioulos made a consensually monitored call from his X1709          At this point in time,   A, B, D, E,      INV_00008506;
                 number to Michael Tew’s X1312 number. The government will seek to admit the entire          J.Y. was no longer a     F, G, H, I, J,   INV_00005040
                 call and a transcript is attached. In sum and substance:                                    conspirator because he   K, M
                       Again, Yioulos referenced the fact that NAC executives were starting to look at the   was working with
                 fraudulent payments and, again, Michael tried to reassure Yioulos about their efforts to    federal agents.
                 conceal the scheme to keep him involved in the conspiracy.                                  However, Michael Tew
                       Michael asked Yioulos several questions about the activities of NAC’s security        and Kimberley Tew
                 director and its chief of accounting.                                                       were still conspiring
                       He also reassured Yioulos that he knew the guy at the P.M., Inc. company, who was     with another to get
                 a friend, and that he would not an issue for them.                                          more payments from
                       When Yioulos mentioned that the payments added up to $5 million and asked where       NAC under false and
                 it went, Michael responded that he wished he had it under his mattress. He then advised     fraudulent pretenses.
                 Yioulos that wherever the auditors were in going up the vendor list, they should focus on
                 that.
                       Michael expressed concern about GFL and AMR being combined for purposes of
                 the audit, which would make those vendors among NAC’s top suppliers.
                       At one point in the call, Michael said that he had a question from Kimberley about
                 the FBI meeting.
                       Michael also reassured Yioulos that H.S. was a real person who had once been a
                 friend of Kimberley. He also told Yioulos that M.M. was also the person behind 5530
                 J.D. LLC
                       Michael also relayed that Kimberley had given them permission o blame her for the
                 scheme.
                       When Yioulos confronted Michael about prior threats from Kimberley, Michael
                 acknowledged they had happened and said “I didn’t advise her to do that, obviously. I
                 hope you know that cause I thought that was stupid.”
                       Michael also tried to reassure Yiolous about his banking practices, telling Yioulos
                           “No, it is yeah no its its it wasn’t great when it was going to my personal
                           account, which, you know, for ah, you know um, but that being said, ah, ninety
                           nine percent of the time, when it was going to my personal account, nobody
                           noticed a thing. Not a thing. Nothing was ever noticed.”
                 Later, Michael explained that bank forced him to open business accounts:


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                      Nothing, there was one time when they finally said, where they said we’ve
                      noticed you’ve been getting business payments into your personal account. I
                      said oh yeah I know. That they have that account on file there, and its like I’m
                      sending consent money back to them and then have it sent back to me. You
                      know if you need me to (UI) a new business account, and she was like okay, but
                      we’re locking all your accounts until you open up a business account.”
                   Michael also explained how he was able to transfer money between accounts:
                      No no I have the ability, I have the ability to transfer it as well. It can be
                      federal. Its okay, so its not like a Wells Fargo. Its like ah, where it gives
                      actually a lot of restrictions on transfers and stuff. They m maybe federal’s not
                      a great bank.

                        ....

                        The, you can transfer to any account as long as you add that account as a linked
                        account, and easy to verify. I can add in transfer it into my mother in law’s
                        account. She has an account that my father in law’s account, he has an account
                        there. My sister in law’s account there, all the kids have accounts there. I have
                        my personal accounts there. Kim has her personal accounts there. Ah, literally
                        in the ap you can log in, connect that account, link it and transfer as much
                        money as you want out at any time. In or out. In and out. So its not d, and
                        that’s part (UI) they have no (UI). They allow it. Its not part of the, its just to
                        whatever. They allow it. They let you do whatever the fuck you want to. The
                        only only military former servicemen and women and their families are allowed
                        to even use the bank
                   Michael tried to reassure Yioulos that if the feds were looking, then the bank could
               have closed the accounts:
                        Um, because my bank. I mean banks just don’t like keep your account. I don’t
                        care what happens. The feds don’t call a bank and say keep the bank account
                        open and just watch it . But they don’t fucking. The bank have things that will
                        close the fucking accounts. And they close, they close banks close accounts if
                        they don’t like the way you breathe. Like if you, you know if you ah send too
                        many cells they close your bank account . . .
                   Michael then reiterated that he and Kimberley hadn’t kept all of the money and that
               some of it went to others to pay off Kimberley’s debts:
                        Yes, out there with their, so yeah, that’s the p, there was a lot of. There was
                        um,and (UI) some of it now. I don’t remember all of this, but there was a lot of


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                         stress here, and I think what we did was stop sending money directly to them.
                         You were send, you were sending money to us or Global Fuel or Sandhill,
                         SHLC or whatever you were doing. Million, like a m million of that more.
                         Two million of that allotted didn’t go to us, and that was, we had this
                         conversation. We had this conversation actually, a year and a half ago or
                         whatever, and you were like what the fuck, and we finally put those guys or
                         whatever to bed, and then I mean I guess. I I don’t remember. I honestly don’t
                         but um
376     7/8/20   MT1312: Be straight with me so i can at least know what to do how to prep for my            At this point in time,   A, E, F, G, I,   INV_000005141-
                              kids.                                                                          J.Y. was no longer a     J, K, N, M       5142;
                 JY1709:      I wouldn’t do that. You know this. I just picked up my phone because I’ve      conspirator because he                    INV_00005182;
                              been in with [C.A.] and Christer. We’ve been talking about the new 747’s.      was working with                          INV_00005185-
                              Honestly nothing to worry about it seems. Tied up for a bit longer, but will   federal agents.                           91
                              getaway shortly to talk                                                        However, Michael Tew
                                                                                                             and Kimberley Tew
                                [. . . .]                                                                    were still conspiring
                                                                                                             with another to get
                 MT1312         I know with all going on its weird Can you send one more today and           more payments from
                                tomorrow for Friday [C.A.] will be back in Boca I have to get your btc       NAC under false and
                                After our conversation today I realize much of your hard work adnd help      fraudulent pretenses
                                did go to waste back then and you really need to hedge your bets also
                 MT1312         We're afraid Shit is going to blow up
                 MT1312         She's afraid you are workign with teh FBI
                 MT1312         The fbi is going to come here and kick on our door soon
                 MT1312         Now is the time to get us out of here
                 MT1312         Don't go dark pls don't be angry
                 MT1312         She thinks we shudl all turn ourselves in and end it
                 MT1312         Kimberley said she's turning herself in today
                 MT1312         She says we're ganginf up on her
                 MT1312         I'm going to jail

                                [. . . .]

                 MT1312:        Put me on with teh FBI
                 JY1709:        I’m in a meeting. I’m not ignoring you!
                 MT1312:        How much can you get out
                 MT1312:        Ok thank you


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               MT1312:        Understood
               MT1312:        How much can you get out
               MT1312:        Global Fuel Logistics Inc
                              Navy Federal Credit Union
                              Account [XXXXXX]3094
                              ABA [REDACTED]
               JY1709:        I’m in this meeting with [C.A.], Christer and Treasury (loan through them).
               I              don’t have an opportunity to get out of this right now and I left my digis
                              and mouse at home. Might be able to send tomorrow. How much are you
                              looking for?
               MT1312:        Need you to leave that meeting
               JY1709:        I really can’t. I’m supposed to leave a meeting with [C.A.] and treasury
                              just out of the blue? They need me on this call.

                              [. . . .]

               MT1312:        How fast can you buy and how much
               MT1312:        You can open a crypto.com account it’s easy
               MT1312:        Jon I don’t know what the fuck is going on over there but this is all falling
                              apart
                              How fast you can you buy me btc
                              The irs is here
                              What is going on
                              I am going to call [C.A.] if you don’t answer
                              Just admit it. You've been working with them all along




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